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                                 EXHIBIT P
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                                                                               EXECUTION COPY




                                   EASTLAND CLO, LTD.
                                                  Issuer,


                                  EASTLAND CLO CORP.
                                                 Co-Issuer,

                                                    and

                     INVESTORS BANK & TRUST COMPANY
                                                  Trustee




                                            INDENTURE
                                         Dated as of March 13, 2007




                             COLLATERALIZED DEBT OBLIGATIONS


           U.S.$100,000,000 Class A-1 Floating Rate Senior Secured Extendable Notes Due 2022
          U.S.$825,600,000 Class A-2a Floating Rate Senior Secured Extendable Notes Due 2022
          U.S.$206,000,000 Class A-2b Floating Rate Senior Secured Extendable Notes Due 2022
            U.S.$78,500,000 Class A-3 Floating Rate Senior Secured Extendable Notes Due 2022
    U.S.$81,500,000 Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
    U.S.$68,500,000 Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
    U.S.$48,000,000 Class D Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022




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               INDENTURE, dated as of March 13, 2007, among EASTLAND CLO LTD. (the "Issuer"),
     EASTLAND CLO CORP. (the "Co-Issuer") and INVESTORS BANK & TRUST COMPANY, as
     trustee (together with its permitted successors, the "Trustee").

                                          PRELIMINARY STATEMENT

               The Co-Issuers are duly authorized to execute and deliver this Indenture to provide for the
     Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the Class A-3 Notes, the Class B
     Notes and the Class C Notes and the Issuer is duly authorized to execute and deliver this Indenture
     to provide for the Class D Notes, in each case issuable as provided in this Indenture. All covenants
     and agreements made by the Co-Issuers in this Indenture are for the benefit and security of the
     Secured Parties. The Co-Issuers are entering into this Indenture, and the Trustee is accepting the
     trusts created by this Indenture, for good and valuable consideration, the receipt and sufficiency of
     which are hereby acknowledged.

             All things necessary to make this Indenture a valid agreement of the Co-Issuers in
     accordance with the agreement's terms have been done.

                                              GRANTING CLAUSES

               The Issuer Grants to the Trustee, for the benefit and security of the Noteholders, the
     Trustee, the Servicer and each Hedge Counterparty (and the Collateral Administrator, Preference
     Shares Paying Agent and Holding Preference Shares Paying Agent to the extent of Administrative
     Expenses payable to such parties as provided hereunder) (collectively, the "Secured Parties"), all of
     its right, title, and interest in, to, and under, in each case, whether now owned or existing, or
     hereafter acquired or arising:

              (a)      the Collateral Obligations (listed, as of the Closing Date, in Schedule 1 to this
     Indenture and listed from time to time on such Schedule 1 as such Schedule 1 may be modified,
     amended and revised subsequent to the Closing Date by the Issuer) and all Workout Assets,
     including any part thereof which consists of general intangibles or supporting obligations (each as
     defined in the UCC) relating thereto, all payments made or to be made thereon or with respect
     thereto, and all Collateral Obligations and Workout Assets including any part thereof which consists
     of general intangibles (as defined in the UCC) relating thereto, which are delivered or credited to the
     Trustee, or for which a Security Entitlement is delivered or credited to the Trustee or which are
     credited to one or more of the Issuer Accounts on or after the Closing Date and all payments made
     or to be made thereon or with respect thereto;

              (b)     the Custodial Account, the Collection Account, the Payment Account, the
     Revolving Reserve Account, the Delayed Drawdown Reserve Account, the Interest Reserve
     Account, the Closing Date Expense Account, the Expense Reimbursement Account and the
     Securities Lending Account (collectively, the "Issuer Accounts"), Eligible Investments purchased
     with funds on deposit in the Issuer Accounts, and all income from funds in the Issuer Accounts;

              (c)      the Synthetic Security Counterparty Account (and, together with the Issuer
     Accounts, the Synthetic Security Collateral Account, the Class II Preference Share Special Payment
     Account and the Hedge Counterparty Collateral Account, the "Accounts") and assets included
     therein, subject to the terms of the related Synthetic Security (provided, however, that any such
     rights in any Synthetic Security Counterparty Account shall be held in trust by the Trustee (or
     Securities Intermediary) first to secure the Issuer's payment obligations to the relevant Synthetic
     Security Counterparty and second for the benefit of the Secured Parties);




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              (d)     the Servicing Agreement, the Synthetic Security Collateral Account, the Securities
     Lending Agreements and all Securities Lending Collateral and the Securities Lending Account, the
     Hedge Agreements as set forth in Article 15 and all Collateral securing the Hedge Counterparty's
     obligations thereunder including, without limitation, the Hedge Counterparty Collateral Account, the
     Collateral Administration Agreement to the extent of any rights of the Issuer therein;

             (e)      all Cash or money delivered to the Trustee (or its bailee);

              (f)      all securities, investments, investment property, instruments, money, general
     intangibles, chattel paper and agreements of any nature in which the Issuer has an interest (except for
     money, securities and investments in the Issuer's bank account in the Cayman Islands), including any
     part thereof which consists of general intangibles or supporting obligations (each as defined in the
     UCC) relating thereto; and

             (g)      all proceeds with respect to the foregoing;

     (all of the property and assets described in foregoing clauses (a) through (g), but excluding the
     Excluded Property, the "Collateral"). Notwithstanding the foregoing, the Collateral shall not
     include any Excluded Property.

               These Grants are not intended to and do not transfer any liability under the Collateral, which
     liabilities shall remain the sole obligation of the Issuer. These Grants are made, however, in trust as
     separate trusts, to secure the Notes. Except as provided in Article 13 and the priorities set forth in
     the Priority of Payments, the Notes are secured by the first grant equally and ratably without
     prejudice, priority or distinction between any Note and any other Note because of difference in time
     of issuance or otherwise. The Grants are made to secure, in accordance with the priorities in the
     Priority of Payments and Article 13:

              (i)       the payment of all amounts due on the Notes equally and ratably without prejudice,
     priority or distinction between any Note and any other Note because of difference in time of
     issuance or otherwise, in accordance with their terms;

             (ii)     the payment of all other sums payable under this Indenture (other than amounts
     payable in respect of the Preference Shares);

           (iii)      the payment of sums payable to any Hedge Counterparty under a Hedge
     Agreement;

             (iv)     the payment of sums payable to the Servicer under the Servicing Agreement; and

              (v)     compliance with this Indenture;

     (collectively, the "Secured Obligations"), all as provided in this Indenture.

              The Trustee acknowledges the Grants, accepts the trusts under this Indenture in accordance
     with this Indenture, and agrees to perform its duties in this Indenture in accordance with the
     provisions hereof.




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                                                   ARTICLE 1

                                                   DEFINITIONS

     Section 1.1.      Definitions.

             Except as otherwise specified in this Indenture or as the context may otherwise require, the
     following terms have the respective meanings provided below for all purposes of this Indenture.

             "A/B Exchange": An exchange of one security (the "A Security") for another security (the
     "B Security") of the same issuer or issuers, which security shall have substantially identical terms to
     the A Security except that one or more transfer restrictions applicable to the A Security are
     inapplicable to the B Security.

              "Accounts": The meaning specified in the Granting Clauses.

               "Accountants' Certificate": An agreed upon procedures report of a firm of Independent
     certified public accountants of international reputation appointed by the Issuer pursuant to Section
     10.8(a), which may be the firm of Independent accountants that performs certain accounting services
     for the Issuer or the Servicer.

              "Accrued Interest On Sale": Interest accrued on a Collateral Obligation at the time of sale
     or other disposition to the extent paid to the Issuer as part of the sale or other disposition price of the
     Collateral Obligation after deduction of any amount representing Accrued Interest Purchased With
     Principal of the Collateral Obligation.

              "Accrued Interest Purchased With Principal": (i) Interest accrued on or purchased with a
     Collateral Obligation as part of the price paid by the Issuer to acquire the Collateral Obligation less
     any amount of Interest Proceeds (applied as Interest Proceeds) applied by the Issuer to acquire the
     accrued interest at the time of purchase and (ii) interest accrued on a Loan that constitutes part of the
     price paid by the Issuer to repurchase and terminate participations sold to Pre-Closing Parties to
     finance the Issuer’s pre-closing acquisition of such Loan.

              "Act": The meaning specified in Section 14.2.

            "Administration Agreement": The Administration Agreement, between the Issuer and the
     Administrator, providing for the administrative functions of the Issuer, as modified, amended, and
     supplemented and in effect from time to time.

              "Administrative Expense Cap": An amount on any Payment Date equal to the excess of:

            (a)     the sum of 0.04% of the Maximum Amount on the related Determination Date plus
     $200,000, over

             (b)      the sum of the amounts paid for Administrative Expenses in the twelve months
     preceding the current Payment Date.

              "Administrative Expenses": Amounts due or accrued representing

               (i)     tax preparation, filing, and registration fees or expenses and any other filing and
     registration fees owed by the Co-Issuers or Investors Corp. (including all filing, registration, and
     annual return fees payable to the Cayman Islands government and registered office fees);
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              (ii)    fees, indemnities and expenses of the Trustee (including all amounts under Section
     6.8), the Administrator, the Preference Shares Paying Agent, the Holding Preference Shares Paying
     Agent and the Collateral Administrator;

             (iii)   fees, indemnities and expenses of the Co-Issuers and Investors Corp. and of
     accountants, agents, and counsel for each of the Co-Issuers and Investors Corp.;

             (iv)     fees and expenses of the Rating Agencies in connection with any rating of the
     Collateral (requested by the Issuer or the Servicer) or the Notes owed by either Co-Issuer (including
     fees and expenses for ongoing surveillance, credit estimates, and other fees owing to the Rating
     Agencies);

             (v)     expenses and indemnities (but not Servicing Fees) of the Servicer if payable under
     the Servicing Agreement;

             (vi)     fees, indemnities and expenses for third-party loan pricing services and
     accountants; and

              (vii)    amounts due (other than indemnities) to any other person (except the Servicer) if
     specifically provided for in this Indenture, including fees or expenses in connection with any
     Securities Lending Agreement.

                 "Administrator": Ogier Fiduciary Services (Cayman) Limited.

              “Affected Class”: Any Class of Notes that, as a result of the occurrence of a Tax Event, has
     received, or will receive less than the aggregate amount of principal and interest that would
     otherwise have been payable to such Class on the Distribution Date related to the Due Period with
     respect to which such Tax Event occurs.

                 "Affiliate" or "Affiliated": With respect to a person,

             (i)   any other person who, directly or indirectly, is in control of, or controlled by, or is
     under common control with, the person, or

             (ii)     any other person who is a director, officer, or employee (A) of the person, (B) of
     any subsidiary or parent company of the person or (C) of any person described in clause (i) above.

                 For the purposes of this definition, control of a person shall mean the power, direct or
     indirect,

              (A)      to vote more than 50% of the securities having ordinary voting power for the
     election of directors of the person, or

              (B)     to direct the corporate management and corporate policies of the person whether by
     contract or otherwise (this does not include the Servicing Agreement unless it is amended expressly
     to provide those services).

             For the purpose of this definition, the Administrator and its Affiliates are neither Affiliates
     of nor Affiliated with the Co-Issuers and the Co-Issuers are neither Affiliates of nor Affiliated with
     the Administrator, or any of their Affiliates.

                 "Agent Members": Members of, or participants in, a Depository.

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              "Aggregate Outstanding Amount": When used with respect to any of the Notes as of any
     date, the aggregate principal amount of such Notes on that date. When used with respect to the
     Preference Shares or Holding Preference Shares as of any date, means the number of such
     Preference Shares or Holding Preference Shares Outstanding on such date.

              Except as otherwise provided herein:

                       (a)     the Aggregate Outstanding Amount of the Class A-1 Notes at any time
              shall include any Defaulted Interest in respect thereof and (to the extent not included in any
              such Defaulted Interest) accrued interest on such Defaulted Interest;

                       (b)     the Aggregate Outstanding Amount of the Class A-2a Notes at any time
              shall include any Defaulted Interest in respect thereof and (to the extent not included in any
              such Defaulted Interest) accrued interest on such Defaulted Interest;

                       (c)     the Aggregate Outstanding Amount of the Class A-2b Notes at any time
              shall include any Defaulted Interest in respect thereof and (to the extent not included in any
              such Defaulted Interest) accrued interest on such Defaulted Interest;

                       (d)     the Aggregate Outstanding Amount of the Class A-3 Notes at any time
              shall include any Defaulted Interest in respect thereof and (to the extent not included in any
              such Defaulted Interest) accrued interest on such Defaulted Interest;

                       (e)     the Aggregate Outstanding Amount of the Class B Notes at any time shall
              include all Deferred Interest attributed thereto;

                       (f)      the Aggregate Outstanding Amount of the Class C Notes at any time shall
              include all Class C Deferred Interest attributed thereto; and

                       (g)      the Aggregate Outstanding Amount of the Class D Notes at any time shall
              include all Class D Deferred Interest attributed thereto.

             "Aggregate Principal Balance": When used with respect to the Pledged Obligations, the
     sum of the Principal Balances of all the Pledged Obligations. When used with respect to a portion of
     the Pledged Obligations, the term Aggregate Principal Balance means the sum of the Principal
     Balances of that portion of the Pledged Obligations.

              "Aggregate Purchase Price Amount": When used with respect to the Pledged Obligations,
     the sum of the Purchase Price Amounts of all the Pledged Obligations. When used with respect to a
     portion of the Pledged Obligations, the term Aggregate Purchase Price Amount means the sum of
     the Purchase Price Amounts of that portion of the Pledged Obligations.

              "Allocable Principal Balance": With respect to a Synthetic Security based upon or relating
     to a senior secured index providing non-leveraged credit exposure to a basket of credit default swaps
     referencing a diversified group of Reference Obligations, with respect to which the principal or
     notional amount of the credit exposure to any single Reference Obligation does not increase over
     time, the portion of the aggregate Principal Balance of such Synthetic Security that is allocable to
     each Reference Obligation comprising such index or indices based upon allocating the Principal
     Balance of such Synthetic Security among such Reference Obligations in the same proportion as
     each Reference Obligation bears to the aggregate Principal Balance of such Synthetic Security.

              "Amendment Buy-Out": The meaning specified in Section 9.6(a).

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              "Amendment Buy-Out Option": The meaning specified in Section 9.6(a).

              "Amendment Buy-Out Purchase Price": The purchase price payable by the Amendment
     Buy-Out Purchaser for Transaction Securities purchased in an Amendment Buy-Out, if any, in an
     amount equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus
     accrued and unpaid interest (including Deferred Interest, if any) as of the date of purchase payable to
     the Non-Consenting Holder (giving effect to any amounts paid to the Holder on such date), plus any
     unpaid Extension Bonus Payment, plus in the case of any CDS/TRS Purchaser, the applicable
     CDS/TRS Termination Payment Amount and (ii) in the case of the Preference Shares and the
     Holding Preference Shares, an amount that, when taken together with all payments and distributions
     made in respect of such Preference Shares or Holding Preference Shares, as applicable, since the
     Closing Date (and any amounts payable, if any, to the Non-Consenting Holder or the Non-
     Consenting Holding Preference Share Holder, as applicable, on the next succeeding Payment Date)
     would cause such Preference Shares or Holding Preference Shares, as applicable, to have received
     (as of the date of purchase thereof) a Preference Share Internal Rate of Return or a Holding
     Preference Share Internal Rate of Return, as applicable, of 12.0% (assuming such purchase date was
     a Payment Date); provided, however, that in any Amendment Buy-Out from and after the date on
     which the Non-Consenting Holders or the Non-Consenting Holding Preference Share Holders have
     received a Preference Share Internal Rate of Return or a Holding Preference Share Internal Rate of
     Return, as applicable, equal to or in excess of 12.0%, the Amendment Buy-Out Purchase Price for
     such Preference Shares or Holding Preference Shares, as applicable, shall be zero.

             "Amendment Buy-Out Purchaser": The Servicer (or any of its Affiliates acting as
     principal or agent); provided that in the event that the Servicer elects not to purchase
     Transaction Securities from Holders pursuant to Section 9.6, "Amendment Buy-Out Purchaser"
     shall mean one or more qualifying purchasers (which may include the Initial Purchaser, the
     Placement Agent, the Investors Corp. Placement Agent or any of their respective Affiliates
     acting as principal or agent) designated by the Servicer; provided, however, none of the
     Servicer, the Initial Purchaser, the Placement Agent, the Investors Corp. Placement Agent or
     any of their respective Affiliates shall have any duty to act as an Amendment Buy-Out
     Purchaser.

            "Applicable Discount Rate" : For purposes of determining the CDS/TRS Termination
     Payment Amount with respect to any CDS/TRS Purchaser in connection with an Amendment
     Buy-Out, USD-LIBOR-BBA, as defined in the Annex to the 2000 ISDA Definitions as
     determined by the applicable CDS/TRS Purchaser on the Business Day preceding the date of
     purchase of the applicable Notes from such CDS/TRS Purchaser in connection with such
     Amendment Buy-Out.

              "Applicable Issuers" or "Applicable Issuer": With respect to the Class A-1 Notes, the Class
     A-2a Notes, the Class A-2b Notes, the Class A-3 Notes, the Class B Notes and the Class C Notes,
     each of the Co-Issuers. With respect to the Class D Notes and the Preference Shares, the Issuer
     only.

             "Applicable Note Interest Rate": With respect to the Notes of any Class, the Note Interest
     Rate with respect to such Class.

              "Applicable Percentage": The lesser of the Moody's Priority Category Recovery Rate
     applicable to the Collateral Obligation and the S&P Priority Category Recovery Rate applicable to
     the Collateral Obligation and the current S&P Rating of the Class A-1 Notes.


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             "Approved Credit Support Document": A security agreement in the form of the 1994 ISDA
     Credit Support Annex (ISDA Agreements Subject to New York Law Only), as modified by
     Paragraph 13 thereto.

              "Approved Pricing Service": Loan Pricing Corporation, Mark-It-Partners, Inc. or any other
     nationally recognized loan pricing service approved in writing by S&P.

              "Ask-Side Market Value": As of any Measurement Date, the market value determined by
     the Servicer and reported to the Trustee as an amount rather than as a percentage or fraction of par
     (expressed in Dollars) of any lent Collateral Obligation based upon the Servicer's commercially
     reasonable judgment and based upon the following order of priority: (i) the average of the ask-side
     market prices obtained by the Servicer from three Independent broker-dealers active in the trading of
     such obligations or (ii) if the foregoing set of prices were not obtained, the higher of the ask-side
     market prices obtained by the Servicer from two Independent broker-dealers active in the trading of
     such obligations or (iii) if the foregoing sets of prices were not obtained, the average of the ask-side
     prices for the purchase of such Collateral Obligation determined by an Approved Pricing Service
     (Independent from the Servicer) that derives valuations by polling broker-dealers (Independent from
     the Servicer); provided that if the Ask-Side Market Value of any lent Collateral Obligation cannot be
     so determined then such Collateral Obligation shall be deemed to have a Market Value equal to the
     outstanding principal balance thereof.

              "Assigned Moody's Rating": The meaning set forth in Schedule 7.

             "Authenticating Agent": With respect to the Notes, the Trustee or the person designated by
     the Trustee to authenticate the Notes on behalf of the Trustee pursuant to Section 6.15.

               "Authorized Officer": With respect to the Issuer, the Co-Issuer or Investors Corp., any
     Officer or agent who is authorized to act for the Issuer, the Co-Issuer or Investors Corp., as
     applicable, in matters relating to, and binding on, the Issuer, the Co-Issuer or Investors Corp. With
     respect to the Servicer, any managing member, Officer, manager, employee, partner or agent of the
     Servicer who is authorized to act for the Servicer in matters relating to, and binding on, the Servicer
     with respect to the subject matter of the request, certificate, or order in question. With respect to the
     Trustee or any other bank or trust company acting as trustee of an express trust or as custodian, a
     Trust Officer. Each party may receive and accept a certification of the authority of any other party
     as conclusive evidence of the authority of any person to act, and the certification may be considered
     as in full force and effect until receipt by the other party of written notice to the contrary.

              "Average Life": As of any Measurement Date with respect to any Collateral Obligation
     (other than any Defaulted Collateral Obligation), the quotient obtained by dividing:

              (i)     the sum of the products of:

                               (A)      the number of years (rounded to the nearest hundredth) from the
                      Measurement Date to the respective dates of each successive scheduled payment of
                      principal of the Collateral Obligation, and

                               (B)      the respective amounts of the successive scheduled payments of
                      principal of the Collateral Obligation, by

             (ii)     the sum of all successive scheduled payments of principal of the Collateral
     Obligation.


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              "Bank": Investors Bank & Trust Company, in its individual capacity and not as Trustee.

              "Bankruptcy Code": The U.S. Bankruptcy Code, Title 11 of the United States Code.

             "Bankruptcy Law": The Bankruptcy Code, Part V of the Companies Law (2004 Revision)
     of the Cayman Islands and the Bankruptcy Law (1997 Revision) of the Cayman Islands.

              "Beneficial Owner": Any person owning an interest in a Global Note as reflected on the
     books of the Depository or on the books of an Agent Member or on the books of an indirect
     participant for which an Agent Member acts as agent.

              "Benefit Plan Investor": Any (i) “employee benefit plan” within the meaning of Section
     3(3) of ERISA, that is subject to Title I of ERISA, (ii) any “plan” described by Section 4975(e)(1) of
     the Code that is subject to Section 4975 of the Code, or an entity whose underlying assets include
     the assets of any plan described in (i) or (ii) by reason of such plan’s investment in such entity.

              "Board Resolution": With respect to the Issuer, a resolution of the board of directors of the
     Issuer and, with respect to the Co-Issuer, a resolution of the board of directors of the Co-Issuer.

              "Business Day": A day on which commercial banks and foreign exchange markets settle
     payments in New York City and any other city in which the Corporate Trust Office of the Trustee is
     located and, in the case of the final payment of principal of any Note, the place of presentation of the
     Note designated by the Trustee; provided, however, that, for purposes of determining LIBOR,
     “Business Day” must also be a day on which dealings in deposits in Dollars are transacted in the
     London interbank market. To the extent action is required of the Irish Paying Agent, Dublin, Ireland
     shall be considered in determining "Business Day" for purposes of determining when actions by the
     Irish Paying Agent are required.

              "Calculation Agent": The meaning specified in Section 7.16.

             "Caa1 Collateral Obligations": The Collateral Obligations (excluding any Defaulted
     Collateral Obligations) that on the relevant date have a Moody's Rating below "B3".

              "Cash": Such coin or currency of the United States of America as at the time shall be legal
     tender for payment of all public and private debts.

             "CCC+/Caa1 Collateral Obligations": The Collateral Obligations (excluding any Defaulted
     Collateral Obligations) that on the relevant date have (i) a Moody's Rating below "B3" and/or (ii) an
     S&P Rating below "B-".

             "CCC+/Caa1 Excess Market Value Percentage": The percentage equivalent of a fraction,
     the numerator of which is the aggregate Market Value of CCC+/Caa1 Collateral Obligations (in
     order of ascending Market Value Percentage, starting with the CCC+/Caa1 Collateral Obligation
     with the lowest Market Value Percentage) with an aggregate Principal Balance equal to Excess
     CCC+/Caa1 Collateral Obligations and the denominator of which is an amount equal to the Excess
     CCC+/Caa1 Collateral Obligations.

               "CDS/TRS Purchaser": A Holder of the Notes or, in the case of Notes represented by
     Global Notes, any beneficial owner thereof that has entered into either a credit default swap or a
     total return swap with respect to such Notes.

             "CDS/TRS Termination Payment Amount": With respect to any CDS/TRS Purchaser in
     connection with an Amendment Buy-Out, as the case may be, (i) on any Payment Date prior to the
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     August 2011 Payment Date, an amount equal to the present value of the Fixed Amounts with respect
     to such CDS/TRS Purchaser and each Fixed Rate Payor Calculation Period until the last Fixed Rate
     Calculation Period, discounting each Fixed Amount from the Payment Date following the end of
     each such Fixed Rate Payor Calculation Period to the date of purchase of the applicable Notes at the
     Applicable Discount Rate, and (ii) on any Payment Date on and after the August 2011 Payment
     Date, zero; provided that, in the case of clause (i), the CDS/TRS Termination Payment Amount shall
     be calculated by the Servicer and subject to the approval of such CDS/TRS Purchaser.

              "Certificate of Authentication": The meaning specified in Section 2.1.

              "Certificated Class D Note": The meaning set forth in Section 2.2(e).

            "Certificated Preference Share": The meaning set forth in the Preference Shares Paying
     Agency Agreement.

              "Certificated Security (UCC)": The meaning specified in Section 8-102(a)(4) of the UCC.

             "Class": All of the Notes having the same priority and the same Stated Maturity and all
     of the Preference Shares.

              “Class A Notes”: The Class A-1 Notes, the Class A-2 Notes and the Class A-3 Notes.

             “Class A-1 Notes”: The Class A-1 Floating Rate Senior Secured Extendable Notes issued
     by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

              "Class A-2 Notes ": The Class A-2a Notes and the Class A-2b Notes.

             "Class A-2a Notes": The Class A-2a Floating Rate Senior Secured Extendable Notes issued
     by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

             "Class A-2b Notes ": The Class A-2b Floating Rate Senior Secured Extendable Notes issued
     by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

             "Class A-3 Notes ": The Class A-3 Floating Rate Senior Secured Extendable Notes issued
     by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

              "Class A Coverage Tests": The Overcollateralization Test and the Interest Coverage Test,
     each as applied with respect to the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes and
     the Class A-3 Notes.

              “Class B Coverage Test”: The Overcollateralization Test and the Interest Coverage Test,
     each as applied with respect to the Class B Notes.

              “Class B Deferred Interest”: Deferred Interest with respect to the Class B Notes.

             "Class B Notes": The Class B Floating Rate Senior Secured Deferrable Interest Extendable
     Notes issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in
     Section 2.3.

              "Class C Coverage Tests": The Overcollateralization Test and the Interest Coverage Test,
     each as applied with respect to the Class C Notes.


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              "Class C Deferred Interest": Deferred Interest with respect to the Class C Notes.

             "Class C Notes": The Class C Floating Rate Senior Secured Deferrable Interest Extendable
     Notes issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in
     Section 2.3.

              "Class D Coverage Tests": The Overcollateralization Test and the Interest Coverage Test,
     each as applied with respect to the Class D Notes.

              "Class D Deferred Interest": Deferred Interest with respect to the Class D Notes.

             "Class D Notes": The Class D Floating Rate Senior Secured Deferrable Interest Extendable
     Notes issued by the Issuer pursuant to this Indenture and having the characteristics specified in
     Section 2.3.

             "Class P Securities": The Class P Securities issued by Investors Corp. pursuant to the
     Holding Preference Share Documents

              "Class I Preference Shares": The Class I Preference Shares issued by the Issuer pursuant to
     the Issuer's Memorandum and Articles of Association and the resolutions of the Issuer's board of
     directors authorizing the issuance of the Preference Shares passed on or before the Closing Date.

             "Class II Preference Share Percentage": For any Payment Date, a fraction, expressed as a
     percentage, the numerator of which is the number of Outstanding Class II Preference Shares on such
     Payment Date and the denominator of which is the total number of Outstanding Preference Shares
     on such Payment Date.

             "Class II Preference Share Portion": For any Payment Date, 100% minus the Servicing
     Fee Portion for such Payment Date.

              "Class II Preference Share Senior Special Payment": For any Payment Date, an amount
     equal to the product of (a) the Senior Servicing Fee for such Payment Date and (b) the Class II
     Preference Share Portion for such Payment Date.

              "Class II Preference Share Special Payment": Collectively, the Class II Preference Share
     Senior Special Payment, the Class II Preference Share Subordinated Special Payment and the Class
     II Preference Share Supplemental Special Payment.

             "Class II Preference Share Special Payment Account": The trust account established
     pursuant to Section 10.3(j).

             "Class II Preference Share Subordinated Special Payment": For any Payment Date, an
     amount equal to the product of (a) the Subordinated Servicing Fee for such Payment Date and (b)
     the Class II Preference Share Portion for such Payment Date.

             "Class II Preference Share Supplemental Special Payment": For any Payment Date, an
     amount equal to the product of (a) the Supplemental Servicing Fee for such Payment Date and (b)
     the Class II Preference Share Portion for such Payment Date.

             "Class II Preference Shares": The Class II Preference Shares issued by the Issuer
     pursuant to the Issuer's Memorandum and Articles of Association and the resolutions of the Issuer's


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     board of directors authorizing the issuance of the Preference Shares passed on or before the Closing
     Date.

              "Class Scenario Loss Rate": With respect to any Class of Notes rated by S&P, an estimate
     of the cumulative default rate for the Current Portfolio or the Proposed Portfolio, as applicable,
     consistent with S&P's rating of the Class of Notes on the Closing Date, determined by application of
     the S&P CDO Monitor.

             "Clearing Agency": An organization registered as a "clearing agency" pursuant to Section
     17A of the Exchange Act.

                "Clearing Corporation": The meaning specified in Section 8-102(a)(5) of the UCC.

             "Clearing Corporation Security": A "security" (as defined in Section 8-102(a)(15) of the
     UCC) that (i) is a debt or equity security and (ii) is in the custody of or maintained on the books of a
     Clearing Corporation or its nominee.

              "Clearstream": Clearstream Banking, société anonyme, a corporation organized under the
     laws of the Duchy of Luxembourg.

                "Closing Date": March, 13, 2007.

                "Closing Date Expense Account": The trust account established pursuant to Section
     10.3(g).

                "Co-Issuer": The person named as such on the first page of this Indenture.

                "Co-Issuers": The Issuer and the Co-Issuer.

                "Code": The United States Internal Revenue Code of 1986, as amended.

                "Collateral": The meaning specified in the Granting Clauses.

              "Collateral Acquisition Agreement”: The agreement dated as of the Closing Date between
     the Issuer and the Servicer, as modified, amended and supplemented and in effect from time to time.

            "Collateral Administration Agreement": The agreement dated as of the Closing Date
     among the Issuer, the Servicer, and the Collateral Administrator, as modified, amended and
     supplemented and in effect from time to time.

             "Collateral Administrator": Investors Bank & Trust Company, in its capacity as collateral
     administrator under the Collateral Administration Agreement.

              "Collateral Assignment of Hedge Agreements": With respect to each Hedge Agreement,
     the assignment of all of the Issuer's interest in the Hedge Agreement to the Trustee and
     acknowledged by the Hedge Counterparty to create a security interest therein in favor of the Trustee.

             "Collateral Obligation": Any obligation or security that, when the Issuer commits to
     purchase (or otherwise acquire) the obligation or security, is a Loan, High-Yield Bond, Structured
     Finance Obligation, or Synthetic Security with a Reference Obligation that is a Loan, a Structured
     Finance Obligation or High-Yield Bond that is:


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                       (1)     denominated and payable in U.S. Dollars and is not convertible by its
              obligor into any other currency;

                      (2)      an obligation of an obligor Domiciled in an Eligible Country;

                      (3)      an obligation that is eligible by its terms to be assigned to the Issuer and
              pledged by the Issuer to the Trustee for inclusion in the Collateral;

                      (4)      not an exchangeable or convertible security;

                       (5)      not an equity security or a component of an equity security or a security
              that has a component that is an equity security (other than for avoidance of doubt, a pass-
              through trust certificate in a trust holding Collateral Obligations);

                        (6)      not an obligation or security that has been called for redemption and is not
              an obligation or security that is the subject of an Offer other than a Permitted Offer or an
              exchange offer in which a security that is not registered under the Securities Act is
              exchanged for (i) a security that has substantially identical terms (except for transfer
              restrictions) but is registered under the Securities Act or (ii) a security that would otherwise
              qualify for purchase under Article 12;

                       (7)       an obligation that (a) has a Moody's Rating (including any estimated or
              confidential rating which is in respect of the full obligation of the obligor and which is
              monitored) and (b) has an S&P Rating (including any confidential rating which is in respect
              of the full obligation of the obligor and which is monitored), which S&P Rating does not
              have a "p", "pi", "q", "r" or "t" subscript unless S&P otherwise authorizes in writing;

                      (8)     an obligation that is a Finance Lease (if it is a lease) and the Rating
              Condition has been satisfied with respect to the acquisition thereof;

                       (9)     (a) an obligation that is not a Current-Pay Obligation, Non-Performing
              Collateral Obligation or Credit Risk Obligation and (b) in the case of a Collateral Obligation
              that has a Moody's Rating of "Caa1" or lower or an S&P Rating of "CCC+" or lower, an
              obligation for which the Servicer has certified in writing that such Collateral Obligation is
              not a Credit Risk Obligation;

                       (10)     an obligation that (unless it is a High-Yield Bond) is not subordinated by
              its terms to other indebtedness for borrowed money of the applicable issuer; provided that
              for the avoidance of doubt, this clause shall not prohibit the inclusion as Collateral
              Obligations of Subordinated Lien Loans or Second Lien Loans;

                       (11)     an obligation that (i) (unless it is a PIK Security) bears simple interest
              payable in cash no less frequently than annually at a fixed or floating rate that is paid on a
              periodic basis on an unleveraged basis and, in the case of a floating rate, computed on a
              benchmark interest rate plus or minus a spread, if any (which may vary under the terms of
              the obligation) and (ii) provides for a fixed amount of principal payable in cash according to
              a fixed schedule (which may include optional call dates) or at maturity (or a fixed notional
              amount in the case of Synthetic Securities);

                      (12)    an obligation the payment or repayment of the principal, if any, of which is
              not an amount determined by reference to any formula or index or subject to any
              contingency under the terms thereof;

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                       (13)     an obligation the portion of which to be acquired (including through a
              Synthetic Security with respect to the Reference Obligation) does not represent, directly or
              indirectly, more than a 25% interest in the obligation;

                      (14)     not an obligation with a maturity later than two years after the Stated
              Maturity of the Notes;

                       (15)     an obligation upon which no payments are subject to withholding tax
              imposed by any jurisdiction unless the obligor thereof or counterparty with respect thereto is
              required to make "gross-up" payments that cover the full amount of any such withholding
              tax on an after-tax basis (other than withholding taxes with respect to commitment fees
              associated with Collateral Obligations constituting Revolving Loans or Delayed Drawdown
              Loans);

                       (16)     not a Loan or Synthetic Security that would require the Issuer after its
              purchase of the Loan or Synthetic Security to advance any funds to the related borrower or
              Synthetic Security Counterparty or permit the borrower or Synthetic Security Counterparty
              to require that any future advances be made except for:

                              (A)      any Revolving Loan or Delayed Drawdown Loan if,
                      simultaneously with its purchase of the Revolving Loan or Delayed Drawdown
                      Loan, the Issuer deposits into the Revolving Reserve Account or the Delayed
                      Drawdown Reserve Account, respectively, the maximum amount of any advances
                      that may be required of the Issuer under the related Underlying Instrument (as
                      provided in Section 10.3(b)), and

                               (B)     any Synthetic Security if, simultaneously with its purchase of the
                      Synthetic Security, the Issuer posts cash collateral with (or for the benefit of) the
                      Synthetic Security Counterparty simultaneously with the Issuer's purchase of or
                      entry into the Synthetic Security in an amount not exceeding the amount of any
                      future advances;

                       (17)     if such obligation is a Structured Finance Obligation that is a collateralized
              loan obligation, such obligation:

                               (A)      has been assigned a rating by both Moody's and S&P;

                              (B)      has a Moody's Rating of "Ba3" or higher and an S&P Rating of
                      "BB-" or higher; and

                             (C)     has not been placed on the watch list for possible downgrade by
                      Moody's or S&P;

                       (18)     not a Loan that is an obligation of a debtor in possession or a trustee for a
              debtor in an insolvency proceeding other than a DIP Loan;

                       (19)      with respect to an obligation that provides for the payment of interest at a
              floating rate, an obligation for which such floating rate is determined by reference to the
              U.S. Dollar prime rate or other base rate, London interbank offered rate or similar interbank
              offered rate, commercial deposit rate or any other index that the Rating Condition with
              respect to each Rating Agency is satisfied with respect thereto;


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                       (20)     in the case of a Synthetic Security, the Synthetic Security is one for which
              the counterparty or issuer, as the case may be, has a short-term debt rating by Moody's of at
              least "P-1" or long-term senior unsecured rating by Moody's of at least "A3" and, if rated
              "A3" by Moody's, such rating is not on watch for downgrade, and an issuer credit rating by
              S&P of at least "AA-" or a short term debt rating by S&P of at least "A-1+";

                       (21)     not an obligation that constitutes Margin Stock;

                       (22)     not a Zero-Coupon Security;

                       (23)     not an obligation that is currently deferring interest or paying interest "in
              kind" or otherwise has an interest "in kind" balance outstanding at the time of purchase,
              which interest is otherwise payable in cash, unless the Rating Condition has been satisfied
              with respect to the acquisition thereof;

                       (24)    not a security whose repayment is subject to substantial non-credit related
              risk as determined by the Servicer;

                      (25)      not an obligation the interest payments of which are scheduled to decrease
              (although interest payments may decrease due to unscheduled events such as a decrease of
              the index relating to a Floating Rate Obligation, the change from a default rate of interest to
              a non-default rate of interest or an improvement in the obligor's financial condition); and

                       (26)     not an obligation that will cause the Issuer, the Co-Issuer, or the pool of
              assets to be required to be registered as an investment company under the Investment
              Company Act.

              Pursuant to the definition of "Synthetic Security," unless the Rating Condition is otherwise
     satisfied, any "deliverable obligation" that may be delivered to the Issuer as a result of the
     occurrence of any "credit event" must qualify (when the Issuer purchases the related Synthetic
     Security and when such "deliverable obligation" is delivered to the Issuer as a result of the
     occurrence of any "credit event") as a Collateral Obligation, except that such "deliverable
     obligation" may constitute a Defaulted Collateral Obligation when delivered upon a "credit event."

             "Collateral Quality Tests": The Diversity Test, the Weighted Average Life Test, the
     Weighted Average Moody's Recovery Rate Test, the Weighted Average S&P Recovery Rate Test,
     the Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted
     Average Rating Factor Test and the S&P CDO Monitor Test.

              "Collection Account": The trust account established pursuant to Section 10.2(a).

              "Commitment Amount": With respect to any Revolving Loan or Delayed Drawdown Loan,
     the maximum aggregate outstanding principal amount (whether then funded or unfunded) of
     advances or other extensions of credit that the Issuer could be required to make to the borrower
     under its Underlying Instruments.

             "Commitment Reduction": With respect to any Revolving Loan or Delayed Drawdown
     Loan, a permanent reduction (whether scheduled, mandatory, optional, or otherwise) in the related
     Commitment Amount.




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             "Concentration Limitations": The limit set forth below with respect to a particular type of
     Relevant Obligation (measured by Aggregate Principal Balance) as a percentage of the Maximum
     Amount:

                                                                                        Percentage of the
                                                                                        Maximum Amount
       (1)    Senior Secured Loans and Eligible Investments                                 ≥ 87.5%
       (2)    unsecured Loans                                                                ≤ 3.0%
       (3)    Subordinated Lien Loans and Second Lien Loans                                 ≤ 10.0%
       (4)    Revolving Loans and the unfunded portion of Delayed                           ≤ 12.0%
              Drawdown Loans
       (5)    DIP Loans                                                                      ≤ 5.0%
              (a)     except that with a Rating Confirmation, DIP Loans may
                      constitute up to the percentage of the Maximum Amount                  ≤ 7.5%
                      specified in the right column
       (6)    S&P Unrated DIP Loans                                                          ≤ 2.5%
       (7)    PIK Securities                                                                 ≤ 3.0%
       (8)    High-Yield Bonds                                                               ≤ 7.5%
       (9)    Structured Finance Obligations                                                ≤ 10.0%
              (a)     except that Structured Finance Obligations serviced by the             ≤ 2.5%
                      Servicer may not exceed the percentage of the Maximum
                      Amount specified in the right column
              (b)     except that a single issuer together with any of its Affiliates        ≤ 3.0%
                      (excluding Secondary Risk Counterparties) of a Structured
                      Finance Obligation may not exceed the percentage of the
                      Maximum Amount specified in the right column
       (10)   Structured Finance Obligations that are collateralized loan                    ≤ 7.5%
              obligations
       (11)   obligors Domiciled other than in the United States and Canada                 ≤ 20.0%
       (12)   obligors Domiciled in Canada or any single Moody's Group I                    ≤ 10.0%
              Country
       (13)   obligors Domiciled in any single Moody's Group II Country                      ≤ 5.0%
       (14)   obligors Domiciled in all Moody’s Group II Countries in the                   ≤ 10.0%
              aggregate
       (15)   obligors Domiciled in any single Moody's Group III Country                     ≤ 2.5%
       (16)   obligors Domiciled in all Moody’s Group III Countries in the                   ≤ 5.0%
              aggregate
       (17)   obligors organized in a Tax Advantaged Jurisdiction                            ≤ 5.0%
       (18)   same S&P Industry Classification                                               ≤ 8.0%
              (a)     except that Relevant Obligations belonging to two S&P
                      Industry Classifications may each constitute up to the                ≤ 12.0%
                      percentage of the Maximum Amount specified in the right
                      column

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       (19)   single issuer and any of its Affiliates (excluding Secondary                         ≤ 1.5%
              Risk Counterparties)
              (a)     except that up to each of five individual issuers and any of their
                      Affiliates (excluding Secondary Risk Counterparties) may each                ≤ 2.5%
                      constitute up to the percentage of the Maximum Amount
                      specified in the right column
       (20)   Fixed Rate Obligations                                                               ≤ 7.5%
       (21)   Pay interest less frequently than quarterly but no less                              ≤ 7.5%
              frequently than semi-annually
       (22)   Pay interest less frequently than semi-annually but no less                          ≤ 3.0%
              frequently than annually
       (23)   Synthetic Securities                                                                ≤ 20.0%
              (a)     except that Synthetic Securities that provide for settlement other           ≤ 5.0%
                      than by physical delivery may not exceed the percentage of the
                      Maximum Amount specified in the right column
              (b)     except that Synthetic Securities that reference a senior secured             ≤ 5.0%
                      index providing non-leveraged credit exposure to a basket of
                      credit default swaps referencing a diversified group of
                      Reference Obligations, with respect to which the principal or
                      notional amount of the credit exposure to any single Reference
                      Obligation does not increase over time may not exceed the
                      percentage of the Maximum Amount specified in the right
                      column
       (24)   Participations (provided that no Relevant Obligations may be a                      ≤ 20.0%
              Participation in a Participation)
       (25)   Relevant Obligations of which are (i) obligors Domiciled                            ≤ 20.0%
              other than in the United States, (ii) Collateral Obligations lent
              under Securities Lending Agreements, (iii) Participations and
              (iv) Synthetic Securities, in the aggregate may not exceed the
              percentage of the Maximum Amount specified in the right
              column
       (26)   Relevant Obligations of which are (i) obligors Domiciled                     ≤ respective percentage
              other than in the United States, (ii) Collateral Obligations lent               in Secondary Risk
              under Securities Lending Agreements, (iii) Participations and                Table under "Individual
              (iv) Synthetic Securities, entered into with, or issued by, a                Counterparty Limit" for
              single Secondary Risk Counterparty                                              applicable rating*
       (27)   Relevant Obligations of which are (i) obligors Domiciled                     ≤ respective percentage
              other than in the United States, (ii) Collateral Obligations lent               in Secondary Risk
              under Securities Lending Agreements, (iii) Participations and                Table under "Aggregate
              (iv) Synthetic Securities, entered into with, or issued by, all              Counterparty Limit" for
              Secondary Risk Counterparties                                                  applicable rating**
       (28)   Deep Discount Obligations                                                            ≤ 7.5%
       (29)   CCC+/Caa1 and below Collateral Obligations                                           ≤ 7.5%
       (30)   Long-Dated Collateral Obligations                                                    ≤ 2.0%
       (31)   Collateral Obligations lent under Securities Lending                                ≤ 15.0%
              Agreements



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       (32)   Collateral Obligations providing for interest at a non-London                     ≤ 5.0%
              interbank offered rate (excluding, for the avoidance of doubt,
              the unfunded amount of any Revolving Loan or Delayed
              Drawdown Loan)
       (33)   Collateral Obligations that are Loans that are part of a credit                  ≤ 10.0%
              facility with a total global aggregate commitment amount of
              less than $75,000,000
         *    Applicable long-term unsecured rating by Moody's or S&P of such Secondary Risk
              Counterparty (using the limit for the lower of such ratings if different).
         **   Long-term unsecured rating by Moody's or S&P at or below a level specified in the
              Secondary Risk Table (using the lower of such ratings for a Secondary Risk Counterparty, if
              different).

              Subject to the rights in certain circumstances of the Servicer to determine otherwise as set
     out in Section 1.2(h), solely for the purpose of determining whether the Concentration Limitations
     are met, Eligible Investments and Cash will be treated as Senior Secured Loans and Floating Rate
     Obligations.

              "Consenting Holder of the Preference Shares": With respect to any Payment Date, a
     Holder of Preference Shares that has consented by delivering an irrevocable written notice to the
     Preference Shares Paying Agent to a distribution of Eligible Equity Securities in lieu of payment of
     Interest Proceeds on such Payment Date.

              "Controlling Class": The Class A-1 Notes, the Class A-2a Notes and the Class A-2b Notes
     (voting together as a Class or group), so long as any Class A-1 Notes, Class A-2a Notes or Class A-
     2b Notes are Outstanding; then the Class A-3 Notes (voting together as a Class or group), so long as
     any Class A-3 Notes are Outstanding; then the Class B Notes (voting together as a Class or group),
     so long as any Class B Notes are Outstanding; then the Class C Notes (voting together as a Class or
     group), so long as any Class C Notes are Outstanding; and then the Class D Notes (voting together
     as a Class or group), so long as any Class D Notes are Outstanding.

              "Controlling Person": The meaning specified in Section 2.6(c).

              "Corporate Trust Office": The corporate trust office of the Trustee at which the Trustee
     performs its duties under this Indenture, currently having an address of 200 Clarendon Street, Mail
     Code: EUC 108, Boston, MA, 02116, telecopy no. (617) 351-4358, Attention: CDO Services Group
     or any other address the Trustee designates from time to time by notice to the Noteholders, the
     Servicer, the Preference Shares Paying Agent, the Issuer, and each Rating Agency or the principal
     corporate trust office of any successor Trustee.

             "Coverage Tests": Collectively, the Class A Coverage Tests, the Class B Coverage Tests,
     the Class C Coverage Tests and the Class D Coverage Tests applicable as of any Measurement Date.

               "Credit Improved Obligation": Any Collateral Obligation that (a) is sold pursuant to a
     Portfolio Improvement Exchange or (b) in the commercially reasonable judgment of the Servicer,
     has improved in credit quality; provided that, in forming such judgment, a reduction in credit spread
     or an increase in Market Value of such Collateral Obligation (whether as described in clauses (ii) or
     (iii) below or otherwise) may only be utilized as corroboration of other bases for such judgment; and
     provided, further, that, if a Credit Rating Event is in effect, such Collateral Obligation will be
     considered a Credit Improved Obligation only if in addition to the above:



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              (i)      the Collateral Obligation has been upgraded or has been put on credit watch list
     with the potential for developing positive credit implications by either of the Rating Agencies since
     the date the Issuer first acquired the Collateral Obligation under this Indenture,

              (ii)     such Collateral Obligation has experienced a reduction in credit spread of (A)
     0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation with
     a spread (prior to such decrease) less than or equal to 2.00%, (B) 0.375% or more (on an absolute
     rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to such
     decrease) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an absolute
     rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to such
     decrease) greater than 4.00%, in each case compared to the credit spread at the time such Collateral
     Obligation was acquired by the Issuer, determined by reference to an applicable index selected by
     the Servicer (such index selection subject to satisfaction of the Rating Condition with respect to
     Moody's),

              (iii)    (x) in the case of a Loan, the Market Value of such Collateral Obligation has
     increased by at least 1.00% from the Market Value of such Collateral Obligation as of its date of
     acquisition, as determined by the Servicer (provided that this subclause (iii)(x) will be deemed
     satisfied if Market Value increases to 101), or (y) in the case of a Bond, the Market Value of such
     Collateral Obligation has changed since its date of acquisition by a percentage more positive than
     the percentage change in the Merrill Lynch US High Yield Master II Index, Bloomberg ticker
     H0A0, plus 3.00%, over the same period, or

              (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations on
     a Collateral Obligation being a Credit Improved Obligation, and for each subsequent downgrade by
     Moody's after a vote to suspend the limitations pursuant to this clause (iv) has occurred, a Super
     Majority of the Controlling Class must again vote to suspend the limitations on the Collateral
     Obligation being a Credit Improved Obligation for this clause (iv) to remain applicable.

              A Synthetic Security shall be considered a Credit Improved Obligation if:

              (i)     the Synthetic Security itself is a Credit Improved Obligation or

             (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
     Obligation, be a Credit Improved Obligation.

              "Credit Rating Event": An event that is in effect if the rating by Moody's:

                      (i)    of the Class A-1 Notes, the Class A-2a Notes or the Class A-2b Notes has
              been withdrawn or is one or more rating sub-categories below its Initial Rating; or

                       (ii)   of the Class A-3 Notes, the Class B Notes, the Class C Notes or the Class
              D Notes has been withdrawn or is two or more rating sub-categories below its respective
              Initial Rating.

               For the purposes of this definition, any withdrawal or reduction in rating shall not be
     effective if after the withdrawal or reduction Moody's has upgraded the reduced or withdrawn rating
     to at least the Initial Rating in the case of the Class A-1 Notes, the Class A-2a Notes and the Class
     A-2b Notes, or to only one subcategory below their Initial Rating in the case of the Class A-3 Notes,
     the Class B Notes, the Class C Notes and the Class D Notes.



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               "Credit Risk Obligation": Any Collateral Obligation (other than a Defaulted Collateral
     Obligation) that, in the commercially reasonable judgment of the Servicer, has significantly declined
     in credit quality and has a significant risk, with a lapse of time, of becoming a Defaulted Collateral
     Obligation; provided that in forming such judgment, an increase in credit spread or a decrease in
     Market Value of such Collateral Obligation (whether as described in clauses (ii) or (iii) below or
     otherwise) may only be utilized as corroboration of other bases for such judgment.

              So long as a Credit Rating Event is in effect, no Collateral Obligation shall be eligible to be
     a Credit Risk Obligation unless in addition to the above, as of the date of determination:

              (i)      the Collateral Obligation has been downgraded or has been put on credit watch list
     with the potential for developing negative credit implications by either of the Rating Agencies since
     the date the Issuer first acquired the Collateral Obligation under this Indenture,

              (ii)     such Collateral Obligation has experienced an increase in credit spread of (A)
     0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation with
     a spread (prior to such increase) less than or equal to 2.00%, (B) 0.375% or more (on an absolute
     rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to such
     increase) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an absolute
     rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to such
     increase) greater than 4.00%, in each case compared to the credit spread at the time such Collateral
     Obligation was acquired by the Issuer, determined by reference to an applicable index selected by
     the Servicer (such index selection subject to satisfaction of the Rating Condition with respect to
     Moody's),

              (iii)    (x) in the case of a Loan, the Market Value of such Collateral Obligation has
     decreased by at least 2.50% from the Market Value of such Collateral Obligation as of its date of
     acquisition, as determined by the Servicer, and (y) in the case of a Bond, the Market Value of such
     Collateral Obligation has changed since its date of acquisition by a percentage more negative, or less
     positive, as the case may be, than the percentage change in the Merrill Lynch US High Yield Master
     II Index, Bloomberg ticker H0A0, less 3.00%, over the same period, or

              (iv)     a Super Majority of the Controlling Class have voted to suspend the limitations on
     a Collateral Obligation being a Credit Risk Obligation set forth in clauses (i), (ii) and (iii) above, and
     for each subsequent downgrade by Moody's after a vote to suspend the limitations pursuant to this
     clause (iv) has occurred, a Super Majority of the Controlling Class must again vote to suspend the
     limitations on the Collateral Obligation being a Credit Risk Obligation for this clause (iv) to remain
     applicable.

              A Synthetic Security shall be considered a Credit Risk Obligation if:

              (a)      the Synthetic Security itself is a Credit Risk Obligation, or

             (b)      the Reference Obligation of the Synthetic Security would, if it were a Collateral
     Obligation, be a Credit Risk Obligation.

              "Current-Pay Obligation": A Collateral Obligation as to which:

              (i)      an Insolvency Event has occurred with respect to its obligor or as to which its
     obligor is rated "D" or "SD" by S&P or its obligor has previously been rated "CCC-" by S&P and
     the rating has been withdrawn,


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              (ii)      no default as to the payment of principal or interest with respect to the Collateral
     Obligation is then continuing and the Servicer has delivered to the Trustee an Officer's certificate to
     the effect that the Servicer expects that the obligor will make payments on the Collateral Obligation
     as they become due,

              (iii)   (A) if the rating by Moody's of the Collateral Obligation is at least "Caa1" (and not
     on credit watch with negative implications) the Market Value of the Collateral Obligation is at least
     equal to 80% of its Principal Balance or (B) if the rating by Moody's of the Collateral Obligation is
     less than "Caa1" or is "Caa1" and on credit watch with negative implications, the Market Value of
     the Collateral Obligation is at least equal to 85% of its Principal Balance,

             (iv)     if an Insolvency Event has occurred with respect to the obligor of the Collateral
     Obligation, a bankruptcy court has authorized the payment of interest payable on the Collateral
     Obligation, and

             (v)     the Servicer has designated in writing to the Trustee the Collateral Obligation as a
     Current-Pay Obligation.

             If the Aggregate Principal Balance of Collateral Obligations that would otherwise be
     Current-Pay Obligations exceeds 5% of the Maximum Amount, all or a portion of one or more
     Collateral Obligations that would otherwise be Current-Pay Obligations with an Aggregate Principal
     Balance equal to the amount of the excess shall not be Current-Pay Obligations (and will therefore
     be Defaulted Collateral Obligations). The Servicer shall designate in writing to the Trustee the
     Collateral Obligations that shall not be Current-Pay Obligations pursuant to the preceding sentence
     as the Collateral Obligations (or portions thereof) that have the lowest Market Value on any
     applicable date of determination.

               The Servicer may, with the consent of a Majority of the Controlling Class, by notice to the
     Issuer, the Trustee, and the Collateral Administrator, change the definition of "Current-Pay
     Obligation" or how Current-Pay Obligations are treated in this Indenture, subject to the satisfaction
     of the Rating Condition with respect to each Rating Agency.

              "Current Portfolio": At any time, the portfolio (measured by Aggregate Principal Balance)
     of Collateral Obligations, Principal Proceeds held as Cash on deposit in the Collection Account, and
     other Eligible Investments purchased with Principal Proceeds on deposit in the Collection Account
     that exists before the sale, maturity, or other disposition of a Collateral Obligation or before the
     acquisition of a Collateral Obligation, as the case may be.

              "Custodial Account": The custodial account established in the name of the Trustee pursuant
     to Section 10.3(a).

              "Custodian": The meaning specified in the first sentence of Section 3.2(a) with respect to
     items of collateral referred to therein, and each entity with which an Account is maintained, as the
     context may require, each of which shall be a Securities Intermediary.




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              "Deep Discount Obligation": Until the average Market Value Percentage of the Collateral
     Obligation, as determined daily for any period of 30 consecutive days, equals or exceeds 90%, any
     Collateral Obligation acquired by the Issuer for a Purchase Price less than 85% of its Principal
     Balance. For such purpose, the Market Value Percentage of a Collateral Obligation on a day that is
     not a Business Day shall be deemed to be the Market Value Percentage of the Collateral Obligation
     on the immediately preceding Business Day.

             "Default": Any Event of Default or any occurrence that, with notice or the lapse of time or
     both, would become an Event of Default.

              "Defaulted Collateral Obligation": Any Collateral Obligation or other obligation included
     in the Collateral:

              (i)      as to which there has occurred and is continuing a default with respect to the
     payment of interest or principal with respect to such Collateral Obligation, without giving effect to
     any applicable grace period or waiver (provided that if the Servicer certifies to the Trustee in writing
     that such default is for non-credit related reasons, the related Collateral Obligation shall not be
     treated as a Defaulted Collateral Obligation under this clause (i) unless and until such default has
     continued for a period of three (3) consecutive business days), but, in any case, only until such
     default has been cured;

              (ii)     the maturity of all or a portion of the principal amount of such Collateral
     Obligation has been accelerated as a consequence of a default (other than any payment default)
     under the instruments evidencing or relating to such Collateral Obligation; unless such default or
     event of default has been fully cured or waived and is no longer continuing and such acceleration
     has been rescinded;

              (iii)   with respect to which there has been effected any distressed exchange or other debt
     restructuring where the obligor has offered the holders thereof a new security or instrument or
     package of securities or instruments that, in the commercially reasonable judgment of the Servicer,
     either (x) amounts to a diminished financial obligation or (y) has the sole purpose of enabling the
     obligor to avoid a default;

              (iv)     (1) that is pari passu with or subordinated to other indebtedness for borrowed
     money owing by its obligor ("Other Indebtedness"), (2) the obligor has defaulted in the payment of
     principal or interest (without regard to any applicable grace or notice period and without regard to
     any waiver of the default) on the Other Indebtedness, unless, in the case of a failure of the obligor to
     make required interest payments, the obligor has resumed current Cash payments of interest
     previously scheduled and unpaid on the Other Indebtedness and has paid in full any accrued interest
     due and payable thereon, in which case the Collateral Obligation shall cease to be classified as a
     Defaulted Collateral Obligation and (3) the Servicer, provided that the related Collateral Obligation
     has not been downgraded after the default on such Other Indebtedness has occurred, determines (in
     its commercially reasonable judgment) that such Other Indebtedness is material;

              (v)     (other than a Current-Pay Obligation or a DIP Loan) as to which:

                               (A) an Insolvency Event has occurred with respect to its obligor, or

                             (B) the obligation is rated "D", "SD", "C" or "CC" by S&P or was so rated
                      immediately prior to such rating being withdrawn, or has previously been rated
                      "CCC-" or lower by S&P and the rating has been withdrawn;


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               (vi)    if the Collateral Obligation is a Structured Finance Obligation, it is rated "CC" or
     below by S&P, or it was rated "CC" or below by S&P but the rating has since been withdrawn, or it
     is rated "Ca" or below by Moody's, or it was rated "C" or below by Moody's but the rating has since
     been withdrawn;

              (vii)   that is a Participation that would, if the underlying Loan were a Collateral
     Obligation, be a Defaulted Collateral Obligation under any of clauses (i) through (v) above or with
     respect to which the Participating Institution has defaulted in the performance of any of its payment
     obligations under the Participation;

              (viii) that is a Synthetic Security referencing a Reference Obligation that would, if the
     Reference Obligation were a Collateral Obligation, be a Defaulted Collateral Obligation under any
     of clauses (i) through (vi) above or with respect to which the Synthetic Security Counterparty has
     defaulted in the performance of any of its payment obligations under the Synthetic Security;
     provided, however, with respect to a Synthetic Security based upon or relating to a senior secured
     index providing non-leveraged credit exposure to a basket of credit default swaps referencing a
     diversified group of Reference Obligations, with respect to which the principal or notional amount
     of the credit exposure to any single Reference Obligation does not increase over time: (x) a
     determination whether the Reference Obligations upon which such Synthetic Security is based
     would, if such Reference Obligations were Collateral Obligations, be a Defaulted Collateral
     Obligation, shall be determined by treating such Synthetic Security as a direct interest of the Issuer
     in each of the Reference Obligations on which such Synthetic Security is based in an amount equal
     to the Allocable Principal Balance of such Reference Obligation and (y) the "Defaulted Collateral
     Obligation" for purposes of this clause (viii) shall be limited to the Allocable Principal Balance of
     each Reference Obligation that would, if the Reference Obligation were a Collateral Obligation, be a
     Defaulted Collateral Obligation under any of clauses (i) through (vi) above;

              (ix)    that is a Written-Down Obligation;

             (x)      that is a DIP Loan as to which an order has been entered converting the debtor's
     chapter 11 case to a case under chapter 7 of the Bankruptcy Code; or

              (xi)    that is declared to be a Defaulted Collateral Obligation by the Servicer.

              Any Collateral Obligation that is classified as a Defaulted Collateral Obligation shall cease
     to be so classified if the Collateral Obligation, at any date thereafter,

             (1)     would not otherwise be classified as a Defaulted Collateral Obligation in
     accordance with this definition; and

              (2)     otherwise meets the Eligibility Criteria as of that date.

               If any portion of a Collateral Obligation has a maturity later than one year after the Stated
     Maturity of the Notes due to a change in the payment schedule of the Collateral Obligation occurring
     after its acquisition by the Issuer, that portion of the Collateral Obligation shall be considered a
     Defaulted Collateral Obligation.

              "Defaulted Hedge Termination Payment": Any termination payment required to be made
     by the Issuer to a Hedge Counterparty pursuant to a Hedge Agreement upon a termination of the
     Hedge Agreement in respect of which the Hedge Counterparty is the sole Defaulting Party or
     Affected Party (each as defined in the Hedge Agreements).


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             "Defaulted Interest": Any interest payable in respect of any Class of Notes that is not
     punctually paid or duly provided for on the applicable Payment Date or at Stated Maturity.

              "Defaulted Interest Charge": To the extent lawful, interest on any Defaulted Interest at the
     Default Interest Rate.

               "Default Interest Rate": With respect to any specified Class of Notes, the per annum
     interest rate equal to the Note Interest Rate payable on the Notes of the Class.

            "Deferred Interest": With respect to any specified Class of Deferred Interest Notes, the
     meaning specified in Section 2.8(a).

                "Deferred Interest Notes": The Class B Notes, the Class C Notes and the Class D Notes.

                "Deficiency Amount": The meaning specified in Section 16.3(a).

                "Deficiency Notice Date": The meaning specified in Section 16.3(a).

                "Definitive Notes": The meaning specified in Section 2.11(b).

                "Delayed Drawdown Loan": A Loan or any Synthetic Security with a Reference Obligation
     that

             (i)     requires the Issuer to make one or more future advances to the borrower under its
     Underlying Instruments,

              (ii)      specifies a maximum amount that can be borrowed on one or more fixed borrowing
     dates, and

                (iii)   does not permit the re-borrowing of any amount previously repaid.

     A Loan or Synthetic Security shall only be considered to be a Delayed Drawdown Loan for so long
     as its unused commitment amount is greater than zero and for purposes of the Concentration Limits
     only unfunded portions will count as Delayed Drawdown Loans.

                "Delayed Drawdown Reserve Account": The trust account established pursuant to Section
     10.3(b).

                "Deliver" or "Delivered" or "Delivery": The taking of the following steps:

             (i)       in the case of each Certificated Security (UCC) (other than a Clearing Corporation
     Security) or Instrument,

                                 (A)     causing the delivery of such Certificated Security (UCC) or
                        Instrument to the Custodian registered in the name of the Custodian or endorsed, by
                        an effective endorsement, to the Custodian or in blank,

                                 (B)     causing the Custodian to continuously indicate on its books and
                        records that such Certificated Security (UCC) or Instrument is credited to the
                        applicable Account, and

                                 (C)     causing the Custodian to maintain continuous possession of such
                        Certificated Security (UCC) or Instrument;
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             (ii)     in the case of each Uncertificated Security (other than a Clearing Corporation
     Security),

                              (A)      causing such Uncertificated Security to be continuously registered
                      on the books of the issuer thereof to the Custodian, and

                               (B)     causing the Custodian to continuously indicate on its books and
                      records that such Uncertificated Security is credited to the applicable Account;

              (iii)   in the case of each Clearing Corporation Security,

                              (A)     causing the relevant Clearing Corporation to credit such Clearing
                      Corporation Security to the securities account of the Custodian, and

                               (B)     causing the Custodian to continuously indicate by on its books and
                      records that such Clearing Corporation Security is credited to the applicable
                      Account;

             (iv)     in the case of each security issued or guaranteed by the United States of America or
     agency or instrumentality thereof and that is maintained in book-entry records of a Federal Reserve
     Bank ("FRB") (each such security, a "Government Security"),

                              (A)      causing the creation of a Security Entitlement to such Government
                      Security by the credit of such Government Security to the securities account of the
                      Custodian at such FRB, and

                               (B)     causing the Custodian to continuously indicate on its books and
                      records that such Government Security is credited to the applicable Account;

              (v)     in the case of each Security Entitlement not governed by clauses (i) through (iv)
     above,

                               (A)      causing a Securities Intermediary (x) to indicate on its books and
                      records that the underlying Financial Asset has been credited to be the Custodian's
                      securities account, (y) to receive a Financial Asset from a Securities Intermediary
                      or acquiring the underlying Financial Asset for a Securities Intermediary, and in
                      either case, accepting it for credit to the Custodian's securities account or (z) to
                      become obligated under other law, regulation or rule to credit the underlying
                      Financial Asset to a Security Intermediary's securities account,

                              (B)       causing such Securities Intermediary to make entries on its books
                      and records continuously identifying such Security Entitlement as belonging to the
                      Custodian and continuously indicating on its books and records that such Security
                      Entitlement is credited to the Custodian's securities account, and

                               (C)     causing the Custodian to continuously indicate on its books and
                      records that such Security Entitlement (or all rights and property of the Custodian
                      representing such Security Entitlement) is credited to the applicable Account;

              (vi)    in the case of cash or money,

                              (A)      causing the delivery of such cash or money to the Custodian,

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                              (B)     causing the Custodian to treat such cash or money as a Financial
                      Asset maintained by such Custodian for credit to the applicable Account in
                      accordance with the provisions of Article 8 of the UCC, and

                               (C)     causing the Custodian to continuously indicate on its books and
                      records that such cash or money is credited to the applicable Account; and

              (vii)    in the case of each general intangible (including any Participation in which the
     Participation is not represented by an Instrument),

                             (A)      causing the filing of a Financing Statement in the office of the
                      Recorder of Deeds of the District of Columbia, Washington, DC, and

                             (B)      causing the registration of this Indenture in the Register of
                      Mortgages of the Issuer at the Issuer's registered office in the Cayman Islands;

              in addition, the Servicer on behalf of the Issuer will obtain any and all consents required by
              the underlying agreements relating to any such general intangibles for the transfer of
              ownership to the Issuer and the pledge hereunder (except to the extent that the requirement
              for such consent is rendered ineffective under Section 9-406 of the UCC).

              In addition to the methods specified above, any Collateral may be delivered in accordance
              with any other method specified in an Opinion of Counsel delivered to the Trustee as
              sufficient to establish a first priority perfected security (subject to customary exceptions and
              qualifications) interest therein.

              "Depository" or "DTC": The Depository Trust Company and its nominees.

              "Determination Date": The last day of any Due Period.

              "DIP Loan": Any Loan

             (i)      that has a rating assigned by Moody's (or if the Loan does not have a rating
     assigned by Moody's, the Servicer has commenced the process of having a rating assigned by
     Moody's within five Business Days of the date the Loan is acquired by the Issuer) and a rating
     assigned by S&P (or if the Loan does not have a rating assigned by S&P, the Servicer has
     commenced the process of having a rating assigned by S&P within two Business Days of the date
     the Loan is acquired by the Issuer),

             (ii)     that is an obligation of a debtor in possession as described in Section 1107 of the
     Bankruptcy Code or a trustee (if appointment of a trustee has been ordered pursuant to Section 1104
     of the Bankruptcy Code) (a "Debtor") organized under the laws of the United States or any state of
     the United States, and

             (iii)     the terms of which have been approved by a final order of the United States
     Bankruptcy Court, United States District Court, or any other court of competent jurisdiction, the
     enforceability of which order is not subject to any pending contested matter or proceeding (as those
     terms are defined in the Federal Rules of Bankruptcy Procedure) and which order provides that

                             (A)     the Loan is secured by liens on the Debtor's otherwise
                      unencumbered assets pursuant to Section 364(c)(2) of the Bankruptcy Code,


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                              (B)       the Loan is secured by liens of equal or senior priority on property
                      of the Debtor's estate that is otherwise subject to a lien pursuant to Section 364(d)
                      of the Bankruptcy Code,

                               (C)      the Loan is fully secured (based on a current valuation or appraisal
                      report) by junior liens on the Debtor's encumbered assets, or

                               (D)      if any portion of the Loan is unsecured, the repayment of the Loan
                      retains priority over all other administrative expenses pursuant to Section 364(c)(1)
                      of the Bankruptcy Code (and in the case of this clause (D), before the acquisition of
                      the Loan, the Rating Condition is satisfied with respect to each Rating Agency).

              "Discount Note": Any Note that is treated as being issued with "original issue discount"
     within the meaning of Section 1271 through 1275 of the Code and Treasury Regulations
     promulgated thereunder.

              "Diversity Score": A single number that indicates collateral concentration in terms of both
     issuer and industry concentration, calculated as set forth in Schedule 4 to this Indenture.

              "Diversity Test": A test that will be satisfied as of any Measurement Date if the Diversity
     Score equals or exceeds the Minimum Diversity Score. For the purposes of calculating the Diversity
     Test, any Structured Finance Obligation that is a collateralized loan obligation will be disregarded.

              "Dollar" or "U.S. Dollar" or "U.S.$": A dollar or other equivalent unit in such coin or
     currency of the United States of America as at the time shall be legal tender for all debts, public and
     private.

              "Domicile" or "Domiciled": With respect to each Collateral Obligation, (i) the jurisdiction
     of incorporation, organization or creation of the related obligor or (ii) in the case of a Collateral
     Obligation that would otherwise be considered to be domiciled pursuant to clause (i) in a Tax
     Advantaged Jurisdiction, the jurisdiction in which, in the commercially reasonable judgment of the
     Servicer, the related obligor conducts substantially all of its business operations and in which the
     assets primarily responsible for generating its revenues are located.

               "Due Date": Each date on which any payment is due on a Pledged Obligation in accordance
     with its terms.

              "Due Period": With respect to any Payment Date, for all purposes other than payments and
     receipts under Hedge Agreements, the period from the Business Day after the eighth Business Day
     before the previous Payment Date (or in the case of the first Payment Date, from the Closing Date)
     up to but excluding the Business Day after the eighth Business Day before the Payment Date (or in
     the case of the final Payment Date or any Payment Date that is a Redemption Date, through the
     Business Day before the Payment Date and for payments and receipts under Hedge Agreements the
     period from the day after the previous Payment Date (or in the case of the first Payment Date from
     the Closing Date) through the Payment Date).

              "Eligibility Criteria": The meaning specified in Section 12.2(b).

              "Eligible Collateral": (i) Cash, (ii) U.S. Treasury obligations, (iii) U.S. agency obligations
     or (iv) commercial paper obligations rated at least "P-1" by Moody's (and not on watch for
     downgrade) and "A-1+" by S&P, in each case to collateralize fully on a mark-to-market basis the
     obligations of a Hedge Counterparty under the related Hedge Agreement.

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              "Eligible Country": The United States, Canada and any country classified by Moody's as a
     Moody's Group I Country, Moody's Group II Country or Moody's Group III Country and, in each
     case, has an S&P foreign currency rating of at least “AA” and Moody's foreign currency rating of at
     least "Aa2".

              "Eligible Equity Security": An equity security acquired in connection with the workout or
     restructuring of any Collateral Obligation by, or on behalf of, the Issuer that (i) is publicly traded on
     an Established Securities Market or (ii) the Market Value of which is higher than the Principal
     Balance of the Collateral Obligation with respect to which such equity security has been acquired by
     the Issuer.

              "Eligible Investments": Any Dollar-denominated obligation or asset that, when it is pledged
     by the Issuer to the Trustee under this Indenture, is one or more of the following:

                      (a)      Cash;

                       (b)     direct Registered obligations of, and Registered obligations the timely
              payment of principal and interest on which is fully and expressly guaranteed by, the United
              States or any agency or instrumentality of the United States the obligations of which are
              expressly backed by the full faith and credit of the United States, which in each case are not
              zero coupon securities;

                       (c)       demand and time deposits in, trust accounts, certificates of deposit payable
              within 91 days of issuance of, bankers' acceptances payable within 91 days of issuance
              issued by, or Federal funds sold by any depositary institution or trust company incorporated
              under the laws of the United States or any state thereof and subject to supervision and
              examination by Federal and/or state banking authorities so long as the commercial paper
              and/or the debt obligations of such depository institution or trust company (or, in the case of
              the principal depository institution in a holding company system, the commercial paper or
              debt obligations of such holding company), at the time of such acquisition or contractual
              commitment providing for such acquisition and throughout the term thereof, have a credit
              rating of not less than "Aaa" by Moody's and "AAA" by S&P and in each case are not on
              watch for downgrade, or "P-1" by Moody's and "A-1+" by S&P in the case of commercial
              paper and short-term debt obligations; provided that in any case, the issuer thereof must
              have at the time of such acquisition a long-term credit rating of not less than "AA-" by S&P
              and "Aa3" by Moody's and a short-term rating of "A-1+" by S&P and "P-1" by Moody's,
              and if so rated, is not on watch for downgrade;

                       (d)       commercial paper or other short-term obligations with a maturity of not
              more than 183 days from the date of issuance and having at the time of such acquisition a
              credit rating of at least "P-1" by Moody's and "A-1+" by S&P; provided that, in any case,
              the issuer thereof must have at the time of such acquisition a long-term credit rating of not
              less than "Aa2" by Moody's and “AA-” by S&P, and if so rated, such rating is not on watch
              for downgrade.

                       (e)      unleveraged repurchase obligations with respect to any security described
              in clause (b) above entered into with a U.S. federal or state depository institution or trust
              company (acting as principal) described in clause (c) above or entered into with a
              corporation (acting as principal) whose long-term credit rating is not less than "Aaa" by
              Moody's and "AAA" by S&P and in each case are not on watch for downgrade or whose
              short-term credit rating is "P-1" by Moody's and "A-1+" by S&P at the time of such
              acquisition and throughout the term thereof; provided that, if such repurchase obligation has

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               a maturity of longer than 91 days, the counterparty thereto must also have at the time of
               such acquisition and throughout the term thereof a long-term credit rating of not less than
               "Aa2" by Moody's and "AAA" by S&P, and if so rated, such rating is not on watch for
               downgrade;

                       (f)      any money market fund or similar vehicle having at the time of acquisition
               and throughout the term thereof a credit rating of "MR1+" by Moody's and "AAA" by S&P;
               including any fund for which the Trustee or an Affiliate of the Trustee serves as an
               investment adviser, administrator, shareholder servicing agent, custodian or subcustodian,
               notwithstanding that (A) the Trustee or an Affiliate of the Trustee charges and collects fees
               and expenses from such funds for services rendered (provided that such charges, fees and
               expenses are on terms consistent with terms negotiated at arm's length) and (B) the Trustee
               charges and collects fees and expenses for services rendered, pursuant to this Indenture;

                        (g)     a guaranteed reinvestment agreement from a bank (if treated as a deposit
               by such bank), insurance company or other corporation or entity organized under the laws
               of the United States or any state thereof (if treated as debt by such insurance company or
               other corporation or entity), providing for periodic payments thereunder during each Due
               Period; provided that each such agreement provides that it is terminable by the purchaser,
               without premium or penalty, in the event that the rating assigned to such agreement by
               either Moody's or S&P is at any time lower than the then current ratings assigned to the
               Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the Class A-3 Notes, the
               Class B Notes, the Class C Notes or the Class D Notes; provided, further, that, at the time of
               acquisition and throughout the term thereof, the issuer of such agreement has a senior
               unsecured long-term debt rating, issuer rating or counterparty rating of at least "Aaa" by
               Moody's, a short-term debt rating of "P-1" by Moody's (and not on watch for downgrade), a
               short-term debt rating of at least "A-1+" by S&P and a long-term debt rating of at least
               "AAA" by S&P (and not on watch for downgrade); and

                       (h)      such other obligations or assets for which Rating Confirmation has been
               received;

     and, in each case, with a stated maturity (giving effect to any applicable grace period) no later than
     the Business Day before the Payment Date next succeeding the date of acquisition.

             Eligible Investments on deposit in the Revolving Reserve Account, the Delayed Drawdown
     Reserve Account, or the Synthetic Security Collateral Account must have a stated maturity no later
     than one Business Day after the date of their purchase.

               Eligible Investments may not include:

             (1)       any interest-only security, any security purchased at a price in excess of 100% of its
     par value, any mortgage-backed security or any security whose repayment is subject to substantial
     non-credit related risk as determined in the commercially reasonable judgment of the Servicer;

               (2)     any security whose rating assigned by S&P includes the subscript "r", "t", "p", "pi"
     or "q";

              (3)      any floating rate security whose interest rate is inversely or otherwise not
     proportionately related to an interest rate index or is calculated as other than the sum of an interest
     rate index plus a spread (which spread may be zero);


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              (4)     any security that is subject to an exchange or tender offer; or

              (5)     any security that has payments subject to foreign or United States withholding tax.

              Eligible Investments may include Eligible Investments for which the Trustee or an Affiliate
     of the Trustee is the issuer or depository institution or provides services. Eligible Investments may
     not include obligations principally secured by real property.

              "Emerging Market Security": A security or obligation issued by a sovereign or non-
     sovereign issuer located in a country (excluding the Cayman Islands, Bermuda, the British Virgin
     Islands, the Netherlands Antilles, and the Channel Islands):

              (i)     that is in Latin America, Asia, Africa, Eastern Europe, or the Caribbean, or

              (ii)     the long-term foreign currency debt obligations of which are rated below "Aa2" or
     "Aa2" and on credit watch with negative implications by Moody's or the foreign currency issuer
     credit rating of which is below "AA" by S&P.

            "ERISA": The United States Employee Retirement Income Security Act of 1974, as
     amended.

              "Established Securities Market": Any national securities exchange registered under Section
     6 of the Securities Exchange Act of 1934, as amended, or exempted from registration because of the
     limited volume of transaction; any foreign securities exchange that, under the laws of the jurisdiction
     where it is organized, satisfies regulatory requirements that are analogous to the regulatory
     requirements imposed under the Securities Exchange Act of 1934; any regional or local exchange;
     and any interdealer quotation system that regularly disseminates firm buy or sell quotations by
     identified brokers or dealers, by electronic means or otherwise.

              "Euroclear": Euroclear Bank S.A./N.V., as operator of the Euroclear system.

              "Event of Default": The meaning specified in Section 5.1.

              "Excel Default Model Input File": An electronic spreadsheet file in Microsoft excel format
     to be provided to S&P, which file shall include the balance of Cash and Eligible Investments in each
     account and the following information (to the extent such information is not confidential) with
     respect to each Collateral Obligation:

              (a)      the name and country of domicile of the issuer thereof and the particular obligation
     or security held by the Issuer,

             (b)      the CUSIP or other applicable identification number associated with such
     Collateral Obligation,

              (c)     the par value of such Collateral Obligation,

              (d)     the type of obligation or security (including, by way of example, whether such
     Collateral Obligation is a bond, loan or asset-backed security), using such abbreviations as may be
     selected by the Trustee,




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              (e)     a description of the index or other applicable benchmark upon which the interest
     payable on such Collateral Obligation is based (including, by way of example, fixed rate, step-up
     rate, zero coupon and LIBOR),

               (f)       the coupon (in the case of a Collateral Obligation which bears interest at a fixed
     rate) or the spread over the applicable index (in the case of a Collateral Obligation which bears
     interest at a floating rate),

                (g)     the S&P Industry Classification for such Collateral Obligation,

                (h)     the stated maturity date of such Collateral Obligation,

                (i)     the S&P Rating of such Collateral Obligation or the issuer thereof, as applicable,

                (j)     the applicable S&P Priority Category, and

                (k)     such other information as the Trustee may determine to include in such file.

             "Excess CCC+/Caa1 Collateral Obligations": The Principal Balance of all CCC+/Caa1
     Collateral Obligations in excess of 7.5% of the Maximum Amount on the relevant Determination
     Date.

                "Exchange Act": The United States Securities Exchange Act of 1934, as amended.

               "Excluded Property": (i) U.S.$1,000 (attributable to the issue and allotment of the Issuer
     Ordinary Shares) and a U.S.$1,000 transaction fee paid to the Issuer, the bank account in which
     those amounts are credited in the Cayman Islands and any interest earned on those amounts, (ii) any
     amounts credited to the Class II Preference Share Special Payment Account from time to time and
     (iii) any Margin Stock.

                "Expense Reimbursement Account": The trust account established pursuant to Section
     10.3(c).

              "Extended Replacement Period End Date": If an Extension has occurred, the sixteenth
     Payment Date after the then current Extended Replacement Period End Date (or, in the case of the
     first Extension pursuant to Section 2.4, the Payment Date in May 2018); provided that the “Extended
     Replacement Period End Date” will in no event be a date later than the Payment Date in May, 2030.

              "Extended Scheduled Holding Preference Shares Redemption Date": If a Maturity
     Extension has occurred, the sixteenth Payment Date after the then current Extended Scheduled
     Holding Preference Shares Redemption Date (or, in the case of the first Extended Scheduled
     Holding Preference Shares Redemption Date, the Payment Date in May 2026); provided that the
     “Extended Scheduled Holding Preference Shares Redemption Date” will in no event be a date later
     than the Payment Date in May 2038.

              "Extended Scheduled Preference Shares Redemption Date": If a Maturity Extension has
     occurred, the sixteenth Payment Date after the then current Extended Scheduled Preference Shares
     Redemption Date (or, in the case of the first Extended Scheduled Preference Shares Redemption
     Date, the Payment Date in May 2026); provided that the “Extended Scheduled Preference Shares
     Redemption Date” will in no event be a date later than the Payment Date in May 2038.

            "Extended Stated Maturity Date": If a Maturity Extension has occurred, the sixteenth
     Payment Date after the then current Extended Stated Maturity Date (or, in the case of the first
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     Extended Stated Maturity Date, the Payment Date in May 2026); provided that the “Extended Stated
     Maturity Date” will in no event be a date later than the Payment Date in May 2038.

               "Extended Weighted Average Life Date": If a Maturity Extension has occurred, the
     sixteenth Payment Date after the then current Extended Weighted Average Life Date (or, in the case
     of the first Extended Weighted Average Life Date, May 1, 2021); provided that the “Extended
     Weighted Average Life Date” will in no event be a date later than the Payment Date in May 2033.

             "Extension": An extension of the Replacement Period, the Stated Maturity of the Notes and
     the Weighted Average Life Test pursuant to Section 2.4.

              "Extension Bonus Payment": With respect to each Maturity Extension, a single payment
     to each applicable beneficial owner set forth in Section 2.4(g), in an amount equal to (1) in the case
     of the Class A-1 Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial
     owner as of the applicable Extension Effective Date, (2) in the case of the Class A-2a Notes 0.25%
     of the Aggregate Outstanding Amount thereof held by such beneficial owner as of the applicable
     Extension Effective Date, (3) in the case of the Class A-2b Notes 0.25% of the Aggregate
     Outstanding Amount thereof held by such beneficial owner as of the applicable Extension Effective
     Date, (4) in the case of the Class A-3 Notes 0.25% of the Aggregate Outstanding Amount thereof
     held by such beneficial owner as of the applicable Extension Effective Date, (5) in the case of the
     Class B Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial owner
     as of the applicable Extension Effective Date, (6) in the case of the Class C Notes, 0.25% of the
     Aggregate Outstanding amount thereof held by such beneficial owner as of the applicable Extension
     Effective Date and (7) in the case of the Class D Notes, 0.25% of the Aggregate Outstanding
     Amount thereof held by such beneficial owner as of the applicable Extension Effective Date.

              "Extension Bonus Eligibility Certification": With respect to each Maturity Extension and
     each beneficial owner of Notes other than Extension Sale Securities, the written certification by such
     beneficial owner acceptable to the Issuer to the effect that it held Notes other than Extension Sale
     Securities on the applicable Extension Effective Date, including the Aggregate Outstanding Amount
     thereof in the case of the Notes and wire transfer instructions for the Extension Bonus Payment and
     any required documentation thereunder.

              "Extension Conditions": The meaning specified in Section 2.4.

              "Extension Determination Date": The 8th Business Day prior to each Extension Effective
     Date.

              "Extension Effective Date": If an Extension has occurred, the sixteenth Payment Date after
     the then current Extension Effective Date (or, in the case of the first Extension Effective Date, the
     Payment Date in February 2012).

              "Extension Notice": The meaning specified in Section 2.4.

              "Extension Purchase Price": The purchase price payable by the Extension Qualifying
     Purchasers for Extension Sale Securities in connection with each Maturity Extension, if any, in an
     amount equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus
     accrued and unpaid interest (including Deferred Interest, if any) as of the applicable Extension
     Effective Date (giving effect to any amounts paid to the Holder on such date), and (ii) in the case of
     the Preference Shares and the Holding Preference Shares, an amount that, when taken together with
     all payments and distributions made in respect of such Preference Shares or Holding Preference
     Shares, as the case may be, since the Closing Date would cause such Preference Shares or Holding

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     Preference Shares, as applicable, to have received (as of the date of purchase thereof) a Preference
     Share Internal Rate of Return or a Holding Preference Share Internal Rate of Return, as applicable,
     of 12.0% (assuming such purchase date was a Payment Date); provided, however, that if the
     applicable Extension Effective Date is on or after the date on which such Holders have received a
     Preference Share Internal Rate of Return or a Holding Preference Share Internal Rate of Return, as
     applicable, equal to or in excess of 12.0%, the applicable Extension Purchase Price for such
     Preference Shares or Holding Preference Shares, as applicable, shall be zero.

              "Extension Qualifying Purchasers": The Servicer (or any of its Affiliates acting as
     principal or agent); provided that in the event that the Servicer elects not to purchase Extension Sale
     Securities from Holders pursuant to the Extension Conditions set forth in Section 2.4(c), "Extension
     Qualifying Purchasers" shall mean one or more qualifying purchasers (which may include the Initial
     Purchaser, the Placement Agent, the Investors Corp. Placement Agent or any of their respective
     Affiliates acting as principal or agent) designated by the Servicer; provided, however, none of the
     Servicer, the Initial Purchaser, the Placement Agent, the Investors Corp. Placement Agent or any of
     their respective Affiliates shall have any duty to act as an Extension Qualifying Purchaser.

              "Extension Sale Notice": The meaning specified in Section 2.4.

              "Extension Sale Notice Period": The meaning specified in Section 2.4.

              "Extension Sale Securities": The meaning specified in Section 2.4.

             "Face Amount": With respect to any Preference Share or Holding Preference Share, the
     amount set forth therein as the "face amount" thereof, which "face amount" shall be $1,000 per
     Preference Share or Holding Preference Share.

             "Finance Lease": A lease agreement or other agreement entered into in connection with and
     evidencing a Leasing Finance Transaction.

              "Financial Asset": The meaning specified in Section 8-102(a)(9) of the UCC.

             "Financing Statements": Financing statements relating to the Collateral naming the Issuer
     as debtor and the Trustee on behalf of the Secured Parties as secured party.

             "Fixed Amount": With respect to any CDS/TRS Purchaser and each applicable Fixed Rate
     Payor Calculation Period, the product of (i) the applicable Fixed Rate Payor Calculation Amount
     with respect to such CDS/TRS Purchaser, (ii) the applicable Fixed Rate with respect to such
     CDS/TRS Purchaser and (iii) a fraction the numerator of which is the actual number of days in such
     Fixed Rate Payor Calculation Period and the denominator of which is 360.

              "Fixed Rate": With respect to any CDS/TRS Purchaser, the spread over LIBOR of the
     Class of Notes held by such CDS/TRS Purchaser with respect to which such CDS/TRS Purchaser
     has entered into a credit default swap or a total return swap, as the case may be.

             "Fixed Rate Excess": As of any Measurement Date, a fraction whose numerator is the
     product of:

                     (i)      the greater of zero and the excess of the Weighted Average Fixed Rate
              Coupon for the Measurement Date over the minimum percentage specified to pass the
              Weighted Average Fixed Rate Coupon Test, and


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                     (ii)    the Aggregate Principal Balance of all Fixed Rate Obligations (excluding
              any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date,

     and whose denominator is the Aggregate Principal Balance of all Floating Rate Obligations
     (excluding any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement
     Date.

              In computing the Fixed Rate Excess on any Measurement Date, the Weighted Average
     Fixed Rate Coupon for the Measurement Date will be computed as if the Spread Excess were equal
     to zero.

              "Fixed Rate Obligation": Any Collateral Obligation that bears interest at a fixed rate.

             "Fixed Rate Payor Calculation Amount": With respect to any CDS/TRS Purchaser for
     purposes of calculating the applicable CDS/TRS Termination Payment Amount, the Aggregate
     Outstanding Amount of the Notes held by such CDS/TRS Purchaser as of the date of purchase
     of such Notes in an Amendment Buy-Out (in each case, after giving effect to any principal
     amounts paid to such CDS/TRS Purchaser on such date).

              "Fixed Rate Payor Calculation Period": With respect to any CDS/TRS Purchaser for
     purposes of calculating the applicable CDS/TRS Termination Payment Amount, initially, the
     period from and including the date of purchase of such Notes in an Amendment Buy-Out to but
     excluding the immediately succeeding Payment Date, and, thereafter, each successive period
     from and including each Payment Date to but excluding the following Payment Date; provided
     that the last Fixed Rate Payor Calculation Period shall end on the August 2011 Payment Date.

             "Floating Rate Notes": The Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
     the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes.

              "Floating Rate Obligation": Any Collateral Obligation that bears interest based on a
     floating rate index.

              "Form-Approved Synthetic Security": A Synthetic Security

                      (i)     (A)      each of the Reference Obligations of which satisfy the definition
                      of "Collateral Obligation" and could be purchased by the Issuer without any
                      required action by the Rating Agencies, without satisfaction of the Rating
                      Condition or which the Rating Agencies have otherwise approved; or

                              (B)      each of the Reference Obligations of which would satisfy clause
                      (A) above but for the currency in which the Reference Obligation is payable and
                      the Synthetic Security is payable in Dollars, does not provide for physical
                      settlement, and does not expose the Issuer to Dollar currency risk;

                      (ii)     the Synthetic Security Agreement of which conforms (but for the amount
              and timing of periodic payments, the name of the Reference Obligation, the notional
              amount, the effective date, the termination date, and other similar necessary changes) to a
              form that has been expressly identified and approved in writing in connection with a request
              under this Indenture by Moody's and S&P;

                      (iii)    a copy of the Synthetic Security Agreement of which has been delivered to
              the Holders of the Class A-1 Notes, the Class A-2a Notes and the Class A-2b Notes by the
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              Trustee at the expense of the Co-Issuers and upon being furnished with a copy of the same
              by the Servicer; and

                       (iv)     that is with a counterparty with respect to which the Rating Condition has
              been satisfied by each of Moody's and S&P prior to the acquisition of any such Form-
              Approved Synthetic Security, and such approval has not been withdrawn.

              Moody's or S&P may at any time, by notice to the Servicer, withdraw its approval of any
     such form. A withdrawal of approval shall have no effect on any Synthetic Security acquired,
     entered into, or committed to before the date on which the Servicer receives the notice of
     withdrawal.

              "FSA": The meaning specified in Section 14.3(d).

             "Funded Amount": With respect to any Revolving Loan or Delayed Drawdown Loan at
     any time, the aggregate principal amount of advances or other extensions of credit made
     thereunder by the Issuer that are outstanding and have not been repaid at such time.

              "GAAP": The meaning specified in Section 6.3(j).

              "Global Notes": Any Regulation S Global Notes or Rule 144A Global Notes.

               "Grant": To grant, bargain, sell, warrant, alienate, remise, demise, release, convey, assign,
     transfer, mortgage, pledge, create, and grant a security interest in and right of setoff against, deposit,
     set over, and confirm. A Grant of the Pledged Obligations, or of any other instrument, shall include
     all rights, powers, and options of the granting party thereunder, including the immediate continuing
     right to claim for, collect, receive, and receipt for principal and interest payments in respect of the
     Pledged Obligations, and all other monies payable thereunder, to give and receive notices and other
     communications, to make waivers or other agreements, to exercise all rights and options, to bring
     Proceedings in the name of the granting party or otherwise, and generally to do and receive anything
     that the granting party is or may be entitled to do or receive thereunder or with respect thereto.

             "Hedge Agreements": Collectively, all interest rate cap or interest rate swap agreements
     between the Issuer and any Hedge Counterparty, and any replacement agreement entered into
     pursuant to Section 15.2.

              "Hedge Counterparty": Any counterparty, to the extent that when the Issuer enters into any
     Hedge Agreement with such counterparty, such counterparty satisfies the requirements of Section
     15.2(b) (subject to satisfaction of the Rating Condition for each Rating Agency).

             "Hedge Counterparty Collateral Account": The trust account established pursuant to
     Section 10.3(d).

               "Hedge Termination Receipt": Any termination payment paid by the Hedge Counterparty
     to the Issuer upon any early termination of a Hedge Agreement with respect to which the Hedge
     Counterparty is the sole Defaulting Party or Affected Party (each as defined in the Hedge
     Agreements).

              "HFP": Highland Financial Partners, L.P., an Affiliate of the Servicer.

             "High-Yield Bond": Any debt security, other than a Loan or a Structured Finance
     Obligation, that is either Registered or, if not Registered, (i) it is issued by an obligor that is not

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     resident in the United States, (ii) the payments on it are not subject to United States withholding tax
     and (iii) it is held through a financial institution pursuant to the procedures described in Treasury
     Regulation section 1.165-12(c)(3).

              "Holder": Of any Note, the person whose name appears on the Indenture Register as the
     registered holder of the Note; of any Preference Share, the person whose name appears in the
     Preference Share register related thereto as the registered holder of such Preference Share; and of
     any Holding Security, the person whose name appears in the Holding Preference Share register
     related thereto as the registered holder of such Holding Security.

              "Holding Preference Share Documents": Investors Corp.'s memorandum and articles of
     association, the Holding Preference Shares Paying Agency Agreement and the resolutions of
     Investors Corp.'s board of directors authorizing the issuance of the Holding Securities passed on or
     before the Closing Date.

              "Holding Preference Share Internal Rate of Return": With respect to any Payment Date,
     the internal rate of return (computed using the "XIRR" function in Microsoft® Excel 2002 or an
     equivalent function in another software package), stated on a per annum basis, for each distribution
     made to the Holders of the Holding Securities on any prior Payment Date and, to the extent
     necessary to reach the applicable Holding Preference Share Internal Rate of Return, the current
     Payment Date, assuming all Holding Preference Shares are purchased on the Closing Date at their
     Face Amount.

              "Holding Preference Shares": Preference shares issued by Investors Corp. pursuant to the
     Holding Preference Share Documents. For the avoidance of doubt, (A) all references in this
     Indenture to the “Holding Preference Shares” include the “Holding Preference Share Component” of
     the Class P Securities and (B) all references in this Indenture to the rights of the Holders of the
     Holding Preference Shares (including with respect to any payments, distributions, redemptions,
     votes or consents to be given by such Holders) include the rights of the Holders of the Class P
     Securities to the extent of the Holding Preference Share Component of the Class P Securities.

              "Holding Preference Shares Component": The component of the Class P Securities
     consisting of Holding Preference Shares.

             "Holding Preference Shares Paying Agency Agreement": The Holding Preference Shares
     Paying Agency Agreement, dated as of the Closing Date, by and between Investors Corp. and the
     Holding Preference Shares Paying Agent, as amended from time to time in accordance with the
     terms thereof.

             "Holding Preference Shares Paying Agent": Investors Bank & Trust Company, in its
     capacity as holding preference shares paying agent under the Holding Preference Shares Paying
     Agency Agreement, unless a successor Person shall have become the holding preference shares
     paying agent pursuant to the applicable provisions of the Holding Preference Shares Paying Agency
     Agreement, and thereafter "Holding Preference Shares Paying Agent" shall mean such successor
     Person.

              "Holding Securities": Collectively, the Holding Preference Shares and the Class P
     Securities.

                "Holding Share Registrar": Ogier Fiduciary Services (Cayman) Limited or any successor
     thereto.


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              "Important Section 3(c)(7) Reminder Notice": A notice substantially in the form of Exhibit
     G-2.

             "Indenture": This instrument as originally executed and, if from time to time supplemented
     or amended by one or more indentures supplemental to this Indenture entered into pursuant to this
     Indenture, as so supplemented or amended.

              "Indenture Register": The meaning specified in Section 2.6(a).

              "Indenture Registrar": The meaning specified in Section 2.6(a).

             "Independent": As to any person, any other person (including, in the case of an accountant
     or lawyer, a firm of accountants or lawyers, and any member of the firm, or an investment bank and
     any member of the bank) who

                       (i)      does not have and is not committed to acquire any material direct or any
              material indirect financial interest in the person or in any Affiliate of the person, and

                     (ii)      is not connected with the person as an Officer, employee, promoter,
              underwriter, voting trustee, partner, director, or person performing similar functions.

              "Independent" when used with respect to any accountant may include an accountant who
     audits the books of the person if in addition to satisfying the criteria above the accountant is
     independent with respect to the person within the meaning of Rule 101 of the Code of Ethics of the
     American Institute of Certified Public Accountants.

              Whenever any Independent person's opinion or certificate is to be furnished to the Trustee,
     the opinion or certificate shall state that the signer has read this definition and that the signer is
     Independent within the meaning of this Indenture.

             "Initial Consent Period": The period of 15 Business Days from but excluding the date on
     which the Trustee mailed notice of a proposed supplemental indenture pursuant to Section 8.2(b) to
     the Holders of Securities.

              “Initial Purchaser”: Citigroup Global Markets Inc.

             "Initial Rating": The ratings by Moody's and S&P with respect to each Class of Notes
     provided in the table in Section 2.3(a).

             "Institutional Accredited Investor": An institutional investor that is also an “accredited
     investor” as defined in Rule 501(a)(1), (2), (3) or (7) under Regulation D.

              "Insolvency Event": With respect to any person, means that:

              (i)     an involuntary proceeding shall be commenced or an involuntary petition shall be
     filed seeking:

                               (A)       liquidation, reorganization, or other relief in respect of the person
                      or its debts, or of all or substantially all of its assets, under any bankruptcy,
                      insolvency, receivership, or similar law now or hereafter in effect, or



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                              (B)       the appointment of a receiver, trustee, custodian, sequestrator,
                      conservator, or similar official for the person or for all or substantially all of its
                      assets,

     and, in any such case, the proceeding or petition shall continue undismissed for 30 days; or an order
     or decree approving or ordering any of the foregoing shall be entered, or

              (ii)    the person shall:

                               (A)      voluntarily commence any proceeding or file any petition seeking
                      liquidation, reorganization, or other relief under any bankruptcy, insolvency,
                      receivership, or similar law now or hereafter in effect,

                              (B)     consent to the institution of, or fail to contest in a timely and
                      appropriate manner, any proceeding or petition described in clause (i) above,

                              (C)      apply for or consent to the appointment of a receiver, trustee,
                      custodian, sequestrator, or conservator or for all or substantially all of its assets,

                               (D)       file an answer admitting the material allegations of a petition filed
                      against it in any such proceeding, or

                               (E)        make a general assignment for the benefit of creditors.

              "Insolvency Proceeding": The meaning specified in Section 16.4(b).

              "Instrument": The meaning specified in Section 9-102(a)(47) of the UCC.

            "Interest Coverage Ratio": With respect to any specified Class of Notes on any
     Measurement Date, the ratio calculated by dividing:

              (i)     the sum of:

                               (A)     the Interest Proceeds received or scheduled to be received with
                      respect to the Due Period in which the Measurement Date occurs, minus

                               (B)      amounts payable under clauses (1), (2), (3) and (4) of Section
                      11.1(a)(i) on the related Payment Date, by:

                      (ii)     all accrued and unpaid interest on the specified Class of Notes and all
                               Notes ranking senior to the Class, including any Deferred Interest on the
                               related Payment Date.

     For purposes of the Interest Coverage Ratio, only the amount of any interest payment (including any
     "gross up" payment) on any Collateral Obligation in excess of any withholding tax or other
     deductions on account of tax of any jurisdiction on any date of determination shall be included in
     Interest Proceeds.

              "Interest Coverage Test": A test the first Measurement Date for which will be on the second
     Payment Date and that is satisfied with respect to any specified Class of Notes if, as of the second
     Payment Date and any Measurement Date thereafter on which any Notes remain Outstanding, the
     Interest Coverage Ratio equals or exceeds the applicable required level in the table below for the
     specified Class:
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                                           Test                        Required Level
                        Class A Interest Coverage Test                     120.0%
                        Class B Interest Coverage Test                     115.0%
                        Class C Interest Coverage Test                     110.0%
                        Class D Interest Coverage Test                     105.0%

               "Interest Period": Initially, the period from and including the Closing Date to but excluding
     the first Payment Date, and, thereafter, each successive period from and including each Payment
     Date to but excluding the following Payment Date.

              "Interest Proceeds": With respect to any Due Period, the sum (without duplication) of all
     amounts received in Cash during the Due Period (or as otherwise specified below) by the Issuer with
     respect to the Collateral that are:

             (i)     payments of interest, fees, and commissions (excluding (A) Accrued Interest
     Purchased With Principal, (B) interest and dividends on Workout Assets, (C) fees and commissions
     from Defaulted Collateral Obligations, and (D) syndication and other up-front fees and any up-front
     fixed payments received in connection with entering into a Synthetic Security);

             (ii)     any portion of the Sale Proceeds of a Collateral Obligation (other than a Defaulted
     Collateral Obligation) representing Accrued Interest On Sale;

            (iii)     all payments of principal on, or disposition proceeds from the sale of, Eligible
     Investments to the extent purchased with Interest Proceeds;

              (iv)     payments with respect to the Hedge Agreements received on or before the related
     Payment Date (other than any amount payable thereunder because of any early termination or
     notional amount reduction), but not any Sale Proceeds from any of these instruments (except to the
     extent that they were purchased with Interest Proceeds);

              (v)     all fees received pursuant to any Securities Lending Agreements;

             (vi)     amounts in the Collection Account designated for distribution as Interest Proceeds
     pursuant to the Priority of Payments (including any amount transferred from the Interest Reserve
     Account);

             (vii)  all earnings on amounts in the Delayed Drawdown Reserve Account and the
     Revolving Reserve Account deposited to the Collection Account in accordance with Section 10.3(b);

              (viii) amounts in the Expense Reimbursement Account on the Payment Date for the
     relevant Due Period; and

             (ix)      any recoveries (including interest) received on a Defaulted Collateral Obligation in
     excess of the principal balance of such Defaulted Collateral Obligation (as of the date the related
     Collateral Obligation became a Defaulted Collateral Obligation).

              Interest Proceeds shall not include the Excluded Property and Interest Proceeds shall not
     include earnings on amounts on deposit in the Securities Lending Account to the extent the earnings
     are payable by the Issuer to a Securities Lending Counterparty.

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              Each reference in the definition of "Interest Proceeds" to a Collateral Obligation shall
     include a Collateral Obligation that has been loaned pursuant to a Securities Lending Agreement and
     Interest Proceeds shall include any amounts referred to in clauses (i) through (iii) above received by
     the Issuer in respect of the Collateral Obligation indirectly from the related Securities Lending
     Counterparty pursuant to the Securities Lending Agreement.

              With respect to any Payment Date, Interest Proceeds in an amount equal to the Interest
     Proceeds due and payable on such Payment Date to the Consenting Holders of the Preference Shares
     with respect to such Payment Date that are distributed to such Holders by way of Eligible Equity
     Securities in lieu of Cash pursuant to Section 11.1(a)(i) will be treated for all purposes by the Issuer
     and the Servicer as Principal Proceeds.

              "Interest Reserve Account": The trust account established pursuant to Section 10.3(i).

            "Investment Company Act": The United States Investment Company Act of 1940, as
     amended.

             "Investors Corp.": Eastland Investors Corp., an exempted limited liability company
     incorporated under the laws of the Cayman Islands.

              "Investors Corp. Placement Agent": Citigroup Global Markets Inc.

             "Investors Corp. Subscription Agreement": A subscription agreement dated March 13,
     2007 between Investors Corp. and the Issuer relating to the purchase of the Class I Preference Shares
     by Investors Corp.

              "Irish Paying Agent": The meaning specified in Section 7.2.

              "Issuer": The Person named as such on the first page of this Indenture.

              "Issuer Accounts": The meaning assigned in the Granting Clauses.

              "Issuer Order" and "Issuer Request": A written order or request dated and signed in the
     name of the Issuer, the Co-Issuer or Investors Corp. by an Authorized Officer of the Issuer, the Co-
     Issuer or Investors Corp., as applicable, or by the Servicer by an Authorized Officer of the Servicer,
     on behalf of the Issuer or the Co-Issuer.

             "Issuer Ordinary Shares": The ordinary shares, par value $1.00 per share, of the Issuer
     which have been issued by the Issuer and are outstanding from time to time.

             "Junior Class": With respect to a particular Class of Notes, each Class of Notes that is
     subordinated to that Class, as indicated in Section 13.1.

               "Leasing Finance Transaction": Any transaction pursuant to which the obligations of the
     lessee to pay rent or other amounts on a triple net basis under any lease of (or other arrangement
     conveying the right to use) real or personal property, or a combination thereof, are required to be
     classified and accounted for as a capital lease on a balance sheet of such lessee under generally
     accepted accounting principles in the United States of America; but only if (a) such lease or other
     transaction provides for the unconditional obligation of the lessee to pay a stated amount of principal
     no later than a stated maturity date, together with interest thereon, and the payment of such
     obligation is not subject to any material non-credit related risk as determined by the Servicer, (b) the
     obligations of the lessee in respect of such lease or other transaction are fully secured, directly or

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     indirectly, by the property that is the subject of such lease and (c) the interest held by the Issuer in
     respect of such lease or other transaction is treated as debt for U.S. federal income tax purposes.

              "LIBOR": The offered rate, as determined by the Calculation Agent for any Interest Period,
     for three month Dollar deposits that appears on Reuters Screen LIBOR01 Page as reported on
     Bloomberg Financial Markets Commodities News (or a page that replaces Reuters Screen LIBOR01
     Page for the purpose of displaying comparable rates), as of 11:00 A.M. (London time) on the second
     Business Day before the first day of the relevant Interest Period.

              If, on the second Business Day before the first day of any relevant Interest Period, that rate
     does not appear on Reuters Screen LIBOR01 Page as reported on Bloomberg Financial Market
     Commodities News (or a page that replaces Reuters Screen LIBOR01 Page for the purpose of
     displaying comparable rates), the Calculation Agent shall determine the arithmetic mean of the
     offered quotations of the Reference Banks to prime banks in the London interbank market for three
     month Dollar deposits in Europe, by reference to requests by the Calculation Agent to four major
     banks in the London interbank market selected by the Calculation Agent (after consultation with the
     Servicer) (the "Reference Banks") for quotations as of approximately 11:00 A.M. (London time) on
     the second Business Day before the first day of the Interest Period. If at least two of the Reference
     Banks provide quotations as requested, LIBOR shall equal such arithmetic mean. If fewer than two
     Reference Banks provide quotations, LIBOR shall be the arithmetic mean of the offered quotations
     that one or more leading banks in New York City selected by the Calculation Agent (after
     consultation with the Servicer) are quoting to the principal London offices of leading banks in the
     London interbank market on the second Business Day before the first day of the relevant Interest
     Period for three month Dollar deposits.

              If the Calculation Agent is unable to determine a rate in accordance with any of the above
     procedures, LIBOR for the Interest Period shall be calculated on the last day of the Interest Period
     and shall be the arithmetic mean of the rate of interest for each day during the Interest Period
     determined by the Calculation Agent as being the rate of interest most recently announced by the
     Bank at its New York office as its base rate, prime rate, reference rate, or similar rate for Dollar
     loans (or if the Bank ceases to exist or is not quoting a base rate, prime rate, reference rate, or similar
     rate for Dollar loans, another major money center commercial bank in New York City selected by
     the Calculation Agent (after consultation with the Servicer)).

               For the first Interest Period and, unless the Maturity Extension occurs, the last Interest
     Period, LIBOR shall be determined based on the actual number of days in the Interest Period using
     straight-line interpolation of two rates calculated in accordance with the above procedure, except
     that instead of using three month deposits, one rate shall be determined using the period for which
     rates are obtainable next shorter than the Interest Period and the other rate shall be determined using
     the period for which rates are obtainable next longer than the Interest Period. All calculations shall
     be calculated to at least four decimal places and rounded to four decimal places.

              "Loan": Any interest in a fully committed, senior secured, unsecured, or revolving loan
     (including loans involving credit linked deposits) that is acquired by assignment or by Participation
     (including any DIP Loan) that is either:

                       (i)      Registered, or

                       (ii)     issued by an obligor that is not resident in the United States:

                                (A)      whose payments are not subject to United States withholding tax;
                       and

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                               (B)     that is held through a financial institution pursuant to the
                       procedures described in Treasury Regulation section 1.165-12(c)(3).

              "Long-Dated Collateral Obligation": Any Collateral Obligation with a stated maturity later
     than the Stated Maturity of the Notes other than a Collateral Obligation with a stated maturity later
     than the Stated Maturities of the Notes that includes a "put" option to its obligor at a price of at least
     par payable on or before the Stated Maturity of the Notes.

             "Majority": With respect to any Class or group of Notes or the Preference Shares, the
     Holders of more than 50% of the Aggregate Outstanding Amount of that Class or group of Notes or
     Preference Shares, as the case may be.

              "Margin Stock": "Margin Stock" as defined under Regulation U issued by the Board of
     Governors of the Federal Reserve System, including any debt security that is by its terms convertible
     into Margin Stock, but does not include any obligation that at the time of acquisition, conversion, or
     exchange does not satisfy the requirements of a Collateral Obligation received pursuant to an offer
     by an issuer of a Defaulted Collateral Obligation.

              "Market Value": As of any Measurement Date, the market value determined by the Servicer
     and reported to the Trustee as an amount rather than as a percentage or fraction of par (expressed in
     Dollars) of any Collateral Obligation (or Eligible Equity Security, as applicable) based upon the
     Servicer's commercially reasonable judgment and based upon the following order of priority: (i) the
     average of the bid-side market prices obtained by the Servicer from three Independent broker-dealers
     active in the trading of such obligations or (ii) if the foregoing set of prices were not obtained, the
     lower of the bid-side market prices obtained by the Servicer from two Independent broker-dealers
     active in the trading of such obligations or (iii) if the foregoing sets of prices were not obtained, the
     average of the bid-side prices for the purchase of the Collateral Obligation (or Eligible Equity
     Security, as applicable) determined by an Approved Pricing Service (Independent from the Servicer)
     that derives valuations by polling broker-dealers (Independent from the Servicer).

              If a Market Value of any Collateral Obligation cannot be so determined in accordance with
     the procedures set out in the preceding paragraph for a period of 30 consecutive days then such
     Collateral Obligation shall be deemed to have a Market Value of zero; provided that, during such 30
     day period, such Collateral Obligation shall be deemed to have a Market Value equal to (a) the
     higher of (i) the S&P Priority Category Recovery Rate for such Collateral Obligation and the then
     current S&P Rating of the Class A-1 Notes and (ii) 70%, of the Principal Balance of such Collateral
     Obligation or (b) if the Servicer has determined in its commercially reasonable judgment that the
     Market Value of such Collateral Obligation is lower than the amount determined pursuant to clause
     (a), such amount to be determined by the Servicer in its commercially reasonable judgment;
     provided, further, that the maximum amount of Collateral Obligations having a Market Value
     assigned pursuant to the immediately preceding proviso shall be limited to 5.0% of the Maximum
     Amount (and any amount in excess of 5.0% of the Maximum Amount shall be deemed to have a
     Market Value of zero). For the avoidance of doubt, the procedures set out in this paragraph shall
     not apply to determinations of Market Value of any Eligible Equity Securities.

              The Servicer is under no obligation to determine the Market Value of the Collateral
     Obligations other than as set forth in the Servicing Agreement or this Indenture or to comply with
     any of its duties as set forth in the Servicing Agreement or in this Indenture.

              "Market Value Determination Date": With respect to any distribution of Eligible Equity
     Securities, one Business Day prior to the date of the notice distributed by the Issuer to the Holders of
     the Preference Shares in connection with such distribution.

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              "Market Value Percentage": For any Collateral Obligation, the ratio obtained by dividing:

              (i)     the Market Value of the Collateral Obligation, by

                      (ii)     the Principal Balance of the Collateral Obligation.

              "Maturity": With respect to any Note, the date on which the unpaid principal of the Note
     becomes payable as provided in the Note or this Indenture, whether at the Stated Maturity or by
     declaration of acceleration, call for redemption, or otherwise.

              "Maturity Extension": The meaning specified in Section 2.4.

              "Maximum Amount": An amount equal to:

              (i)     on any Measurement Date during the Ramp-Up Period, U.S.$1,500,000,000; and

              (ii)    on any Measurement Date after the Ramp-Up Completion Date:

                              (A)       the aggregate Principal Balance of all Collateral Obligations plus
                      the aggregate outstanding principal amount of any Defaulted Collateral
                      Obligations, plus

                             (B)        Cash representing Principal Proceeds on deposit in the Collection
                      Account, plus

                              (C)      Eligible Investments (other than Cash) purchased by the Issuer
                      with Principal Proceeds on deposit in the Collection Account.

              "Maximum Weighted Average Moody's Rating Factor": As of any Measurement Date, a
     rate equal to the sum of (i) the number set forth in the column entitled "Maximum Weighted
     Average Moody's Rating Factor" in the Ratings Matrix based upon the applicable "row/column
     combination" chosen by the Servicer (or the interpolating between two adjacent rows and/or two
     adjacent columns, as applicable) plus (ii) the Recovery Rate Modifier.

              "Measurement Date": Any date:

              (i)     on which the Issuer commits to acquire or dispose of any Collateral Obligation;

              (ii)    on which a Collateral Obligation becomes a Defaulted Collateral Obligation;

              (iii)   that is a Determination Date;

              (iv)    that is the Ramp-Up Completion Date;

             (v)      that is the date as of which the information in a Monthly Report is calculated
     pursuant to Section 10.6; and,

              with respect to any distribution of Eligible Equity Securities only,

              (vi)    that is a Market Value Determination Date.

              "Memorandum and Articles of Association": The memorandum and articles of association
     of the Issuer, as amended and restated before the Closing Date or in accordance with this Indenture.
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              "Merging Entity": The meaning specified in Section 7.10.

               "Minimum Diversity Score": As of any Measurement Date, a score equal to the number set
     forth in the column entitled "Minimum Diversity Score" in the Ratings Matrix based upon the
     applicable "row/column combination" chosen by the Servicer (or the interpolating between two
     adjacent rows and/or two adjacent columns, as applicable).

              "Minimum Weighted Average Spread": As of any Measurement Date, the spread equal to
     the percentage set forth in the row entitled "Minimum Weighted Average Spread" in the Ratings
     Matrix based upon the applicable "row/column combination" chosen by the Servicer (or the
     interpolating between two adjacent rows and/or two adjacent columns, as applicable).

              "Monthly Determination Date": The meaning specified in Section 10.6(a).

              "Monthly Report": The meaning specified in Section 10.6(a).

              "Moody's": Moody's Investors Service, Inc.

              "Moody's Default Probability Rating": The meaning set forth in Schedule 7.

              "Moody's Equivalent Senior Unsecured Rating": The meaning set forth in Schedule 7.

             "Moody's Group I Country": Any of the following countries: Australia, the Netherlands,
     the United Kingdom and any country subsequently determined by Moody's to be a Moody's Group I
     Country.

             "Moody's Group II Country": Any of the following countries: Germany, Ireland, Sweden,
     Switzerland and any country subsequently determined by Moody's to be a Moody's Group II
     Country.

            "Moody's Group III Country": Any of the following countries: Austria, Belgium,
     Denmark, Finland, France, Iceland, Liechtenstein, Luxembourg, Norway, Spain and any country
     subsequently determined by Moody's to be a Moody's Group III Country.

            "Moody's Industry Classification": The industry classifications in Schedule 2 as modified,
     amended, and supplemented from time to time by Moody's.

            "Moody's Minimum Average Recovery Rate": As of any Measurement Date, a rate equal to
     the number obtained by

             (i)      summing the products obtained by multiplying the Principal Balance of each
     Collateral Obligation by its respective Moody's Priority Category Recovery Rate,

            (ii)     dividing the sum determined pursuant to clause (i) above by the sum of the
     Aggregate Principal Balance of all Collateral Obligations, and

              (iii)   rounding up to the first decimal place.

              "Moody's Non Senior Secured Loan": Any Loan that is not a Moody's Senior Secured
     Loan.

              "Moody's Obligation Rating": The meaning set forth in Schedule 7.

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            "Moody's Priority Category": Each type of Collateral Obligation specified in the definition
     of "Moody's Priority Category Recovery Rate Matrix" as a "Moody's Priority Category."

              "Moody's Priority Category Recovery Rate": For any Collateral Obligation, the percentage
     specified in the definition of "Moody's Priority Category Recovery Rate Matrix" opposite the
     Moody's Priority Category of the Collateral Obligation.

                 "Moody's Priority Category Recovery Rate Matrix":

                                                                                  Moody's Priority Category
     Moody's Priority Category                                                        Recovery Rate
     Synthetic Securities ...............................    In the case of:
                                                                     (i) a Form-Approved Synthetic Security, the "Moody's Priority
                                                               Category Recovery Rate" given by Moody's to the Form-Approved
                                                               Synthetic Security at the time of approval of the Form-Approved
                                                               Synthetic Security by Moody's, and
                                                                     (ii) any other Synthetic Security, the "Moody's Priority
                                                               Category Recovery Rate" given by Moody's to the Synthetic
                                                               Security at the time of acquisition of the Synthetic Security.
     Structured Finance Obligations .............            The Moody's Priority Category Recovery Rate determined in
                                                             accordance with the Moody's Structured Finance Obligation Recovery
                                                             Rates set forth in Schedule 5 by reference to the type of asset and its
                                                             then Moody's Rating (or, with respect to assets to which that schedule
                                                             does not apply, on a case-by-case basis in connection with the Grant
                                                             of the relevant Collateral Obligation).
     unsecured DIP Loans and any
     Collateral Obligations not covered
     above or below ......................................   As determined by Moody's on a case-by-case basis.


     For High-Yield Bonds, Moody's Senior Secured Loans and Moody's Non Senior Secured Loans, the relevant
     Moody's Priority Category Recovery Rate is the rate determined pursuant to the table below based on the
     number of rating subcategories difference between the High-Yield Bond's or Loan's Moody's Obligation Rating
     and its Moody's Default Probability Rating (for purposes of clarification, if the Moody's Obligation Rating is
     higher than the Moody's Default Probability Rating, the rating subcategories difference will be positive and if it
     is lower, negative):

      Number of Moody's Rating Subcategories Difference                                          Moody's Non
        Between the Moody's Obligation Rating and the                        Moody's Senior     Senior Secured       High-Yield
             Moody's Default Probability Rating                              Secured Loans          Loans              Bonds

                                 +2 or more                                      60.0%              45.0%              40.0%
                                      +1                                         50.0%              42.5%              35.0%
                                       0                                         45.0%              40.0%              30.0%
                                       -1                                        40.0%              30.0%              15.0%
                                       -2                                        30.0%              15.0%              10.0%
                                   -3 or less                                    20.0%              10.0%               2.0%



     If no Moody's Priority Category Recovery Rate has been specifically assigned with respect to a Loan
     pursuant to the above table, and the Loan is a secured DIP Loan, the relevant Moody's Priority Category
     Recovery Rate is 50.0%.

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              "Moody's Rating": The meaning set forth in Schedule 7.

              "Moody's Rating Factor": The number in the table below opposite the rating of the
     Collateral Obligation (excluding Synthetic Securities where an Assigned Moody's Rating is not
     available).

                                            Moody's                               Moody's
                         Moody's            Rating              Moody's           Rating
                         Rating             Factor              Rating            Factor
                           Aaa                   1              Ba1                   940
                           Aa1                  10              Ba2                  1350
                           Aa2                  20              Ba3                  1766
                           Aa3                  40              B1                   2220
                           A1                   70              B2                   2720
                           A2                 120               B3                   3490
                           A3                 180               Caa1                 4770
                           Baa1               260               Caa2                 6500
                           Baa2               360               Caa3                 8070
                           Baa3               610          Ca or lower             10000


               The Moody's Rating Factor for Collateral Obligations that are Synthetic Securities shall be
     determined by Moody's and obtained by the Issuer or the Servicer on a case-by-case basis, unless
     there is an Assigned Moody's Rating available for such Collateral Obligation that is a Synthetic
     Security, in which case such Assigned Moody's Rating shall be used to compute the Moody's Rating
     Factor for such Collateral Obligation that is a Synthetic Security.

             The Moody's Rating Factor for any Collateral Obligation that is a Structured Finance
     Security shall be equal to: A × 55% ,
                                   1− B

     where: "A" means the number determined with respect to such Collateral Obligation pursuant to the
     table above; and

             "B" means the Moody's Priority Category Recovery Rate with respect to such Collateral
     Obligation.

              "Moody's Senior Secured Loan":

              (a)      a Loan that:

                      (i)      is not (and cannot by its terms become) subordinate in right of payment to
              any other obligation of the obligor of the Loan,

                      (ii)      is secured by a valid first priority perfected security interest or lien in, to or
              on specified collateral securing the obligor's obligations under the Loan, and


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                       (iii)     the value of the collateral securing the Loan together with other attributes
              of the obligor (including, without limitation, its general financial condition, ability to
              generate cash flow available for debt service and other demands for that cash flow) is
              adequate (in the commercially reasonable judgment of the Servicer) to repay the Loan in
              accordance with its terms and to repay all other loans of equal seniority secured by a first
              lien or security interest in the same collateral, or

              (b)      a Loan that:

                       (i)      is not (and cannot by its terms become) subordinate in right of payment to
              any other obligation of the obligor of the Loan, other than, with respect to a Loan described
              in clause (a) above, with respect to the liquidation of such obligor or the collateral for such
              loan,

                      (ii)     is secured by a valid second priority perfected security interest or lien in, to
              or on specified collateral securing the obligor's obligations under the Loan,

                        (iii)    the value of the collateral securing the Loan together with other attributes
              of the obligor (including, without limitation, its general financial condition, ability to
              generate cash flow available for debt service and other demands for that cash flow) is
              adequate (in the commercially reasonable judgment of the Servicer) to repay the Loan in
              accordance with its terms and to repay all other loans of equal or higher seniority secured by
              a first or second lien or security interest in the same collateral, and

                      (iv)   has been assigned a Moody's Obligation Rating equal to or higher than the
              applicable Moody's Default Probability Rating, and

              (c)       the Loan is not: (i) a DIP Loan, (ii) a Loan for which the security interest or lien (or
     the validity or effectiveness thereof) in substantially all of its collateral attaches, becomes effective,
     or otherwise "springs" into existence after the origination thereof, or (iii) a type of loan that Moody's
     has identified as having unusual terms and with respect to which its Moody's Recovery Rate has
     been or is to be determined on a case-by-case basis.

             "Non-Call Period": The period from the Closing Date to but not including the Payment
     Date in August 2011.

               "Non-Consenting Holder": With respect to any supplemental indenture pursuant to Section
     8.2 that requires the consent of one or more Holders of Securities, any Holder or, in the case of
     Securities represented by Global Notes, any beneficial owner, that either (i) has delivered to the
     Trustee a written notice that it will not consent to such supplemental indenture or (ii) had not
     consented to such supplemental indenture within the applicable Initial Consent Period.

             "Non-Consenting Holding Preference Share Holder": With respect to any supplemental
     indenture pursuant to Section 8.2 that requires the consent of one or more Holders of Securities, any
     Holder of Holding Securities that either (i) has directed Investors Corp. not to consent to such
     supplemental indenture or (ii) has not provided Investors Corp. with any direction with respect to
     such supplemental indenture within the applicable Initial Consent Period.

              "Non-Performing Collateral Obligation": Any Defaulted Collateral Obligation and any
     PIK Security as to which its issuer or obligor has previously deferred or capitalized any interest due
     on it and all the interest so deferred or capitalized has not subsequently been paid in full in cash by:


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               (i)      if the PIK Security has a Moody's Rating of "Baa3" (and not on credit watch with
     negative implications) or above or an S&P Rating of "BBB-" (and not on credit watch with negative
     implications) or above, the earlier of its second payment date or one year following the date of the
     initial deferral or capitalization of interest due on it, or

              (ii)      if the PIK Security has a Moody's Rating of "Baa3" and on credit watch with
     negative implications or below "Baa3", or an S&P Rating of "BBB-" and on credit watch with
     negative implications or below "BBB-", the earlier of its first payment date or six months following
     the date of the initial deferral or capitalization of interest due on it.

              "Non-Permitted Holder": (a) With respect to the Global Notes, a Holder or beneficial
     owner of an interest in a Global Note that is a U.S. person and (i) not a QIB/QP and that becomes
     the beneficial owner of an interest in a Rule 144A Global Note or (ii) does not have an exemption
     available under the Securities Act and (b) with respect to the Class D Notes, a Holder or beneficial
     owner of an interest in a Class D Note that is not a QIB/QP (except that, solely with respect to a
     Holder purchasing Class D Notes on the Closing Date, such Holder shall not be a Non-Permitted
     Holder so long as it is an Institutional Accredited Investor ).

             "Non-Permitted Benefit Plan Investor": The meaning specified in the second paragraph of
     Section 2.6(c).

              “Non-qualifying Collateral Obligation”: The meaning specified in Section 12.1(d).

              "Note Break-Even Loss Rate": With respect to each Class of Notes that is rated by S&P,
     the maximum percentage of defaults that the Current Portfolio or Proposed Portfolio can sustain and
     nevertheless sufficient funds will remain for the payment of principal of the Class of Notes in full by
     its Stated Maturity and the timely payment of interest on the Class A-1 Notes, the Class A-2a Notes,
     the Class A-2b Notes and the Class A-3 Notes and the ultimate payment of interest on the Class B
     Notes, the Class C Notes and the Class D Notes using S&P's assumptions on recoveries, defaults,
     and timing, and taking into account the Priority of Payments and the adjusted Weighted Average
     Spread level specified in the applicable row of the table below. The adjusted Weighted Average
     Spread as of any Measurement Date is the Weighted Average Spread as of the Measurement Date
     minus the amount of any Spread Excess added to the Weighted Average Fixed Rate Coupon as of
     the Measurement Date.


                       Row                 Adjusted Weighted Average Spread
                         1                   Greater than or equal to 3.00%
                         2         Greater than or equal to 2.90% but less than 3.00%
                         3        Greater than or equal to 2.80%% but less than 2.90%
                         4        Greater than or equal to 2.70%% but less than 2.80%
                         5         Greater than or equal to 2.60% but less than 2.70%
                         6         Greater than or equal to 2.50% but less than 2.60%
                         7         Greater than or equal to 2.40% but less than 2.50%
                         8         Greater than or equal to 2.30% but less than 2.40%
                         9         Greater than or equal to 2.20% but less than 2.30%



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              "Note Class Loss Differential": With respect to any Measurement Date and any Class of
     Notes that is rated by S&P, the rate calculated by subtracting the Class Scenario Loss Rate for the
     Class from the then-applicable Note Break-Even Loss Rate for the Class of Notes.

              "Noteholder": A Holder of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b
     Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes or the Class D Notes.

              "Note Interest Rate": With respect to any specified Class of Notes, the per annum interest
     rate payable on the Notes of the Class with respect to each Interest Period equal to LIBOR for
     Eurodollar deposits for the applicable Interest Period plus the spread specified in the "Interest Rate"
     rows of the tables in Section 2.3 with respect to such Notes except in the first Interest Period.

              "Note Payment Sequence": The application of funds in the following order:

                      (1)      to the Class A-1 Notes and the Class A-2 Notes pro rata in proportion
                               to the respective amounts then due on each such Class until the Class
                               A-1 Notes and the Class A-2 Notes have been fully redeemed (provided
                               that amounts allocated to the Class A-2 Notes shall be paid, first, to the
                               Class A-2a Notes and, second, to the Class A-2b Notes);
                      (2)      to the Class A-3 Notes until the Class A-3 Notes have been fully
                               redeemed;
                      (3)      to the payment of accrued and unpaid interest and any Deferred Interest
                               and interest thereon on the Class B Notes;
                      (4)      to the Class B Notes until the Class B Notes have been fully redeemed;
                      (5)      to the payment of accrued and unpaid interest and any Deferred Interest
                               and interest thereon on the Class C Notes;
                      (6)      to the Class C Notes until the Class C Notes have been fully redeemed;
                      (7)      to the payment of accrued and unpaid interest and any Deferred Interest
                               and interest thereon on the Class D Notes; and
                      (8)      to the Class D Notes until the Class D Notes have been fully redeemed.
             "Notes": The Senior Notes and the Class D Notes authorized by, and authenticated and
     delivered under, this Indenture or any supplemental indenture.

              "Notice of Refinancing": The meaning specified in Section 9.7.

              "Objection Cut-Off Date": The meaning specified in Section 15.1(h)(ii).

              "Offer": The meaning specified in Section 10.7(c).

              "Offering": The offering of the Notes.

             "Offering Memorandum": The final offering memorandum, dated March 9, 2007, prepared
     and delivered in connection with the offer and sale of the Securities.

             "Officer": With respect to the Issuer and any corporation, any director, the Chairman of the
     board of directors, the President, any Vice President, the Secretary, an Assistant Secretary, the
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     Treasurer, or an Assistant Treasurer of the entity; with respect to the Co-Issuer and any corporation,
     any director, the Chairman of the board of directors, the President, any Vice President, the Secretary,
     an Assistant Secretary, the Treasurer, or an Assistant Treasurer of the entity; with respect to any
     partnership, any of its general partners; and with respect to the Trustee, any Trust Officer.

              "Opinion of Counsel": A written opinion addressed to the Trustee and each Rating Agency,
     in form and substance reasonably satisfactory to the Trustee and each Rating Agency, of an attorney
     at law (or law firm with one or more partners) reasonably satisfactory to the Trustee and admitted to
     practice before the highest court of any state of the United States or the District of Columbia (or the
     Cayman Islands, in the case of an opinion relating to the laws of the Cayman Islands), which
     attorney (or law firm) may, except as otherwise expressly provided in this Indenture, be counsel for
     the Servicer, the Issuer or the Co-Issuer. Whenever an Opinion of Counsel is required under this
     Indenture, the Opinion of Counsel may rely on opinions of other counsel who are so admitted and so
     satisfactory, which opinions of other counsel shall accompany the Opinion of Counsel and shall
     either be addressed to the Trustee and each Rating Agency or shall state that the Trustee and each
     Rating Agency may rely on it. An Opinion of Counsel may be supported as to factual (including
     financial and capital markets) matters by any relevant certificates and other documents necessary or
     advisable in the judgment of counsel delivering the opinion.

              "Optional Redemption": A redemption of the Notes in accordance with Section 9.2.

             "Other Indebtedness": The meaning specified in the definition of "Defaulted Collateral
     Obligation."

              "Outstanding": With respect to:

               (a)     the Notes or any specified Class, as of any date of determination, all of the Notes or
     all of the Notes of the specified Class, as the case may be, theretofore authenticated and delivered
     under this Indenture, except with respect to Notes:

             (i)       Notes canceled by the Indenture Registrar or delivered to the Indenture Registrar
     for cancellation;

              (ii)     Notes for whose payment or redemption funds in the necessary amount have been
     theretofore irrevocably deposited with the Trustee or any Paying Agent in trust for their Holders
     pursuant to Section 4.1(a)(ii) and if the Notes are to be redeemed, notice of redemption has been
     duly given pursuant to this Indenture;

             (iii)   Notes in exchange for or in lieu of which other Notes have been authenticated and
     delivered pursuant to this Indenture; or

             (iv)    Notes alleged to have been destroyed, lost, or stolen for which replacement Notes
     have been issued as provided in Section 2.7, unless proof satisfactory to the Trustee is presented that
     any such Notes are held by a protected purchaser;

              (b)      the Preference Shares, as of any date of determination, all of the Preference Shares
     theretofore issued under the Preference Share Documents and listed in the Preference Share register
     of the Issuer as outstanding;

             (c)     the Holding Preference Shares, as of any date of determination, all of the Holding
     Preference Shares theretofore issued under the Holding Preference Share Documents and listed in
     the Holding Preference Share register of Investors Corp. as outstanding; and

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              (d)      the Class P Securities, as of any date of determination, all of the Class P Securities
     theretofore issued under the Holding Preference Share Documents and listed in the Class P Security
     register of Investors Corp. as outstanding;

     provided that, in determining whether the Holders of the requisite Aggregate Outstanding Amount of
     the Transaction Securities have given any request, demand, authorization, direction, notice, consent
     or waiver under the Transaction Documents, Transaction Securities owned or beneficially owned by
     the Issuer, the Co-Issuer, any Affiliate of either of them and, with respect to any matter affecting its
     status as Servicer or appointment of a replacement Servicer or relating to an acceleration of any
     Class of Notes if the effect of the Servicer's action or inaction as a Holder of Transaction Securities
     would effectively prevent acceleration, the Servicer, its Affiliates and any account for which the
     Servicer or its Affiliates have discretionary voting authority (other than, with respect to Notes or
     Class II Preference Shares, HFP or any of its subsidiaries; provided that, with respect to the voting
     authority of Notes or Class II Preference Shares owned by HFP or any of its subsidiaries, such vote
     shall not be excluded only if such vote is determined by a vote of the majority of the “independent
     directors” (determined in accordance with the governing documents of HFP or such subsidiaries and
     certified in writing to the Preference Shares Paying Agent by any of the “independent directors” of
     HFP) of HFP or such subsidiaries) shall be disregarded and not be Outstanding, except that, in
     determining whether the Trustee shall be protected in relying on any request, demand, authorization,
     direction, notice, consent or waiver, only Securities that a Trust Officer of the Trustee (or with
     respect to the Preference Shares, Holding Preference Shares and Class P Securities, only Preference
     Shares, Holding Preference Shares and Class P Securities that an authorized officer of the Preference
     Shares Paying Agent or Holding Preference Shares Paying Agent, as applicable) has actual
     knowledge to be so owned or beneficially owned shall be so disregarded. Transaction Securities so
     owned or beneficially owned that have been pledged in good faith may be regarded as Outstanding if
     the pledgee establishes to the satisfaction of the Trustee, the Preference Shares Paying Agent or the
     Holding Preference Shares Paying Agent, as applicable, the pledgee's right so to act with respect to
     the Transaction Securities and that the pledgee is independent from the Issuer, the Co-Issuer, the
     Servicer, the Trustee, the Preference Shares Paying Agent and the Holding Preference Shares Paying
     Agent.

              "Overcollateralization Ratio": With respect to any Class of Notes on any Measurement
     Date, the ratio calculated by dividing:

              (i)     the Overcollateralization Ratio Numerator; by

              (ii)      the Aggregate Outstanding Amount of the Class of Notes and all Notes ranking
     senior to it (excluding any Deferred Interest on the Notes and all Notes ranking senior to it).

              "Overcollateralization Ratio Numerator": On any date, the sum of:

             (1)     the Aggregate Principal Balance of all Collateral Obligations (other than any
     Excess CCC+/Caa1 Collateral Obligations, any Non-Performing Collateral Obligations, any Deep
     Discount Obligations, and any Collateral Obligations loaned pursuant to a Securities Lending
     Agreement with respect to which an "event of default" (under and as defined in the Securities
     Lending Agreement) is continuing); plus

              (2)     unpaid Accrued Interest Purchased With Principal (excluding any unpaid Accrued
     Interest Purchased With Principal in respect of Non-Performing Collateral Obligations); plus




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             (3)      the Aggregate Principal Balance of any Eligible Investments that were purchased
     with Principal Proceeds and the amount of Principal Proceeds on deposit in the Collection Account;
     plus

              (4)     the Aggregate Principal Balance of Eligible Investments on deposit in a Securities
     Lending Account that relate to a Securities Lending Agreement with respect to which an "event of
     default" (under and as defined in the Securities Lending Agreement) is continuing; plus

             (5)       with respect to Collateral Obligations that are Non-Performing Collateral
     Obligations, Deep Discount Obligations or Excess CCC+/Caa1 Collateral Obligations, the amount
     determined by using one of the following methods applicable to such type of Collateral Obligation;
     provided that if a Collateral Obligation falls within more than one of such types, the Issuer will be
     required to use the method that results in the smallest amount:

                              (A)      with respect to any Excess CCC+/Caa1 Collateral Obligations, an
                      amount equal to the product of (i) the CCC+/Caa1 Excess Market Value
                      Percentage, multiplied by (ii) the Excess CCC+/Caa1 Collateral Obligations;

                               (B)     with respect to any Non-Performing Collateral Obligations, the
                      aggregate of the Applicable Collateral Obligation Amounts for all included Non-
                      Performing Collateral Obligations (other than Defaulted Collateral Obligations that
                      have been held by the Issuer for more than three years, which shall be deemed to be
                      zero for purposes of this clause (B)); and

                              (C)     with respect to any Deep Discount Obligations, the Aggregate
                      Purchase Price Amount for all Deep Discount Obligations.

             As used in this definition, "Applicable Collateral Obligation Amount" for any Non-
     Performing Collateral Obligation means:

              (a)     the lesser of:

                              (x)     the Market Value Percentage of the Non-Performing Collateral
                      Obligation; and

                              (y)      the Applicable Percentage for the Non-Performing Collateral
                      Obligation;

              multiplied by:

              (b)     if the Non-Performing Collateral Obligation is:

                               (1)     any Pledged Obligation other than those in clauses (2) through (4)
                      below, the outstanding principal amount of the Pledged Obligation as of the
                      relevant Measurement Date;

                              (2)      a Synthetic Security, the notional amount specified in the
                      Synthetic Security;

                              (3)      any Revolving Loan or Delayed Drawdown Loan, its Principal
                      Balance including any unfunded amount thereof (regardless of the nature of the
                      contingency relating to the Issuer's obligation to fund the unfunded amount); and

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                                (4)      any PIK Security, its Principal Balance.

     As used in the calculation of Market Value Percentage of the Non-Performing Collateral Obligation,
     the Principal Balance of any Defaulted Collateral Obligation shall be, if the Defaulted Collateral
     Obligation is:

                       (i)     any Pledged Obligation other than those in clauses (ii) through (iv) below,
              the outstanding principal amount of the Pledged Obligation as of the relevant Measurement
              Date;

                       (ii)    a Synthetic Security, the notional amount specified in the Synthetic
                       Security;

                       (iii)    any Revolving Loan or Delayed Drawdown Loan, its Principal Balance
                       including any unfunded amount thereof (regardless of the nature of the contingency
                       relating to the Issuer's obligation to fund the unfunded amount); and

                       (iv)     any PIK Security, its Principal Balance.

             "Overcollateralization Test": A test that is satisfied with respect to any Class of Notes if, as
     of any Measurement Date, the Overcollateralization Ratio for the Class is at least equal to the
     required level for the specified Class indicated in the table below:

                                            Test                           Required Level
                        Class A Overcollateralization Test                    113.0%
                        Class B Overcollateralization Test                    108.1%
                        Class C Overcollateralization Test                    105.5%
                        Class D Overcollateralization Test                    102.5%


               "Participating Institution": An institution that creates a participation interest and that has a
     long-term senior unsecured rating by Moody's of at least "A3" (and if so rated by Moody's such
     rating is not on watch for possible downgrade) and an issuer credit rating by S&P of at least "A".

               "Participation": A Loan acquired as a participation interest created by a Participating
     Institution.

             "Paying Agent": Any Person authorized by the Issuer to pay the principal of or interest on
     any Notes on behalf of the Issuer as specified in Section 7.2.

              "Payment Account": The trust account established pursuant to Section 10.3(h).

             "Payment Date": The first day of February, May, August and November in each year,
     commencing in August 2007 or, if any such day is not a Business Day, the next following Business
     Day, any other date on which the Notes are redeemed or paid before their Stated Maturity, and at the
     Stated Maturity for the Notes.

              "Permitted Offer": An Offer pursuant to which the offeror offers to acquire a debt
     obligation (including a Collateral Obligation) in exchange solely for cash in an amount equal to or
     greater than the full face amount of the debt obligation plus any accrued and unpaid interest and as
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     to which the Servicer has determined in its commercially reasonable judgment that the offeror has
     sufficient access to financing to consummate the Offer.

               "Person": An individual, corporation (including a business trust), partnership, limited
     liability company, joint venture, association, joint stock company, trust (including any beneficiary
     thereof), unincorporated association or government or any agency or political subdivision thereof.

              "PIK Cash-Pay Interest": As to any PIK Security, the portion of interest required to be paid
     in cash (and not permitted to be added to the balance of such PIK Security or otherwise deferred and
     accrued) thereon pursuant to the terms of the related Underlying Instruments.

              "PIK Security": Any loan or debt obligation on which any portion of the interest accrued for
     a specified period of time or until the maturity thereof is, or at the option of the obligor may be,
     added to the principal balance of such loan or debt obligation or otherwise deferred rather than being
     paid in cash, provided that such loan or debt obligation shall not be a PIK Security if the portion, if
     any, of such interest required pursuant to the terms of the related Underlying Instruments to be paid
     in Cash would result in the outstanding principal amount of such loan or debt obligation having an
     effective rate of PIK Cash-Pay Interest at least equal to (i) if such loan or debt obligation is a fixed
     rate loan or debt obligation, 4% per annum, or (ii) if such loan or debt obligation is a floating rate
     loan or debt obligation, LIBOR.

              "Placement Agency Agreement": A placement agency agreement dated March 13, 2007
     between the Issuer and the Placement Agent, relating to the placement of the Class II Preference
     Shares, as modified, amended and supplemented and in effect from time to time.

              "Placement Agent": Citigroup Global Markets Inc.

             "Plan Asset Regulation": The regulation issued by the United States Department of Labor
     and found at 29 C.F.R. Section 2510.3-101.

             "Pledged Obligations": As of any date of determination, the Collateral Obligations, the
     Workout Assets, the Eligible Investments, and any other securities or obligations that have been
     Granted to the Trustee that form part of the Collateral.

               "Portfolio Improvement Exchange": The disposition, during the Replacement Period, of a
     Collateral Obligation and corresponding acquisition of one or more Collateral Obligations which in
     the aggregate will result in (i) the Collateral Quality Tests, the Interest Coverage Test, the
     Overcollateralization Tests and the Concentration Limitations herein being satisfied (or bring the
     total portfolio of Collateral Obligations closer to compliance with any such test or limitation) or if
     one or more of such Collateral Quality Tests, Interest Coverage Test, Overcollateralization Test or
     Concentration Limitations are not satisfied, the degree of compliance therewith would be improved
     and (ii) improving, on a net basis, the quality of the total portfolio of Collateral Obligations as
     measured by such Collateral Quality Tests, Interest Coverage Test, Overcollateralization Test and
     Concentration Limitations and (iii) in the case of each of clause (i) and (ii), any other Collateral
     Quality Tests, Interest Coverage Tests, Overcollateralization Tests or Concentration Limitations not
     being violated or the likelihood of such violation in the future not being significantly increased.

              "Pre-Closing Party": One or more Affiliates of the Initial Purchaser that financed the
     Issuer’s pre-closing acquisition of Collateral Obligations through the purchase of participations
     therein.



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             "Preference Share Distribution Account": A segregated bank account established by the
     Preference Shares Paying Agent pursuant to the Preference Shares Paying Agency Agreement into
     which the Preference Shares Paying Agent will deposit all amounts received from the Issuer and
     payable to the Holders of the Preference Shares under the Priority of Payments.

              "Preference Share Documents": The Issuer's Memorandum and Articles of Association,
     the Preference Shares Paying Agency Agreement and the resolutions of the Issuer's board of
     directors authorizing the issuance of the Preference Shares passed on or before the Closing Date.

              "Preference Share Internal Rate of Return": With respect to any Payment Date, the
     internal rate of return (computed using the "XIRR" function in Microsoft® Excel 2002 or an
     equivalent function in another software package), stated on a per annum basis, for the following cash
     flows, assuming all Preference Shares are purchased on the Closing Date at their Face Amount:

             (i)     each distribution of Interest Proceeds made to the Holders of the Preference Shares
     (excluding any Class II Preference Share Special Payment distributed to the Holders of the Class II
     Preference Shares) on any prior Payment Date and, to the extent necessary to reach the applicable
     Preference Share Internal Rate of Return, the current Payment Date and

              (ii)    each distribution of Principal Proceeds made to the Holders of the Preference
     Shares (excluding any Class II Preference Share Special Payment distributed to the Holders of the
     Class II Preference Shares) on any prior Payment Date and, to the extent necessary to reach the
     applicable Preference Share Internal Rate of Return, the current Payment Date.

              "Preference Shares": The Class I Preference Shares and the Class II Preference Shares.

             "Preference Shares Notional Amount": As of the Closing Date, $123,500,000, thereafter as
     increased each time additional Preference Shares are issued in accordance with the Preference Share
     Documents.

             "Preference Shares Paying Agency Agreement": The Preference Shares Paying Agency
     Agreement, dated as of the Closing Date, by and between the Issuer and the Preference Shares
     Paying Agent, as amended from time to time in accordance with the terms thereof.

             "Preference Shares Paying Agent": Investors Bank & Trust Company, in its capacity as
     Preference Shares Paying Agent under the Preference Shares Paying Agency Agreement, unless a
     successor Person shall have become the preference shares paying agent pursuant to the applicable
     provisions of the Preference Shares Paying Agency Agreement, and thereafter "Preference Shares
     Paying Agent" shall mean such successor Person.

              "Principal Balance": With respect to:

                       (i)      any Pledged Obligation other than those specifically covered in this
              definition, the outstanding principal amount of the Pledged Obligation as of the relevant
              Measurement Date;

                      (ii)     a Synthetic Security, the notional amount specified in the Synthetic
              Security;

                      (iii)    any Pledged Obligation in which the Trustee does not have a first priority
              perfected security interest, zero, except as otherwise expressly specified in this Indenture;

                      (iv)     any Defaulted Collateral Obligation, except as otherwise provided, zero;
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                      (v)     any Collateral Obligation that has been loaned, its Principal Balance shall
                      be reduced by the excess of the amount of collateral required over the actual
                      Market Value of the collateral;

                      (vi)     any Revolving Loan or Delayed Drawdown Loan, its Principal Balance
                      shall include any unfunded amount thereof (regardless of the nature of the
                      contingency relating to the Issuer's obligation to fund the unfunded amount), except
                      as otherwise expressly specified in this Indenture;

                      (vii)  any PIK Security, its Principal Balance shall not include any principal
                      amount of the PIK Security representing previously deferred or capitalized interest;
                      and

                     (viii) any obligation or security that at the time of acquisition, conversion, or
              exchange does not satisfy the requirements of a Collateral Obligation, zero.

             "Principal Proceeds": With respect to any Due Period, all amounts received in Cash during
     the Due Period by the Issuer with respect to the Collateral that are not Interest Proceeds.

            Principal Proceeds shall include any funds transferred from the Closing Date Expense
     Account and the Interest Reserve Account into the Collection Account pursuant to Section 10.2.

              Principal Proceeds do not include the Excluded Property or earnings on amounts on deposit
     in the Securities Lending Account to the extent the earnings are payable by the Issuer to a Securities
     Lending Counterparty.

              At any time when an "event of default" under a Securities Lending Agreement has occurred
     and is continuing, any payments received by the Issuer from the related Securities Lending
     Collateral shall be Principal Proceeds.

             "Priority Class": With respect to any specified Class of Notes, each Class of Notes that
     ranks senior to that Class, as indicated in Section 13.1.

              "Priority of Payments": The meaning specified in Section 11.1(a).

             "Proceeding": Any suit in equity, action at law, or other judicial or administrative
     proceeding.

              "Proposed Portfolio": As of any Measurement Date, the portfolio (measured by Aggregate
     Principal Balance) of Collateral Obligations and Principal Proceeds held as Cash on deposit in the
     Collection Account and other Eligible Investments purchased with Principal Proceeds on deposit in
     the Collection Account resulting from the sale, maturity, or other disposition of a Collateral
     Obligation or a proposed purchase of a Collateral Obligation, as the case may be.

              "Purchase Agreement": A purchase agreement dated March 13, 2007 among the Co-
     Issuers and the Initial Purchaser, relating to the Notes, as modified, amended and supplemented and
     in effect from time to time.

              "Purchase Criteria Adjusted Balance": For any Collateral Obligation other than Deep
     Discount Obligations, its Principal Balance; and for any Deep Discount Obligation its Purchase
     Price; provided, however, that if any Excess CCC+/Caa1 Collateral Obligations exist, the Purchase
     Criteria Adjusted Balance for the Excess CCC+/Caa1 Collateral Obligations shall be the lower of (i)
     the weighted average Market Value of all CCC+/Caa1 Collateral Obligations, expressed as a
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     percentage of their outstanding principal balances and (ii) the product of (a) 70% and (b) their
     respective Principal Balance.

              "Purchase Price": With respect to the purchase of any Collateral Obligation (other than any
     obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements
     of a Collateral Obligation), the net purchase price paid by the Issuer for the Collateral Obligation.
     The net purchase price is determined by subtracting from the purchase price the amount of any
     Accrued Interest Purchased With Principal and any syndication and other upfront fees paid to the
     Issuer and by adding the amount of any related transaction costs (including assignment fees) paid by
     the Issuer to the seller of the Collateral Obligation or its agent.

             "Purchase Price Amount": With respect to any Collateral Obligation on any date of
     determination, the product of (i) the Purchase Price (stated as a percentage) thereof and (ii) the
     Principal Balance thereof on such date.

               "QIB/QP": Any Person that, at the time of its acquisition of Notes is both a Qualified
     Institutional Buyer and a Qualified Purchaser.

               "Qualified Equity Security": Any obligation that at the time of acquisition, conversion or
     exchange does not satisfy the requirements of a Collateral Obligation that is stock or evidence of an
     interest in or a right to buy stock, or any obligation that at the time of acquisition, conversion or
     exchange does not satisfy the requirements of a Collateral Obligation but whose acquisition
     otherwise is a transaction in stocks or securities within the meaning of Section 864(b)(2)(A)(ii) of
     the Code and the regulations under the Code. Qualified Equity Securities do not include any
     obligation that at the time of acquisition, conversion or exchange does not satisfy the requirements
     of a Collateral Obligation and that will cause the Issuer to be treated as engaged in or having income
     from a United States trade or business for United States federal income tax purposes by virtue of its
     ownership or disposition of the obligation (without regard to the Issuer's other activities).

              "Qualified Institutional Buyer": The meaning specified in Rule 144A under the Securities
     Act.

             "Qualified Purchaser": The meaning specified in Section 2(a)(51) of the Investment
     Company Act and Rule 2a51-2 under the Investment Company Act (including entities owned
     exclusively by Qualified Purchasers).

              "Ramp-Up Completion Date": The earlier of:

                      (i)      the Business Day after the 90th day after the Closing Date, and

                      (ii)     the first date on which the following conditions are satisfied:

                                        (x) (A) the Aggregate Principal Balance of the Collateral
                               Obligations owned by the Issuer equals at least U.S.$1,500,000,000 or (B)
                               the Aggregate Principal Balance of the Collateral Obligations purchased
                               (or committed to be purchased) by the Issuer with proceeds from the sale
                               of the Notes (in each case in this clause (B), measured solely as of the date
                               of purchase or commitment, as the case may be) equals at least
                               U.S.$1,500,000,000 (for the avoidance of doubt, without giving effect to
                               any reductions of that amount that may have resulted from scheduled
                               principal payments, principal prepayments or dispositions made with


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                               respect to any Collateral Obligations on or before the Ramp-Up
                               Completion Date); and

                                       (y)     the Overcollateralization Ratio Numerator is at least
                               U.S.$1,500,000,000.

           "Ramp-Up Period": The period from and including the Closing Date to and including the
     Ramp-Up Completion Date.

              "Rating Agency": Each of Moody's and S&P or, with respect to Pledged Obligations
     generally, if at any time Moody's or S&P ceases to provide rating services with respect to high yield
     debt securities, any other nationally recognized statistical rating organization selected by the Issuer
     and reasonably satisfactory to a Majority of each Class of Notes. If at any time Moody's ceases to be
     a Rating Agency, references to rating categories of Moody's in this Indenture shall instead be
     references to the equivalent categories of the replacement rating agency as of the most recent date on
     which the replacement rating agency and Moody's published ratings for the type of security in
     respect of which the replacement rating agency is used. If at any time S&P ceases to be a Rating
     Agency, references to rating categories of S&P in this Indenture shall instead be references to the
     equivalent categories of the replacement rating agency as of the most recent date on which the
     replacement rating agency and S&P published ratings for the type of security in respect of which the
     replacement rating agency is used.

              "Rating Condition": With respect to any Rating Agency and any action taken or to be
     taken under this Indenture, a condition that is satisfied when the Rating Agency has confirmed to the
     Servicer (as agent for the Issuer) in writing that no withdrawal, reduction, suspension, or other
     adverse action with respect to any then current rating by it (including any private or confidential
     rating) of any Class of Notes will occur as a result of the action. The Rating Condition with respect
     to any Rating Agency shall be satisfied for all purposes of this Indenture at any time when no
     Outstanding Notes are rated by it.

             "Rating Confirmation": Confirmation in writing from each Rating Agency that it has not
     reduced, suspended, or withdrawn the Initial Rating assigned by it to any Class of Notes.

               "Rating Confirmation Failure": (i) a failure by the Issuer or the Servicer (on behalf of the
     Issuer) to obtain confirmation in writing from S&P that it has not reduced, suspended, or withdrawn
     its Initial Rating of any Class of Notes and that it has not placed any Class of Notes on credit watch
     with negative implications, or (ii) receipt of a written notice from Moody’s that it has reduced,
     suspended, or withdrawn its Initial Rating of any Class of Notes or that it has placed any Class of
     Notes on credit watch with negative implications, in each case, by the Business Day after the 29th
     day after the Ramp-Up Completion Date.

              "Ratings Matrix": The "row/column combination" of the table below selected by the
     Servicer on the Closing Date to apply initially for purposes of the Diversity Test, the Weighted
     Average Spread Test and the Weighted Average Rating Factor Test. Thereafter, on notice to the
     Trustee, the Servicer may select a different row of the Ratings Matrix to apply, or may interpolate
     between two adjacent rows and/or two adjacent columns, as applicable, on a straight-line basis and
     round the results to two decimal points.




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                                                                   Minimum Diversity Score

                Minimum Weighted
                                          55       60         65        70       75      80     85       90
                    Average Spread
                        2.20%            2180     2225     2270        2315     2355    2390   2425     2450
                        2.30%            2225     2270     2315        2360     2405    2440   2475     2495
                        2.40%            2270     2315     2360        2405     2450    2485   2520     2545
                        2.50%            2315     2360     2405        2450     2495    2530   2565     2590
                        2.60%            2370     2415     2460        2505     2550    2585   2620     2645
                        2.70%            2425     2470     2515        2560     2605    2640   2675     2700
                        2.80%            2480     2525     2570        2615     2660    2695   2730     2755
                        2.90%            2535     2580     2625        2670     2715    2750   2785     2810
                        3.00%            2590     2635     2680        2725     2770    2805   2840     2865
                                                  Maximum Weighted Average Moody’s Rating Factor



              "Recovery Rate Modifier": As of any Measurement Date, the lesser of 60 and the product
     of:

              (i)      (a) the Moody's Minimum Average Recovery Rate minus the minimum percentage
     specified to pass the Weighted Average Moody's Recovery Rate Test (but not less than zero)
     multiplied by (b) 100; and

              (ii)       40.

              "Record Date": As to any Payment Date, the 15th day (whether or not a Business Day)
     before the Payment Date.

             "Redemption Date": Any Payment Date specified for an Optional Redemption of Notes
     pursuant to Section 9.2 or the redemption of a Class of Notes in connection with a Refinancing
     pursuant to Section 9.7.

             "Redemption Price": With respect to any Note and any Optional Redemption pursuant to
     Section 9.2(a) or any redemption by Refinancing pursuant to Section 9.7(a), an amount equal to:

              (i)        the outstanding principal amount of the portion of the Note being redeemed, plus

             (ii)     accrued interest on the Note (including any Defaulted Interest and interest on
     Defaulted Interest), plus

             (iii)       in the case of any Deferred Interest Note, the applicable Deferred Interest on the
     Note, plus

              (iv)       any unpaid Extension Bonus Payment in respect of the Note.

              With respect to any Preference Share and any Optional Redemption pursuant to Section
     9.2(b), "Redemption Price" means (i) at the direction of a Majority of the Preference Shares, the pro
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     rata portion for such Preference Share of the entire remaining amount of available funds after all
     prior applications pursuant to the Priority of Payments or (ii) as specified by the unanimous direction
     of the Holders of the Preference Shares, in each case, as specified in Section 9.2(b).

             "Reference Obligation": An obligation that would otherwise satisfy the definition of
     "Collateral Obligation" and on which a Synthetic Security is based; provided that no Reference
     Obligation shall be a Synthetic Security.

              “Refinancing”: The meaning specified in Section 9.7.

              “Refinancing Date”: The meaning specified in Section 9.7.

              “Refinancing Notes”: The meaning specified in Section 9.7.

            “Refinancing Price”: With respect to any Class of Note that is subject to a Refinancing, an
     amount equal to the Redemption Price thereof.

             “Refinancing Proceeds”: The proceeds from any refinancing permitted under this
     Indenture.

              "Reference Obligor": The obligor of a Reference Obligation.

              "Registered": With respect to a Collateral Obligation or Eligible Investment, means that it is
     issued after July 18, 1984 and is in registered form within the meaning of Section 881(c)(2)(B)(i) of
     the Code and the United States Department of the Treasury ("Treasury") regulations promulgated
     thereunder.

             "Registered Office": The registered office of the Issuer, which shall be located outside of
     the United States.

              "Regulation D": Regulation D under the Securities Act.

              "Regulation S": Regulation S under the Securities Act.

              "Regulation S Global Note": The meaning specified in Section 2.2(b).

             "Relevant Obligation": For a Collateral Obligation that is a Synthetic Security, the
     Reference Obligation of the Synthetic Security, and otherwise the Collateral Obligation.

           "Replacement Hedge": A replacement hedge agreement that qualifies to be a Hedge
     Agreement under this Indenture.

             "Replacement Period": The period from the Closing Date through and including the first to
     occur of:

             (i)       the Payment Date after the date that the Servicer notifies the Trustee, each Rating
     Agency, and the Administrator, in the sole discretion of the Servicer, that, in light of the composition
     of the Collateral, general market conditions, and other factors, the acquisition of additional
     Collateral Obligations within the foreseeable future would either be impractical or not beneficial,

            (ii)    the Payment Date in May 2014 or, in the case of an Extension, the Extended
     Replacement Period End Date,

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              (iii)    the Payment Date on which all Notes are to be optionally redeemed or an earlier
     date after notice of an Optional Redemption chosen by the Servicer to facilitate the liquidation of the
     Collateral for the Optional Redemption, and

             (iv)    the date on which the Replacement Period terminates or is terminated as a result of
     an Event of Default (subject to Section 5.2(c)).

            "Repository": The internet-based password protected electronic repository of transaction
     documents relating to privately offered and sold collateralized debt obligation securities located at
     "www.cdolibrary.com" operated by The Bond Market Association.

              "Required Redemption Percentage": With respect to (a) any Optional Redemption resulting
     from a Tax Event, the Holders of at least 66⅔% of the Aggregate Outstanding Amount of any
     Affected Class or at least 66⅔% of the Aggregate Outstanding Amount of the Preference Shares and
     (b) any other Optional Redemption, a Majority of the Preference Shares.

              "Required Rating": The meaning specified in Section 15.2(b).

             "Retention Overcollateralization Ratio": As of any Measurement Date, the ratio obtained
     by dividing:

              (i)     the Overcollateralization Ratio Numerator by

             (ii)    the Aggregate Outstanding Amount of the Class A-1 Notes, the Class A-2a Notes,
     the Class A-2b Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D
     Notes, excluding any Deferred Interest on any Class of Notes.

              "Retention Overcollateralization Test": A test that is satisfied as of any Measurement Date
     during the Replacement Period on which any Notes remain Outstanding, if the Retention
     Overcollateralization Ratio as of such Measurement Date is at least equal to 103.5%.

              "Revolving Loan": A Loan or any Synthetic Security with a Reference Obligation (in each
     case excluding any Delayed Drawdown Loan) that requires the Issuer to make future advances to (or
     for the account of) the borrower under its Underlying Instruments (including any letter of credit for
     which the Issuer is required to reimburse the issuing bank for under it). A Loan or Synthetic
     Security shall only be considered to be a Revolving Loan for so long as its Commitment Amount is
     greater than zero.

              "Revolving Reserve Account": The trust account established pursuant to Section 10.3(b).

              “Rule 3a-7”: Rule 3a-7 under the Investment Company Act.

              "Rule 144A": Rule 144A under the Securities Act.

              "Rule 144A Global Note": The meaning specified in Section 2.2(c).

              "Rule 144A Information": The meaning specified in Section 7.15.

              "S&P": Standard & Poor's Ratings Services, a division of The McGraw-Hill Companies,
     Inc.



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              "S&P CDO Monitor": A dynamic, analytical computer model developed by S&P (and as
     may be modified by S&P from time to time) and provided to the Servicer and the Collateral
     Administrator to be used to calculate the default frequency in terms of the amount of debt assumed
     to default as a percentage of the original principal amount of the Collateral Obligations consistent
     with a specified benchmark rating level based on certain assumptions and S&P's proprietary
     corporate default studies. For the purpose (and only for the purpose) of applying the S&P CDO
     Monitor to a portfolio of obligations, for each obligation in the portfolio, the rating of the obligation
     shall be its S&P Rating.

               "S&P CDO Monitor Test": A test that is satisfied as of any Measurement Date if, after
     giving effect to the sale of a Collateral Obligation or the purchase of a Collateral Obligation, each
     Note Class Loss Differential of the Proposed Portfolio is positive. The S&P CDO Monitor Test
     shall be considered to be improved if each Note Class Loss Differential of the Proposed Portfolio is
     at least equal to the corresponding Note Class Loss Differential of the Current Portfolio. The S&P
     CDO Monitor Test is not required to be satisfied or improved upon the sale of a Credit Risk
     Obligation and the application of the related Sale Proceeds to purchase additional Collateral
     Obligations as provided in Section 12.1(a). For purposes of the S&P CDO Monitor Test,

              (i)      the S&P Rating of any S&P Unrated DIP Loan shall be "CCC-" and

             (ii)    the S&P Industry Classification for a Synthetic Security shall be that of the related
     Reference Obligation and not the Synthetic Security.

             "S&P Industry Classification": The S&P Industry Classifications in Schedule 3 as
     modified, amended, and supplemented from time to time by S&P.

            "S&P Minimum Average Recovery Rate": For a Class of Notes, a rate, as of any
     Measurement Date, equal to the number obtained by

              (i)     summing the products obtained by multiplying the Principal Balance of each
     Collateral Obligation by its respective S&P Priority Category Recovery Rate specified in the S&P
     Priority Category Recovery Rate Matrix for the S&P Priority Category of such Collateral Obligation
     under the S&P Rating that is the then current S&P Rating on such Class of Notes,

            (ii)     dividing the sum determined pursuant to clause (i) above by the sum of the
     Aggregate Principal Balance of all Collateral Obligations, and

              (iii)    rounding up to the first decimal place.

            "S&P Priority Category": Each type of Collateral Obligation specified in the definition of
     "S&P Priority Category Recovery Rate Matrix" as an "S&P Priority Category."

              "S&P Priority Category Recovery Rate": For any Collateral Obligation and a Class of
     Notes, the percentage specified in the definition of "S&P Priority Category Recovery Rate Matrix"
     opposite the S&P Priority Category of the Collateral Obligation under the S&P Rating that is the
     then current S&P Rating on such Class of Notes.




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                  "S&P Priority Category Recovery Rate Matrix":

                                                                       S&P Priority Category
      S&P Priority Category                                                Recovery Rate

                                                 AAA   AA              A         BBB            BB            B           CCC
     Senior Secured Loans...........             56%   60%          64%          67%           70%          70%           70%
     Senior Unsecured Loans*.....                40%   42%          44%          46%           48%          48%           48%
     Subordinated Lien Loans                     22%   22%          22%          22%           22%          22%           22%
     other than a DIP Loan* ........
     Senior Secured High-                        48%   49%          50%          51%           52%          52%           52%
     Yield Bonds..........................
     Senior Unsecured High-                      38%   41%          42%          44%           45%          45%           45%
     Yield Bonds..........................
     Subordinated High-Yield                     19%   19%          19%          19%           19%          19%           19%
     Bonds ...................................
     Structured Finance                      The S&P Priority Category Recovery Rate determined in accordance with the
     Obligations ........................... definition of "S&P Structured Finance Obligation Recovery Rate" by reference
                                             to the type of asset and its then current S&P Rating (or, with respect to assets to
                                             which that table does not apply, on a case by case basis in connection with the
                                             grant of the relevant Collateral Obligation).
     Synthetic Securities .............. As assigned by S&P on a case-by-case basis in connection with the grant of the
                                         relevant Collateral Obligation.
     DIP Loans and any
     Collateral Obligation not
     covered above....................... As assigned by S&P on a case-by-case basis.
     * In the case of Second Lien Loans, the first 15% in the portfolio should be treated as Senior Unsecured Loans
     and the excess over 15% as Subordinated Lien Loans.


                  "S&P Rating": The meaning set forth in Schedule 7.

              "S&P Structured Finance Obligation Recovery Rate": For a Structured Finance Obligation
     and a Class of Notes, the percentage specified in the table set forth in Schedule 6 under the then
     current S&P Rating of such Class of Notes and across from the then current S&P Rating of such
     Structured Finance Obligation.

            "S&P Rating Confirmation": Confirmation in writing from S&P that it has not reduced,
     suspended, or withdrawn the Initial Rating assigned by it to any Class of Notes.

             "S&P Unrated DIP Loan": A DIP Loan acquired by the Issuer that does not have a rating
     assigned by S&P and for which the Servicer has commenced the process of having a rating assigned
     by S&P (as specified in the definition of "DIP Loan").

                  "Sale": The meaning specified in Section 5.17.

             "Sale Proceeds": All proceeds received (including any proceeds received with respect to
     any associated interest rate swap or security providing fixed annuity payments ) with respect to
     Collateral Obligations or other Pledged Obligations as a result of their sales or other dispositions less

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     any reasonable expenses expended by the Servicer or the Trustee in connection with the sales or
     other dispositions, which shall be paid from such proceeds notwithstanding their characterization
     otherwise as Administrative Expenses.

             "Schedule of Collateral Obligations": The Collateral Obligations listed on Schedule 1,
     which schedule shall include with respect to each listed Collateral Obligation:

              (A)     the name of the obligor and a unique Loan or other instrument identifier;

              (B)     the purchase price;

              (C)     the Principal Balance;

             (D)     the classification (including whether the Collateral Obligation is a Loan, a High-
     Yield Bond, a Synthetic Security, a Participation, a Structured Finance Obligation, a Revolving
     Loan or a Delayed Drawdown Loan);

             (E)     the funded amount (stated as a percentage) in respect of a Collateral Obligation that
     is a Revolving Loan or a Delayed Drawdown Loan;

              (F)     the coupon or spread (as applicable);

              (G)     the Stated Maturity;

              (H)     the Moody's Rating;

              (I)     the S&P Rating; and

              (J)     the CUSIP and any ISIN, if applicable,

     as the schedule may be amended from time to time to reflect the release of Collateral Obligations
     pursuant to Article 10 and the inclusion of Collateral Obligations as provided in Section 12.2.

              "Scheduled Holding Preference Shares Redemption Date": May 1, 2022.

              "Scheduled Preference Shares Redemption Date": May 1, 2022.

               "Second Lien Loan": A Loan that (i) is not (and cannot by its terms become) subordinated
     in right of payment to any other obligation of the obligor of the Loan other than a Senior Secured
     Loan with respect to the liquidation of such obligor or the collateral for such Loan and (ii) is secured
     by a valid second priority perfected security interest in or lien on specified collateral securing the
     obligor's obligations under the Loan, which specified collateral does not consist solely of common
     stock or shares issued by the obligor or any of its Affiliates or intangible assets.

             "Secondary Risk Counterparty": Any obligor Domiciled other than in the United States,
     any Participating Institution, any Synthetic Security Counterparty, and any Securities Lending
     Counterparty.




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              "Secondary Risk Table": The table below:

                 Long-Term Senior Unsecured Debt             Individual       Aggregate
                     Rating of Secondary Risk               Counterparty     Counterparty
                           Counterparty                        Limit            Limit
                      Moody's            S&P
                       Aaa               AAA                   20.0%            20.0%
                       Aa1               AA+                  10.0%             10.0%
                       Aa2                AA                  10.0%             10.0%
                       Aa3                AA-                 10.0%             10.0%
                        A1                A+                   5.0%             10.0%
                  A2 or below         A or below               0.0%              0.0%

               If any Secondary Risk Counterparty's long-term senior unsecured debt rating or short-term
     rating is on credit watch for possible downgrade by Moody's or S&P, then for the purposes of the
     table above, its rating by the Rating Agency putting its rating on credit watch shall be one rating
     notch lower for that Rating Agency.

              "Section 3(c)(7)": Section 3(c)(7) of the Investment Company Act.

             "Section 3(c)(7) Reminder Notice": A notice from the Issuer to the Noteholders (to be
     delivered in accordance with Sections 10.6(a) and (b)) substantially in the form of Exhibit G-1.

              "Secured High-Yield Bond": A High-Yield Bond that is secured by a valid and perfected
     security interest in specified collateral.

              "Secured Loan": A Loan that is secured by a valid and perfected security interest in
     specified collateral.

              "Secured Obligations": The meaning specified in the Granting Clauses.

              "Secured Parties": The meaning specified in the Granting Clauses.

              "Securities": The Notes and the Preference Shares.

              "Securities Act": The United States Securities Act of 1933, as amended.

              "Securities Intermediary": Any clearing corporation or any Person, including a bank or
     broker, that in the ordinary course of its business maintains securities accounts for others and is
     acting in that capacity.

              "Securities Lending Account": The trust account established pursuant to Section 10.3(f).

              "Securities Lending Agreements": The meaning specified in Section 7.18.

              "Securities Lending Collateral": The meaning specified in Section 7.18.

              "Securities Lending Counterparty": The meaning specified in Section 7.18.
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              "Security Entitlement": The meaning specified in Section 8-102(a)(17) of the UCC.

             "Selected Collateral Quality Tests": The Weighted Average Moody's Recovery Rate Test,
     the Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted
     Average Life Test (after taking into consideration any applicable Maturity Extension), the Weighted
     Average Rating Factor Test and the Diversity Test.

             "Senior Notes": The Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the
     Class A-3 Notes, the Class B Notes and the Class C Notes authorized by, and authenticated and
     delivered under, this Indenture or any supplemental indenture.

               "Senior Secured High-Yield Bond": A Secured High-Yield Bond that is not subordinated
     by its terms to indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or
     other similar obligations, with a first priority security interest in collateral that in the opinion of the
     Servicer has value at least equal to the amount of the High-Yield Bond.

              "Senior Secured Loan": A Secured Loan that is not subordinated by its terms to
     indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other similar
     obligations, with a first priority security interest in collateral that in the opinion of the Servicer has
     value at least equal to the amount of the Loan and that is not a DIP Loan.

              "Senior Servicing Fee": A fee that accrues from the Closing Date payable to the Servicer in
     arrears on each Payment Date equal to 0.30% per annum of the Maximum Amount if and to the
     extent funds are available for that purpose in accordance with the Priority of Payments. The Senior
     Servicing Fee shall be calculated on the basis of a 360-day year consisting of twelve 30-day months.

              "Senior Unsecured High-Yield Bond": A High-Yield Bond that is not (i) subordinated by
     its terms to indebtedness of the borrower for borrowed money and (ii) secured by a valid and
     perfected security interest in collateral.

             "Senior Unsecured Loan": A Loan that is not a Senior Secured Loan and is not (i)
     subordinated by its terms to indebtedness of the borrower for borrowed money and (ii) secured by a
     valid and perfected security interest in collateral.

             "Servicer": Highland Capital Management, L.P., and any successor Servicer pursuant to the
     Servicing Agreement.

              "Servicing Agreement": The Servicing Agreement, dated as of the Closing Date, between
     the Issuer and the Servicer, as modified, amended, and supplemented and in effect from time to time.

              “Servicing Fee Portion”: 100% minus (a) for any Payment Date from the Closing Date
     until (and including) the Payment Date in February 2008, the Class II Preference Share Percentage
     for such Payment Date and (b) for any other Payment Date, a percentage (between 0% and 100%)
     selected by the Servicer in its sole discretion and reported to the Trustee in writing on or before the
     related Determination Date.

             "Servicing Fees": Collectively, the Senior Servicing Fee, the Subordinated Servicing Fee
     and the Supplemental Servicing Fee.

              "Share Trustee": Ogier Fiduciary Services (Cayman) Limited.

              "Share Registrar": Ogier Fiduciary Services (Cayman) Limited or any successor thereto.

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              "Special Redemption": The meaning specified in Section 9.5.

              "Special Redemption Amount": The meaning specified in Section 9.5.

              "Special Redemption Date": The meaning specified in Section 9.5.

              "Spread Excess": As of any Measurement Date, a fraction whose:

                      (i)      numerator is the product of:

                               (A)      the greater of zero and the excess of the Weighted Average Spread
                      for the Measurement Date over the Minimum Weighted Average Spread specified
                      in the applicable row of the Ratings Matrix, and

                              (B)     the Aggregate Principal Balance of all Floating Rate Obligations
                      (excluding any Non-Performing Collateral Obligations) held by the Issuer as of the
                      Measurement Date, and

                      (ii)     denominator is the Aggregate Principal Balance of all Fixed Rate
              Obligations (excluding any Non-Performing Collateral Obligations) held by the Issuer as of
              the Measurement Date.

              In computing the Spread Excess on any Measurement Date, the Weighted Average Spread
     for the Measurement Date will be computed as if the Fixed Rate Excess were equal to zero.

               "Stated Maturity": With respect to any Collateral Obligation, the maturity date specified in
     it or the applicable Underlying Instrument (or, if earlier, the first date on which any Person may be
     required by the Issuer to repurchase the entire principal amount of the Collateral Obligation at or
     above par) and with respect to the Notes of any Class, May 1, 2022 or, upon a Maturity Extension (if
     any), the applicable Extended Stated Maturity Date. Unless otherwise specified, "Stated Maturity"
     means the Stated Maturity of the Notes.

              "Structured Finance Obligation": Any obligation (other than the Notes or any other
     security or obligation issued by the Issuer):

                       (i)      secured directly by, referenced to, or representing ownership of, a pool of
              receivables or other assets of U.S. obligors, or obligors organized or incorporated in
              Moody's Group I Countries, Moody's Group II Countries, Moody's Group III Countries or
              Tax Advantaged Jurisdictions, including portfolio credit default swaps and collateralized
              debt obligations, but excludes:

                               (A)      residential mortgage-backed securities;

                               (B)      collateralized debt obligations backed by Emerging Market
                      Securities;

                               (C)      collateralized debt obligations primarily backed by asset-backed
                      securities;

                               (D)      market value collateralized debt obligations;

                               (E)      securities backed by "future flow" receivables;

                               (F)      securities backed by "trust preferred securities;"
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                               (G)      net interest margin securitizations;

                               (H)      collateralized debt obligations backed primarily by other
                      collateralized debt obligations;

                               (I)     collateralized debt obligations primarily backed by one or more
                      credit default swaps (i.e. "synthetic CDOs"); and

                              (J)    collateralized debt obligations a significant portion of which are
                      backed by bonds;

                      (ii)     that has an S&P Rating;

                     (iii)    that has a rating and a Moody's Priority Category Recovery Rate assigned
              by Moody’s; and

                        (iv)     whose ownership or disposition (without regard to the Issuer's other
              activities) by the Issuer will not cause the Issuer to be treated as engaged in a U.S. trade or
              business for United States federal income tax purposes or otherwise subject the Issuer to net
              income taxes.

              In connection with the purchase of a Structured Finance Obligation, the Servicer shall
     obtain from Moody's the applicable Moody's Priority Category Recovery Rate.

              For purposes of the Diversity Test, multiple Structured Finance Obligations from CDOs
     serviced by the same Servicer or multiple Structured Finance Obligations issued by the same master
     trust will be considered to be obligations of one issuer.

             "Subordinated High-Yield Bond": A Secured High-Yield Bond secured by a second (or
     lower) priority security interest in the relevant collateral.

             "Subordinated Lien Loan": A Secured Loan (other than a Second Lien Loan) secured by a
     second (or lower) priority security interest in the relevant collateral.

               "Subordinated Servicing Fee": An amount equal to the sum of (i) a fee that accrues from
     the Closing Date payable to the Servicer in arrears on each Payment Date equal to 0.25% per annum
     of the Maximum Amount if and to the extent funds are available for that purpose in accordance with
     the Priority of Payments and (ii) on any Payment Date that any part of the Subordinated Servicing
     Fee was not paid on the preceding Payment Date, an amount equal to interest on such unpaid amount
     at a rate of LIBOR for the applicable period plus 3.00% per annum. The portion of the Subordinated
     Servicing Fee in clauses (i) and (ii) above, as applicable, shall be calculated on the basis of a 360-
     day year consisting of twelve 30-day months.

              "Successor Entity": The meaning specified in Section 7.10.

              "Super Majority": With respect to any Class or group of Notes or Preference Shares, the
     Holders of more than 66⅔% of the Aggregate Outstanding Amount of that Class or group of Notes
     or Preference Shares, as the case may be; provided that with respect to the Class A-1 Notes, Class
     A-2a Notes and Class A-2b Notes voting together as the Controlling Class, “Super Majority” shall
     mean at least 60% of the Aggregate Outstanding Amount of such Controlling Class for so long as
     FSA is entitled to direct the vote of at least 60% of the Aggregate Outstanding Amount of such
     Controlling Class.



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               "Supplemental Servicing Fee": On each Payment Date, the fee payable to the Servicer in
     an amount equal to: (i) 20% of the remaining Interest Proceeds, if any, available after making the
     distributions on such Payment Date pursuant to Section 11.1(a)(i)(22) of the Priority of Payments
     and (ii) 20% of the remaining Principal Proceeds, if any, available for payment in respect of the
     Supplemental Servicing Fee pursuant to Section 11.1(a)(ii)(12)(A) of the Priority of Payments and,
     if applicable, Section 11.1(a)(ii)(15) of the Priority of Payments.

              "Synthetic Security": Any swap transaction, structured bond, credit linked note or other
     derivative financial instrument providing non-leveraged credit exposure to a debt instrument (but
     excluding any such instrument relating directly to a basket or portfolio of debt instruments) or an
     index or indices (such as the "SAMI" index published by Credit Suisse Securities (USA) LLC) in
     connection with a basket or portfolio of debt instruments or other similar instruments entered into by
     the Issuer with a Synthetic Security Counterparty that has in the Servicer's commercially reasonable
     judgment, equivalent expected loss characteristics (those characteristics, "credit risk") to those of the
     related Reference Obligations (taking account of those considerations as they relate to the Synthetic
     Security Counterparty), if (i) it is either a Form-Approved Synthetic Security or the Rating
     Condition for each Rating Agency is satisfied, and (ii) the Reference Obligations thereof have a
     Market Value equal to at least 85% of the Principal Balance of the Reference Obligation at the time
     the Synthetic Security is entered into.

              The maturity, interest rate, and other non-credit characteristics of a Synthetic Security may
     be different from the Reference Obligations to which the credit risk of the Synthetic Security relates.

              No Synthetic Security shall require the Issuer to make any payment to the Synthetic
     Security Counterparty after its initial purchase other than any payments represented by the release of
     any cash collateral posted by the Issuer from the Collection Account to the Synthetic Security
     Counterparty Account simultaneously with the Issuer's purchase of or entry into the Synthetic
     Security in an amount not exceeding the amount of the posted cash collateral. Collateral may be
     posted only to a Synthetic Security Counterparty Account. No Synthetic Security shall result in the
     Issuer being a "buyer" of credit protection.

              The term Synthetic Security shall not include any Structured Finance Obligation or any
     Participation, but the Reference Obligation of a Synthetic Security may be a Structured Finance
     Obligation.

              Each Synthetic Security Agreement shall contain appropriate limited recourse and non-
     petition provisions (to the extent the Issuer has contractual payment obligations to the Synthetic
     Security Counterparty) equivalent (mutatis mutandis) to those contained in this Indenture.

               The ownership or disposition of any Synthetic Security (without regard to the Issuer's other
     activities) must not cause the Issuer to be treated as engaged in a U.S. trade or business for United
     States federal income tax purposes or otherwise subject the Issuer to net income taxes.

              Unless the Rating Condition is otherwise satisfied, any "deliverable obligation" that may be
     delivered to the Issuer as a result of the occurrence of any "credit event" under any proposed
     Synthetic Security must not provide that its transfer to the Issuer is subject to obtaining any consents
     and must qualify (when the Issuer purchases the related Synthetic Security and when such
     "deliverable obligation" is delivered to the Issuer as a result of the occurrence of any "credit event")
     as a Collateral Obligation and satisfy the Concentration Limitations under this Indenture, except that
     such "deliverable obligation" may constitute a Defaulted Collateral Obligation when delivered upon
     a "credit event” and if the Reference Obligation of the Synthetic Security is a Senior Secured Loan
     then the "deliverable obligation" under the Synthetic Security must also be a Senior Secured Loan.

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              No Synthetic Security may provide for any event other than bankruptcy or a failure to pay
     as a “credit event.”

              No Synthetic Security shall provide for termination by the Synthetic Security Counterparty
     at any time (i) after a declaration of acceleration of Maturity of the Notes has been made upon the
     occurrence of an Event of Default, unless such declaration and its consequences may no longer be
     rescinded and annulled in accordance with Section 5.2(c) and liquidation of the Collateral has
     begun or (ii) upon an Optional Redemption, unless the third Business Day before the scheduled
     Redemption Date has passed and no notice of withdrawal has been issued.

              For purposes of the Coverage Tests and the Retention Overcollateralization Test, unless the
     Rating Condition for each Rating Agency is satisfied in respect of any proposed alternative
     treatment, a Synthetic Security shall be included as a Collateral Obligation having the characteristics
     of the Synthetic Security and not of the related Reference Obligations.

              For purposes of the Collateral Quality Tests (other than the Diversity Test and the S&P
     Industry Classification with respect to the S&P CDO Monitor Test), a Synthetic Security shall be
     included as a Collateral Obligation having the characteristics of the Synthetic Security and not of the
     related Reference Obligations.

              For purposes of calculating compliance with the Concentration Limitations other than limits
     relating to payment characteristics, and all related definitions, unless otherwise specified in this
     Indenture or by the Rating Agencies, a Synthetic Security shall be included as a Collateral
     Obligation having the characteristics of its Reference Obligations and not the Synthetic Security.
     For purposes of calculating compliance with the Concentration Limitations relating to payment
     characteristics, and all related definitions, unless otherwise specified in this Indenture or by the
     Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
     characteristics of the Synthetic Security and not its Reference Obligation.

              With respect to a Synthetic Security based upon or relating to a senior secured index
     providing non-leveraged credit exposure to a basket of credit default swaps referencing a diversified
     group of Reference Obligations, with respect to which the principal or notional amount of the credit
     exposure to any single Reference Obligation does not increase over time, for purposes of: (i)
     calculating compliance with the Diversity Test, the S&P Industry Classification with respect to the
     S&P CDO Monitor Test, and the Concentration Limitations (other than limits relating to payment
     characteristics and except for clauses 17 and 17(a) of the definition of "Concentration Limitations"),
     and all related definitions, and (ii) any other provision or definition of this Indenture involving a
     determination with respect to a Reference Obligation, the characteristics of such Reference
     Obligations shall be determined by treating such Synthetic Security as a direct interest of the Issuer
     in each such Reference Obligation in an amount equal to the Allocable Principal Balance of such
     Reference Obligation. In addition, each Reference Obligation under such Synthetic Security shall be
     assigned a Moody's Rating Factor equal to the sum of the Moody's Rating Factor of (i) the related
     Reference Obligor, (ii) the Synthetic Security Counterparty of such Synthetic Security and (iii) the
     Synthetic Security Collateral of such Synthetic Security. In addition, the Moody's Priority Category
     Rate in respect of a Synthetic Security referencing multiple Reference Obligations pursuant to this
     paragraph shall be the Moody's Priority Category Rate as assigned by Moody's to each Reference
     Obligation underlying such Synthetic Security. For the avoidance of doubt, Reference Obligations
     upon which a Synthetic Security is based as described in this paragraph must meet the definition of
     "Collateral Obligation" to the extent provided in this definition.




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              If the Rating Condition must be satisfied to execute the purchase of any Synthetic Security,
     the Servicer, on behalf of the Issuer, shall give each applicable Rating Agency not less than five
     days' prior notice of the purchase of or entry into any Synthetic Security.

                "Synthetic Security Agreement": The documentation governing any Synthetic Security.

              "Synthetic Security Collateral": With respect to any Synthetic Security, amounts posted to
     the Synthetic Security Collateral Account by the Synthetic Security Counterparty in support of its
     obligations under the Synthetic Security, including (i) all Eligible Investments or (ii) floating rate
     credit card securitizations that are rated "Aaa" by Moody's and "AAA" by S&P, in each case that
     mature no later than the Stated Maturity, in the Synthetic Security Collateral Account that are
     purchased with Synthetic Security Collateral.

                "Synthetic Security Collateral Account": The trust account established pursuant to Section
     10.3(e).

             "Synthetic Security Counterparty": An entity required to make payments on a Synthetic
     Security to the extent that a Reference Obligor makes payments on a related Reference Obligation.

             "Synthetic Security Counterparty Account": The trust account established pursuant to
     Section 10.5.

              "Tax Advantaged Jurisdiction": One of the Cayman Islands, Bermuda, the Netherlands
     Antilles or the tax advantaged jurisdiction of the Channel Islands, or such other jurisdiction that the
     Rating Condition with respect to each Rating Agency is satisfied with respect thereto; provided that
     any Tax Advantaged Jurisdiction that is the jurisdiction of organization of an obligor of a Collateral
     Obligation other than obligors that are special purpose vehicles or issuers of Structured Finance
     Obligations shall have a Moody's foreign currency rating of at least "Aa2" and a S&P foreign
     currency rating of at least "AA-".

                "Tax Event": An event that occurs if either:

              (i)      (A) one or more Collateral Obligations that were not subject to withholding tax
     when the Issuer committed to purchase them have become subject to withholding tax ("New
     Withholding Tax Obligations") or the rate of withholding has increased on one or more Collateral
     Obligations that were subject to withholding tax when the Issuer committed to purchase them
     ("Increased Rate Withholding Tax Obligations") and (B) in any Due Period, the aggregate of the
     payments subject to withholding tax on New Withholding Tax Obligations and the increase in
     payments subject to withholding tax on Increased Rate Withholding Tax Obligations, in each case to
     the extent not "grossed-up" (on an after-tax basis) by the related obligor, represent 5% or more of
     Interest Proceeds for the Due Period;

              (ii)    taxes, fees, assessments, or other similar charges are imposed on the Issuer or the
     Co-Issuer in an aggregate amount in any twelve-month period in excess of U.S.$2,000,000, other
     than any deduction or withholding for or on account of any tax with respect to any payment owing in
     respect of any obligation that at the time of acquisition, conversion, or exchange does not satisfy the
     requirements of a Collateral Obligation or Collateral Obligation; or

              (iii)   if the Issuer is at the time treated as a pass-through entity for U.S. federal income
     tax purposes, that investors in the Preference Shares who are non-U.S. persons not otherwise subject
     to U.S. net income tax are or have become subject to U.S. net income taxation in respect of income


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     of the Issuer in an amount in excess of 10.0% of the net income of the Issuer in any twelve-month
     period.

               "Tax Opinion of Counsel": A written opinion addressed to the Issuer (a copy of which will
     be provided to the Trustee) and, if requested, each Rating Agency that has made such request, in
     form and substance reasonably satisfactory to the Trustee and each Rating Agency, issued by a
     nationally recognized law firm reasonably satisfactory to the Trustee, which law firm is experienced
     in the relevant areas of tax law, and which law firm may be counsel for the Servicer or the Issuer.

            "Transaction Documents": Collectively, this Indenture, the Preference Shares Paying
     Agency Agreement and the Holding Preference Shares Paying Agency Agreement.

              "Transaction Reports": The meaning specified in Section 14.4.

              "Transaction Securities": Collectively, the Securities and the Holding Securities.

             "Transfer Agent": The Person or Persons, which may be the Issuer, authorized by the Issuer
     to exchange or register the transfer of Notes.

             "Transferee Certificate": A certificate substantially in the form of, with respect to the
     Senior Notes, Exhibit B-1 or, with respect to the Class D Notes, Exhibit B-4 attached hereto, duly
     completed as appropriate.

              "Treasury Regulations": The regulations, including proposed or temporary regulations,
     promulgated under the Code. References herein to specific provisions of proposed or temporary
     regulations shall include analogous provisions of final Treasury Regulations or other successor
     Treasury Regulations.

              "Trust Officer": When used with respect to the Trustee, any officer in the Corporate Trust
     Office (or any successor group of the Trustee) including any director, vice president, assistant vice
     president, associate, or any other officer of the Trustee customarily performing functions similar to
     those performed by such officers in the Corporate Trust Office, or to whom any corporate trust
     matter is referred at the Corporate Trust Office because of his knowledge of and familiarity with the
     particular subject and having direct responsibility for the administration of this Indenture.

              "Trustee": As defined in the first sentence of this Indenture.

            "UCC": The Uniform Commercial Code as in effect in the State of New York, and as
     amended from time to time.

              "Uncertificated Security": The meaning specified in Section 8-102(a)(18) of the UCC.

             "Underlying Instrument": The loan agreement, indenture, credit agreement, or other
     agreement pursuant to which a Pledged Obligation has been issued or created and each other
     agreement that governs the terms of or secures the obligations represented by the Pledged Obligation
     or of which the holders of the Pledged Obligation are the beneficiaries.

              “Unfunded Amount”: With respect to any Revolving Loan or any Delayed Drawdown
     Loan at any time, the excess, if any, of (a) the Commitment Amount over (b) the Funded Amount
     thereof.

              "Unregistered Securities": The meaning specified in Section 5.17(c).

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             "Unscheduled Principal Payments": Any principal payments received with respect to a
     Collateral Obligation as a result of optional redemptions, exchange offers, tender offers, other
     payments or prepayments made at the option of the issuer thereof or that are otherwise not scheduled
     to be made thereunder.

              "U.S. Person": A beneficial owner of a Security that is, for U.S. federal income tax
     purposes, a citizen or individual resident of the United States of America, an entity treated for
     United States federal income tax purposes as a corporation or a partnership created or organized in
     or under the laws of the United States of America or any state thereof or the District of Columbia, an
     estate the income of which is includable in gross income for U.S. federal income tax purposes
     regardless of its source, or a trust if, in general, a court within the United States of America is able to
     exercise primary supervision over its administration and one or more U.S. Persons have the authority
     to control all substantial decisions of such trust, and certain eligible trusts that have elected to be
     treated as U.S. Persons.

              "Valuation Report": The meaning specified in Section 10.6(b).

              "Weighted Average Fixed Rate Coupon": As of any Measurement Date, the rate obtained
     by

               (i)      multiplying the Principal Balance of each Collateral Obligation that is a Fixed Rate
     Obligation held by the Issuer as of the Measurement Date by the current per annum rate at which it
     pays interest (other than, with respect to Collateral Obligations that are not PIK Securities, any
     interest that is not required to be paid in Cash and may be deferred), using only the effective after-
     tax interest rate determined by the Servicer on any Fixed Rate Obligation after taking into account
     any withholding tax or other deductions on account of tax of any jurisdiction and any gross-up paid
     by the obligor),

              (ii)     summing the amounts determined pursuant to clause (i),

              (iii)   dividing the sum by the Aggregate Principal Balance of all Collateral Obligations
     that are Fixed Rate Obligations held by the Issuer as of the Measurement Date, and

              (iv)      if the result obtained in clause (iii) is less than the minimum percentage rate
     specified to satisfy the Weighted Average Fixed Rate Coupon Test, adding to the sum the amount of
     any Spread Excess as of the Measurement Date, but only to the extent required to satisfy the
     Weighted Average Fixed Rate Coupon Test.

            "Weighted Average Fixed Rate Coupon Test": A test that is satisfied if, as of any
     Measurement Date, the Weighted Average Fixed Rate Coupon equals or exceeds 7.5%.

              "Weighted Average Life": As of any Measurement Date, the number obtained by

              (i)      summing the products obtained by multiplying

                                (A)      the Average Life at that time of each Collateral Obligation by

                                (B)      the Principal Balance at that time of the Collateral Obligation and

             (ii)      dividing that sum by the Aggregate Principal Balance at that time of all Collateral
     Obligations.


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              "Weighted Average Life Test": A test that is satisfied as of any Measurement Date if the
     Weighted Average Life on that date of all Collateral Obligations is equal to or less than the greater
     of (a) the number of years (including any fraction of a year) between such Measurement Date and
     May 1, 2017 or, in the case of a Maturity Extension, the Extended Weighted Average Life Date and
     (b) 3 years.

              "Weighted Average Moody's Rating Factor": The summation of the products obtained by
     multiplying the Principal Balance of each Collateral Obligation (excluding Eligible Investments) by
     its respective Moody's Rating Factor, dividing that sum by the Aggregate Principal Balance of all
     Collateral Obligations (excluding Eligible Investments) and rounding the result up to the nearest
     whole number.

            "Weighted Average Moody's Recovery Rate Test": A test that is satisfied as of any
     Measurement Date if the Moody's Minimum Average Recovery Rate is greater than or equal to
     43.2%.

              "Weighted Average Rating Factor Test": A test that is satisfied as of any Measurement
     Date if the Weighted Average Moody's Rating Factor of the Collateral Obligations (excluding
     Eligible Investments) as of such Measurement Date is less than or equal to the Maximum Weighted
     Average Moody's Rating Factor.

              "Weighted Average S&P Recovery Rate Test": A test that is satisfied as of any
     Measurement Date if the S&P Minimum Average Recovery Rate for each Class of Notes is greater
     than or equal to: (i) with respect to the Class A-1 Notes, 52.4%; (ii) with respect to the Class A-2
     Notes, 52.4%; (iii) with respect to the Class A-3 Notes, 56.0%; (iv) with respect to the Class B
     Notes, 59.6%; (v) with respect to the Class C Notes, 62.4% and (vi) with respect to the Class D
     Notes, 65.1%.

              "Weighted Average Spread": As of any Measurement Date, a rate obtained by:

              (i)      multiplying the Principal Balance of each Collateral Obligation that is a Floating
     Rate Obligation held by the Issuer as of the Measurement Date by the current per annum contract
     spread at which it pays interest (which (x) for PIK Securities for which interest has been deferred or
     capitalized, will be deemed to be zero, (y) for Collateral Obligations that would be PIK Securities
     but for the proviso in the definition thereof, will be deemed to be equal to the effective rate of PIK
     Cash-Pay Interest applicable thereto and (z) for any Revolving Loan or Delayed Draw Loan, will be
     the per annum contract spread for the Funded Amount thereof and the rate of the commitment fee
     and such other fees payable to the Issuer for any Unfunded Amount thereof), determined with
     respect to any Floating Rate Obligation that does not bear interest based on a London interbank
     offered rate, by expressing the current interest rate on the Floating Rate Obligation as a spread above
     a three month London interbank offered rate calculated in a manner consistent with the calculation
     of LIBOR,

              (ii)    summing the amounts determined pursuant to clause (i),

             (iii)    dividing that sum by the Aggregate Principal Balance of all Floating Rate
     Obligations held by the Issuer as of the Measurement Date, and

              (iv)     if the result obtained in clause (iii) is less than the minimum percentage rate
     specified to pass the Weighted Average Spread Test, adding to that sum the amount of Fixed Rate
     Excess as of the Measurement Date.


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            "Weighted Average Spread Test": A test that is satisfied as of any Measurement Date if the
     Weighted Average Spread as of the Measurement Date equals or exceeds the Minimum Weighted
     Average Spread.

             "Workout Assets": A Loan, High-Yield Bond, or Qualified Equity Security acquired in
     connection with the workout or restructuring of any Collateral Obligation that the Issuer does not
     advance any funds to purchase that does not qualify as a Collateral Obligation.

              "Written-Down Obligation": As of any date of determination, any Structured Finance
     Obligation as to which the Issuer or the Servicer, on behalf of the Issuer, has been notified by the
     issuer of the Structured Finance Obligation that the Aggregate Principal Balance of the Structured
     Finance Obligation and all other Structured Finance Obligations secured by the same pool of
     collateral that rank pari passu with or senior in priority of payment to the Structured Finance
     Obligation exceeds the aggregate principal balance (including reserved interest or other amounts
     available for overcollateralization) of all collateral securing the Structured Finance Obligation and
     such other pari passu and senior Structured Finance Obligations (excluding defaulted collateral).

              "Zero-Coupon Security": A security that, at the time of determination, does not make
     periodic payments of interest. A Zero-Coupon Security shall not include a security that is a PIK
     Security.

     Section 1.2.     Assumptions as to Pledged Obligations; Construction Conventions.

             This Section 1.2 shall be applied in connection with all calculations required to be made
     pursuant to this Indenture:

              •       with respect to the scheduled payment of principal or interest on any Pledged
                      Obligation, or any payments on any other assets included in the Collateral,

              •       with respect to the sale of and acquisition of Collateral Obligations,

              •       with respect to the income that can be earned on the scheduled payment of principal
                      or interest on the Pledged Obligations and on any other amounts that may be
                      received for deposit in the Collection Account, and

              •       with respect to the treatment of Collateral Obligations loaned pursuant to a
                      Securities Lending Agreement.

               The provisions of this Section 1.2 shall be applicable to any determination or calculation
     that is covered by this Section 1.2, whether or not reference is specifically made to Section 1.2,
     unless some other method of calculation or determination is expressly specified in the particular
     provision.

              (a)      All calculations with respect to the scheduled payment of principal or interest on
     the Pledged Obligations shall be made on the basis of information as to the terms of each Pledged
     Obligation and on reports of payments received on the Pledged Obligation that are furnished by or
     on behalf of the issuer of the Pledged Obligation and, to the extent they are not manifestly in error,
     the information or report may be conclusively relied on in making the calculations.

              (b)      For each Due Period and as of any Measurement Date, the scheduled payment of
     principal or interest on any Pledged Obligation shall be the sum of


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              (i)     the total amount of payments and collections reasonably expected to be received
     during the Due Period in respect of the Pledged Obligation that, if paid as scheduled, will be
     available for payment on the Notes and of certain expenses of the Issuer and the Co-Issuer in the
     Collection Account at the end of the Due Period; and

             (ii)   any such amounts received in prior Due Periods that were not disbursed on a
     previous Payment Date.

            Except as provided in paragraph (h) below, a Non-Performing Collateral Obligation shall be
     assumed to have a scheduled payment of principal and interest of zero.

               The total amount of payments and collections reasonably expected to be received includes
     the proceeds of the sale of the Pledged Obligation received and, in the case of sales which have not
     yet settled, to be received during the Due Period and not used to purchase additional Collateral
     Obligations (including any related deposit into the Revolving Reserve Account or the Delayed
     Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for the benefit
     of) a Synthetic Security Counterparty, Securities Lending Counterparty, or Hedge Counterparty
     simultaneously with the Issuer's purchase of or entry into a Synthetic Security, Securities Lending
     Agreement, or Hedge Agreement) or Eligible Investments or retained in the Collection Account for
     subsequent application thereof to purchase additional Collateral Obligations pursuant to Section
     12.2.

              (c)      For purposes of the applicable determinations required by Article 12 and the
     definition of "Interest Coverage Ratio," the expected interest on Collateral Obligations shall be
     calculated using their then current interest rates.

             (d)      With respect to any Collateral Obligation, the date on which it "matures" (or its
     "maturity" date) shall be the earlier of

              (i)      the stated maturity of the obligation or

              (ii)     if the Issuer has the right to require the issuer or obligor of the Collateral Obligation
     to purchase, redeem, or retire the Collateral Obligation at a price of at least par on any one or more
     dates before its Stated Maturity (a "put right") and the Servicer certifies to the Trustee that it will
     cause the Issuer to direct the Trustee to exercise the put right on a date, the maturity date shall be the
     date specified in the certification.

              (e)      For purposes of calculating compliance with the Collateral Quality Tests (other
     than the Diversity Test and the S&P Industry Classification with respect to the S&P CDO Monitor
     Test), the Coverage Tests, and the Retention Overcollateralization Test and all related definitions,
     unless otherwise specified in this Indenture a Synthetic Security shall be included as a Collateral
     Obligation having the characteristics of the Synthetic Security and not of the Reference Obligation.
     For purposes of calculating compliance with the Concentration Limits other than limits relating to
     payment characteristics, and all related definitions, unless otherwise specified in this Indenture or by
     the Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
     characteristics of its Reference Obligations and not the Synthetic Security. For purposes of
     calculating compliance with the Concentration Limits relating to payment characteristics, and all
     related definitions, unless otherwise specified in this Indenture or by the Rating Agencies, a
     Synthetic Security shall be included as a Collateral Obligation having the characteristics of the
     Synthetic Security and not its Reference Obligations.



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              (f)     Any Collateral Obligation loaned to a Securities Lending Counterparty shall be
     included in the Collateral Quality Tests, the Coverage Tests, and the Retention Overcollateralization
     Test and the Principal Balance of any Collateral Obligation loaned to a Securities Lending
     Counterparty shall be included in the Aggregate Principal Balance of Collateral Obligations, in each
     case unless an "event of default" (under and as defined in the related Securities Lending Agreement)
     is continuing.

              (g)      If a Class of Notes ceases to be Outstanding, then any Coverage Test computed by
     reference to the Class of Notes (but not to any subordinate Class of Notes then Outstanding) shall
     cease to be of any force.

              (h)      For purposes of calculating compliance with the Eligibility Criteria (other than the
     Weighted Average Life Test), at the direction of the Servicer by notice to the Trustee, during the
     Replacement Period any Eligible Investment representing Principal Proceeds received upon the
     maturity, redemption, sale, or other disposition of a Collateral Obligation (or, after the Replacement
     Period, in respect of Principal Proceeds constituting Unscheduled Principal Payments and Sale
     Proceeds from Credit Risk Obligations and Credit Improved Obligations) shall be deemed to have
     the characteristics of the disposed Collateral Obligation until used to purchase an additional
     Collateral Obligation. The calculations shall be based on the Principal Balance of the disposed
     Collateral Obligations except in the case of Defaulted Collateral Obligations and Credit Risk
     Securities, in which case the calculations will be based on the Principal Proceeds received on the
     disposition or sale of the Defaulted Collateral Obligation or Credit Risk Obligation.

              (i)      The calculation on any Coverage Test on any Determination Date shall be made by
     giving effect to all payments to be made pursuant to all subclauses of the Priority of Payments as
     applicable, payable on the Payment Date following such Determination Date. In addition no
     Principal Proceeds will be used to pay a subordinated Class on a Payment Date if, after giving effect
     to such payment, any Coverage Test of a more senior Class of Notes is failing on such Payment Date
     or would fail as a result of such application of the Principal Proceeds on such Payment Date.

     Section 1.3.     Rules of Interpretation.

              Except as otherwise expressly provided in this Indenture or unless the context clearly
     requires otherwise:

              (a)     Defined terms include, as appropriate, all genders and the plural as well as the
     singular.

              (b)      References to designated articles, sections, subsections, exhibits, and other
     subdivisions of this Indenture, such as "Section 6.13 (a)", refer to the designated article, section,
     subsection, exhibit, or other subdivision of this Indenture as a whole and to all subdivisions of the
     designated article, section, subsection, exhibit, or other subdivision. The words "herein", "hereof",
     "hereto", "hereunder" and other words of similar import refer to this Indenture as a whole and not to
     any particular article, section, exhibit, or other subdivision of this Indenture.

              (c)       Any term that relates to a document or a statute, rule, or regulation includes any
     amendments, modifications, supplements, or any other changes that may have occurred since the
     document, statute, rule, or regulation came into being, including changes that occur after the date of
     this Indenture. References to law are not limited to statutes. Any reference to any Person includes
     references to its successors and assigns.



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              (d)      Any party may execute any of the requirements under this Indenture either directly
     or through others, and the right to cause something to be done rather than doing it directly shall be
     implicit in every requirement under this Indenture. Unless a provision is restricted as to time or
     limited as to frequency, all provisions under this Indenture are implicitly available and things may
     happen from time to time.

             (e)      The term "including" and all its variations mean "including but not limited to."
     Except when used in conjunction with the word "either", the word "or" is always used inclusively
     (for example, the phrase "A or B" means "A or B or both", not "either A or B but not both").

              (f)      A reference to "a thing" or "any of a thing" does not imply the existence or
     occurrence of the thing referred to even though not followed by "if any", and "any of a thing" is any
     and all of it. A reference to the plural of anything as to which there could be either one or more than
     one does not imply the existence of more than one (for instance, the phrase "the obligors on a note"
     means "the obligor or obligors on a note"). "Until something occurs" does not imply that it must
     occur, and will not be modified by the word "unless." The word "due" and the word "payable" are
     each used in the sense that the stated time for payment has passed. The word "accrued" is used in its
     accounting sense, i.e., an amount paid is no longer accrued. In the calculation of amounts of things,
     differences and sums may generally result in negative numbers, but when the calculation of the
     excess of one thing over another results in zero or a negative number, the calculation is disregarded
     and an "excess" does not exist. Portions of things may be expressed as fractions or percentages
     interchangeably. The word "shall" is used in its imperative sense, as for instance meaning a party
     agrees to something or something must occur or exist.

              (g)      All accounting terms used in an accounting context and not otherwise defined, and
     accounting terms partly defined in this Indenture, to the extent not completely defined, shall be
     construed in accordance with generally accepted accounting principles. To the extent that the
     definitions of accounting terms in this Indenture are inconsistent with their meanings under
     generally accepted accounting principles, the definitions contained in this Indenture shall control.

              (h)     In the computation of a period of time from a specified date to a later specified date
     or an open-ended period, the words "from" and "beginning" mean "from and including", the word
     "after" means "from but excluding," the words "to" and "until" mean "to but excluding", and the
     word "through" means "to and including." Likewise, in setting deadlines or other periods, "by"
     means "on or before." The words "preceding", "following", "before", "after", "next" and words of
     similar import, mean immediately preceding or following. References to a month or a year refer to
     calendar months and calendar years.

              (i)       Any reference to the enforceability of any agreement against a party means that it is
     enforceable against the party in accordance with its terms, subject to applicable bankruptcy,
     insolvency, reorganization, and other similar laws of general applicability relating to or affecting
     creditors' rights and to general equity principles.

               (j)     Except when only the registered holder is recognized, such as in Section 2.9.,
     references to Noteholders, holders, and the like refer equally to beneficial owners who have an
     interest in a Note but are not reflected in the Indenture Register as the owner.




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                                                 ARTICLE 2

                                                  THE NOTES

     Section 2.1.     Forms Generally.

              The Notes and the Trustee's or Authenticating Agent's certificate of authentication on them
     (the "Certificate of Authentication") shall be in substantially the forms required by this Article, with
     appropriate insertions, omissions, substitutions, and other variations required or permitted by this
     Indenture, and may have any letters, numbers, or other marks of identification and any legends or
     endorsements on them that are consistent with this Indenture, as determined by the Authorized
     Officers of the Issuer executing the Notes as evidenced by their execution of the Notes.

     Section 2.2.     Forms of Notes and Certificate of Authentication.

             (a)      The Senior Notes, including the Regulation S Global Notes, Rule 144A Global
     Notes and Certificate of Authentication, shall be in the forms of the applicable portion of Exhibit A-
     1.

              (b)      Regulation S Global Notes. The Senior Notes of each Class sold to non-U.S.
     persons in off-shore transactions in reliance on Regulation S shall each be represented by one or
     more global notes in definitive, fully registered form without interest coupons substantially in the
     form of the applicable portion of Exhibit A-1, including legends (the "Regulation S Global Notes").
     The global notes shall be deposited on behalf of the subscribers for the Senior Notes represented
     thereby with the Trustee as custodian for, and registered in the name of a nominee of, the Depository
     for the respective accounts of Euroclear and Clearstream, duly executed by the Applicable Issuers
     and authenticated by the Trustee as hereinafter provided. The aggregate principal amount of the
     Regulation S Global Notes may from time to time be increased or decreased by adjustments made on
     the records of the Trustee or the Depository or its nominee, as the case may be, as hereinafter
     provided. As used above and in subsection (d) below, "U.S. person" and "off-shore transaction"
     have the meanings assigned to them in Regulation S.

               (c)    Rule 144A Global Notes. The Senior Notes of each Class initially sold to U.S.
     persons that are Qualified Institutional Buyers and Qualified Purchasers shall each be issued initially
     in the form of one permanent global note per Class in definitive, fully registered form without
     interest coupons substantially in the form of the applicable portion of Exhibit A-1, including legends
     (each, a "Rule 144A Global Note"), which shall be deposited on behalf of the subscribers for the
     Senior Notes represented thereby with the Trustee as custodian for, and registered in the name of a
     nominee of, the Depository, duly executed by the Applicable Issuers and authenticated by the
     Trustee as hereinafter provided. The aggregate principal amount of the Rule 144A Global Notes
     may from time to time be increased or decreased by adjustments made on the records of the Trustee
     or the Depository or its nominee, as the case may be, as hereinafter provided.

              (d)      Book-Entry Provisions. This Section 2.2(d) shall apply only to Global Notes
     deposited with or on behalf of the Depository. The "Operating Procedures of the Euroclear System"
     of Euroclear and the "Terms and Conditions Governing Use of Participants" of Clearstream,
     respectively, shall be applicable to the Regulation S Global Notes insofar as interests in the Global
     Notes are held by the Agent Members of Euroclear or Clearstream, as the case may be.

            Agent Members shall have no rights under this Indenture with respect to any Global
     Note held on their behalf by the Trustee, as custodian for the Depository and the Depository

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     may be treated by the Co-Issuers, the Trustee, and any agent of the Co-Issuers or the Trustee as
     the absolute owner of the Senior Note for all purposes whatsoever. Notwithstanding the
     foregoing, nothing in this Indenture shall prevent the Co-Issuers, the Trustee, or any agent of the
     Co-Issuers or the Trustee, from giving effect to any written certification, proxy, or other
     authorization furnished by the Depository or impair, as between the Depository and its Agent
     Members, the operation of customary practices governing the exercise of the rights of a Holder
     of any Senior Note.

              (e)     The Class D Notes shall be issued in the form of one or more certificated Class
     D Notes in definitive, fully registered form without interest coupons substantially in the form of
     Exhibit A-2, including legends (each, a "Certificated Class D Note"), which shall be registered
     in the name of the owner thereof.

     Section 2.3.         Authorized Amount; Denominations.

              (a)     The aggregate principal amount of Notes that may be authenticated and delivered
     under this Indenture is limited to U.S.$1,408,100,000, except for Notes authenticated and delivered
     upon registration of, transfer of, or in exchange for, or in lieu of, other Notes pursuant to Section 2.6,
     2.7, or 8.5.

              (b)      The Notes shall be divided into the following Classes, having the designations,
     original principal amounts and other characteristics as follows:

           Class          A-1           A-2a           A-2b                A-3            B             C             D

     Original
     Principal
     Amount           $100,000,000   $825,600,000   $206,000,000        $78,500,000   $81,500,000   $68,500,000   $48,000,000

     Interest Rate    LIBOR +0.25% LIBOR + 0.23% LIBOR + 0.33% LIBOR + 0.40% LIBOR + 0.70% LIBOR + 1.50% LIBOR + 3.60%

     Initial Rating
     (Moody's/S&P)      Aaa/AAA       Aaa/AAA        Aa1/AAA             Aa2/AA          A2/A       Baa2/BBB       Ba2/BB

     ____________

              (c)      The Notes will be issuable in minimum denominations of U.S.$250,000, and
     integral multiples of U.S.$1,000 in excess of that amount.

              (d)      The Issuer will also issue 61,500 Class I Preference Shares and 62,000 Class II
     Preference Shares pursuant to the Preference Share Documents, simultaneously with the issuance of
     the Notes under this Indenture. At any time during the Replacement Period, the Issuer may issue
     and sell additional Preference Shares and use the proceeds from such issuance and sale to purchase
     additional Collateral Obligations or as otherwise permitted under the Preference Share Documents
     and this Indenture pursuant to Section 6 of the Preference Shares Paying Agency Agreement. The
     Preference Shares are not secured by the lien of this Indenture. Any payments made by the Trustee
     hereunder with respect to the Preference Shares (other than, as and to the extent described herein, the
     Class II Preference Share Special Payments) will be released by the Trustee to the Preference Shares
     Paying Agent on each Payment Date in accordance with the Priority of Payments for deposit into the
     Preference Shares Distribution Account for payment, subject to Cayman Islands law, to Holders of
     the Preference Shares as dividends or Redemption Price, as applicable.




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     Section 2.4.     Extension of Replacement Period and Stated Maturity.

              (a)      The Issuer, if directed by the Servicer, shall be entitled on each Extension Effective
     Date to extend the Replacement Period to the applicable Extended Replacement Period End Date up
     to a maximum of four times if (i) in the case of an Extension Effective Date occurring after the first
     Extension Effective Date, the Issuer has previously effected a Maturity Extension for each preceding
     Extension Effective Date in accordance with this Section 2.4 and (ii) the Extension Conditions set
     forth in Section 2.4(c) are satisfied and the Issuer has given written notice of its election to extend
     the Replacement Period to the Trustee no later than 60 days and no earlier than 90 days prior to such
     Extension Effective Date. If the Extension Conditions are satisfied, the Stated Maturity of the Notes
     shall be automatically extended to the related Extended Stated Maturity Date and the Weighted
     Average Life Test shall be automatically extended to the related Extended Weighted Average Life
     Date, without any requirement for approval or consent of any Holders of Notes or Preference Shares
     or amendment or supplement to this Indenture or the Preference Share Documents (the "Maturity
     Extension"); provided that the Issuer will not be permitted to effect more than four Maturity
     Extensions.

              (b)      In the case of a Maturity Extension, any Holder of Securities wishing to sell such
     Securities to an Extension Qualifying Purchaser pursuant to the Extension Conditions must provide
     the applicable Extension Sale Notice within the Extension Sale Notice Period pursuant to Section
     2.4(d) (such Securities (or the related Holding Preference Shares, as applicable) as to which an
     Extension Sale Notice has been duly given, "Extension Sale Securities"). Notwithstanding anything
     to the contrary herein, in connection with an Extension Sale, all, but not part, of the Extension Sale
     Securities shall be purchased and settled at the applicable Extension Purchase Price on the applicable
     Extension Effective Date.

             (c)    The Maturity Extension shall be effective only if the following conditions (the
     "Extension Conditions") are satisfied:

                              (i)       the purchase of all Extension Sale Securities has been settled by
              the designated Extension Qualifying Purchasers at the applicable Extension Purchase Price
              as of the applicable Extension Effective Date;

                            (ii)        all such purchases of Extension Sale Securities individually and in
              the aggregate comply with the applicable transfer restrictions in this Indenture, the
              Preference Share Documents and the Holding Preference Share Documents immediately
              after such purchase and the legends on such Extension Sale Securities and all applicable
              law, rules and regulations (including, without limitation, rules, regulations and procedures
              of any applicable securities exchange, self-regulatory organization or clearing agency);

                            (iii)        (a) the Rating Condition has been satisfied with respect to S&P
              (so long as any Notes are then rated by S&P) and (b) the Rating Condition has been
              satisfied with respect to Moody's (so long as any Notes are then rated by Moody's);

                           (iv)         the Issuer has not effected more than three prior Extensions; and

                            (v)         such extension is not effected for the primary purpose of
              decreasing losses or recognizing gains resulting from market value changes.

              The Issuer, the Trustee and, by its acceptance of the Notes, each Noteholder agrees that
     neither the Initial Purchaser nor the Placement Agent shall be responsible for causing the Extension
     Conditions to be satisfied and neither the Initial Purchaser nor the Placement Agent shall be liable to

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     any such Person or Noteholders (whether or not such Holder gave an Extension Sale Notice with
     respect to its Notes) or to any other Person if the Extension Conditions are not satisfied. Failure of
     the Extension Conditions to be satisfied shall not constitute a Default or Event of Default under this
     Indenture.

              (d)      Extension Procedure.

                             (i)        Not later than three Business Days following receipt by the
              Trustee of the notice given by the Issuer of its election to extend the Replacement Period
              (the "Extension Notice"), the Trustee shall mail the Extension Notice to all Noteholders, the
              Preference Shares Paying Agent (for forwarding to the Holders of the Preference Shares),
              the Holding Preference Shares Paying Agent (for forwarding to the Holders of the Holding
              Securities) and each Rating Agency (so long as any rated Notes are Outstanding), in the
              form of Exhibit I, and shall request the Rating Confirmation for the Maturity Extension
              from each Rating Agency, if applicable;

                              (ii)         Any Holder of the Securities may deliver an irrevocable notice (an
              "Extension Sale Notice") to the Issuer and the Trustee within 30 days after the Trustee has
              mailed the Extension Notice (the "Extension Sale Notice Period") of its intention to sell all
              or a portion of its Securities or, with respect to Investors Corp., in its capacity as a
              Holder of the Class I Preference Shares, all or a portion of Holding Preference Shares, as
              the case may be, to an Extension Qualifying Purchaser in the case of a Maturity Extension.
              Any Extension Sale Notice received by the Trustee after the Extension Sale Notice Period
              shall be disregarded and deemed not to have been given. No Holder of the Securities that
              has not delivered such an Extension Sale Notice within the Extension Sale Notice Period
              shall be entitled to sell its Securities or Holding Preference Shares, as applicable, to an
              Extension Qualifying Purchaser in connection with the Maturity Extension; and

                            (iii)        If clause (iii)(b)(i) of the Extension Conditions is not satisfied as
              of the applicable Extension Determination Date as determined by the Issuer (or its agent),
              the Trustee shall request the Rating Condition to be satisfied with respect to Moody's.

               (e)      On the applicable Extension Determination Date, the Issuer (or its agent) shall
     confirm (i) whether or not Extension Qualifying Purchasers for all Extension Sale Securities have
     been designated to purchase such Extension Sale Securities in compliance with all transfer
     restrictions in this Indenture, the Preference Share Documents and the Holding Preference Share
     Documents and the legends on such Extension Sale Securities and all applicable laws, rules and
     regulations (including, without limitation, any rules, regulations and procedures of any securities
     exchange, self-regulatory organization or clearing agency), (ii) whether the requirements of clause
     (c)(iii) of the Extension Conditions are satisfied as of the applicable Extension Determination Date
     and (iii) whether all other Extension Conditions can be satisfied as of the applicable Extension
     Effective Date.

              (f)      On each Extension Effective Date, the Maturity Extension shall automatically
     become effective under the terms of this Indenture; provided that all Extension Conditions set forth
     in clauses (a) and (c) above are satisfied (as certified to the Trustee by a certificate of an Authorized
     Officer of the Issuer). No later than two Business Days after each Extension Effective Date, the
     Trustee based on a determination made by the Issuer in consultation with the Servicer, at the
     expense of the Co-Issuers, shall mail a notice to all Noteholders, the Preference Shares Paying Agent
     (for forwarding to the Holders of Preference Shares), the Servicer, the Initial Purchaser, the
     Placement Agent, each Rating Agency (so long as any rated Notes are Outstanding) and the Irish
     Stock Exchange (if and for so long as any Class of Senior Notes is listed thereon) confirming

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     whether or not the Maturity Extension became effective. If the Maturity Extension became
     effective, the Issuer shall make any required notifications thereof to the Depository for any Notes
     subject to the Maturity Extension.

             (g)     In the case of a Maturity Extension, each Noteholder, other than a Holder of
     Extension Sale Securities, shall be entitled to receive an amount equal to the applicable Extension
     Bonus Payment. Holders of Preference Shares shall not be entitled to receive any Extension Bonus
     Payment.

              The Extension Bonus Payment shall be payable to any applicable qualifying beneficial
     owners who have provided the Trustee with an Extension Bonus Eligibility Certification on the first
     Payment Date from and including each Extension Effective Date on which funds are available to be
     used for such purposes in accordance with Priority of Payments, but in any event, no later than the
     earlier of the Stated Maturity and the date of redemption of the Notes. Extension Bonus Payments
     which are not available to be paid on a Payment Date in accordance with the Priority of Payments on
     a Payment Date shall not be considered "due and payable" hereunder. The failure to pay any such
     Extension Bonus Payment on such date shall not be an Event of Default, unless the Issuer shall fail
     to pay in full such Extension Bonus Payment on the earlier of the Stated Maturity and the date of
     redemption in full of the relevant Securities. Unpaid Extension Bonus Payments shall not accrue
     interest. Such amounts shall be paid, in the case of the Notes, to the accounts designated in the
     applicable Extension Bonus Eligibility Certification or, to the extent otherwise required by the rules
     of any applicable securities exchange or clearing agency, in a manner determined by the Issuer.

              (h)      If any Holder of Class II Preference Shares delivers an Extension Sale Notice
     notifying the Issuer and the Trustee of its intention to sell all or a portion of its Class II Preference
     Shares, (i) such Holder will sell such Class II Preference Shares to Investors Corp. and such
     Preference Shares will be redesignated as Class I Preference Shares, (ii) Investors Corp. will issue
     additional Holding Preference Shares in a number equal to the aggregate number of, and at a price
     equal to the price of, such redesignated Preference Shares purchased by it and (iii) the Extension
     Qualifying Purchaser will purchase such additional Holding Preference Shares in lieu of such
     redesignated Preference Shares.

     Section 2.5.      Execution, Authentication, Delivery, and Dating.

              The Notes shall be executed on behalf of each of the Applicable Issuers by one of their
     respective Authorized Officers. The signature of the Authorized Officer on the Notes may be
     manual or facsimile.

              Notes bearing the manual or facsimile signatures of individuals who were at any time the
     Authorized Officers of the Issuer or the Co-Issuer, as applicable, shall bind the Issuer and the Co-
     Issuer, notwithstanding that any of them have ceased to hold their offices before the authentication
     and delivery of the Notes or did not hold their offices at the date of issuance of the Notes.

              At any time and from time to time after the execution and delivery of this Indenture, the Co-
     Issuers may deliver the Senior Notes and the Issuer may deliver the Class D Notes, in each case
     executed by the Applicable Issuers to the Trustee or the Authenticating Agent for authentication and
     the Trustee or the Authenticating Agent, upon Issuer Order, shall authenticate and deliver the Notes
     as provided in this Indenture and not otherwise.

             Each Note authenticated and delivered by the Trustee or the Authenticating Agent upon
     Issuer Order on the Closing Date shall be dated as of the Closing Date. All other Notes that are


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     authenticated after the Closing Date for any other purpose under this Indenture shall be dated the
     date of their authentication.

              Notes issued upon transfer, exchange, or replacement of other Notes shall be issued in
     authorized denominations reflecting the original Aggregate Outstanding Amount of the Notes so
     transferred, exchanged, or replaced, but shall represent only the current outstanding principal
     amount of the Notes so transferred, exchanged, or replaced. If any Note is divided into more than
     one Note in accordance with this Article 2, the original principal amount of the Note shall be
     proportionately divided among the Notes delivered in exchange for it and shall be the original
     aggregate principal amount of the subsequently issued Notes.

              No Note shall be entitled to any benefit under this Indenture or be valid or obligatory for
     any purpose, unless there appears on the Note a Certificate of Authentication executed by the
     Trustee or by the Authenticating Agent by the manual signature of one of their Authorized Officers,
     and that certificate on any Note shall be conclusive evidence, and the only evidence, that the Note
     has been duly authenticated and delivered under this Indenture.

     Section 2.6.     Registration, Registration of Transfer and Exchange.

               (a)     The Issuer shall cause a register (the "Indenture Register") to be kept in which the
     Issuer shall provide for the registration of Notes and the registration of transfers of Notes. The
     Trustee is hereby initially appointed "Indenture Registrar" for the purpose of registering Notes and
     transfers of the Notes as provided in this Indenture. The Issuer may rely conclusively on any such
     information provided to it by the Trustee. Upon any resignation or removal of the Indenture
     Registrar, the Issuer shall promptly appoint a successor and notify the Servicer of the appointment
     or, in the absence of such appointment, assume the duties of Indenture Registrar.

               If the Issuer appoints a Person other than the Trustee to be Indenture Registrar, the Issuer
     will give the Trustee prompt written notice of the appointment of the Indenture Registrar and of the
     location, and any change in the location, of the Indenture Register. The Trustee may inspect the
     Indenture Register at all reasonable times and obtain copies of it. The Trustee may rely on a
     certificate executed on behalf of the Indenture Registrar by an Officer of the Indenture Registrar as
     to the names and addresses of the Noteholders and the principal amounts and number of the Notes.

              Upon surrender for registration of transfer of any Notes at the office or agency of the
     Applicable Issuers to be maintained pursuant to Section 7.2, if the requirements of this Indenture are
     met the Applicable Issuers shall execute, and the Trustee shall authenticate and deliver, in the name
     of the designated transferees, new Notes of any authorized denomination and of a like original
     Aggregate Outstanding Amount.

              At the option of their Holder, Notes may be exchanged for Notes of like terms, in any
     authorized denominations and of like aggregate principal amount, upon surrender of the Notes to be
     exchanged at the office or agency of the Applicable Issuers to be maintained pursuant to Section 7.2.
     Whenever any Note is surrendered for exchange, the Applicable Issuers shall execute, and the
     Trustee shall authenticate and deliver, the Notes that the Noteholder making the exchange is entitled
     to receive.

              All Notes issued on any registration of transfer or exchange of Notes shall be the valid
     obligations of the Applicable Issuers evidencing the same obligations and entitled to the same
     benefits under this Indenture as the Notes surrendered for registration of transfer or exchange.



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             Every Note presented or surrendered for registration of transfer or exchange shall be duly
     endorsed, or be accompanied by a written instrument of transfer in form satisfactory to the Indenture
     Registrar duly executed by its holder or his attorney duly authorized in writing.

             No Holder shall incur a service charge for any registration of transfer or exchange of the
     Notes, but the Trustee may require payment of a sum sufficient to cover any tax or other
     governmental charge payable in connection therewith.

              (b)      No Note may be sold or transferred (including by pledge or hypothecation) unless
     the sale or transfer is exempt from the registration requirements of the Securities Act, is exempt
     from the registration requirements under applicable state securities laws, and will not cause either of
     the Co-Issuers to become subject to the requirement that it register as an investment company under
     the Investment Company Act. None of the Co-Issuers, the Trustee or any other Person shall have
     any obligation to register the Notes under the Securities Act or any state securities laws.

              (c)       (i)      No Note or interest therein may be transferred to any purchaser or
              transferee unless such purchase, holding and disposition of such Note will not result in a
              non-exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the Code
              (or, in the case of a governmental, foreign or church plan, any federal, state, foreign or local
              law that is substantially similar to Section 406 of ERISA or Section 4975 of the Code).

                        (ii)     No person shall be permitted to acquire any Class D Note if such
              acquisition would result in persons who have represented that they are Benefit Plan
              Investors owning 25% or more of the aggregate outstanding amount of the Class D Notes
              immediately after such sale or transfer (excluding, as described below, for purposes of such
              determination any Class D Notes held by any Controlling Person (as defined below) and its
              affiliates (as defined below)) determined in accordance with Section 3(42) of ERISA.
              Under the Plan Asset Regulation, an “affiliate” of a person includes any person, directly or
              indirectly through one or more intermediaries, controlling, controlled by or under common
              control with the person, and “control” with respect to a person other than an individual,
              means the power to exercise a controlling influence over the management or policies of
              such person. In making the 25% determination, Class D Notes held by any person (other
              than a Benefit Plan Investor) that has discretionary authority or control with respect to the
              assets of the Issuer or a person who provides investment advice for a fee (direct or indirect)
              with respect to the assets of the Issuer or any affiliate of any such person (any such person, a
              "Controlling Person") (such as the Class D Notes held by the Servicer or its affiliates) will
              be disregarded and not treated as outstanding.

                        (iii)   Any person described in paragraph (i) and (ii) above is referred to herein
              as a "Non-Permitted Benefit Plan Investor." Any transfer of a beneficial interest to a Non-
              Permitted Benefit Plan Investor shall be void and any such purported transfer of which the
              Issuer, the Co-Issuer or the Trustee has notice may be disregarded by the Issuer, the Co-
              Issuer and the Trustee for all purposes.

              (d)      None of the Trustee, the Share Registrar or the Indenture Registrar shall be
     responsible for ascertaining whether any transfer complies with, or for otherwise monitoring or
     determining compliance with, the requirements or terms of the Securities Act, applicable state
     securities laws, ERISA, the Code or the Investment Company Act; except that if a certificate or any
     other document is specifically required by this Section 2.6 to be provided to the Trustee or such
     Registrar by a prospective transferee, the Trustee and such Registrar, as applicable, shall be under a
     duty to receive and examine the same to determine whether it conforms substantially on its face to
     the applicable requirements of this Section 2.6.

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               (e)      For so long as any of the Notes are Outstanding, the Issuer shall not issue or
     register the transfer of any Issuer Ordinary Shares to U.S. persons and the Co-Issuer shall not issue
     or register the transfer of any of its shares of the Co-Issuer to U.S. persons. As used in this
     subsection (e), "U.S. person" has the meaning assigned to it in Regulation S.

             (f)      So long as a Global Note remains Outstanding and is held by or on behalf of the
     Depository, transfers of the Global Note, in whole or in part, shall only be made in accordance with
     Section 2.2(c), Section 2.6(c) and this Section 2.6(f).

                      (i)     Subject to clauses (ii), (iii) and (iv) of this Section 2.6(f), transfers of a
              Global Note shall be limited to transfers of the Global Note in whole, but not in part, to
              nominees of the Depository.

                       (ii)     Rule 144A Global Note to Regulation S Global Note. If a Holder of a
              beneficial interest in a Rule 144A Global Note deposited with the Depository wishes at any
              time to exchange its interest in the Rule 144A Global Note for an interest in the
              corresponding Regulation S Global Note, or to transfer its interest in the Rule 144A Global
              Note to a Person who wishes to take delivery of it in the form of an interest in the
              corresponding Regulation S Global Note, the Holder may exchange or transfer the interest
              for an equivalent beneficial interest in the corresponding Regulation S Global Note (subject
              to the rules and procedures of the Depository) if the Holder after the exchange or transfer is
              not a U.S. person.

                       The Indenture Registrar shall instruct the Depository to reduce the principal amount
              of the Rule 144A Global Note and to increase the principal amount of the Regulation S
              Global Note by the aggregate principal amount of the beneficial interest in the Rule 144A
              Global Note to be exchanged, and to credit to the securities account of the Person specified
              in the instructions a beneficial interest in the corresponding Regulation S Global Note equal
              to the reduction in the principal amount of the Rule 144A Global Note upon receipt by the
              Indenture Registrar of

                                 (A)      instructions given in accordance with the Depository's procedures
                       from an Agent Member directing the Indenture Registrar to credit a beneficial
                       interest in the corresponding Regulation S Global Note, but not less than the
                       minimum denomination applicable to the Holder's Senior Notes, equal to the
                       beneficial interest in the Rule 144A Global Note to be exchanged or transferred,

                                (B)    a written order given in accordance with the Depository's
                       procedures containing information regarding the participant account of the
                       Depository and the Euroclear or Clearstream account to be credited with the
                       increase,

                                 (C)      a certificate in the form of Exhibit B-3 given by the Holder of the
                       beneficial interest stating that the exchange or transfer of the interest has been made
                       in compliance with the transfer restrictions applicable to the Global Notes,
                       including that the Holder or the transferee, as applicable, is not a U.S. person, and
                       that the transfer has been made pursuant to and in accordance with Regulation S,
                       and

                               (D)     in the case of a transfer, a certificate in the applicable form of
                       Exhibit B-1 given by the proposed transferee stating that it is not a U.S. person.


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                        (iii)    Regulation S Global Note to Rule 144A Global Note. If a Holder of a
              Senior Note held as a beneficial interest in a Regulation S Global Note deposited with the
              Depository wishes at any time to exchange its interest in the Regulation S Global Note for
              an interest in the corresponding Rule 144A Global Note or to transfer its interest in the
              Regulation S Global Note to a Person who wishes to take delivery of it in the form of an
              interest in the corresponding Rule 144A Global Note, the Holder may, subject to the rules
              and procedures of Euroclear, Clearstream or the Depository, as the case may be, exchange
              or transfer, or cause the exchange or transfer of, the interest for an equivalent beneficial
              interest in the corresponding Rule 144A Global Note. Upon receipt by the Indenture
              Registrar of:

                                (A)      instructions from Euroclear, Clearstream or the Depository, as the
                      case may be, directing the Indenture Registrar to cause to be credited a beneficial
                      interest in the corresponding Rule 144A Global Note equal to the beneficial interest
                      in the Regulation S Global Note, but not less than the minimum denomination
                      applicable to the Holder's Senior Notes, to be exchanged or transferred, the
                      instructions to contain information regarding the participant account with the
                      Depository to be credited with the increase,

                               (B)      a certificate in the form of Exhibit B-2 given by the Holder of the
                      beneficial interest and stating that, in the case of an exchange, the Holder is a
                      Qualified Institutional Buyer and a Qualified Purchaser or, in the case of a transfer,
                      the Person transferring the interest in the Regulation S Global Note reasonably
                      believes that the Person acquiring the interest in a Rule 144A Global Note is a
                      Qualified Institutional Buyer, is obtaining the beneficial interest in a transaction
                      meeting the requirements of Rule 144A and in accordance with any applicable
                      securities laws of any state of the United States or any other jurisdiction, and a
                      Qualified Purchaser, and

                               (C)      a certificate in the form of Exhibit B-1 given by the proposed
                      transferee stating that it is a QIB/QP,

              the Indenture Registrar shall instruct the Depository to reduce the Regulation S Global Note
              by the aggregate principal amount of the beneficial interest in the Regulation S Global Note
              to be transferred or exchanged and the Indenture Registrar shall instruct the Depository,
              concurrently with the reduction, to credit to the securities account of the Person specified in
              the instructions a beneficial interest in the corresponding Rule 144A Global Note equal to
              the reduction in the principal amount of the Regulation S Global Note.

                        (iv)     Other Exchanges. If a Global Note is exchanged for Senior Notes in
              definitive registered form without interest coupons pursuant to Section 2.11, the Senior
              Notes may be exchanged for one another only in accordance with procedures substantially
              consistent with the provisions above (including certification requirements intended to insure
              that the transfers are made only to Holders who are QIB/QPs or non-U.S. persons, or
              otherwise comply with Regulation S, as the case may be), and as may be from time to time
              adopted by the Co-Issuers and the Trustee.

              (g)        So long as the Class D Notes remain Outstanding transfers of such Class D Notes
     shall only be made in accordance with Section 2.6(c) and this Section 2.6(g) upon receipt by the
     Indenture Registrar of (i) a certificate in the form of Exhibit B-4 given by the proposed transferee
     stating that it is a QIB/QP (or, solely in the case of a Holder purchasing Class D Notes on the
     Closing Date, is an Institutional Accredited Investor) and containing other representations,

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     warranties and agreements of such transferee and (ii) (A) appropriate documentation required under
     the Code and the applicable Treasury regulations establishing that the beneficial owner of the Class
     D Notes to be transferred is either not a U.S. person (e.g., an IRS Form W-8BEN or an IRS Form
     W-8IMY with appropriate attachments) or a U.S. person (e.g., an IRS Form W-9) and (B) if such
     beneficial owner of Class D Notes to be transferred is treated as a partnership, S-corporation or
     grantor trust for U.S. federal income tax purposes, a written representation from such beneficial
     owner that (1) there will not be any interests in such beneficial owner where substantially all of the
     value of such interest is attributable to the value of the Class D Notes proposed to be transferred to
     such beneficial owner, together with the value of any Class D Notes, Holding Securities and
     Preference Shares already held by such beneficial owner and (2) such beneficial owner is not a part
     of any arrangement a principal purpose of which is to cause the Class D Notes and Preference
     Shares to be treated as owned by 100 persons or less within the meaning of Treasury Regulation
     section 1.7704-1(h). In addition, neither the Trustee nor the Issuer shall recognize any transfers of
     Class D Notes, and any such proposed transfer shall be null and void, if (a) the proposed transfer
     will cause the Issuer to have more than ninety-nine beneficial owners (as determined for purposes of
     the provisions of Treasury Regulation section 1.7704-1(h)) of its Class D Notes and Preference
     Shares unless it receives the consent of all of the Holders of the Preference Shares and a Tax
     Opinion of Counsel to the effect that Holders of the Notes will not recognize gain or loss for U.S.
     federal income tax purposes as a result of such transfer, and will be subject to U.S. federal income
     tax on the same amounts, in the same manner and at the same times as would have been the case if
     such transfer had not been made or (b) such transfer was made pursuant to a trade on an Established
     Securities Market. The Trustee shall contact the Preference Shares Paying Agent to determine the
     number of beneficial owners of the Preference Shares. The Trustee shall provide, upon request by
     the Preference Shares Paying Agent, the number of beneficial owners of the Class D Notes.

               (h)      If the Notes are issued upon the transfer, exchange, or replacement of Notes
     bearing the applicable legends in the applicable forms in Exhibit A, as applicable, and if a request is
     made to remove the legend on the Notes, the legend shall not be removed unless the Trustee and the
     Applicable Issuers received satisfactory evidence, which may include an Opinion of Counsel
     acceptable to them, reasonably required by the Applicable Issuers (and which shall by its terms
     permit reliance by the Trustee), to the effect that neither the legend nor the restrictions on transfer in
     it are required to ensure that transfers of the Notes comply with the Securities Act, the Investment
     Company Act, ERISA and the Code. Upon provision of satisfactory evidence, the Trustee or its
     Authenticating Agent, at the written direction of the Applicable Issuers shall, after due execution by
     the Applicable Issuers authenticate and deliver Notes that do not bear the applicable legend.

              (i)      Notwithstanding anything contained in this Section 2.6 to the contrary:

                        (i)     Restrictions on U.S. Transfers. Transfers of an interest in a Regulation S
              Global Note that are not made in an offshore transaction pursuant to Regulation S or are
              made to U.S. Persons, if such transferees take delivery in the form of an interest in a Rule
              144A Global Note, shall be limited to transfers made pursuant to the provisions of Section
              2.6(f)(iii) and Section 2.6(f)(iv).

                      (ii)    Beneficial interests in a Regulation S Global Note may only be held
              through Euroclear or Clearstream.

              (j)       (i)     Each Person who becomes a beneficial owner of a Senior Note evidenced
              by: (A) an interest in a Definitive Note, shall make the representations, warranties and
              agreements set forth in the applicable Transferee Certificate set forth in Exhibit B-1 upon
              such Person's purchase or other acquisition of the relevant Definitive Note and (B) an
              interest in a Global Note, shall be deemed to make the representations, warranties and

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              agreements set forth in the applicable legends of the Notes set forth in Exhibit A-1 hereto
              and in the applicable Transferee Certificate set forth in Exhibit B-1 hereto upon such
              Person's purchase or other acquisition of the relevant Global Note.

                       (ii)     Each Person who becomes a beneficial owner of a Class D Note shall
              make the representations, warranties and agreements set forth in the Transferee Certificate
              set forth in Exhibit B-4 upon such Person's purchase or other acquisition of such Class D
              Note.

             (k)      The aggregate principal amount of any Global Note may be increased or decreased
     by adjustments made on the records of the Trustee, as custodian for DTC for the Global Note, which
     adjustments shall be conclusive as to the aggregate principal amount of any Global Note.

              (l)     Any purported transfer of a Note not in accordance with this Section 2.6 shall be
     null and void.

     Section 2.7.     Mutilated, Destroyed, Lost or Stolen Notes.

               If the Applicable Issuers, the Trustee, and the relevant Transfer Agent receive evidence to
     their satisfaction of the destruction, loss or theft of any Note, and they receive the security or
     indemnity they require to hold each of them harmless, or if any mutilated Note is surrendered to a
     Transfer Agent, then, in the absence of notice to the Applicable Issuers, the Trustee, or the Transfer
     Agent that the Note has been acquired by a protected purchaser, the Applicable Issuers shall execute
     and the Trustee shall authenticate and deliver, in exchange for the mutilated, destroyed, lost, or
     stolen Note, a replacement Note, of like tenor and equal principal or face amount.

              If, after delivery of the replacement Note or payment on it, a protected purchaser of the
     predecessor Note presents it for payment, transfer, or exchange, the Applicable Issuers, the Transfer
     Agent, and the Trustee may recover the replacement Note (or the payment on it) from the Person to
     whom it was delivered or any Person taking the replacement Note from the Person to whom the
     replacement Note was delivered or any assignee of that Person, except a protected purchaser, and
     may recover on the security or indemnity provided therefor to the extent of any loss, damage, cost,
     or expense incurred by the Applicable Issuers, the Trustee, and the Transfer Agent in connection
     with it.

             If the final payment in respect of any mutilated, destroyed, lost, or stolen Note has become
     payable, the Applicable Issuers in their discretion may, instead of issuing a new Note pay the Note
     without requiring its surrender except that any mutilated Note shall be surrendered.

             Upon the issuance of any new Note under this Section, the Applicable Issuers or the Trustee
     may require the payment by its holder of a sum sufficient to cover any tax or other governmental
     charge that may be imposed in connection with the issuance and any other expenses (including the
     fees and expenses of the Trustee) connected with it.

               Every new Note issued pursuant to this Section in replacement for any mutilated, destroyed,
     lost, or stolen Note shall be an original additional contractual obligation of the Applicable Issuers
     and the new Note shall be entitled to all the benefits of this Indenture equally and proportionately
     with all other Notes of the same Class duly issued under this Indenture, as applicable.

              The provisions of this Section are exclusive and shall preclude (to the extent lawful) all
     other rights with respect to the replacement or payment of mutilated, destroyed, lost, or stolen Notes.


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     Section 2.8.     Payment of Principal and Interest and Other Amounts; Principal and Interest
                      Rights Preserved; Withholding.

              (a)      The Notes of each Class shall accrue interest during each Interest Period on their
     Aggregate Outstanding Amount (determined as of the first day of the Interest Period and after giving
     effect to any redemption or other payment of principal occurring on that day) at the Applicable Note
     Interest Rate. Interest shall be payable in arrears on each Payment Date. Payment of interest on
     each Class of Notes shall be subordinated to the payments of interest on the related Priority Classes
     and other amounts in accordance with the Priority of Payments.

              So long as any Priority Classes are Outstanding with respect to any Class of Deferred
     Interest Notes, any payment of interest due on the Class of Deferred Interest Notes that is not
     available to be paid ("Deferred Interest") in accordance with the Priority of Payments on any
     Payment Date shall not be considered "payable" for the purposes of this Indenture (and the failure to
     pay the interest shall not be an Event of Default) until the Payment Date on which the interest is
     available to be paid in accordance with the Priority of Payments. Deferred Interest on any Class of
     Deferred Interest Notes shall be payable on the first Payment Date on which funds are available to
     be used for that purpose in accordance with the Priority of Payments.

              Interest shall cease to accrue on each Note, or in the case of a partial repayment, on the part
     repaid, from the date of repayment or its Stated Maturity unless payment of principal is improperly
     withheld or unless there is some other default with respect to the payments of principal.

              To the extent lawful and enforceable, interest on Deferred Interest with respect to any Class
     of Deferred Interest Notes shall accrue at the Note Interest Rate for the Class (and to the extent not
     paid as current interest on the Payment Date after the Interest Period in which it accrues, shall
     thereafter be additional Deferred Interest, until paid as provided in this Indenture.

             (b)    The principal of each Note of each Class matures at par and is payable on the
     Payment Date that is the Stated Maturity for the Class of Notes, unless the unpaid principal of the
     Note becomes payable at an earlier date by declaration of acceleration, call for redemption, or
     otherwise. Notwithstanding the foregoing, the payment of principal of each Class of Notes:

                      (i)      may only occur after principal on each Class of Notes that is a Priority
              Class with respect to the Class has been paid in full; and

                       (ii)     is subordinated to the payment on each Payment Date of the principal and
              interest payable on the Priority Classes, and other amounts in accordance with the Priority
              of Payments;

              provided that, notwithstanding the foregoing, Interest Proceeds may be used to pay principal
              of the Class D Notes on any Payment Date to the extent necessary to satisfy the Class D
              Coverage Tests.

            (c)     Principal payments on the Notes shall be made in accordance with the Priority of
     Payments and Section 9.1.

               (d)     As a condition to the payment of principal of and interest on any Note without the
     imposition of U.S. withholding tax, the Paying Agent shall require the previous delivery of
     appropriate properly completed and signed original forms United States federal income tax
     certifications (generally, an Internal Revenue Service Form W-9 (or applicable successor form) in
     the case of a Person that is a "United States person" within the meaning of Section 7701(a)(30) of

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     the Code or an appropriate Internal Revenue Service Form W-8 (or applicable successor form) in the
     case of a Person that is not a "United States person" within the meaning of Section 7701(a)(30) of
     the Code) or any other certification acceptable to it to enable the Issuer, the Co-Issuer, the Trustee,
     and any Paying Agent to determine their duties and liabilities with respect to any taxes or other
     charges that they may be required to deduct or withhold from payments on the Note under any
     present or future law of the United States or any present or future law of any political subdivision of
     the United States or taxing authority in the United States or to comply with any reporting or other
     requirements under any such law.

              (e)      Payments in respect of interest on and principal of any Note shall be made by the
     Trustee, or by the Irish Paying Agent, if applicable, in U.S. Dollars to the Depository or its designee
     with respect to a Global Note and to the Holder or its nominee with respect to a Definitive Note and
     a Class D Note, by wire transfer, as directed by the Holder, in immediately available funds to a U.S.
     Dollar account maintained by the Depository or its nominee with respect to a Global Note, and to the
     Holder or its designee with respect to a Definitive Note and a Class D Note. In the case of a
     Definitive Note and a Class D Note, its Holder has provided written wiring instructions to the
     Trustee and, if the payment with respect to a Definitive Note is to be made by the Irish Paying
     Agent, the Irish Paying Agent, on or before the related Record Date.

               If appropriate instructions for the wire transfer are not received by the related Record Date,
     then the payment will be made by check drawn on a U.S. bank mailed to the address of the Holder in
     the Indenture Register. Upon final payment due on the Maturity of a Note, its Holder shall present
     and surrender the Note at the office designated by the Trustee on or before the Maturity. If the
     Trustee and the Applicable Issuers have been furnished the security or indemnity they require to
     save each of them harmless and an undertaking thereafter to surrender the certificate, then, in the
     absence of notice to the Applicable Issuers or the Trustee that the applicable Note has been acquired
     by a protected purchaser, the final payment shall be made without presentation or surrender. Neither
     the Co-Issuers, the Trustee, the Share Registrar nor any Paying Agent shall have any responsibility
     or liability for any aspects of the records maintained by Euroclear, Clearstream, or any of the Agent
     Members relating to or for payments made thereby on account of beneficial interests in a Global
     Note.

               In the case where any final payment of principal and interest is to be made on any Note
     (other than on its Stated Maturity and except as otherwise provided in this Indenture), the Trustee, in
     the name and at the expense of the Applicable Issuers shall, not more than 30 nor less than 10 days
     before the date on which the payment is to be made, mail (by first-class mail, postage prepaid) to the
     Persons entitled thereto at their addresses appearing on the Indenture Register, a notice specifying
     the date on which the payment will be made, the amount of the payment per U.S.$100,000 original
     principal amount of Notes and the place where the Notes may be presented and surrendered for
     payment. If the Trustee and the Issuer have been furnished any security or indemnity they require to
     save each of them harmless and an undertaking thereafter to surrender the certificate, then, in the
     absence of notice to the Issuer or the Trustee that the applicable certificate has been acquired by a
     protected purchaser, final payment shall be made without presentation or surrender of the applicable
     certificate.

             (f)       Payments of principal to Holders of the Notes of each Class shall be made in the
     proportion that the Aggregate Outstanding Amount of the Notes of the Class registered in the name
     of each Holder on the applicable Record Date bears to the Aggregate Outstanding Amount of all
     Notes of the Class on the Record Date.

              (g)     Interest accrued shall be calculated on the basis of the actual number of days
     elapsed in the applicable Interest Period divided by 360.

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               (h)      All reductions in the principal amount of a Note (or one or more predecessor
     Notes) effected by payments of installments of principal made on any Payment Date or Redemption
     Date shall be binding on all future Holders of the Note and of any Note issued upon the registration
     of its transfer, exchange, or replacement, whether or not the payment is noted on the Note.

              (i)      Notwithstanding any other provision of this Indenture, the obligations of the
     Applicable Issuers under the Notes and under this Indenture are limited recourse obligations of the
     Applicable Issuers payable solely from the Collateral and following realization of the assets,
     application of their proceeds in accordance with this Indenture and the reduction of the proceeds of
     the Collateral to zero, all obligations of, and any claims against, the Co-Issuers under this Indenture
     or under the Notes or arising in connection therewith shall be extinguished and shall not thereafter
     revive. No recourse shall be had against any Officer, director, employee, shareholder, or
     incorporator of either of the Co-Issuers or their respective successors or assigns for any amounts
     payable under the Notes or this Indenture. The foregoing provisions of this paragraph (i) shall not
     (1) prevent recourse to the Collateral for the sums due or to become due under any security,
     instrument, or agreement that is part of the Collateral or (2) be a waiver, release, or discharge of any
     indebtedness or obligation evidenced by the Notes or secured by this Indenture until the Collateral
     have been realized. The foregoing provisions of this paragraph (i) shall not limit the right of any
     Person to name the Issuer or the Co-Issuer as a party defendant in any Proceeding or in the exercise
     of any other remedy under the Notes or this Indenture, so long as no judgment in the nature of a
     deficiency judgment or seeking personal liability is sought or (if obtained) enforced against the
     person.

               (j)      If any withholding tax is imposed on the Issuer's payment (or allocations of
     income) under the Notes to any Noteholder, the tax shall reduce the amount otherwise distributable
     to the Noteholder. The Trustee is hereby authorized and directed to retain from amounts otherwise
     distributable to any Noteholder sufficient funds for the payment of any tax that is legally owed, or
     required by law to be collected, by or on behalf of the Issuer (but the authorization shall not prevent
     the Trustee or the Issuer from contesting any such tax in appropriate proceedings and withholding
     payment of the tax, if permitted by law, pending the outcome of the proceedings). The amount of
     any withholding tax imposed with respect to any Noteholder shall be treated as Cash distributed to
     the Noteholder when it is withheld by the Trustee and remitted to the appropriate taxing authority. If
     there is a possibility that withholding tax is payable with respect to a distribution, the Trustee may in
     its sole discretion withhold the amounts in accordance with this Section 2.8(j). If any Noteholder
     wishes to apply for a refund of any such withholding tax, the Trustee shall reasonably cooperate
     with the Noteholder in making the claim by providing information readily available to the Trustee so
     long as the Noteholder agrees to reimburse the Trustee for any out-of-pocket expenses incurred and
     provides the Trustee with security reasonably acceptable to the Trustee assuring the reimbursement.
     The Trustee hereby provides notice to each Noteholder that the failure by the Noteholder to provide
     the Trustee with appropriate tax certifications may result in amounts being withheld from payments
     to the Noteholder. Nothing in this Indenture shall impose an obligation on the part of the Trustee to
     determine the amount of any tax or withholding obligation on the part of the Issuer or in respect of
     the Notes.

     Section 2.9.     Persons Considered Owners.

               The Issuer, the Co-Issuer, the Trustee, and any agent of the Co-Issuers or the Trustee may
     treat as the owner of the Note the Person in whose name any Note is registered on the Indenture
     Register on the applicable Record Date for the purpose of receiving payments on the Note and on
     any other date for all other purposes whatsoever (whether or not the Note is overdue), and neither
     the Issuer, the Co-Issuer nor the Trustee nor any agent of the Issuer, the Co-Issuer or the Trustee
     shall be affected by notice to the contrary. Pursuant to the Servicing Agreement, the Servicer will

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     notify the Trustee, the Share Registrar and the Holding Share Registrar of any Affiliate of the
     Servicer that owns any of the Transaction Securities.

     Section 2.10.     Cancellation.

               All Notes surrendered for payment, registration of transfer, exchange, or redemption, or
     lost or stolen, shall be promptly canceled by the Trustee and may not be reissued or resold. No
     Notes shall be authenticated in lieu of or in exchange for any Notes canceled as provided in this
     Section 2.10, except as expressly permitted by this Indenture. All canceled Notes held by the
     Trustee shall be destroyed by the Trustee in accordance with its standard policy unless the
     Applicable Issuers direct by an Issuer Order delivered to the Trustee prior to cancellation and
     destruction that they be returned to the Issuer.

     Section 2.11.     Definitive Notes.

              (a)      A Global Note deposited with the Depository pursuant to Section 2.2 shall be
     transferred in the form of a Definitive Note to its beneficial owners only if the transfer complies with
     Section 2.6 and either

                      (i)     the Depository notifies the Co-Issuers that it is unwilling or unable to
              continue as Depository for the Global Note or

                      (ii)     if at any time the Depository ceases to be a Clearing Agency registered
              under the Exchange Act and, in each case, a successor depository is not appointed by the
              Co-Issuers within 90 days after the notice.

              (b)      Any Global Note that is transferable in the form of a Definitive Note to its
     beneficial owners pursuant to this Section 2.11 shall be surrendered by the Depository to the office
     of the Trustee's agent located in the City of New York, New York as specified in Section 7.2 (or any
     other office designated by the Trustee) to be so transferred, in whole or from time to time in part,
     without charge, and the Applicable Issuers shall execute and the Trustee shall authenticate and
     deliver, upon the transfer of each portion of the Global Note, an equal aggregate principal amount of
     definitive physical certificates (pursuant to the instructions of the Depository) (each, a "Definitive
     Note ") in authorized denominations. Any Definitive Note delivered in exchange for an interest in a
     Global Note, as applicable, shall, except as otherwise provided by Section 2.6(j), bear the legends in
     the applicable portion of Exhibit A-1 and shall be subject to the transfer restrictions referred to in the
     legends.

              (c)     The Holder of a Global Note may grant proxies and otherwise authorize any
     Person, including Agent Members and Persons that may hold interests through Agent Members, to
     take any action which a Holder is entitled to take under this Indenture or the Senior Notes, as
     applicable.

              (d)       Upon the occurrence of either of the events specified in Section 2.11(a)(i) and (ii),
     the Co-Issuers shall promptly make available to the Trustee a reasonable supply of Definitive Notes
     in definitive, fully registered form without interest coupons.

              The Definitive Notes shall be in substantially the same form as the Global Notes, with any
     changes the Issuer and Trustee agree to and the Applicable Issuers shall execute, and the Trustee
     shall authenticate and deliver, in exchange therefor, the same aggregate principal amount of
     Definitive Notes of authorized denominations.


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      Section 2.12.    Notes Beneficially Owned by Non-Permitted Holders.

                (a)     Notwithstanding anything to the contrary elsewhere in this Indenture, (i) any
      transfer of a beneficial interest in any Global Note to a U.S. person (for purposes of this Section 2.12
      as defined in Regulation S) that is not a QIB/QP and that is not made pursuant to an applicable
      exemption under the Securities Act and (ii) any transfer of a beneficial interest in any Class D Note
      to a Person that is not a QIB/QP (or, solely in the case of a Holder purchasing Class D Notes on the
      Closing Date, that is an Institutional Accredited Investor), shall be void and any such purported
      transfer of which the Issuer, the Co-Issuer or the Trustee has notice may be disregarded by the
      Issuer, the Co-Issuer and the Trustee for all purposes.

                (b)      After discovery by the Issuer, the Co-Issuer or the Trustee (and notice by the
      Trustee or the Co-Issuer to the Issuer, if either of them makes the discovery) that a Person is a Non-
      Permitted Holder, the Issuer shall promptly send notice to the Non-Permitted Holder demanding that
      the Non-Permitted Holder transfer its interest to a Person that is not a Non-Permitted Holder within
      30 days of the date of the notice. If the Non-Permitted Holder fails to so transfer its Notes or interest
      in the Notes without further notice to the Non-Permitted Holder, the Issuer may sell the Notes or
      interest in the Notes to a purchaser selected by the Issuer that is a not a Non-Permitted Holder on
      any terms the Issuer chooses. The Issuer, or the Trustee acting on behalf of the Issuer, may select
      the purchaser by soliciting bids (or by appointing an investment bank at the expense of the Issuer to
      solicit bids) from brokers or other market professionals that regularly deal in securities similar to the
      Notes, and selling the Notes, or interest in the Notes to the highest bidder. However, the Issuer or
      the Trustee may select a purchaser by any other means determined by it in its sole discretion. The
      Holder of each Note, the beneficial owner of each interest in a Note, the Non-Permitted Holder, and
      each other Person in the chain of title from the Holder or beneficial owner to the Non-Permitted
      Holder, by its acceptance of an interest in the Notes agrees to cooperate with the Issuer and the
      Trustee to effect the transfers. The proceeds of the sale, net of any commissions, expenses of the
      Trustee or otherwise, and taxes due in connection with the sale shall be remitted to the Non-
      Permitted Holder. The terms of any sale under this subsection shall be determined in the sole
      discretion of the Issuer (or the Trustee acting on its behalf), and the Issuer and the Trustee shall not
      be liable to any Person having an interest in the Notes sold as a result of any such sale or the
      exercise of its discretion.

      Section 2.13     Tax Purposes
               The Issuer agrees, and each Holder and each beneficial owner of a Note, by acceptance
      of its Note or its interest in a Note, as the case may be, shall be deemed to have agreed, to treat,
      and shall treat, such Note as unconditional debt of the Issuer for tax, accounting and financial
      reporting purposes.

                                                   ARTICLE 3

                                           CONDITIONS PRECEDENT

      Section 3.1.     Conditions to Issuance of Notes on Closing Date.

               (a)     The Notes to be issued on the Closing Date shall be executed by the Applicable
      Issuers and delivered to the Trustee for authentication and thereupon the same shall be authenticated
      and delivered by the Trustee upon Issuer Order and upon receipt by the Trustee of the following:



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                       (i)       Officers' Certificates of the Co-Issuers Regarding Corporate Matters. An
              Officer's certificate of each of the Co-Issuers:

                               (A)      (1) evidencing (x) the authorization by Board Resolution of the
                      execution and delivery of this Indenture and the Purchase Agreement and, in the
                      case of the Issuer, the Servicing Agreement, the Placement Agency Agreement, the
                      Preference Shares Paying Agency Agreement, the Collateral Administration
                      Agreement and the Hedge Agreements being entered into on or before the Closing
                      Date (if any), and related transaction documents and (y) the execution,
                      authentication and delivery of the Notes applied for by it and specifying the Stated
                      Maturity, principal amount and the Note Interest Rate of each applicable Class of
                      Notes to be authenticated and delivered and (2) with respect to the Issuer only,
                      evidencing the authorization by Board Resolution of the issuance, terms and
                      number of Preference Shares issued on the Closing Date, and that each of the
                      foregoing is in accordance with the terms of the Board Resolution, and

                              (B)      certifying that (1) the attached copy of the Board Resolution is an
                      accurate copy, (2) the resolutions have not been rescinded and are in full force on
                      and as of the Closing Date and (3) the Officers authorized to execute and deliver
                      the documents hold the offices and have the signatures indicated on the documents.

                      (ii)     Governmental Approvals. From each of the Co-Issuers either:

                                (A)    a certificate of the Applicable Issuer or other official document
                      evidencing the due authorization, approval or consent of any governmental bodies,
                      at the time having jurisdiction in the premises, together with an Opinion of Counsel
                      of the Applicable Issuer that no other authorization, approval or consent of any
                      governmental body is required for the valid issuance of the Notes applied for by it,
                      or

                               (B)      an Opinion of Counsel of the Applicable Issuer that no
                      authorization, approval, or consent of any governmental body is required for the
                      valid issuance of the Notes except as have been given; provided that the opinions of
                      Latham & Watkins, LLP and Ogier, substantially in the forms of Exhibit C and
                      Exhibit D, respectively, shall satisfy this clause (B).

                      (iii)    Co-Issuers' and Servicer's U.S. Counsel Opinion. Opinions of Latham &
              Watkins LLP, special U.S. counsel to the Co-Issuers, and an opinion of Orrick, Herrington
              & Sutcliffe LLP, counsel to the Servicer, dated the Closing Date, substantially in the forms
              of Exhibit C and Exhibit F.

                      (iv)      Issuer's Cayman Counsel Opinion. An opinion of Ogier, Cayman Islands
              counsel to the Issuer, dated the Closing Date, substantially in the form of Exhibit D.

                      (v)      Trustee's Counsel Opinion. An opinion of Nixon Peabody LLP, counsel to
              the Trustee, dated the Closing Date, substantially in the form of Exhibit E.

                        (vi)    Officers' Certificates of Co-Issuers Regarding Indenture. An Officer's
              certificate of each of the Co-Issuers stating that, to the best of the Officer's knowledge,

                               (A)      the Applicable Issuer is not in default under this Indenture and that
                      the issuance of the Notes applied for by it will not result in a default or a breach of,
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                       or be a default under, its organizational documents, any indenture or other
                       agreement or instrument to which it is a party or by which it is bound, or any order
                       of any court or administrative agency entered in any Proceeding to which it is a
                       party or by which it may be bound or to which it may be subject;

                               (B)      all conditions precedent in this Indenture relating to the
                       authentication and delivery of the applicable Notes have been complied with; and

                                (C)      all expenses due or accrued with respect to the Offering or relating
                       to actions taken on or in connection with the Closing Date have been paid or
                       reserves therefor have been made.

                       The Officer's certificate of the Issuer shall also state that, to the best of the Officer's
              knowledge, all of its representations and warranties contained in this Indenture are accurate
              as of the Closing Date.

                       (vii)   Hedge Agreements. Executed copies of the Hedge Agreements being
              entered into on or entered into before the Closing Date, if any.

                       (viii)   Servicing Agreement. Executed copy of the Servicing Agreement.

                      (ix)     Preference Shares. Copies of executed Preference Share certificates to be
              issued on the Closing Date.

                      (x)    Preference Share Documents. An executed counterpart of the Preference
              Shares Paying Agency Agreement.

                     (xi)     Collateral Administration Agreement. Executed copy of the Collateral
              Administration Agreement.

                       (xii)   Grant of Collateral Obligations. Evidence of the Grant pursuant to the
              Granting Clauses of this Indenture of all of the Issuer's interest in the Collateral Obligations
              pledged to the Trustee for inclusion in the Collateral, on the Closing Date and Delivery of
              the Collateral Obligations (including any promissory notes and all other Underlying
              Instruments related to them to the extent received by the Issuer) to the Trustee or the
              Custodian as contemplated by Section 3.2.

                       (xiii) Certificate of the Servicer. A certificate of an Authorized Officer of the
              Servicer, dated as of the Closing Date, to the effect that, to the best knowledge of the
              Servicer, in the case of each Collateral Obligation pledged to the Trustee for inclusion in the
              Collateral, as the case may be, on the Closing Date and immediately before the delivery of
              the Collateral Obligation on the Closing Date:

                                (A)     the "row/column combination" of the table appearing in the
                       definition of "Ratings Matrix" selected by the Servicer on the Closing Date;

                              (B)      the information with respect to the Collateral Obligation in the
                       Schedule of Collateral Obligations is correct; and

                                (C)     the Collateral Obligation satisfies the requirements of the
                       definition of "Collateral Obligation" and of Section 3.1(a)(xx)(B);


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                      (xiv) Rating Letters. An Officer's certificate of the Issuer to the effect that
              attached is an accurate copy of a letter signed by each Rating Agency and confirming that
              each Class of Notes rated by the Rating Agency has been assigned the applicable Initial
              Rating and that the ratings are in full force on the Closing Date.

                      (xv)     Accounts. Evidence that each of the Accounts has been established.

                       (xvi) Issuer Order for Deposit of Funds into Accounts. An Issuer Order signed
              in the name of the Issuer by an Authorized Officer of the Issuer, dated as of the Closing
              Date, authorizing the deposit of at least U.S.$211,060,755.32 into the Collection Account
              for use pursuant to Section 7.19, the deposit of at least U.S.$23,050,000 into the Closing
              Date Expense Account for use pursuant to Section 10.3(g) and the deposit of at least
              U.S.$6,300,000 into the Interest Reserve Account for use pursuant to Section 10.3(i).

                       (xvii) Irish Listing. An Officer's certificate of the Issuer to the effect that
              application has been made to the Irish Stock Exchange to admit the Senior Notes to the
              Official List.

                       (xviii) Issuer Order for Authentication of Notes. An Issuer Order signed in the
              name of the Issuer by an Authorized Officer of the Issuer, dated as of the Closing Date,
              directing the Trustee to authenticate the Notes in the amounts, in the registered names and
              with the CUSIP numbers in the Issuer Order.

                       (xix) Accountants' Certificate. An Accountants' Certificate satisfactory to the
              Issuer (A) confirming the information with respect to each Collateral Obligation on the
              Schedule of Collateral Obligations attached as Schedule 1, (B) confirming that the
              Aggregate Principal Balance of the Collateral Obligations that the Issuer has purchased or
              committed to purchase in accordance with customary settlement procedures in the relevant
              markets, is approximately U.S.$1,500,000,000, that each Concentration Limitation is
              satisfied taking into account all of the Collateral Obligations acquired as of the Closing Date
              (including binding agreements to purchase Collateral Obligations in effect on the Closing
              Date), that the Weighted Average Spread Test is satisfied as of the Closing Date, that the
              Weighted Average Rating Factor Test is satisfied as of the Closing Date, that the Weighted
              Average Life Test is satisfied as of the Closing Date, that each Overcollateralization Test is
              satisfied as of the Closing Date, that the Weighted Average Moody's Recovery Rate Test is
              satisfied as of the Closing Date, that the Weighted Average S&P Recovery Rate Test is
              satisfied as of the Closing Date and that the Weighted Average Fixed Rate Coupon Test is
              satisfied as of the Closing Date and a calculation of the Diversity Score, (C) specifying the
              procedures undertaken by them to review data and computations relating to this Section
              3.1(a)(xix) and (D) confirming the weighted average purchase price of the Collateral
              Obligations.

                       (xx)     Certificate of the Issuer Regarding Collateral. A certificate of an
              Authorized Officer of the Issuer, dated as of the Closing Date, to the effect that, to the
              knowledge of the Issuer, in the case of each Collateral Obligation pledged to the Trustee for
              inclusion in the Collateral, as the case may be, on the Closing Date and immediately before
              the delivery of the Collateral Obligation on the Closing Date:

                                (A)      the Issuer is the owner of the Collateral Obligation free of any
                      liens, claims, or encumbrances of any nature whatsoever except for those that are
                      being released on the Closing Date and except for those Granted pursuant to or
                      permitted by this Indenture;

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                               (B)      the Issuer has acquired its ownership in the Collateral Obligation
                       in good faith without notice of any adverse claim, except as described in paragraph
                       (A) above;

                                 (C)     the Issuer has not assigned, pledged or otherwise encumbered any
                       interest in the Collateral Obligation (or, if any interest in the Collateral Obligation
                       has been assigned, pledged or otherwise encumbered, it has been released before
                       the Closing Date or is being released on the Closing Date) other than interests
                       Granted pursuant to or permitted by this Indenture;

                               (D)     the Issuer has full right to Grant a security interest in and assign
                       and pledge the Collateral Obligation to the Trustee;

                                (E)       upon Grant by the Issuer, the Trustee has a first priority perfected
                       security interest in the Collateral Obligations and the other Collateral; and

                                (F)      based solely on the Accountant's Certificate set forth in clause
                       (xix) above, the weighted average purchase price of the Collateral Obligations in
                       the Collateral as of the Closing Date is at least 90% of the aggregate par amount
                       thereof.

                       (xxi) Certificate of the Issuer Regarding Important Section 3(c)(7) Reminder
              Notice. A certificate of an Authorized Officer of the Issuer, dated as of the Closing Date, to
              the effect that, on or prior to the Closing Date the Issuer provided to the Depository the
              Important Section 3(c)(7) Reminder Notice, substantially in the form of Exhibit I-2.

                       (xxii) Other Documents. Any other documents the Trustee reasonably requires.
              Nothing in this clause (xxii) shall imply or impose a duty on the part of the Trustee to
              require any other documents.

               (b)      Any Refinancing Note may be issued from time to time pursuant to Section 9.7
      hereof. Any such Refinancing Notes shall be executed by the Applicable Issuer and delivered to the
      Trustee for authentication, and thereupon shall be authenticated and delivered by the Trustee upon
      and pursuant to Issuer Order delivered to the Trustee, together with delivery to the Trustee by the
      Issuer of an Opinion of Counsel to the effect that (A) such Refinancing Notes are duly authorized
      and validly issued by the Applicable Issuer pursuant to the Indenture, constituting the legal, valid
      and binding obligation of such Applicable Issuer, enforceable against such Issuer in accordance with
      its terms and (B) all conditions precedent under this Indenture, if any, applicable to the issuance,
      authentication and delivery of such Notes, have been satisfied.

      Section 3.2.     Custodianship; Delivery of Collateral Obligations and Eligible Investments.

                (a)     The Servicer, on behalf of the Issuer, shall deliver or cause to be delivered to a
      custodian appointed by the Issuer, which shall be a Securities Intermediary (the "Custodian"), all
      Collateral in accordance with the definition of "Deliver." Initially, the Custodian shall be Investors
      Bank & Trust Company. Any successor custodian shall be a state or national bank or trust company
      that is not an Affiliate of the Issuer or the Co-Issuer, has a long-term debt rating of at least "BBB+"
      by S&P and has capital and surplus of at least U.S.$200,000,000 and is a Securities Intermediary.
      Subject to the limited right to relocate Pledged Obligations as provided in Section 7.5(b), the Trustee
      shall hold all Collateral Obligations, Eligible Investments, other assets purchased in accordance with
      this Indenture (other than Loans, Participations and general intangibles) and Cash in the relevant
      Account established and maintained pursuant to Article 10, as to which in each case the Trustee

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      shall have entered into a securities account control agreement with the Custodian in accordance with
      Article 8 of the UCC providing, inter alia, that the establishment and maintenance of the Account
      shall be governed by the law of the State of New York.

                (b)     Each time that the Issuer, or the Servicer on behalf of the Issuer, directs or causes
      the acquisition of any Collateral Obligation, Eligible Investment or other assets, the Servicer (on
      behalf of the Issuer) shall, if the Collateral Obligation, Eligible Investment or other asset is required
      to be, but has not already been, transferred to the relevant Account, cause the Collateral Obligation,
      Eligible Investment or other asset to be Delivered to the Custodian to be held in the Custodial
      Account (or in the case of any such asset that is not a Collateral Obligation, in the Account in which
      the funds used to purchase the asset are held in accordance with Article 10) for the benefit of the
      Trustee in accordance with this Indenture. The security interest of the Trustee in the funds or other
      property used in connection with the acquisition shall, immediately and without further action on the
      part of the Trustee, be released. The security interest of the Trustee shall nevertheless come into
      existence and continue in the Collateral Obligation, Eligible Investment or other asset so acquired,
      including all interests of the Issuer in to any contracts related to and proceeds of the Collateral
      Obligations, Eligible Investments or other assets.

      Section 3.3.     Representations as to Collateral.

               (a)    The Issuer hereby represents and warrants to the Secured Parties as to the Collateral
      as follows (which representations are repeated on each day on which the Issuer acquires new
      Collateral):

                       (i)       This Indenture creates a valid and continuing security interest (as defined
              in the applicable Uniform Commercial Code) in the Collateral in favor of the Trustee, which
              security interest is prior to all other liens, charges, claims, security interests, mortgages and
              other encumbrances, and is enforceable as such as against creditors of and purchasers from
              the Issuer.

                       (ii)      Except for any Securities Lending Collateral and Synthetic Securities
              Collateral, the Issuer has good and marketable title to and is the owner of each item of
              Collateral free of any liens, claims, or encumbrances of any nature whatsoever except for
              liens (A) that are being released on the Closing Date and (B) granted pursuant to or
              permitted by this Indenture. The Issuer has a first priority security interest in all Securities
              Lending Collateral to secure all obligations of Securities Lending Counterparty under the
              Securities Lending Agreement and a first priority interest in all Synthetic Securities
              Collateral to secure all obligations of Synthetic Security Counterparty under the Synthetic
              Securities Agreement.

                       (iii)    The Issuer has not assigned, pledged or otherwise encumbered any interest
              in the Collateral (or, if any interest in the Collateral has been assigned, pledged or otherwise
              encumbered, it has been released before the Closing Date or is being released on the
              Closing Date) other than interests granted pursuant to or permitted by this Indenture.

                      (iv)      The Issuer has full right, and has received all consents and approvals
              required by the related Underlying Instruments, to grant a security interest in its rights in the
              Collateral to the Trustee.

                      (v)      Each Collateral Obligation included in the Collateral satisfied the
              requirements of the definition of "Collateral Obligation" as of the date the Issuer committed
              to purchase the same or, in the case of the Loans with respect to which participations therein

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              were sold to Pre-Closing Parties and repurchased by the Issuer on the Closing Date, as of
              the Closing Date.

                       (vi)    All Collateral Obligations, any obligation that at the time of acquisition,
              conversion or exchange did not satisfy the requirements of a Collateral Obligation, and
              Eligible Investments (other than, in each case, "general intangibles" within the meaning of
              the applicable Uniform Commercial Code) have been and will have been credited to one of
              the Accounts. The securities intermediary for each Account has agreed to treat all assets
              credited to the Accounts as "financial assets" within the meaning of the applicable Uniform
              Commercial Code.

                        (vii)   The Issuer has pledged to the Trustee all of the Issuer's interest in each
              Collateral Obligation included in the Collateral pursuant to the Granting Clauses of this
              Indenture and has delivered each Collateral Obligation (including any promissory note and
              all its other Underlying Instruments to the extent received by the Issuer) to the Trustee or
              the Custodian as contemplated by Section 3.2.

                       (viii) Each of the Collateral constitutes "general intangibles," "certificated
              securities," "instruments," "securities entitlements," "uncertificated securities," "chattel
              paper" or "securities accounts," each within the meaning of the applicable Uniform
              Commercial Code, or any other category of collateral under the applicable Uniform
              Commercial Code as to which the Issuer has complied with its obligations under Section
              3.3(b).

                       (ix)      The Issuer has caused (or will have caused within 10 days following the
              Closing Date) the filing of appropriate financing statements in the proper filing offices in
              the appropriate jurisdictions under applicable law to perfect the security interest in the
              portion of the Collateral pledged to the Trustee under this Indenture that may be perfected
              by the filing of financing statements.

                       (x)      The Issuer has not authorized the filing of and is not aware of any
              financing statements against the Issuer that include a description of collateral covering the
              Collateral other than any financing statement (A) relating to the security interest granted to
              the Trustee under this Indenture, (B) that has been terminated or (C) that names the Trustee
              as the secured party. On the date of this Indenture, the Issuer is not aware of any judgment
              or Pension Benefit Guaranty Corporation or tax lien filings against the Issuer.

                        (xi)     The Issuer has delivered to the Trustee a fully executed agreement
              pursuant to which the securities intermediary for each Account has agreed to comply with
              all instructions originated by the Trustee relating to the Account without further consent by
              the Issuer.

                       (xii)    All original executed copies of each "instrument" (as defined in each
              applicable Uniform Commercial Code) that are or evidence the Collateral have been
              delivered to the Custodian, to the extent received by the Issuer. The Issuer has received
              confirmation from the Custodian that the Custodian has credited the instruments to one of
              the Accounts. None of the instruments that are or evidence the Collateral has any marks or
              notations indicating that they are then pledged or otherwise assigned to any Person other
              than the Trustee.




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                      (xiii) The Accounts are not in the name of any Person other than the Issuer or
              the Trustee. The Issuer has not consented to the securities intermediary of any Account to
              comply with instructions of any Person other than the Trustee.

                       (xiv) All "certificated securities" (as defined in each applicable Uniform
              Commercial Code) that are or evidence the Collateral have been delivered to the Custodian,
              to the extent received by the Issuer, registered in the name of the Custodian or indorsed to
              the Custodian. The Issuer has received confirmation from the Custodian that the Custodian
              has credited such certificated securities to one of the Accounts.

                      (xv)     The Issuer has caused all "uncertificated securities" (as defined in each
              applicable Uniform Commercial Code) that are or evidence the Collateral to be registered in
              the name of the Custodian.

                        (xvi) Upon grant by the Issuer, the Trustee has a first priority perfected security
              interest in the Collateral.

                        The parties to this Indenture shall not waive any of the representations in this
      Section 3.3, unless the Rating Condition is satisfied in connection with such waiver. The Issuer shall
      provide each of the Rating Agencies with prompt written notice of any breach of the representations
      contained in this Section 3.3 upon becoming aware thereof, and shall not waive a breach of any of
      the representations in this Section 3.3, unless the Rating Condition is satisfied (as determined after
      any adjustment or withdrawal of the ratings following notice of such breach) in connection with
      such waiver.
                         If the Issuer acquires Collateral that is not "general intangibles," "certificated
      securities," "instruments," "securities accounts," "chattel paper," "securities entitlements" or
      "uncertificated securities," each within the meaning of the applicable Uniform Commercial Code, or
      another category of collateral under the applicable Uniform Commercial Code as to which the Issuer
      has complied with its obligations under this Section 3.3(b), then on or before the date on which the
      Issuer acquires the Collateral, the Issuer (or the Servicer on behalf of the Issuer) shall notify S&P
      and the Trustee (for the benefit of the Secured Parties) of its acquisition or intended acquisition of
      the Collateral and the Issuer shall represent to S&P and to the Trustee (for the benefit of the Secured
      Parties) as to the category of the Collateral under the applicable Uniform Commercial Code and
      shall make any further representations as to the perfection and priority of the security interest in the
      Collateral Granted under this Indenture acceptable to S&P.


                                                  ARTICLE 4

                                       SATISFACTION AND DISCHARGE

      Section 4.1.     Satisfaction and Discharge of Indenture.

              This Indenture shall be discharged and shall cease to be of further effect with respect to the
      Notes and the Collateral except as to:

                       (i)      rights of registration of transfer and exchange,

                       (ii)     substitution of mutilated, destroyed, lost or stolen Notes,



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                       (iii)    rights of Noteholders to receive payments of principal and interest on, or
              other amounts (including without limitation Extension Bonus Payments) owing in respect
              of, the Notes as provided in this Indenture,

                       (iv)    the rights, indemnities, and immunities of the Trustee under this Indenture
              and the obligations of the Trustee under Section 7.3 of this Indenture with respect to the
              holding and paying of unclaimed funds,

                      (v)      for so long as any Preference Shares remain Outstanding, any provisions
              hereof conferring any rights or remedies upon the Holders of the Preference Shares or the
              Preference Shares Paying Agent on behalf of the Holders of the Preference Shares,
              including but not limited to, the provisions of Articles 7, 8, 10, 11, 12, 14 and 15,

                       (vi)    for so long as any Preference Shares remain Outstanding, the provisions of
              Articles 10, 11 and 12 relating to the acquisition, retention and disbursement of Collateral,

                      (vi)    the rights, obligations, and immunities of the Servicer under this Indenture
              and under the Servicing Agreement, and

                        (vii)   the rights of Noteholders as beneficiaries of this Indenture with respect to
              the property deposited with the Trustee and payable to any of them (and the Trustee, on
              demand of and at the expense of the Issuer, shall execute proper instruments acknowledging
              satisfaction and discharge of this Indenture),

      when:

              (a)     either:

                        (i)     all Notes theretofore authenticated and delivered to Holders of Notes
              (other than (A) Notes that have been destroyed, lost or stolen and which have been replaced
              or paid as provided in Section 2.7 and (B) Notes for whose payment money has theretofore
              irrevocably been deposited in trust and thereafter repaid to the Issuer or discharged from the
              trust, as provided in Section 7.3), have been delivered to the Trustee for cancellation; or

                      (ii)      all Notes not theretofore delivered to the Trustee for cancellation

                                (A)     have become payable, or

                                (B)     will become payable at their Stated Maturity within one year, or

                              (C)      are to be called for redemption pursuant to Article 9 under an
                      arrangement satisfactory to the Trustee for the giving of notice of redemption by
                      the Applicable Issuers pursuant to Section 9.3,

              and the Issuer has irrevocably deposited with the Trustee, in trust for payment of the
              principal and interest on the Notes, Cash or non-callable obligations of the United States of
              America. The obligations deposited under Section 4.1(a)(ii) with respect to the other Notes
              must be entitled to the full faith and credit of the United States of America or be debt
              obligations that are rated "Aaa" by Moody's and "AAA" by S&P, in an amount sufficient, as
              verified by a firm of Independent certified public accountants that are nationally recognized,
              to pay and discharge the entire indebtedness on the Notes not theretofore delivered to the
              Trustee for cancellation, for principal and interest to the date of the deposit (in the case of

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              Notes that have become payable), or to the respective Stated Maturity or the respective
              Redemption Date, as the case may be, and the Issuer shall have Granted to the Trustee a
              valid perfected security interest in the Eligible Investment that is of first priority, free of any
              adverse claim, and shall have furnished an Opinion of Counsel with respect thereto. Section
              4.1(a)(ii) shall not apply if an election to act in accordance with Section 5.5(a) has been
              made and not rescinded. In addition, the Issuer shall cause delivery to the Trustee of a Tax
              Opinion of Counsel to the effect that the Noteholders would recognize no income, gain or
              loss for U.S. federal income tax purposes as a result of the deposit and satisfaction and
              discharge of this Indenture;

              (b)     the Issuer has paid all other sums then payable under this Indenture by the Issuer
      and no other amounts are scheduled to be payable by the Issuer; and

                (c)     the Co-Issuers have delivered to the Trustee Officer's certificates and an Opinion of
      Counsel, each stating that all conditions precedent in this Indenture provided for relating to the
      satisfaction and discharge of this Indenture have been complied with.

              Notwithstanding the satisfaction and discharge of this Indenture, the rights and obligations
      of the Co-Issuers, the Trustee, the Servicer and, if applicable, the Noteholders, as the case may be,
      under Sections 2.8, 4.2, 5.4(d), 5.9, 5.18, 6.7, 6.8, 7.1, 7.3, 13.1, and 14.13 shall survive.

      Section 4.2.     Application of Trust Money.

               All monies deposited with the Trustee pursuant to Section 4.1 shall be held in trust for the
      Person entitled to it and applied by the Trustee in accordance with the Notes and this Indenture,
      including the Priority of Payments, to the payment of principal and interest, either directly or
      through any Paying Agent, as the Trustee may determine. The money shall be held in a segregated
      non-interest bearing trust account identified as being held in trust for the benefit of the Secured
      Parties.

      Section 4.3.     Repayment of Monies Held by Paying Agent.

                In connection with the satisfaction and discharge of this Indenture with respect to the Notes,
      all monies then held by any Paying Agent other than the Trustee under this Indenture shall, upon
      demand of the Co-Issuers, be paid to the Trustee to be held and applied pursuant to Section 7.3 and
      in accordance with the Priority of Payments and thereupon the Paying Agent shall be released from
      all further liability with respect to the monies.


                                                   ARTICLE 5

                                                    REMEDIES

      Section 5.1.     Events of Default.

             "Event of Default," wherever used in this Indenture, means any one of the following events
      whatever the reason:

               (a)      a default for four Business Days in the payment of any interest on any Class of
      Notes that is currently part of the Controlling Class when it becomes payable (or in the case of a
      default in payment due to an administrative error or omission by the Trustee, the Irish Paying Agent
      or the Indenture Registrar, after seven Business Days);
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              (b)    a default in the payment of principal (including Deferred Interest) of any Note,
      when the same becomes payable, at its Stated Maturity or on the Redemption Date;

             (c)      the failure on any Payment Date to disburse amounts available in the Payment
      Account in accordance with the Priority of Payments and the failure continues for three Business
      Days;

              (d)    on any Measurement Date for so long as any Class A-1 Notes, Class A-2a Notes or
      Class A-2b Notes are Outstanding, the Class A Overcollateralization Ratio is less than 100%;

              (e)      either of the Co-Issuers or the pool of Collateral becomes an investment company
      under the Investment Company Act;

               (f)      breach of any other covenant or other agreement of the Issuer or the Co-Issuer in
      this Indenture (other than any failure to satisfy any of the Collateral Quality Tests, any of the
      Concentration Limitations, any of the Coverage Tests, the Retention Overcollateralization Test, or
      other covenants or agreements for which a specific remedy has been provided in this Section 5.1) in
      any material respect, or the failure of any representation or warranty of the Issuer or the Co-Issuer in
      this Indenture or in any certificate or other writing delivered pursuant thereto, or in connection
      therewith, to be correct in any material respect when made, and the breach or failure continues for 30
      days after either of the Co-Issuers has actual knowledge of it or after notice to the Issuer, the Co-
      Issuer, and the Servicer by the Trustee or to the Issuer, the Co-Issuer, the Servicer, and the Trustee
      by the Holders of at least 25% of the Aggregate Outstanding Amount of the Controlling Class by
      registered or certified mail or overnight courier specifying the breach or failure and requiring it to be
      remedied and stating that the notice is a "Notice of Default" under this Indenture;

               (g)      the entry of a decree or order by a court having competent jurisdiction adjudging
      the Issuer or the Co-Issuer as bankrupt or insolvent, or approving as properly filed a petition seeking
      reorganization, arrangement, adjustment, or composition of the Issuer or the Co-Issuer under the
      Bankruptcy Law or any other applicable law, or appointing a receiver, liquidator, assignee, or
      sequestrator (or other similar official) of the Issuer or the Co-Issuer or of any substantial part of its
      property, or ordering the winding up or liquidation of its affairs, and if the decree or order remains
      unstayed and in effect for 45 consecutive days;

               (h)       the institution by the shareholders of the Issuer or the Co-Issuer of Proceedings to
      have the Issuer or Co-Issuer, as the case may be, adjudicated as bankrupt or insolvent, or the consent
      by the shareholders of the Issuer or the Co-Issuer to the institution of bankruptcy or insolvency
      Proceedings against the Issuer or Co-Issuer, or the filing by the Issuer or the Co-Issuer of a petition
      or answer or consent seeking reorganization or relief under the Bankruptcy Law or any other similar
      applicable law, or the consent by the Issuer or the Co-Issuer to the filing of any such petition or to
      the appointment of a receiver, liquidator, assignee, trustee, or sequestrator (or other similar official)
      of the Issuer or the Co-Issuer or of any substantial part of its property, or the making by the Issuer or
      the Co-Issuer of an assignment for the benefit of creditors, or the admission by the Issuer or the Co-
      Issuer in writing of its inability to pay its debts generally as they become due, or the taking of any
      action by the Issuer or the Co-Issuer in furtherance of any such action; or

               (i)     one or more final judgments is rendered against the Issuer or the Co-Issuer that
      exceed in the aggregate U.S.$2,000,000 (or any lesser amount specified by any Rating Agency) and
      that remain unstayed, undischarged, and unsatisfied for 30 days after the judgments become
      nonappealable, unless adequate funds have been reserved or set aside for their payment, and unless
      (except as otherwise specified in writing by Moody's) the Rating Condition with respect to each
      Rating Agency is satisfied with respect thereon.

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      Section 5.2.     Notice of Event of Default; Acceleration of Maturity; Rescission and Annulment.

              (a)       Upon the occurrence of an Event of Default, the Trustee shall give prompt (and in
      no event later than five Business Days after becoming aware of such event) notice thereof to the
      Noteholders.

                (b)     If an Event of Default is continuing (other than an Event of Default specified in
      Section 5.1(e), (g) or (h)), the Trustee may, with consent of the Majority of the Controlling Class,
      and shall, upon the written direction of a Majority of the Controlling Class, declare the principal of
      all the Notes to be immediately payable by notice to the Applicable Issuers and the Noteholders, and
      upon that declaration the unpaid principal of all the Notes, together with all its accrued and unpaid
      interest (and any applicable Defaulted Interest Charge), and other amounts payable under this
      Indenture, shall become immediately payable. The Replacement Period shall terminate upon a
      declaration of acceleration (subject to re-commencement pursuant to Section 5.2(c)). If an Event of
      Default specified in Section 5.1(e), (g) or (h) occurs, all unpaid principal, together with all its
      accrued and unpaid interest (and any applicable Defaulted Interest Charge), of all the Notes, and
      other amounts payable under this Indenture, shall automatically become payable without any
      declaration or other act on the part of the Trustee or any Noteholder and the Replacement Period
      shall terminate automatically (subject to re-commencement pursuant to Section 5.2(c)).

               (c)     At any time after the declaration of acceleration of maturity has been made and
      before a judgment or decree for payment of the money due has been obtained by the Trustee, a
      Majority of the Controlling Class by written notice to the Issuer, the Trustee and the Preference
      Shares Paying Agent may rescind the declaration and its consequences:

                     (i)       The Issuer or the Co-Issuer has paid or deposited with the Trustee a
              sum sufficient to pay:

                                (A)      all unpaid installments of interest and principal on the Notes then
                       due;

                                (B)      to the extent that payment of the interest is lawful, interest on any
                       Deferred Interest and Defaulted Interest at the Applicable Note Interest Rate or
                       Default Interest Rate, as applicable;

                               (C)     all Administrative Expenses of the Co-Issuers and other sums paid
                       or advanced by the Trustee under this Indenture;

                                (D)      all unpaid Senior Servicing Fees;

                                (E)      all amounts then payable to any Hedge Counterparty; and

                      (ii)    The Trustee has determined that all Events of Default, other than the
              non-payment of the interest on or principal of the Notes, have been (A) cured, and a
              Majority of the Controlling Class by written notice to the Trustee has agreed with that
              determination, or (B) waived as provided in Section 5.14.
              No such rescission shall affect any subsequent Default or impair any right consequent
      thereon. The Issuer shall not terminate any Hedge Agreement at any time after a declaration of
      acceleration of Maturity of the Notes has been made, unless such declaration and its
      consequences may no longer be rescinded and annulled in accordance with this Section 5.2(c)
      and liquidation of the Collateral has begun.
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                 If a declaration of acceleration is rescinded as described above:

               (x)      the Replacement Period, if terminated by the declaration, shall re-commence on the
      date of the rescission (unless the Replacement Period would have otherwise terminated before that
      date pursuant to clauses (i), (ii), or (iii) of its definition); and

               (y)      the Trustee shall retain the Collateral in accordance with this Indenture. If the
      retention of the Collateral is rescinded pursuant to Section 5.5, the Notes may again be accelerated
      pursuant to Section 5.2(b), notwithstanding any previous rescission of a declaration of acceleration
      pursuant to this Section 5.2(c)).

                 No rescission shall affect any subsequent Default or impair any right resulting from the
      Default.

               (d)       Notwithstanding anything in this Section 5.2 to the contrary, the Notes will not be
      subject to acceleration by the Trustee, a Majority of the Controlling Class or any other Holders
      solely as a result of the failure to pay any amount due on Notes that are not of the Controlling Class.

      Section 5.3.       Collection of Indebtedness and Suits for Enforcement by Trustee.

               The Applicable Issuers covenant that if a default occurs in the payment of any principal of
      or interest when payable on any Note, upon demand of the Trustee or the Holder of any affected
      Note, the Applicable Issuers shall pay to the Trustee, for the benefit of the Holder of the Note, the
      whole amount then payable on the Note for principal and interest with interest on the overdue
      principal and, to the extent that payments of the interest shall be legally enforceable, on overdue
      installments of interest and all other amounts owing to the Noteholders under this Indenture, at the
      Applicable Note Interest Rate or Default Interest Rate, as applicable, and, in addition, an amount
      sufficient to cover the costs and expenses of collection, including the reasonable compensation,
      expenses, disbursements and advances of the Trustee and the Holders and their agents and counsel.

               If the Issuer or the Co-Issuer fails to pay those amounts immediately on demand, the
      Trustee, in its own name and as Trustee of an express trust, may (after giving prior written notice to
      the Controlling Class and absent the Trustee having received a written direction to the contrary from
      the Controlling Class), and shall at the written direction of a Majority of the Controlling Class
      (subject to Section 6.3(e)), institute a Proceeding for the collection of the sums due, may prosecute
      the Proceeding to judgment or final decree, and may enforce the same against the Applicable Issuers
      or any other obligor on the Notes and collect the monies determined to be payable in the manner
      provided by law out of the Collateral.

               If an Event of Default is continuing, the Trustee may (after giving prior written notice to the
      Controlling Class and absent the Trustee having received a written direction to the contrary from the
      Controlling Class), and shall upon written direction of a Majority of the Controlling Class (subject to
      Section 6.3(e)), proceed to protect and enforce its rights and the rights of the Noteholders by any
      appropriate Proceedings as is deemed most effective (if no direction is received by the Trustee) or as
      the Trustee may be directed by a Majority of the Controlling Class, to protect and enforce the rights
      of the Trustee and the Noteholders, whether for the specific enforcement of any agreement in this
      Indenture or in aid of the exercise of any power granted in this Indenture, or to enforce any other
      proper remedy or legal or equitable right vested in the Trustee by this Indenture or by law. The
      reasonable compensation, costs, expenses, disbursements and advances incurred or paid by the
      Trustee and its agents and counsel, in connection with such Proceeding, including, without
      limitation, the exercise of any remedies pursuant to Section 5.4, shall be reimbursed to the Trustee
      pursuant to Section 6.8.

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               If any Proceedings are pending relating to the Issuer or the Co-Issuer or any other obligor
      on the Notes under the Bankruptcy Law or any other applicable bankruptcy, insolvency or other
      similar law, or if a receiver, assignee, or trustee in bankruptcy or reorganization, liquidator,
      sequestrator or similar official has been appointed for or taken possession of the Issuer, the Co-
      Issuer or their respective property or any other obligor on the Notes or its property, or if any other
      comparable Proceedings are pending relating to the Issuer, the Co-Issuer or other obligor on the
      Notes, or the creditors or property of the Issuer, the Co-Issuer or other obligor on the Notes, the
      Trustee, regardless of whether the principal of any Notes is then payable by declaration or otherwise
      and regardless of whether the Trustee has made any demand pursuant to this Section 5.3, may, by
      intervention in the Proceedings or otherwise:

               (a)      file and prove claims for the whole amount of principal and interest owing and
      unpaid in respect of the Notes, and file any other papers or documents appropriate and take any other
      appropriate action (including sitting on a committee of creditors) to have the claims of the Trustee
      (including any claim for reasonable compensation to the Trustee and each predecessor Trustee, and
      their respective agents, attorneys, and counsel, and for reimbursement of all expenses and liabilities
      incurred, and all advances made, by the Trustee and each predecessor Trustee, except as a result of
      negligence or bad faith) and of the Noteholders allowed in any Proceedings relating to the Issuer, the
      Co-Issuer, or other obligor on the Notes or to the creditors or property of the Issuer, the Co-Issuer or
      other obligor on the Notes;

               (b)       unless prohibited by applicable law, vote on behalf of the Noteholders in any
      election of a trustee or a standby trustee in arrangement, reorganization, liquidation or other
      bankruptcy or insolvency Proceedings or Person performing similar functions in comparable
      Proceedings; and

               (c)     collect and receive any monies or other property payable to or deliverable on any
      such claims, and distribute all amounts received with respect to the claims of the Noteholders and of
      the Trustee on their behalf; and any trustee, receiver or liquidator, custodian or other similar official
      is authorized by each of the Noteholders to make payments to the Trustee, and, if the Trustee
      consents to making payments directly to the Noteholders, to pay to the Trustee amounts sufficient to
      cover reasonable compensation to the Trustee, each predecessor Trustee, and their respective agents,
      attorneys, and counsel, and all other reasonable expenses and liabilities incurred, and all advances
      made, by the Trustee and each predecessor Trustee except as a result of negligence or bad faith.

               Nothing in this Indenture shall authorize the Trustee to authorize or consent to or vote for or
      accept or adopt on behalf of the Holder of any Note, any plan of reorganization, arrangement,
      adjustment or composition affecting the Notes or any Noteholder, or to authorize the Trustee to vote
      on the claim of the Holder of any Note in any Proceeding except, as aforesaid, to vote for the
      election of a trustee in bankruptcy or similar Person.

               Notwithstanding anything in this Section 5.3 to the contrary, the Trustee may not sell or
      liquidate the Collateral or institute Proceedings in furtherance of the sale or liquidation of the
      Collateral pursuant to this Section 5.3 except according to Section 5.5(a).

      Section 5.4.     Remedies.

               (a)      If an Event of Default is continuing, and the Notes have been declared payable and
      the declaration and its consequences have not been rescinded, or at any time after the Stated
      Maturity, the Co-Issuers agree that the Trustee may (after giving prior written notice to the
      Controlling Class and absent the Trustee having received a written direction to the contrary from the
      Controlling Class), and shall, upon written direction of a Majority of the Controlling Class (subject

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      to Section 6.3(e)), to the extent permitted by applicable law, exercise one or more of the following
      rights:

                      (i)     institute Proceedings for the collection of all amounts then payable on the
              Notes or otherwise payable under this Indenture, whether by declaration or otherwise,
              enforce any judgment obtained, and collect from the Collateral any monies adjudged due;

                      (ii)     sell or liquidate all or a portion of the Collateral or interests in it, at one or
              more public or private sales called and conducted in any manner permitted by law and in
              accordance with Section 5.17;

                      (iii)     institute Proceedings from time to time for the complete or partial
              foreclosure of this Indenture with respect to the Collateral;

                       (iv)     exercise any remedies of a secured party under the UCC and take any other
              appropriate action to protect and enforce the rights of the Trustee and the Noteholders under
              this Indenture; and

                       (v)      exercise any other rights that may be available at law or in equity;

      except that the Trustee may not sell or liquidate the Collateral or institute Proceedings in furtherance
      of the sale or liquidation of the Collateral pursuant to this Section 5.4 except according to Section
      5.5(a).

               (b)     If an Event of Default as described in Section 5.1(f) is continuing the Trustee may,
      with the consent of, and shall, at the direction of, the Holders of not less than 25% of the Aggregate
      Outstanding Amount of the Controlling Class, subject to Section 5.8, institute a Proceeding solely to
      compel performance of the covenant or agreement or to cure the representation or warranty, the
      breach of which gave rise to the Event of Default under Section 5.1(f), and enforce any equitable
      decree or order arising from the Proceeding.

               (c)      Upon any sale, whether made under the power of sale given under this Indenture or
      by virtue of judicial Proceedings, any Holders or the Servicer (subject to the Servicing Agreement)
      may bid for and purchase any part of the Collateral and, upon compliance with the terms of sale,
      may hold, retain, possess, or dispose of the Collateral in its or their own absolute right without
      accountability.

               Upon any sale, whether made under the power of sale given under this Indenture or by
      virtue of judicial Proceedings, the receipt of the Trustee, or of the Officer making a sale under
      judicial Proceedings, shall be a sufficient discharge to the purchasers at any sale for their purchase
      money, and the purchasers shall not be obliged to see to its application.

               Any sale, whether under any power of sale given under this Indenture or by virtue of
      judicial Proceedings, shall bind the Co-Issuers, the Trustee and the Noteholders, shall operate to
      divest all interest whatsoever, either at law or in equity, of each of them in the property sold, and
      shall be a perpetual bar, both at law and in equity, against each of them and their successors and
      assigns, and against all Persons claiming through or under them.

               (d)      Notwithstanding any other provision of this Indenture, none of the Trustee, the
      Secured Parties or the Noteholders may, before the date that is one year and one day (or if longer,
      any applicable preference period plus one day) after the payment in full of all Notes, institute
      against, or join any other Person in instituting against, the Issuer or the Co-Issuer any bankruptcy,

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      reorganization, arrangement, insolvency, moratorium, or liquidation Proceedings, or other
      Proceedings under the Bankruptcy Law or any similar laws in any jurisdiction. Nothing in this
      Section 5.4 shall preclude the Trustee or any Secured Party (i) from taking any action before the
      expiration of that period in (A) any case or Proceeding voluntarily filed or commenced by the Issuer
      or the Co-Issuer or (B) any involuntary insolvency Proceeding filed or commenced by a Person
      other than a Secured Party or (ii) from commencing against the Issuer or the Co-Issuer or any of its
      properties any legal action that is not a bankruptcy, reorganization, arrangement, insolvency,
      moratorium or liquidation Proceeding.

      Section 5.5.      Optional Retention of Collateral.

               (a)     Notwithstanding anything to the contrary in this Indenture, if an Event of Default is
      continuing, the Trustee shall retain the Collateral, collect, and cause the collection of the proceeds of
      the Collateral and make and apply all payments and deposits and maintain all accounts in respect of
      the Collateral and the Notes, and any Hedge Agreements (other than amounts received under a
      Hedge Agreement that are used in putting a Replacement Hedge in place), in accordance with the
      Priority of Payments and Article 10 and Article 12 unless:

                        (i)      the Trustee, in consultation with the Servicer, determines that the
               anticipated net proceeds of a sale or liquidation of the Collateral would be sufficient to
               discharge in full the amounts then due and unpaid on the Notes for principal and interest
               (including Defaulted Interest and Deferred Interest and any interest on the Defaulted
               Interest and Deferred Interest), all Administrative Expenses, all other amounts (if any) then
               payable to the Hedge Counterparty by the Issuer (including any applicable termination
               payments) net of all amounts then payable to the Issuer by the Hedge Counterparty and all
               other amounts then payable under clause (3) of Section 11.1(a)(i) and a Majority of the
               Controlling Class agrees with that determination; or

                       (ii)    the Holders of a Super Majority of each of the Class A-1 Notes, the Class
               A-2a Notes, the Class A-2b Notes, the Class A-3 Notes, the Class B Notes, the Class C
               Notes and the Class D Notes direct the sale and liquidation of the Collateral.

                 The Trustee shall give written notice of the retention of the Collateral to the Issuer with a
      copy to the Co-Issuer and the Servicer. So long as the Event of Default is continuing, any retention
      pursuant to this Section 5.5(a) may be rescinded at any time when the conditions specified in clause
      (i) or (ii) exist.

               (b)       Nothing contained in Section 5.5(a) shall be construed to require the Trustee to sell
      the Collateral if the conditions in clause (i) or (ii) of Section 5.5(a) are not satisfied. Nothing
      contained in Section 5.5(a) shall be construed to require the Trustee to retain the Collateral if
      prohibited by applicable law.

               (c)      In determining whether the condition specified in Section 5.5(a)(i) exists, the
      Trustee, in consultation with the Servicer, shall obtain bid prices with respect to each security
      contained in the Collateral from two nationally recognized dealers (or if there is only one market
      maker, that market maker and if there is no market maker, from a pricing service) selected and
      specified by the Servicer to the Trustee in writing, at the time making a market in those securities,
      and shall compute the anticipated proceeds of sale or liquidation on the basis of the lower of the bid
      prices for each security. In addition, for the purposes of determining issues relating to the valuation
      of the Collateral, the satisfaction of the conditions specified in this Indenture, the execution of a sale
      or liquidation of the Collateral, and the execution of a sale or other liquidation of the Collateral in
      connection with a determination whether the condition specified in Section 5.5(a)(i) exists, the

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      Trustee may retain, at the Issuer's expense, and rely on an opinion of an Independent investment
      banking firm of national reputation, which may be the Initial Purchaser.

               The Trustee shall deliver to the Preference Shares Paying Agent (for forwarding to the
      Holders of Preference Shares), the Noteholders, the Co-Issuers, the Servicer and the Hedge
      Counterparties a report stating the results of any determination required pursuant to Section 5.5(a)(i).
      The Trustee shall make the determinations required by Section 5.5(a)(i) after an Event of Default at
      the request of a Majority of the Controlling Class at any time during which the Trustee retains the
      Collateral pursuant to Section 5.5(a). The Trustee shall obtain (at the Issuer's expense) a letter of a
      firm of Independent certified public accountants confirming the accuracy of each calculation made
      by the Trustee pursuant to Section 5.5(a)(i) and certifying their conformity to the requirements of
      this Indenture.

              (d)      Notwithstanding anything in this Indenture to the contrary, the Trustee may not,
      and the Noteholders representing the requisite percentage of the Aggregate Outstanding Amount of
      the Notes specified in Section 5.4 or 5.5, may not instruct the Trustee to sell or liquidate or (except
      in connection with the concurrent execution of a Replacement Hedge) terminate any Hedge
      Agreement during the continuance of an Event of Default until all Collateral other than the Hedge
      Agreements has been sold or liquidated and its proceeds applied in accordance with this Indenture.

               (e)      Collateral may not be sold or liquidated pursuant to Section 5.5(a)(i) after the last
      date on which the sale or liquidation is permitted under Section 5.5(a)(i) with respect to a
      determination made pursuant to Section 5.5(a)(i) (the last permitted date being determined by the
      Trustee under Section 5.5(a)(i)), unless a new determination is made in accordance with Section
      5.5(a)(i) and the Collateral is sold or liquidated before the last sale date permitted in accordance with
      the new determination.

      Section 5.6.     Trustee May Enforce Claims Without Possession of Notes.

               All rights of action and claims under this Indenture or under any of the Notes may be
      prosecuted and enforced by the Trustee without the possession of any of the Notes or their
      production in any trial or other Proceeding relating to them, and any Proceeding instituted by the
      Trustee shall be brought in its own name as trustee of an express trust, and any recovery of judgment
      shall be applied as provided in Section 5.7.

               In any Proceedings brought by the Trustee (and any Proceedings involving the
      interpretation of any provision of this Indenture to which the Trustee shall be a party) the Trustee
      shall be held to represent all the Noteholders.

      Section 5.7.     Application of Money Collected.

               Any money collected by the Trustee with respect to the Notes pursuant to this Article 5 and
      any money that may then be held or subsequently received by the Trustee with respect to the Notes
      under this Indenture shall be applied, subject to Section 13.1 and in accordance with Section 11.1, at
      the dates fixed by the Trustee.

      Section 5.8.     Limitation on Suits.

              No Holder of any Note shall have any right to institute any Proceedings, judicial or
      otherwise, with respect to this Indenture, or for the appointment of a receiver or trustee, or for any
      other remedy under this Indenture, unless:


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                 (a)    the Holder has previously given to the Trustee written notice of an Event of
      Default;

               (b)      the Holders of not less than 25% of the Aggregate Outstanding Amount of the
      Controlling Class shall have made written request to the Trustee to institute Proceedings with respect
      to the Event of Default in its own name as Trustee under this Indenture and the Holders have offered
      to the Trustee indemnity satisfactory to it against the expenses and liabilities to be incurred in
      compliance with the request;

               (c)       the Trustee for 30 days after its receipt of the notice, request and offer of indemnity
      has failed to institute a Proceeding; and

               (d)     no direction inconsistent with the written request has been given to the Trustee
      during the 30 day period by a Majority of the Controlling Class.

               No Noteholder shall have any right in any manner whatsoever by virtue of, or by availing
      of, any provision of this Indenture to affect the rights of any other Noteholders of the same Class or
      to obtain or to seek to obtain priority or preference over any other Holders of Notes of the same
      Class or to enforce any right under this Indenture, except in the manner provided in this Indenture
      and for the equal and ratable benefit of all the Holders of Notes of the same Class subject to and in
      accordance with Section 13.1 and the Priority of Payments or Section 11.2, as the case may be.

               If the Trustee receives conflicting or inconsistent requests and indemnity from two or more
      groups of Holders of the Controlling Class, each representing less than a Majority of the Controlling
      Class, the Trustee shall take the action requested by the Holders of the largest percentage in
      Aggregate Outstanding Amount of the Controlling Class, notwithstanding any other provisions of
      this Indenture but subject to Section 6.3(e).

      Section 5.9.      Unconditional Rights of Noteholders.

                Notwithstanding any provision of this Indenture other than this Section 5.9 and Sections
      2.8(i), 5.4(d), and 13.1, the Holder of any Note shall have the right, which is absolute and
      unconditional, to receive payment of the principal of and interest on the Note as it comes due in
      accordance with the Priority of Payments and Section 13.1, and, subject to Section 5.8, to institute
      proceedings for the enforcement of any such payment, and that right shall not be impaired without
      the consent of the Holder. Noteholders ranking junior to Notes still Outstanding may not institute
      proceedings for the enforcement of any such payment until no Note ranking senior to their Note
      remains Outstanding, subject to Section 5.8, and shall not be impaired without the consent of any
      such Holder. For so long as any Notes are Outstanding, the Preference Shares Paying Agent shall
      not be entitled to any payment of any amount for payments to the Holders of the Preference Shares
      pursuant to the Preference Share Documents, to the extent legally permitted, on a claim against the
      Issuer unless there are sufficient funds to pay such amounts to the Preference Shares Paying Agent
      in accordance with the Priority of Payments.

      Section 5.10.     Restoration of Rights and Remedies.

              If the Trustee or the Holder of any Note has instituted any Proceeding to enforce any right
      under this Indenture and the Proceeding has been discontinued or abandoned for any reason, or has
      been determined adversely to the Trustee or to the Holder, then, subject to any determination in the
      Proceeding, the Co-Issuers, the Trustee and the Holder shall be restored to their former positions
      under this Indenture, and thereafter all rights of the Trustee and the Holder shall continue as though
      no Proceeding had been instituted.

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      Section 5.11.    Rights and Remedies Cumulative.

               No right in this Indenture conferred on or reserved to the Trustee or to the Noteholders is
      intended to be exclusive of any other right, and every right shall, to the extent permitted by law, be
      cumulative and in addition to every other right given under this Indenture or now or hereafter
      existing at law or in equity or otherwise. The assertion or employment of any right under this
      Indenture, or otherwise, shall not prevent the concurrent assertion or employment of any other
      appropriate right.

      Section 5.12.    Delay or Omission Not Waiver.

               No delay or omission of the Trustee or the Holder of any Note to exercise any right accruing
      upon any Event of Default shall impair the right or be a waiver of the Event of Default or an
      acquiescence in it or of a subsequent Event of Default. Every right given by this Article 5 or by law
      to the Trustee or to the Noteholders may be exercised from time to time, and as often as deemed
      expedient, by the Trustee or by the applicable Noteholders.

      Section 5.13.    Control by Majority of the Controlling Class.

               (a)     Notwithstanding any other provision of this Indenture, during the continuance of an
      Event of Default, a Majority of the Controlling Class may institute and direct the time, method and
      place of conducting any Proceeding for any remedy available to the Trustee, or exercising any right
      of the Trustee with respect to the Notes if:

                      (i)       the direction does not conflict with any rule of law or with any express
              provision of this Indenture; and

                      (ii)     the Trustee has been indemnified to its reasonable satisfaction (and the
              Trustee need not take any action that it determines might involve it in liability unless it has
              received an indemnity against the liability).

      Notwithstanding the foregoing, only a Majority of the Controlling Class may direct proceedings with
      respect to remedies specified in Section 5.4(a) or otherwise with respect to the Collateral.

                (b)      The Trustee may take any other action deemed proper by the Trustee that is not
      inconsistent with a direction under Section 5.13(a). Subject to Section 6.1, the Trustee need not take
      any action that it determines might involve it in liability or expense (unless the Trustee has received
      an indemnity against the liabilities and expenses reasonably satisfactory to it) and during the
      continuance of an Event of Default that has not been cured, or waived, the Trustee shall, before
      receiving directions from a Majority of the Controlling Class, exercise the rights expressly vested in
      it by this Indenture and use the same degree of care and skill in their exercise with respect to the
      Event of Default as is required by Section 6.1(b).

              (c)     Any direction to the Trustee to undertake a Sale of the Collateral shall be in
      accordance with Section 5.4 or 5.5.

      Section 5.14.    Waiver of Past Defaults.

               Before a judgment or decree for payment of any money due has been obtained by the
      Trustee, as provided in this Article 5, a Majority of the Controlling Class may on behalf of the
      Holders of all the Notes, with respect to the Notes waive any past Default and its consequences,
      except a Default:

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               (a)      in the payment of the principal or Redemption Price of any Note or in the payment
      of interest (including Defaulted Interest, Deferred Interest, and any interest on Defaulted Interest or
      Deferred Interest) on the Notes;

              (b)      with respect to a provision of this Indenture that under Section 8.2 cannot be
      modified or amended without the waiver or consent of the Holder of each Outstanding Note
      adversely affected by the modification or amendment;

             (c)      in the payment of amounts due to the Servicer, the Trustee or the Hedge
      Counterparty, which may only be waived with the consent of the affected party; or

              (d)      arising as a result of an Event of Default described in Section 5.1(e), (g) or (h).

               Upon any such waiver, the Default shall cease to exist, and any Event of Default arising
      from it shall be cured, for every purpose of this Indenture, but no such waiver shall extend to any
      subsequent or other Default or impair any right consequent thereto. The Trustee shall promptly give
      written notice of any such waiver to the Servicer, the Preference Shares Paying Agent (for
      forwarding to the Holders of Preference Shares) and each Noteholder.

      Section 5.15.    Undertaking for Costs.

                All parties to this Indenture agree, and each Holder of any Note by its acceptance of its Note
      agrees, that in any suit for the enforcement of any right under this Indenture, or in any suit against
      the Trustee or the Servicer for any action taken or omitted by it as Trustee or for any action taken or
      omitted by the Servicer, as applicable, any court may in its discretion require the filing by any party
      litigant in the suit of an undertaking to pay the costs of the suit, and that the court may in its
      discretion assess reasonable costs, including reasonable attorneys' fees, against any party litigant in
      the suit, having due regard to the merits and good faith of the claims or defenses made by the party
      litigant. This Section 5.15 shall not apply to any suit instituted by the Trustee or the Servicer, to any
      suit instituted by any Holder, or group of Holders, of Notes holding in the aggregate more than 10%
      in Aggregate Outstanding Amount of the Controlling Class, or to any suit instituted by any
      Noteholder for the enforcement of the payment of the principal of or interest on any Note or any
      other amount payable under this Indenture after the applicable Stated Maturity (or, in the case of
      redemption, after the applicable Redemption Date).

      Section 5.16.    Waiver of Stay or Extension Laws.

               To the extent that they may lawfully do so, the Co-Issuers covenant that they will not at any
      time insist on, or plead, or in any manner whatsoever claim or take the benefit or advantage of, any
      stay or extension law or any valuation, appraisement, redemption, or marshalling law or rights, in
      each case wherever enacted, now or at any time hereafter in force, that may affect the covenants, the
      performance of, or any remedies under this Indenture. To the extent that they may lawfully do so,
      the Co-Issuers expressly waive all benefit or advantage of any such law or rights, and covenant that
      they shall not delay or impede the execution of any power in this Indenture granted to the Trustee or
      the Noteholders but will permit the execution of every power as though the law had not been enacted
      or rights created.

      Section 5.17.    Sale of Collateral.

              (a)      The power to effect any sale (a "Sale") of any portion of the Collateral pursuant to
      Sections 5.4 and 5.5 shall not be exhausted by any one or more Sales as to any portion of the
      Collateral remaining unsold, but shall continue unimpaired until the entire Collateral is sold or all

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      amounts secured by the Collateral have been paid. The Trustee may upon notice to the Noteholders
      and the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), and
      shall, at the direction of a Majority of the Controlling Class with respect to Collateral, from time to
      time postpone any Sale by public announcement made at the time and place of the Sale. The Trustee
      waives its rights to any amount fixed by law as compensation for any Sale. The Trustee may deduct
      the reasonable expenses (including the reasonable fees and expenses of its agents and attorneys)
      incurred by it in connection with a Sale from its proceeds notwithstanding Section 6.8.

               (b)      The Trustee may bid for and acquire any portion of the Collateral in connection
      with a public Sale of the Collateral, and may pay all or part of the purchase price by crediting against
      amounts owing on the Notes or other amounts secured by the Collateral all or part of the net
      proceeds of the Sale after deducting the reasonable expenses incurred by the Trustee in connection
      with the Sale notwithstanding Section 6.8. The Notes need not be produced to complete any Sale, or
      for the net proceeds of the Sale to be credited against amounts owing on the Notes. The Trustee may
      hold, lease, operate, manage or otherwise deal with any property so acquired in any manner
      permitted by law in accordance with this Indenture.

                (c)     If any portion of the Collateral consists of securities issued without registration
      under the Securities Act ("Unregistered Securities"), the Trustee may seek an Opinion of Counsel,
      or, if no Opinion of Counsel can be obtained, seek a no action position from the Securities and
      Exchange Commission or any other relevant federal or state regulatory authorities, regarding the
      legality of a public or private Sale of the Unregistered Securities.

               (d)       The Trustee shall execute and deliver an appropriate instrument of transfer
      transferring its interest in any portion of the Collateral in connection with its Sale. In addition, the
      Trustee is irrevocably appointed the agent and attorney-in-fact of the Issuer to transfer its interest in
      any portion of the Collateral in connection with its Sale, and to take all action necessary to effect the
      Sale. No purchaser or transferee at a Sale shall be bound to ascertain the Trustee's authority, to
      inquire into the satisfaction of any conditions precedent, or see to the application of any monies.

      Section 5.18.    Action on the Notes.

                The Trustee's right to seek and recover judgment on the Notes or under this Indenture shall
      not be affected by the seeking or obtaining of or application for any other relief under or with respect
      to this Indenture. Neither the lien of this Indenture nor any rights or remedies of the Trustee or the
      Noteholders shall be impaired by the recovery of any judgment by the Trustee against the Issuer or
      by the levy of any execution under the judgment on any portion of the Collateral or on any of the
      assets of the Issuer or the Co-Issuer.


                                                   ARTICLE 6

                                                  THE TRUSTEE

      Section 6.1.     Certain Duties and Responsibilities.

              (a)      Except during the continuance of an Event of Default known to the Trustee:

                       (i)      the Trustee undertakes to perform the duties and only the duties
              specifically provided in this Indenture, and no implied covenants or obligations shall be
              read into this Indenture against the Trustee; and


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                        (ii)     in the absence of bad faith on its part, the Trustee may conclusively rely, as
              to the truth of the statements and the correctness of the opinions expressed therein, on
              certificates or opinions furnished to the Trustee and conforming to the requirements of this
              Indenture; the Trustee shall examine any certificates or opinions that by any provision of
              this Indenture are specifically required to be furnished to the Trustee to determine whether
              or not they substantially conform on their face to the requirements of this Indenture and
              shall promptly notify the party delivering the same if the certificate or opinion does not
              conform. If a corrected form has not been delivered to the Trustee within 15 days after the
              notice from the Trustee, the Trustee shall so notify the Noteholders and the Preference
              Shares Paying Agent (for forwarding to the Holders of Preference Shares).

               (b)      If the Trustee has actual knowledge that an Event of Default is continuing, the
      Trustee shall, before the receipt of directions from a Majority of the Controlling Class, exercise the
      rights and powers vested in it by this Indenture, and use the same degree of care and skill in its
      exercise, as a prudent Person would use under the circumstances in the conduct of the Person's own
      affairs.

                (c)       No provision of this Indenture shall be construed to relieve the Trustee from
      liability for its own negligent action, its own negligent failure to act or its own willful misconduct,
      except that:

                       (i)      this subsection shall not be construed to limit the effect of subsection (a) of
              this Section 6.1;

                       (ii)    the Trustee shall not be liable for any error of judgment made in good faith
              by a Trust Officer, unless it is proven that the Trustee was negligent in ascertaining the
              pertinent facts;

                      (iii)     the Trustee shall not be liable with respect to any action taken or omitted to
              be taken by it in good faith in accordance with the direction of the Issuer or the Co-Issuer or
              the Servicer in accordance with this Indenture or a Majority (or the other percentage
              required or permitted by this Indenture) of the Controlling Class (or other Class if required
              or permitted by this Indenture) relating to the time, method, and place of conducting any
              Proceeding for any remedy available to the Trustee, or exercising any trust or power
              conferred on the Trustee, under this Indenture; and

                       (iv)      no provision of this Indenture shall require the Trustee to expend or risk its
              own funds or otherwise incur any financial liability in the performance of any of its duties
              under this Indenture, or in the exercise of any of its rights contemplated under this
              Indenture, if it has reasonable grounds for believing that repayment of the funds or
              indemnity satisfactory to it against the risk or liability is not reasonably assured to it;
              provided that the reasonable costs of performing its ordinary services under this Indenture
              shall not be deemed a "financial liability" for purposes hereof.

               (d)     For all purposes under this Indenture, the Trustee shall not have notice or
      knowledge of any Event of Default described in Section 5.1(d) through 5.1(i) or any Default
      described in Section 5.1(e) through 5.1(i) unless a Trust Officer assigned to and working in the
      Corporate Trust Office has actual knowledge of it or unless written notice of any event that is in fact
      the an Event of Default or Default is received by the Trustee at the Corporate Trust Office, and the
      notice references the Notes generally, the Issuer, the Co-Issuer, the Collateral or this Indenture. For
      purposes of determining the Trustee's responsibility and liability under this Indenture, whenever
      reference is made in this Indenture to an Event of Default or a Default, the reference shall be

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      construed to refer only to an Event of Default or Default of which the Trustee has notice as
      described in this Section 6.1.

               (e)      Whether or not therein expressly so provided, every provision of this Indenture
      relating to the conduct or affecting the liability of or affording protection to the Trustee shall be
      subject to this Section 6.1 and Section 6.3.

      Section 6.2.      Notice of Default.

                Promptly (and in no event later than five Business Days) after the occurrence of any Default
      known to the Trustee or after any declaration of acceleration has been made or delivered to the
      Trustee pursuant to Section 5.2, the Trustee shall transmit notice of all Defaults under this Indenture
      known to the Trustee, unless the Default has been cured or waived, and of the declaration by mail to
      the Servicer and the Co-Issuers, each Rating Agency, the Preference Shares Paying Agent (for
      forwarding to the Holders of Preference Shares) and to all Noteholders, as their names and addresses
      appear on the Indenture Register, the Irish Stock Exchange, for so long as any Class of Senior Notes
      is listed on the Irish Stock Exchange and so long as the rules of the exchange so require, and, upon
      written request therefor by a Beneficial Owner in the form of Exhibit H certifying that it is a
      Beneficial Owner, to the Beneficial Owner (or its designee).

      Section 6.3.      Certain Rights of Trustee.

               Except as otherwise provided in Section 6.1:

               (a)      the Trustee may rely and shall be protected in acting or refraining from acting on
      any resolution, certificate, statement, instrument, opinion, report, notice, request, direction, consent,
      order, note, or other paper or document (including but not limited to any reports prepared and
      delivered under Article 10) believed by it to be genuine and to have been signed or presented by the
      proper party or parties;

               (b)      any request or direction of the Issuer or the Co-Issuer mentioned in this Indenture
      shall be sufficiently evidenced by an Issuer Request or Issuer Order;

               (c)      whenever in the administration of this Indenture the Trustee

                        (i)      deems it desirable that a matter be proved or established before taking,
               suffering, or omitting any action under this Indenture, the Trustee may, in the absence of
               bad faith on its part, rely on an Officer's certificate (unless other evidence is specifically
               prescribed in this Indenture) or

                        (ii)      is required to determine the value of, or any other matter with respect to,
               any Collateral or funds under this Indenture or the cash flows projected to be received
               therefrom, the Trustee may, in the absence of bad faith on its part, rely on reports of
               nationally recognized accountants, investment bankers or other persons qualified to provide
               the information required to make the determination, including nationally recognized dealers
               in securities of the type being valued and securities quotation services;

               (d)      as a condition to taking or omitting to take any action under this Indenture, the
      Trustee may consult with counsel and the advice of the counsel or any Opinion of Counsel shall be
      full and complete authorization and protection with respect to any action taken or omitted by it under
      this Indenture in good faith and in reliance thereon;


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                (e)      the Trustee need not exercise any of the rights or powers vested in it by this
      Indenture at the request or direction of any of the Noteholders pursuant to this Indenture, unless the
      Holders have offered to the Trustee security or indemnity satisfactory to it against the costs and
      liabilities that might reasonably be incurred by it in compliance with the request or direction;

               (f)       the Trustee need not make any investigation into the facts or matters stated in any
      resolution, certificate, statement, instrument, opinion, report, notice, request, direction, consent,
      order, note or other paper or document, but the Trustee, in its discretion, may, and upon the written
      direction of a Majority of the Controlling Class, subject to Section 6.3(e), shall, make any the further
      inquiry or investigation into the facts or matters that it deems appropriate or as it is directed, and the
      Trustee shall be entitled, on reasonable prior notice to the Co-Issuers and the Servicer, to examine
      the books and records relating to the Notes, the Collateral, personally or by agent or attorney, during
      the Co-Issuers' or the Servicer's normal business hours. The Trustee shall, and shall cause its agents
      to, hold in confidence all such information, except to the extent (i) disclosure may be required by
      law by any regulatory or administrative authority and (ii) that the Trustee, in its sole judgment,
      determines that disclosure is consistent with its obligations under this Indenture; provided, however,
      that the Trustee may disclose on a confidential basis any such information to its agents, attorneys
      and auditors in connection with the performance of its responsibilities hereunder;

               (g)      the Trustee may execute any of the trusts or powers under this Indenture or perform
      any duties under this Indenture either directly or by or through agents or attorneys, and the Trustee
      shall not be responsible for any misconduct or negligence on the part of any non-Affiliated agent, or
      non-Affiliated attorney, appointed with due care by it under this Indenture;

                (h)     the Trustee shall not be liable for any action it takes or omits to take in good faith
      that it reasonably believes to be authorized or within its rights or powers under this Indenture;

               (i)      nothing in this Indenture shall be construed to impose an obligation on the Trustee
      to recalculate, evaluate, or verify any report, certificate or information received from the Issuer or
      Servicer;

               (j)       the Trustee may request and receive (and rely on) instruction from the Issuer, the
      Servicer, or the accountants identified in the Accountants' Certificate (and in the absence of its
      receipt of timely instruction from them, may obtain from an Independent accountant at the expense
      of the Issuer) as to the application of GAAP to the extent any defined term in this Indenture, or any
      calculation required to be made or determined by the Trustee under this Indenture, is dependent on
      or defined by reference to United States generally accepted accounting principles ("GAAP"), in any
      instance;

             (k)       the permissive rights of the Trustee to take or refrain from taking any actions
      enumerated in this Indenture are not duties;

               (l)      the Trustee is not responsible for the accuracy of the books and records of, or for
      any acts or omissions of, the Depository, any Transfer Agent, Custodian, Securities Intermediary,
      Collateral Administrator, Clearstream, Euroclear, Calculation Agent or any Paying Agent (in each
      case, other than the Bank acting in that capacity);

               (m)       in purchasing or disposing of any asset permitted by this Indenture, the Trustee is
      authorized to deal with itself (in its individual capacity) or with any one or more of its Affiliates,
      whether it or the Affiliate is acting as a subagent of the Trustee or for any third Person or dealing as
      principal for its own account. If otherwise qualified, obligations of the Bank or any of its Affiliates
      shall qualify as Eligible Investments under this Indenture; and

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               (n)     if the Bank is also acting in the capacity of Paying Agent, Transfer Agent,
      Custodian, Calculation Agent or Securities Intermediary under this Indenture, the rights protections,
      immunities, and indemnities afforded to the Trustee pursuant to this Article 6 shall also be afforded
      to the Bank acting in those capacities.

      Section 6.4.      Not Responsible for Recitals or Issuance of the Notes.

               The recitals contained in this Indenture and in the Notes, other than the Certificate of
      Authentication, shall be taken as the statements of the Applicable Issuers. The Trustee assumes no
      responsibility for their correctness. The Trustee makes no representation as to the validity or
      sufficiency of this Indenture (except as may be made with respect to the validity of the Trustee's
      obligations under this Indenture), the Collateral or the Notes. The Trustee shall not be accountable
      for the use or application by the Co-Issuers of the Notes or their proceeds or any money paid to the
      Co-Issuers pursuant to this Indenture.

      Section 6.5.      May Hold Notes.

               (a)       The Trustee, any Paying Agent, Indenture Registrar or any other agent of the Co-
      Issuers, in its individual or any other capacity, may become the owner or pledgee of Notes and may
      otherwise deal with the Co-Issuers or any of their Affiliates with the same rights it would have if it
      were not Trustee, Paying Agent, Indenture Registrar or other agent.

      Section 6.6.      Acquisition of Class D Notes and Preference Shares.

               The Trustee, in its individual or any other capacity, agrees that after the initial distribution
      of the Class D Notes and the Preference Shares, neither the Trustee nor any of its affiliates (as
      defined in the Plan Asset Regulation) will acquire any Class D Notes or Preference Shares
      (including pursuant to a Maturity Extension, a Refinancing and the Amendment Buy-Out Option)
      unless such acquisition would not, as determined by the Trustee in reliance on representations made
      in the applicable transfer certificates with respect thereto, result in persons that have represented that
      they are Benefit Plan Investors owning 25% or more of the aggregate outstanding amount of any of
      the Class D Notes, the Class I Preference Shares or the Class II Preference Shares immediately after
      such acquisition (determined in accordance with Section 3(42) of ERISA, this Indenture and the
      Preference Share Documents). Any Class D Notes or Preference Shares held as principal by the
      Trustee or any of its affiliates shall be disregarded and shall not be treated as outstanding for
      purposes of determining compliance with such 25% limitation to the extent that such person has
      represented that it is not a Benefit Plan Investor.

      Section 6.7.      Money Held in Trust.

                Money held by the Trustee under this Indenture shall be held in trust to the extent required
      in this Indenture. The Trustee shall be under no liability for interest on any money received by it
      under this Indenture except as otherwise agreed on with the Issuer and except to the extent of
      income or other gain on assets that are deposits in or certificates of deposit of the Bank in its
      commercial capacity and income or other gain actually received by the Trustee on Eligible
      Investments. Under no circumstances shall the Trustee be responsible for any losses on assets
      purchased in accordance with an Issuer Order or a written order or request by the Servicer, unless
      such asset is purchased in an obligation of the Trustee in its corporate capacity.

      Section 6.8.      Compensation and Reimbursement.

               (a)      The Issuer agrees:

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                       (i)     to pay the Trustee on each Payment Date reasonable compensation for all
              services rendered by it under this Indenture in accordance with its letter agreement with the
              Trustee (which compensation shall not be limited by any provision of law in regard to the
              compensation of a trustee of an express trust);

                        (ii)     except as otherwise expressly provided in this Indenture or in its letter
              agreement with the Trustee, to reimburse the Trustee in a timely manner upon its request for
              all reasonable expenses, disbursements and advances incurred or made by the Trustee in
              accordance with this Indenture (including securities transaction charges and the reasonable
              compensation and expenses and disbursements of its agents and legal counsel and of any
              accounting firm or investment banking firm employed by the Trustee pursuant to Section
              5.4, 5.5, 10.5 or 10.7, except any such expense, disbursement or advance attributable to its
              negligence, willful misconduct or bad faith) but with respect to securities transaction
              charges, only to the extent they have not been waived during a Due Period due to the
              Trustee's receipt of a payment from a financial institution with respect to certain Eligible
              Investments, as specified by the Servicer;

                       (iii)     to indemnify the Trustee and its officers, directors, employees and agents
              for any loss, liability or expense (including reasonable attorney's fees and costs) incurred
              without negligence, willful misconduct or bad faith on their part, arising out of or in
              connection with the acceptance or administration of this trust, including the costs and
              expenses of defending themselves against any claim or liability in connection with the
              exercise or performance of any of their powers or duties under this Indenture; and

                      (iv)     to pay the Trustee reasonable additional compensation together with its
              expenses (including reasonable counsel fees and costs) for any collection action taken
              pursuant to Section 6.14.

                (b)      The Trustee shall receive amounts pursuant to this Section 6.8 as provided in
      Sections 11.1(a)(i) and (ii) but only to the extent that funds are available for their payment. Subject
      to Section 6.10, the Trustee shall continue to serve as Trustee under this Indenture notwithstanding
      the fact that the Trustee has not received amounts due to it under this Indenture. No direction by the
      Noteholders shall affect the right of the Trustee to collect amounts owed to it under this Indenture.
      If on any date when a fee is payable to the Trustee pursuant to this Indenture insufficient funds are
      available for its payment any portion of a fee not so paid shall be deferred and payable on the next
      date on which a fee is payable and sufficient funds are available for it.

                (c)      The Trustee agrees not to cause the filing of a petition in bankruptcy for the non-
      payment to the Trustee of any amounts provided by this Section 6.8 until at least one year and one
      day, or if longer the applicable preference period then in effect plus one day, after the payment in
      full of all Notes issued under this Indenture and the payment to the Preference Shares Paying Agent
      of all amounts payable with respect to the Preference Shares in accordance with the Priority of
      Payments. Nothing in this Section 6.8(c) shall prohibit or otherwise prevent the Trustee from filing
      proofs of claim in any bankruptcy, insolvency or similar proceeding.

      Section 6.9.     Corporate Trustee Required; Eligibility.

               There shall at all times be a Trustee under this Indenture that is an Independent “bank”
      (within the meaning of the Investment Company Act) organized and doing business under the laws
      of the United States of America or of any state of the United States, authorized under those laws to
      exercise corporate trust powers, having a combined capital and surplus of at least U.S.$200,000,000,
      subject to supervision or examination by federal or state banking authority, having a rating of at least

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      "Baa1" (and not on credit watch with negative implications) by Moody's and at least "BBB+" by
      S&P, and having an office within the United States. In addition, the Trustee shall not be “affiliated”
      (within the meaning of Rule 405 under the Securities Act) with either of the Co-Issuers or any
      person involved in the organization or operation of either of the Co-Issuers and shall not provide
      credit or credit enhancement to either of the Co-Issuers. If the Trustee publishes reports of condition
      at least annually, pursuant to law or to the requirements of its supervising or examining authority,
      then for the purposes of this Section 6.9, the combined capital and surplus of the Trustee shall be its
      combined capital and surplus in its most recent published report of condition. If at any time the
      Trustee ceases to be eligible in accordance with this Section 6.9, it shall resign immediately in the
      manner and with the effect specified in Section 6.10.

      Section 6.10.    Resignation and Removal; Appointment of Successor.

               (a)     No resignation or removal of the Trustee and no appointment of a successor
      Trustee pursuant to this Article 6 shall become effective until the acceptance of appointment by the
      successor Trustee under Section 6.11. The indemnification in favor of the Trustee shall survive any
      resignation or removal of the Trustee.

               (b)      The Trustee may resign at any time by giving not less than 30 days written notice
      to the Co-Issuers, the Servicer, the Noteholders, the Preference Shares Paying Agent (for forwarding
      to the Holders of Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to
      the Holders of Holding Securities) and each Rating Agency. Upon receiving the notice of
      resignation, the Co-Issuers shall by Board Resolution (or, if an Event of Default shall have occurred
      and be continuing, at the direction of a Majority of the Controlling Class) promptly appoint a
      successor trustee satisfying the requirements of Section 6.9, by written instrument, in duplicate,
      executed by an Authorized Officer of the Issuer and an Authorized Officer of the Co-Issuer, one
      copy of which shall be delivered to the resigning Trustee and one copy to the successor Trustee,
      together with a copy to each Noteholder, the Preference Shares Paying Agent (for forwarding to the
      Holders of Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to the
      Holders of Holding Securities) and the Servicer. If no successor Trustee has been appointed and an
      instrument of acceptance by a successor Trustee has not been delivered to the Trustee within 60 days
      after the giving of the notice of resignation, the resigning Trustee or any Noteholder, on behalf of
      himself and all others similarly situated, may petition any court of competent jurisdiction for the
      appointment of a successor Trustee satisfying the requirements of Section 6.9.

               (c)      The Trustee may be removed (i) at any time by the Co-Issuers as directed by Board
      Resolution (or, if an Event of Default shall have occurred and be continuing, by an Act of a Majority
      of the Controlling Class) or (ii) by order of a court of competent jurisdiction, delivered to the Trustee
      and to the Co-Issuers.

              (d)      If at any time:

                       (i)     the Trustee ceases to be eligible under Section 6.9 and fails to resign after
              written request by the Co-Issuers or a Majority of the Controlling Class; or

                        (ii)    the Trustee becomes incapable of acting or is adjudged bankrupt or
              insolvent or a receiver or liquidator of the Trustee or of its property appointed or any public
              officer takes charge or control of the Trustee or of its property or affairs for the purpose of
              rehabilitation, conservation or liquidation,

      then, in any such case (subject to Section 6.10(a)), (A) the Co-Issuers, by Issuer Order (as directed
      by Board Resolution), may, and at the direction of a Majority of the Controlling Class shall, remove

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      the Trustee or (B) subject to Section 5.15, or any Holder may, on behalf of itself and all others
      similarly situated, petition any court of competent jurisdiction for the removal of the Trustee and the
      appointment of a successor Trustee.

                (e)     If the Trustee is removed or becomes incapable of acting, or if a vacancy occurs in
      the office of the Trustee for any reason (other than resignation), the Co-Issuers, by Issuer Order (as
      directed by Board Resolution) or at the direction of a Majority of the Controlling Class, shall
      promptly appoint a successor Trustee. If the Co-Issuers fail to appoint a successor Trustee within 60
      days after the removal or incapability or the occurrence of the vacancy, a successor Trustee may be
      appointed by a Majority of the Controlling Class by written instrument delivered to the Issuer and
      the retiring Trustee. The successor Trustee so appointed shall, upon its acceptance of its
      appointment, become the successor Trustee and supersede any successor Trustee proposed by the
      Co-Issuers. If no successor Trustee has been so appointed by the Co-Issuers or a Majority of the
      Controlling Class and accepted appointment pursuant to Section 6.11, subject to Section 5.15, then
      the Trustee to be replaced, or any Holder, may, on behalf of himself and all others similarly situated,
      petition any court of competent jurisdiction for the appointment of a successor Trustee.

                (f)      The Co-Issuers shall give prompt notice of each resignation and each removal of
      the Trustee and each appointment of a successor Trustee by mailing written notice of the event by
      first-class mail, postage prepaid, to the Servicer, to each Rating Agency, to the Noteholders as their
      names and addresses appear in the Indenture Register, to the Preference Shares Paying Agent (for
      forwarding to the Holders of Preference Shares) and to the Holding Preference Shares Paying Agent
      (for forwarding to the Holders of Holding Securities). Each notice shall include the name of the
      successor Trustee and the address of its Corporate Trust Office. If the Co-Issuers fail to mail the
      notice within 10 days after acceptance of appointment by the successor Trustee, the successor
      Trustee shall cause the notice to be given at the expense of the Co-Issuers.

      Section 6.11.    Acceptance of Appointment by Successor.

                Every successor Trustee appointed under this Indenture shall execute, acknowledge, and
      deliver to the Co-Issuers and the retiring Trustee an instrument accepting its appointment. Upon
      delivery of the required instruments, the resignation or removal of the retiring Trustee shall become
      effective and the successor Trustee, without any further act, shall become vested with all the rights
      and obligations of the retiring Trustee; but, on request of the Co-Issuers or a Majority of any Class
      of Notes or the successor Trustee, the retiring Trustee shall, upon payment of any amounts then due
      to it, execute and deliver an instrument transferring to the successor Trustee all the rights and
      obligations of the retiring Trustee, and shall duly assign, transfer and deliver to the successor Trustee
      all property and money held by the retiring Trustee under this Indenture. Upon request of any
      successor Trustee, the Co-Issuers shall execute any instruments to more fully and certainly vest in
      and confirm to the successor Trustee all the rights and obligations of the Trustee under this
      Indenture.

               No successor Trustee shall accept its appointment unless at the time of its acceptance the
      successor is qualified and eligible under Section 6.9 and either (a) each Rating Agency has been
      notified and the successor has long-term debt rated within the four highest rating categories by each
      Rating Agency, or (b) if not rated within the four highest categories by each Rating Agency, the
      Rating Condition with respect to each Rating Agency is satisfied with respect thereto.

      Section 6.12.    Merger, Conversion, Consolidation, or Succession to Business of Trustee.

              Any entity into which the Trustee may be merged or converted or with which it may be
      consolidated, or any entity resulting from any merger, conversion or consolidation to which the

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      Trustee is a party, or any entity succeeding to all or substantially all of the corporate trust business of
      the Trustee, shall be the successor of the Trustee under this Indenture (and of the Bank under all of
      its other capacities under this Indenture, including as Custodian, Securities Intermediary, Indenture
      Registrar and Paying Agent) without the execution or filing of any paper or any further act on the
      part of any of the parties hereto. If any of the Notes have been authenticated, but not delivered, by
      the Trustee then in office, any successor by merger, conversion or consolidation to the authenticating
      Trustee may adopt the authentication and deliver the Notes so authenticated with the same effect as
      if the successor Trustee had itself authenticated the Notes.

      Section 6.13.     Co-Trustees.

               At any time, to meet the legal requirements of any jurisdiction in which any part of the
      Collateral may at the time be located, the Co-Issuers and the Trustee may appoint a co-trustee
      (subject to the approval of the Rating Agencies) to act jointly with the Trustee, with respect to all or
      any part of the Collateral, with the power to file proofs of claim and take any other actions pursuant
      to Section 5.6 in this Indenture and to make claims and enforce rights of action on behalf of the
      Noteholders, as the Holders themselves have the right to do, subject to the other provisions of this
      Section 6.13.

               The Co-Issuers shall join with the Trustee in the execution, delivery and performance of all
      instruments and agreements necessary or proper to appoint a co-trustee. If the Co-Issuers do not join
      in the appointment within 15 days after they receive a request to do so, the Trustee may make the
      appointment.

               Any instruments to more fully confirm a co-trustee's appointment shall, on request, be
      executed, acknowledged and delivered by the Co-Issuers. The Co-Issuers agree to pay (but only
      from and to the extent of the Collateral), to the extent funds are available therefor under Section
      11.1(a)(i)(1), any reasonable fees and expenses in connection with the appointment.

               Every co-trustee shall, to the extent permitted by law, but to that extent only, be appointed
      subject to the following terms:

               (a)      the Notes shall be authenticated and delivered and all rights and obligations under
      this Indenture in respect of the custody of securities, cash and other personal property held by, or
      required to be deposited or pledged with, the Trustee under this Indenture, shall be exercised solely
      by the Trustee;

               (b)     the rights and obligations conferred or imposed on the Trustee in respect of any
      property covered by the appointment of a co-trustee shall be conferred or imposed on and exercised
      or performed by the Trustee or by the Trustee and the co-trustee jointly as provided in the instrument
      appointing the co-trustee;

              (c)       the Trustee at any time, by an instrument in writing executed by it, with the
      concurrence of the Co-Issuers evidenced by an Issuer Order, may accept the resignation of or
      remove any co-trustee appointed under this Section 6.13, and if an Event of Default is continuing,
      the Trustee shall have the power to accept the resignation of, or remove, any co-trustee without the
      concurrence of the Co-Issuers. A successor to any co-trustee so resigned or removed may be
      appointed in the manner provided in this Section 6.13;

              (d)      no co-trustee under this Indenture shall be personally liable because of any act or
      omission of the Trustee under this Indenture;


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              (e)      the Trustee shall not be liable because of any act or omission of a co-trustee; and

              (f)      any Act of Noteholders delivered to the Trustee shall be deemed to have been
      delivered to each co-trustee.

      Section 6.14.    Certain Duties of Trustee Related to Delayed Payment of Proceeds.

              If in any month the Trustee has not received a payment with respect to any Pledged
      Obligation on its Due Date:

              (a)      the Trustee shall promptly notify the Issuer and the Servicer in writing, and

               (b)      unless the payment is received by the Trustee within three Business Days (or the
      end of the applicable grace period for the payment, if longer) after the notice, or unless the Issuer, in
      its absolute discretion (but only to the extent permitted by Section 10.2(a)), makes provision for the
      payment satisfactory to the Trustee in accordance with Section 10.2(a),

      the Trustee shall request the issuer of the Pledged Obligation, the trustee under the related
      Underlying Instrument, or paying agent designated by either of them to make the payment as soon as
      practicable after the request but in no event later than three Business Days after the date of the
      request. If the payment is not made within that time period, the Trustee, subject to clause (iv) of
      Section 6.1(c), shall take the action directed by the Servicer in writing. Any such action shall be
      without prejudice to any right to claim a Default or Event of Default under this Indenture. If the
      Issuer or the Servicer requests a release of a Pledged Obligation or delivers a Collateral Obligation
      in connection with any such action under the Servicing Agreement, the release or substitution shall
      be subject to Section 10.6 and Article 12. Notwithstanding any other provision of this Indenture, the
      Trustee shall deliver to the Issuer or its designee any payment with respect to any Pledged
      Obligation or any Collateral Obligation received after its Due Date to the extent the Issuer
      previously made provisions for the payment satisfactory to the Trustee in accordance with this
      Section 6.14 and the payment shall not be part of the Collateral.

      Section 6.15.    Authenticating Agents.

                Upon the request of the Co-Issuers, the Trustee shall, and if the Trustee so chooses the
      Trustee may, appoint one or more Authenticating Agents with power to act on its behalf and subject
      to its direction in the authentication of the Notes in connection with issuance, transfers, and
      exchanges under Sections 2.4, 2.5, 2.6, 2.7, and 8.5, as fully to all intents and purposes as though
      each Authenticating Agent had been expressly authorized by those Sections to authenticate the
      Notes. For all purposes of this Indenture, the authentication of Notes by an Authenticating Agent
      pursuant to this Section 6.15 shall be the authentication of the Notes "by the Trustee."

              Any Authenticating Agent may at any time resign by giving written notice of resignation to
      the Trustee and the Issuer. The Trustee may at any time terminate the agency of any Authenticating
      Agent by giving written notice of termination to the Authenticating Agent and the Co-Issuers.

              The Co-Issuers agree to pay to each Authenticating Agent from time to time reasonable
      compensation for its services, and reimbursement for its reasonable expenses relating to its services
      as an Administrative Expense; provided, however, that if the Trustee elects to appoint an
      Authenticating Agent without the approval or request of the Co-Issuers, then the Trustee shall pay
      such compensation and reimbursement. Sections 2.9, 6.4, and 6.5 shall be applicable to any
      Authenticating Agent.


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      Section 6.16.    Fiduciary for Noteholders Only; Agent for Secured Parties.

               With respect to the security interest created under this Indenture, the delivery of any
      Pledged Obligation to the Trustee is to the Trustee as representative of the Noteholders and agent for
      the other Secured Parties. In furtherance of the foregoing, the possession by the Trustee of any
      Pledged Obligation and the endorsement to or registration in the name of the Trustee of any Pledged
      Obligation (including as entitlement holder of the Custodial Account) are all undertaken by the
      Trustee in its capacity as representative of the Noteholders and agent for the other Secured Parties.

      Section 6.17.    Representations and Warranties of the Bank.

              The Bank represents and warrants as follows for the benefit of the Noteholders:

               (a)     Organization. The Bank has been duly organized and is validly existing as a
      national banking association and has the power to conduct its business and affairs as a trustee.

               (b)      Authorization; Binding Obligations. The Bank has the corporate power and
      authority to perform the duties and obligations of trustee under this Indenture. The Bank has taken
      all necessary corporate action to authorize the execution, delivery and performance of this Indenture,
      and all of the documents required to be executed by the Bank pursuant to this Indenture. Upon
      execution and delivery by the Bank, this Indenture will be the valid and legally binding obligation of
      the Bank enforceable in accordance with its terms.

              (c)      Eligibility. The Bank is eligible under Section 6.9 to serve as Trustee under this
      Indenture.

      Section 6.18.    Additional Reporting Requirements.

              If the Initial Purchaser elects to enter into a posting dealer agreement pursuant to Section
      7.20, upon the effectiveness of the posting dealer agreement, the Issuer shall provide to The Bond
      Market Association certain documents for posting in the Repository as mutually agreed between the
      Servicer and the Initial Purchaser.

               If the Initial Purchaser has entered into a posting dealer agreement, as promptly as possible
      following the execution of any supplemental indenture under Article 8, the Trustee at the expense of
      the Issuer shall deliver a copy of such supplemental indenture to the Repository in the manner
      described in Section 14.3(a)(ix).

      Section 6.19.    Withholding Tax Forms.

               The Issuer hereby agrees to deliver or cause to be delivered, a United States Internal
      Revenue Service Form W-8BEN (or successor form thereto) or any other appropriate tax certificates
      to the relevant issuer of its Collateral Obligations and issuer of its Eligible Investments at the time
      such Collateral Obligations or Eligible Investments are purchased by the Issuer and thereafter as
      required under the relevant law. In addition, the Issuer hereby agrees to deliver, and the Issuer shall
      be required to deliver, United States Internal Revenue Service Forms W-8BEN (or successor form
      thereto) and other appropriate United States tax forms as may be required by the Hedge
      Counterparty, to the Hedge Counterparty at the time the Hedge Agreement is entered into and
      thereafter prior to the expiration or obsolescence of such form, and shall take any other action
      appropriate to prevent withholding or backup withholding tax on the Hedge Agreements. The Issuer
      shall represent, to the Hedge Counterparty in the master agreement, confirmation or schedule to the
      Hedge Agreement, that the Issuer is a “non-U.S. branch” of a foreign person as that term is used in

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      section 1.1441-4(a)(3)(ii) of the United States Treasury Regulations and a “foreign person” as that
      term is used in Section 1.6041-4(a)(4) of the United States Treasury Regulations. The Issuer will
      request that the Hedge Counterparty provide the Issuer a United States Internal Revenue Service
      Forms W-9 or W-8, as applicable, together with any required attachments, at the time the Hedge
      Agreement is entered into and thereafter prior to the expiration or obsolescence of such form.




                                                 ARTICLE 7

                                                 COVENANTS

      Section 7.1.     Payment of Principal and Interest.

               The Applicable Issuers shall pay the principal of and interest on the Notes in accordance
      with the Notes and this Indenture.

              The Issuer shall, subject to the Priority of Payments, reimburse the Co-Issuer for any
      amounts paid by the Co-Issuer pursuant to the Senior Notes or this Indenture. The Co-Issuer shall
      not reimburse the Issuer for any amounts paid by the Issuer pursuant to the Notes or this Indenture.

              Amounts properly withheld under the Code or other applicable law by any Person from a
      payment to any Holder shall be considered as having been paid by the Applicable Issuers to the
      Holder for all purposes of this Indenture.

      Section 7.2.     Maintenance of Office or Agency.

               The Co-Issuers appoint the Trustee as a Paying Agent for the payment of principal of and
      interest on the Notes. The Co-Issuers appoint Investors Bank & Trust Company, 200 Clarendon
      Street, Mailcode EUC 108, Boston, MA 02116, Attn: CDO Services Group, as the Co-Issuers' agent
      where notices and demands on the Co-Issuers in respect of the Notes or this Indenture may be served
      and where the Notes may be surrendered for registration of transfer or exchange.

              The Co-Issuers may at any time and from time to time vary or terminate the appointment of
      any Paying Agent or appoint any additional agents for all of these purposes.

               The Co-Issuers shall maintain in the Borough of Manhattan, The City of New York, an
      office or agency where notices and demands on the Co-Issuers in respect of the Notes and this
      Indenture may be served, which office will initially be the office of Investors Bank & Trust
      Company, an Affiliate of the Trustee, located at 33 Maiden Lane, 4th Floor, New York, NY 10038,
      and an office or agency outside of the United States where the Notes may be presented and
      surrendered for payment.

              No paying agent shall be appointed in a jurisdiction that subjects payments on the Notes to
      withholding tax.

              So long as any Class of Senior Notes is listed on the Irish Stock Exchange and the rules of
      the exchange so require, the Co-Issuers shall maintain in Ireland a Paying Agent and an office or
      agency where notices and demands on the Co-Issuers in respect of the Senior Notes and this
      Indenture may be served and where the Senior Notes may be surrendered for registration of transfer
      or exchange.

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               The Co-Issuers appoint, for so long as any Class of Senior Notes is listed on the Irish Stock
      Exchange, AIB International Financial Services Ltd. (the "Irish Paying Agent") as Paying Agent in
      Ireland with respect to the Senior Notes, for the payment of principal, interest and other distributions
      on the Senior Notes and as the Co-Issuers' agent where notices and demands on the Co-Issuers in
      respect of the Senior Notes or this Indenture may be served. If the Irish Paying Agent is replaced at
      any time when any Class of Senior Notes is listed on the Irish Stock Exchange, notice of the
      appointment of any replacement shall be given to the Company Announcements Office of the Irish
      Stock Exchange as promptly as practicable after the appointment. The Co-Issuers shall give prompt
      written notice to the Trustee, each Rating Agency, the Preference Shares Paying Agent (for
      forwarding to the Holders of Preference Shares) and the Holders of the Senior Notes of the
      appointment or termination of any such agent and of the location and any change in the location of
      any such office or agency.

               If at any time the Co-Issuers fail to maintain any required office or agency in the Borough
      of Manhattan, The City of New York, or outside the United States, or fail to furnish the Trustee with
      their addresses, notices and demands may be served on the Co-Issuers.

      Section 7.3.     Money for Note Payments to be Held in Trust.

              All payments of amounts payable with respect to any Notes that are to be made from
      amounts withdrawn from the Payment Account shall be made on behalf of the Applicable Issuers by
      the Trustee or a Paying Agent with respect to payments on the Notes.

              When the Applicable Issuers have a Paying Agent that is not also the Indenture Registrar,
      they shall furnish not later than the fifth calendar day after each Record Date a list in the form the
      Paying Agent reasonably requests, of the names and addresses of the Holders and of the certificate
      numbers of individual Notes held by each Holder.

               Whenever the Applicable Issuers have a Paying Agent other than the Trustee, they shall, on
      or before the Business Day before each Payment Date or Redemption Date direct the Trustee to
      deposit on the Payment Date with the Paying Agent an aggregate sum sufficient to pay the amounts
      then becoming due (to the extent funds are then available for that purpose in the Payment Account),
      that sum to be held in trust for the benefit of the Persons entitled to it and (unless the Paying Agent
      is the Trustee) the Co-Issuers shall promptly notify the Trustee of its action or failure so to act. Any
      monies deposited with a Paying Agent (other than the Trustee) in excess of an amount sufficient to
      pay the amounts then becoming due on the Notes with respect to which the deposit was made shall
      be paid over by the Paying Agent to the Trustee for application in accordance with Article 10.

                Additional or successor Paying Agents shall be appointed by Issuer Order with written
      notice of the appointment to the Trustee. So long as Notes of any Class are rated by a Rating
      Agency any Paying Agent must either have a long-term debt rating of "Aa3" (and not on credit
      watch with negative implications) or higher by Moody's and "AA-" or higher by S&P or a short-term
      debt rating of "P-1" (and not on credit watch for possible downgrade) by Moody's and "A-1+" by
      S&P or the Rating Condition with respect to each Rating Agency must be satisfied with respect to its
      appointment. If a successor Paying Agent ceases to have a long-term debt rating of "Aa3" (and not
      on credit watch with negative implications) or higher by Moody's and "AA-" or higher by S&P or a
      short-term debt rating of "P-1" (and not on credit watch for possible downgrade) by Moody's and a
      short-term debt rating of "A-1+" by S&P, the Co-Issuers shall promptly remove the Paying Agent
      and appoint a successor Paying Agent. The Co-Issuers shall not appoint any Paying Agent that is
      not, at the time of the appointment, a depository institution or trust company subject to supervision
      and examination by federal or state or national banking authorities. The Co-Issuers shall cause each


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      Paying Agent other than the Trustee to execute and deliver to the Trustee an instrument in which the
      Paying Agent agrees with the Trustee, subject to this Section 7.3, that the Paying Agent will:

                      (i)      allocate all sums received for payment to the Noteholders for which it acts
              as Paying Agent on each Payment Date and any Redemption Date among the Holders in the
              proportion specified in the applicable report to the extent permitted by applicable law;

                      (ii)      hold all sums held by it for the payment of amounts due with respect to the
              Notes in trust for the benefit of the Persons entitled to them until they are paid or otherwise
              disposed of as provided in this Indenture;

                      (iii)    immediately resign as a Paying Agent and forthwith pay to the Trustee all
              sums held by it in trust for the payment of the Notes if at any time it ceases to meet the
              standards required to be met by a Paying Agent at the time of its appointment;

                       (iv)     immediately give the Trustee notice of any default by the Issuer or the Co-
              Issuer (or any other obligor on the Notes) in the making of any payment required to be
              made; and

                       (v)     during the continuance of any such default, upon the written request of the
              Trustee, forthwith pay to the Trustee all sums so held in trust by the Paying Agent.

               To obtain the satisfaction and discharge of this Indenture or for any other purpose, the Co-
      Issuers may at any time pay, or by Issuer Order direct any Paying Agent to pay, to the Trustee all
      sums held in trust by the Co-Issuers or the Paying Agent, and, upon the payment by any Paying
      Agent to the Trustee, the Paying Agent shall be released from all further liability with respect to the
      money paid.

               Any money deposited with a Paying Agent and not previously returned that remains
      unclaimed for 20 Business Days shall be returned to the Trustee. Except as otherwise required by
      applicable law, any money deposited with the Trustee or any Paying Agent in trust for the payment
      of the principal of or interest on any Note and remaining unclaimed for two years after the principal
      or interest has become payable shall be paid to the Applicable Issuers. The Noteholder shall
      thereafter look only to the Applicable Issuers for payment of the amounts due to it as an unsecured
      general creditor and all liability of the Trustee or the Paying Agent with respect to that money (but
      only to the extent of the amounts so paid to the Applicable Issuers) shall thereupon cease. The
      Trustee or the Paying Agent, before being required to release any payment, may, but shall not be
      required to, adopt and employ, at the expense of the Applicable Issuers any reasonable means of
      notification of the release of the payment, including mailing notice of the release to Holders whose
      Notes have been called but have not been surrendered for redemption or whose right to or interest in
      monies payable but not claimed is determinable from the records of any Paying Agent, at the last
      address of record of each Holder.

      Section 7.4.     Existence of Co-Issuers.

              (a)        The Issuer and the Co-Issuer shall maintain in full force their existence and rights
      as companies incorporated or organized under the laws of the Cayman Islands and the State of
      Delaware, respectively, and shall obtain and preserve their qualification to do business as foreign
      corporations in each jurisdiction in which the qualifications are necessary to protect the validity and
      enforceability of this Indenture, the Notes, the Preference Shares Paying Agency Agreement and any
      of the Collateral.


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               However, the Issuer may change its jurisdiction of incorporation from the Cayman Islands
      to any other jurisdiction reasonably selected by the Issuer so long as:

               (A)      the Issuer has received a legal opinion (on which the Trustee may rely) to the effect
      that the change is not disadvantageous in any material respect to the Holders, the Servicer or any
      Hedge Counterparty,

               (B)     written notice of the change has been given by the Issuer to the Trustee, the
      Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
      Shares), the Servicer, any Hedge Counterparty and each Rating Agency, and

               (C)     on or before the 15th Business Day following its receipt of the notice the Trustee
      has not received written notice from a Majority of the Controlling Class objecting to the change.

               The Issuer may take any action required by this Indenture within the United States
      notwithstanding any provision of this Indenture requiring the Issuer to take the action outside of the
      United States so long as before taking the action the Issuer receives a Tax Opinion of Counsel to the
      effect that it is not necessary to take the action outside of the United States or any political
      subdivision of the United States to prevent the Issuer from becoming subject to any United States
      federal, state, or local withholding or other taxes.

               (b)      The Issuer and the Co-Issuer shall ensure that all corporate or other formalities
      regarding their respective existences (including holding regular board of directors' and shareholders',
      or other similar, meetings to the extent required by applicable law) are followed. Neither the Issuer
      nor the Co-Issuer shall take any action or conduct its affairs in a manner that is likely to result in its
      separate existence being ignored or in its assets and liabilities being substantively consolidated with
      any other Person in a bankruptcy, reorganization or other insolvency proceeding. Without limiting
      the foregoing,

                        (i)      the Issuer shall not have any subsidiaries,

                        (ii)     the Co-Issuer shall not have any subsidiaries,

                      (iii)     the Issuer shall maintain at all times at least one director who is
               Independent of the Servicer, the Trustee and any of their respective Affiliates,

                       (iv)     the Issuer shall not commingle its funds with the funds of any other
               Person, except as expressly permitted by this Indenture, and

                       (v)      except to the extent contemplated in the Servicing Agreement, the
               Administration Agreement, the Preference Shares Paying Agency Agreement, the Investors
               Corp. Subscription Agreement and the declaration of trust by the Share Trustee, the Issuer
               and the Co-Issuer shall not:

                                 (A)      engage in any transaction with any shareholder that would be a
                        conflict of interest (the entry into the Administration Agreement with the
                        Administrator shall not be deemed a conflict of interest), or

                                (B)      pay dividends in violation of this Indenture, the resolutions of its
                        board of directors and the Preference Share Documents.



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      Section 7.5.     Protection of Collateral.

               (a)       The Servicer on behalf of the Issuer will procure any action within the Servicer's
      control that is reasonably necessary to maintain the perfection and priority of the security interest of
      the Trustee in the Collateral. The Issuer from time to time shall execute and deliver any
      supplements and amendments to this Indenture and shall execute and deliver any Financing
      Statements, continuation statements, instruments of further assurance, and other instruments and
      shall take any other action appropriate to secure the rights and remedies of the Secured Parties under
      this Indenture and to:

                       (i)      Grant more effectively all or any portion of the Collateral;

                      (ii)     maintain or preserve the lien (and its priority) of this Indenture or to carry
              out more effectively the purposes of this Indenture;

                      (iii)    perfect, publish notice of, or protect the validity of, any Grant made by this
              Indenture (including any actions appropriate as a result of changes in law);

                      (iv)     enforce any of the Pledged Obligations or other instruments or property
              included in the Collateral;

                       (v)      preserve and defend title to the Collateral and the rights of the Secured
              Parties in the Collateral against the claims of anyone; and

                       (vi)     pay when due all taxes levied or assessed on any part of the Collateral.

              The Issuer designates the Servicer as its agent and attorney in fact to execute any Financing
      Statement, continuation statement, and all other instruments, and take all other actions, required
      pursuant to this Section 7.5.

               The Issuer authorizes the filing without the Issuer's signature a financing statement that
      names the Issuer as "debtor" and Investors Bank & Trust Company as "secured party" (with or
      without indicating its capacity as Trustee hereunder) and that describes the Collateral as "all assets
      of the debtor, whether now owned or hereafter acquired and wherever located."

              (b)      The Trustee shall not:

                       (i)      except in accordance with Section 10.6(a), (b) or (c), remove any portion
              of the Collateral that consists of Cash or is evidenced by an instrument, certificate or other
              writing:

                                 (A)     from the jurisdiction in which it was held at the date the most
                       recent Opinion of Counsel was delivered pursuant to Section 7.6 (or from the
                       jurisdiction in which it was held as described in the Opinions of Counsel delivered
                       at the Closing Date pursuant to Section 3.1(a)(iii) if no Opinion of Counsel has yet
                       been delivered pursuant to Section 7.6), or

                               (B)       from the possession of the Person who held it (other than the
                       Bank), or




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                       (ii)     cause or permit ownership or the pledge of any portion of the Collateral
              that consists of book-entry securities to be recorded on the books of a Person (other than the
              Bank):

                               (A)      located in a different jurisdiction from the jurisdiction in which
                       the ownership or pledge was recorded, or

                                (B)      other than the Person on whose books the ownership or pledge
                       was originally recorded, unless the Trustee shall have first received an Opinion of
                       Counsel to the effect that the lien and security interest created by this Indenture
                       with respect to the property and its priority will continue to be maintained after
                       giving effect to the change.

               (c)      Without at least 30 days' prior written notice to the Trustee and the Servicer, the
      Issuer shall not change its "location" (as defined in Section 9-307 of the UCC) or change its name
      from the name shown on the signature pages of this Indenture.

               (d)    The Issuer shall, subject to the Priority of Payments, enforce all of its material
      rights and remedies under the Servicing Agreement, the Collateral Administration Agreement, the
      Preference Shares Paying Agency Agreement, each Hedge Agreement and each Securities Lending
      Agreement.

               (e)     The Issuer shall pay any taxes levied because any Pledged Obligations are owned
      by the Issuer.

               (f)      The Servicer on behalf of the Issuer will either exercise the "put" option that
      prevents a Collateral Obligation from being a Long-Dated Collateral Obligation on the last available
      date before the Stated Maturity of the Notes or sell the Collateral Obligation for Sale Proceeds at
      least equal to the Principal Balance of the Collateral Obligation, in either case by the Stated Maturity
      of the Notes.

      Section 7.6.     Opinions as to Collateral.

               On or before April 1 in each calendar year, commencing in 2008, the Issuer shall furnish to
      the Trustee and each of the Rating Agencies, an Opinion of Counsel stating that in the opinion of
      such counsel as of the date of such opinion under the District of Columbia Uniform Commercial
      Code, the UCC financing statement(s) filed in connection with the lien and security interests created
      by this Indenture shall remain effective and no additional financing statements, continuation
      statements or amendments with respect to such financing statement(s) shall be required to be filed in
      the District of Columbia from the date thereof through the next twelve months to maintain the
      perfection of the security interest of this Indenture under the District of Columbia Uniform
      Commercial Code.

      Section 7.7.     Performance of Obligations.

              (a)      The Co-Issuers, each as to itself, shall not take any action, and shall use their
      reasonable commercial efforts not to permit any action to be taken by others, that would release any
      Person from any of the Person's covenants or obligations under any instrument included in the
      Collateral, except in the case of enforcement action taken with respect to any Defaulted Collateral
      Obligation in accordance with this Indenture and actions by the Servicer under the Servicing
      Agreement and in conformity with this Indenture or as otherwise required by this Indenture.


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               (b)     The Applicable Issuers may, with the prior written consent of a Majority of each
      Class of Notes and a Majority of the Preference Shares (except in the case of the Servicing
      Agreement and the Collateral Administration Agreement as initially executed), contract with other
      Persons (including the Servicer, the Trustee and the Collateral Administrator) for the performance of
      actions and obligations to be performed by the Applicable Issuers under this Indenture.
      Notwithstanding any such arrangement, the Applicable Issuers shall remain primarily liable for
      performance under this Indenture. The Applicable Issuers shall punctually perform, and use their
      reasonable commercial efforts to cause the Servicer, the Trustee, the Collateral Administrator, the
      Preference Shares Paying Agent and any other Person to perform, all of their obligations in the
      Servicing Agreement, this Indenture, the Collateral Administration Agreement, the Preference
      Shares Paying Agency Agreement or any other agreement.

      Section 7.8.      Negative Covenants.

               (a)       The Issuer shall not and, with respect to clauses (ii), (iii), (iv), (vi) and (ix), the Co-
      Issuer shall not, in each case from and after the Closing Date:

                       (i)      sell, transfer, assign, exchange, or otherwise dispose of, or pledge,
               mortgage, hypothecate, or otherwise encumber (or permit or suffer the sale, transfer,
               assignment, exchange, or other disposition of, or pledge, mortgage, hypothecation, or other
               encumbering of), any part of the Collateral, except as expressly permitted by this Indenture
               and the Servicing Agreement;

                         (ii)    claim any credit on, make any deduction from, or, to the fullest extent
               permitted by applicable laws, dispute the enforceability of payment of the principal or
               interest (or any other amount) payable in respect of the Notes (other than amounts withheld
               in accordance with the Code or any applicable laws of the Cayman Islands) or assert any
               claim against any present or future Noteholder because of the payment of any taxes levied
               or assessed on any part of the Collateral;

                        (iii)    (A) incur or assume or guarantee any indebtedness, other than the Notes
               and this Indenture and the transactions contemplated by this Indenture (including a
               Refinancing in accordance with Section 9.7 and including, as contemplated hereby, entering
               into the Hedge Agreements and Securities Lending Agreements) or (B) issue any additional
               class of securities other than the Preference Shares issued on or before the Closing Date,
               except as otherwise permitted by the Preference Share Documents;

                         (iv)    (A) permit the validity or effectiveness of this Indenture or any Grant
               under this Indenture to be impaired, or permit the lien of this Indenture to be amended,
               hypothecated, subordinated, terminated, or discharged or permit any Person to be released
               from any covenants or obligations with respect to this Indenture or the Notes, except as may
               be expressly permitted by this Indenture or by the Servicing Agreement, (B) permit any
               lien, charge, adverse claim, security interest, mortgage or other encumbrance (other than the
               lien of this Indenture) to be created on or extend to or otherwise arise on or burden any part
               of the Collateral, any interest in it, or its proceeds of or (C) take any action that would
               permit the lien of this Indenture not to be a valid first priority perfected security interest in
               the Collateral;

                        (v)     amend the Servicing Agreement except pursuant to its terms and Section
               15.1(h) or amend the Collateral Administration Agreement except pursuant to its terms
               unless the Rating Condition with respect to each Rating Agency is satisfied with respect to
               the amendment or enter into any waiver in respect of any of the foregoing agreements

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               without providing written notice to each Rating Agency and the Trustee (and, with respect
               to the Collateral Administration Agreement, without the consent of the Trustee);

                         (vi)    to the extent permitted by applicable law, dissolve or liquidate in whole or
               in part, except as permitted under this Indenture;

                        (vii)  pay any dividends or other distributions other than in accordance with the
               Priority of Payments and the Preference Share Documents;

                        (viii)   conduct business under any name other than its own;

                      (ix)    have any employees (other than directors and officers to the extent they are
               employees); or

                       (x)      except for any Underlying Instrument and agreements involving the
               purchase or sale of Collateral Obligations having customary purchase or sale terms and
               documented with customary trading documentation (but not excepting any Synthetic
               Security or Hedge Agreement), enter into any agreement unless the agreement contains
               "non-petition" and "limited recourse" provisions and shall not amend such "non-petition"
               and "limited recourse" provisions without prior Rating Confirmation.

               (b)       Neither the Issuer nor the Trustee shall sell, transfer, exchange or otherwise dispose
      of Collateral, or enter into an agreement or commitment to do so, or enter into or engage in any
      business with respect to any part of the Collateral, except as expressly permitted by this Indenture
      and, with respect to the Issuer, the Servicing Agreement.

               (c)     The Co-Issuer shall not invest any of its assets in "securities" as the term is defined
      in the Investment Company Act, and shall keep all of its assets in Cash.

              (d)     Neither the Issuer nor the Co-Issuer shall use the proceeds of the Notes to buy or
      carry Margin Stock.

      Section 7.9.      Notice of Default; Statement as to Compliance.

             (a)     The Co-Issuers shall notify the Trustee, the Servicer, the Rating Agencies and each
      Hedge Counterparty within 10 days of acquiring actual knowledge of Default.

                (b)      On or before March 15 in each calendar year, commencing in 2008, the Issuer shall
      deliver to the Trustee (to be forwarded by the Trustee to the Servicer and each Noteholder making a
      written request therefor and, upon written request therefor by a Beneficial Owner in the form of
      Exhibit H certifying that it is a Beneficial Owner, to the Beneficial Owner (or its designee) and each
      Rating Agency) a certificate of an Authorized Officer of the Issuer that, to the best knowledge of the
      Issuer, no Default exists, and has not existed since the date of the last certificate or, if a Default does
      then exist or had existed, specifying the same and its nature and status, including actions undertaken
      to remedy it, and that the Issuer has complied with all of its obligations under this Indenture or, if
      that is not the case, specifying those obligations with which it has not complied.

      Section 7.10.     Co-Issuers May Consolidate, etc. Only on Certain Terms.

               Neither the Issuer nor the Co-Issuer (the "Merging Entity") shall consolidate or merge with
      or into any other Person or transfer or convey all or substantially all of its assets to any Person,


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      unless permitted by Cayman Islands law (in the case of the Issuer) or United States and Delaware
      law (in the case of the Co-Issuer) and unless:

               (a)     the Merging Entity shall be the surviving corporation, or the Person (if other than
      the Merging Entity) formed by the consolidation or into which the Merging Entity is merged or to
      which all or substantially all of the assets of the Merging Entity are transferred (the "Successor
      Entity"),

                       (i)      if the Merging Entity is the Issuer, is a company organized and existing
              under the laws of the Cayman Islands or another jurisdiction approved by a Majority of the
              Controlling Class (except that no approval shall be required in connection with any such
              transaction undertaken solely to effect a change in the jurisdiction of incorporation pursuant
              to Section 7.4), and

                      (ii)      in any case shall expressly assume, by an indenture supplemental to this
              Indenture, executed and delivered to the Trustee and each Noteholder, the due and punctual
              payment of all amounts on all Notes issued by the Merging Entity and the performance and
              observance of every covenant of this Indenture on its part to be performed or observed, all
              as provided in this Indenture;

                (b)     each Rating Agency shall have been notified of the consolidation, merger, transfer,
      or conveyance and the Rating Condition with respect to each Rating Agency is satisfied with respect
      to the transaction;

              (c)     if the Merging Entity is not the surviving corporation, the Successor Entity shall
      have agreed with the Trustee,

                      (i)       to observe the same legal requirements for the recognition of the formed or
              surviving corporation as a legal entity separate and apart from any of its Affiliates as are
              applicable to the Merging Entity with respect to its Affiliates,

                      (ii)    not to consolidate or merge with or into any other Person or transfer or
              convey the Collateral or all or substantially all of its assets to any other Person except in
              accordance with this Section 7.10; and

                        (iii)   in any case shall expressly assume by an indenture supplemental to this
              Indenture, executed and delivered to the Trustee, each Noteholder and the Preference Shares
              Paying Agent (for forwarding to the Holders of Preference Shares), the due and punctual
              payment of all amounts on all the Notes issued by the Merging Entity and the performance
              and observance of every covenant of this Indenture on its part to be performed or observed,
              all as provided in this Indenture;

                (d)     if the Merging Entity is not the surviving corporation, the Successor Entity shall
      have delivered to the Trustee and each Rating Agency an Officer's certificate and an Opinion of
      Counsel each stating that it is duly organized, validly existing, and in good standing in the
      jurisdiction in which it is organized; that it has sufficient power and authority to assume the
      obligations in subsection (a) above and to execute and deliver an indenture supplemental to this
      Indenture for the purpose of assuming the obligations in subsection (a) above; that it has duly
      authorized the execution, delivery, and performance of an indenture supplemental to this Indenture
      for the purpose of assuming the obligations in subsection (a) above and that the supplemental
      indenture is its valid and legally binding obligation, enforceable in accordance with its terms, subject
      only to bankruptcy, reorganization, insolvency, moratorium, and other laws affecting the

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      enforcement of creditors' rights generally and to general principles of equity; if the Merging Entity is
      the Issuer, that, following the event that causes the Successor Entity to become the successor to the
      Issuer, (i) the Successor Entity has title, free of any lien, security interest, or charge, other than the
      lien and security interest of this Indenture, to the Collateral, and (ii) the lien of this Indenture
      continues to be effective in the Collateral; and in each case as to any other matters the Trustee or any
      Noteholder reasonably requires;

              (e)       after giving effect to the transaction, no Default or Event of Default shall be
      continuing;

                (f)     the Merging Entity shall have notified each Rating Agency of the consolidation,
      merger, transfer or conveyance and shall have delivered to the Trustee, each Noteholder and the
      Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares) an Officer's
      certificate and an Opinion of Counsel each stating that the consolidation, merger, transfer or
      conveyance and the supplemental indenture comply with this Article 7 and that all conditions
      precedent in this Article 7 relating to the transaction have been complied with and shall have
      obtained a Tax Opinion of Counsel that no adverse tax consequences will result therefrom to the
      Holders of the Securities;

               (g)       the Merging Entity shall have delivered to the Trustee an Opinion of Counsel
      stating that after giving effect to the transaction, neither of the Co-Issuers (or, if applicable, the
      Successor Entity) will be required to register as an investment company under the Investment
      Company Act; and

                (h)      after giving effect to the transaction, the outstanding stock of the Merging Entity
      (or, if applicable, the Successor Entity) will not be beneficially owned within the meaning of the
      Investment Company Act by any U.S. Person.

      Section 7.11.     Successor Substituted.

                Upon any consolidation or merger, or transfer or conveyance of all or substantially all of the
      assets of the Issuer or the Co-Issuer, in accordance with Section 7.10 in which the Merging Entity is
      not the surviving corporation, the Successor Entity shall succeed to, and be substituted for, and may
      exercise every right of, the Merging Entity under this Indenture with the same effect as if the Person
      had been named as the Issuer or the Co-Issuer, as the case may be, in this Indenture. Upon any such
      consolidation, merger, transfer or conveyance, the Person named as the "Issuer" or the "Co-Issuer"
      in the first paragraph of this Indenture or any successor may be dissolved, wound up and liquidated
      at any time thereafter, and the Person thereafter shall be released from its liabilities as obligor and
      maker on all the Notes and from its obligations under this Indenture.

      Section 7.12.     No Other Business.

               (a)      From and after the Closing Date, the Issuer shall not engage in any business or
      activity other than issuing and selling the Notes pursuant to this Indenture and the Preference Shares
      pursuant to the Preference Share Documents and acquiring, owning, holding, and pledging and
      selling Collateral Obligations and the other Collateral in connection therewith, and shall not act as
      agent, negotiator or structurer with respect to any Collateral, act as a participant in negotiating terms
      of a primary loan agreement, enter into a binding commitment to purchase any Collateral prior to the
      issuance thereof or engage in any transaction or activity not permitted by the Collateral Acquisition
      Agreement or which the Issuer knows would cause it to be treated as engaged in a trade or business
      in the United States within the meaning of the Code or subject the Issuer’s income to taxation on a
      net basis in any jurisdiction, and the Co-Issuer shall not engage in any business or activity other than

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      issuing and selling the Notes to be issued by it pursuant to this Indenture and, with respect to the
      Issuer and the Co-Issuer, other activities appropriate to accomplish the foregoing or incidental
      thereto or connected therewith.

               (b)       In furtherance and not in limitation of clause (a) of this Section 7.12, the Issuer
      shall comply with all of the provisions set forth in the Collateral Acquisition Agreement, unless,
      with respect to a particular transaction, it obtains written advice of Latham & Watkins LLP or a Tax
      Opinion of Counsel that, under the relevant facts and circumstances with respect to such transaction,
      the Issuer's failure to comply with one or more of such provisions will not cause the Issuer to be
      engaged, or deemed to be engaged, in a trade or business within the United States within the
      meaning of the Code or otherwise to be subject to United States federal income tax on a net basis.
      The provisions set forth in the Collateral Acquisition Agreement may be amended, eliminated or
      supplemented (without execution of a supplemental indenture) if the Issuer obtains written advice of
      Latham & Watkins LLP or a Tax Opinion of Counsel that the Issuer's compliance with such
      amended provisions or supplemental provisions or the Issuer's failure to comply with such
      provisions proposed to be eliminated, as the case may be, will not cause the Issuer to be engaged, or
      deemed to be engaged, in a trade or business within the United States within the meaning of the
      Code or otherwise to be subject to United States federal income tax on a net basis and, at the request
      of the Issuer, the Trustee is hereby authorized to enter into any amendment of the Collateral
      Acquisition Agreement under such circumstances; provided, however, that written notice of any
      such amendment, elimination or supplementation of or to the provisions of the Collateral
      Acquisition Agreement pursuant to this Section 7.12(b) shall be provided to each Rating Agency
      then rating any Outstanding Class of Notes within 90 days of any such amendment, elimination or
      supplementation. For the avoidance of doubt, in the event written advice of Latham & Watkins LLP
      or a Tax Opinion of Counsel as described above has been obtained in accordance with the terms
      hereof, no consent of any Noteholder or satisfaction of the Rating Condition shall be required in
      order to comply with this Section 7.12(b) in connection with the amendment, elimination or
      supplementation of any provision of the Collateral Acquisition Agreement contemplated by such
      written advice or opinion.

              (c)       The Issuer and the Co-Issuer may amend, or permit the amendment of, their
      Memorandum and Articles or the Certificate of Incorporation and By-laws if the Rating Condition
      with respect to each Rating Agency is satisfied with respect to the amendment (but not otherwise).

      Section 7.13.    Listing on Irish Stock Exchange.

                So long as any Senior Notes remain Outstanding, the Co-Issuers shall use all reasonable
      efforts to obtain and maintain the listing of the Senior Notes on the regulated market of the ISE;
      provided that the Co-Issuers will not be required to maintain a listing on a stock exchange in the
      European Union if compliance with requirements of the European Commission on a member state
      becomes burdensome in the sole judgment of the Servicer.

      Section 7.14.    Annual Rating Review.

               So long as any Notes of any Class remain Outstanding, on or before February 1 in each year
      commencing in 2008, the Co-Issuers shall obtain and pay for an annual review or ongoing
      surveillance of the rating of each Outstanding Class of Notes from each Rating Agency, as
      applicable. The Co-Issuers shall promptly notify the Trustee and the Servicer in writing (and the
      Trustee shall promptly provide a copy of the notice to the Noteholders) and the Preference Shares
      Paying Agent (for forwarding to the Holders of Preference Shares) if at any time the rating of any
      Class of Notes has been, or is known will be, changed or withdrawn.


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      Section 7.15.    Reporting.

               At any time when the Co-Issuers are not subject to Section 13 or 15(d) of the Exchange Act
      and are not exempt from reporting pursuant to Rule 12g3-2(b) under the Exchange Act, upon the
      request of a Holder or Beneficial Owner of any Note, the Co-Issuers shall promptly furnish "Rule
      144A Information" to the Holder or Beneficial Owner, to a prospective purchaser of a Note
      designated by the Holder or Beneficial Owner or to the Trustee for delivery to the Holder or
      Beneficial Owner or a prospective purchaser designated by the Holder or Beneficial Owner, as the
      case may be, to permit compliance by the Holder or Beneficial Owner with Rule 144A under the
      Securities Act in connection with the resale of the Note by the Holder or Beneficial Owner. "Rule
      144A Information" is the information specified pursuant to Rule 144A(d)(4) under the Securities
      Act.

      Section 7.16.    Calculation Agent.

               (a)      The Issuer agrees that for so long as any Floating Rate Notes remain Outstanding
      an agent will always have been appointed (that does not control and is not controlled by or under
      common control with the Issuer or its Affiliates) to calculate LIBOR in respect of each Interest
      Period (the "Calculation Agent"). The Issuer has initially appointed the Trustee as Calculation
      Agent. The Issuer may remove the Calculation Agent at any time. If the Calculation Agent is
      unable or unwilling to act as such or is removed by the Issuer or if the Calculation Agent fails to
      determine any of the information required to be given to the Company Announcements Office of the
      Irish Stock Exchange, as described in subsection (b), in respect of any Interest Period, the Issuer or
      the Servicer (on its behalf) shall promptly appoint a replacement Calculation Agent. For so long as
      any Floating Rate Notes are listed on the Irish Stock Exchange and the rules of the exchange so
      require, notice of the appointment of any replacement Calculation Agent shall be given to the
      Company Announcements Office of the Irish Stock Exchange as promptly as practicable after the
      appointment. The Calculation Agent may not resign its duties without a successor having been duly
      appointed.

               (b)       As soon as possible after 11:00 A.M., London time, on the second Business Day
      before the first day of each Interest Period, but in no event later than 11:00 A.M., London time, on
      the next Business Day, the Calculation Agent shall calculate the Note Interest Rate for each Class of
      Floating Rate Notes for the next Interest Period. The Calculation Agent shall communicate those
      rates and amounts to the Co-Issuers, the Trustee, each Paying Agent, the Servicer, Euroclear,
      Clearstream, the Depository, and, so long as any of the Floating Rate Notes are listed thereon and
      the rules of the exchange so require, the Irish Stock Exchange. In the latter case, the information
      shall be given to the Company Announcements Office of the Irish Stock Exchange as soon as
      possible after its determination. The Calculation Agent shall separately notify the Irish Stock
      Exchange of the information. The Calculation Agent shall also specify to the Co-Issuers the
      quotations on which the foregoing rates are based, and in any event the Calculation Agent shall
      notify the Co-Issuers before 7:00 P.M., London time, on the second Business Day before the first day
      of each Interest Period that either:

                       (i)     it has determined or is in the process of determining the Note Interest Rate
              for each Class of Floating Rate Notes, or

                      (ii)     it has not determined and is not in the process of determining any such
              Note Interest Rate together with its reasons therefor.




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      The Calculation Agent's determination of the foregoing rates for any Interest Period shall (in the
      absence of manifest error) be final and binding on all parties and the Holders and Beneficial Owners
      of the Preference Shares.

      Section 7.17.    Certain Tax Matters.

                       (a)      For United States federal income tax purposes, the Issuer shall treat the
              Preference Shares as equity and the Notes as debt. Each Holder of a Note, by its acquisition
              of that Note, agrees to treat those Notes as debt for United States federal income tax
              purposes.

                       (b)      The Issuer will make an election to be treated as a partnership for U.S.
              federal income tax purposes, and will take all necessary actions to maintain its status as a
              partnership (or, if the equity of the Issuer is treated as owned by one person, as a
              disregarded entity of such person) for U.S. federal income tax purposes.

                        (c)      The Issuer shall file, or cause to be filed, any tax returns, including
              information tax returns, required by any governmental authority; provided, however, that
              the Issuer shall not file, or cause to be filed, any income or franchise tax return in any state
              of the United States unless it shall have obtained a Tax Opinion of Counsel prior to such
              filing that, under the laws of such jurisdiction, the Issuer is required to file such income or
              franchise tax return.

                       (d)      In order to ensure the Holders' and Beneficial Owners' acquisition of the
              Notes pursuant to this Indenture are not treated as offered under conditions of
              confidentiality, the Holders and Beneficial Owners of the Notes (and each of their
              respective employees, representatives or other agents) are hereby permitted to disclose to
              any and all Persons, without limitation of any kind, the tax treatment and tax structure of the
              transactions contemplated by this Agreement (including the ownership and disposition of
              the Notes). For this purpose, the tax treatment of a transaction is the purported or claimed
              U.S. federal income or state and local tax treatment of the transaction, and the tax structure
              of a transaction is any fact that may be relevant to understanding the purported or claimed
              U.S. federal income or state and local tax treatment of the transaction.

                       (e)     If the Issuer is aware that it has purchased an interest in a "reportable
              transaction" within the meaning of Section 6011 of the Code, and a Noteholder requests
              information about any such transactions in which the Issuer is a purchaser, the Issuer shall
              provide such information it has reasonably available as soon as practicable after such
              request.

                       (f)      The Issuer shall not conduct any business other than the business that the
              Issuer is permitted to conduct under this Indenture and the Preference Shares Paying
              Agency Agreement.

                      (g)       Upon written request by the Independent accountants, the Indenture
              Registrar shall provide to the Independent accountants that information contained in the
              Indenture Register requested by the Independent accountants to comply with this Section
              7.17.

                     (h)       The Issuer will treat each purchase of Collateral Obligations and Eligible
              Investments as a "purchase" for tax accounting and reporting purposes.


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                      (i)       The Issuer shall not participate in listing or including the Class D Notes
              or Preference Shares on or in any Established Securities Markets, and shall not
              participate in establishing any Established Securities Market for its Class D Notes or
              Preference Shares. In addition, the Issuer shall not recognize any transfers made on any
              Established Securities Markets with respect to its Class D Notes or Preference Shares
              (including any transfers of any financial instrument (other than the Senior Notes) or
              contract the value of which is determined in whole or in part by reference to the Issuer).

                       (j)     Each of the Issuers and the Trustee agrees that it does not intend for
              this Indenture to represent an agreement to enter into a partnership, a joint venture or
              any other business entity for U.S. federal income tax purposes. The Issuers and the
              Trustee shall not represent or otherwise hold themselves out to the United States
              Internal Revenue Service or other third parties as partners in a partnership or members
              of a joint venture or other business entity for U.S. federal income tax purposes.

      Section 7.18.    Securities Lending.

                (a)      So long as no Event of Default is continuing and if after the completion of the
      transaction the limit in clause (31) of the definition of "Concentration Limitations" would be
      satisfied, the Servicer may cause Collateral Obligations that are not Defaulted Collateral Obligations
      to be lent for a term of 90 days or less to banks, broker-dealers and other financial institutions (other
      than insurance companies) having long-term and short-term senior unsecured debt ratings or
      guarantors with ratings of at least "A1" (and not "A1" but on credit watch with negative
      implications) and "P-1" (and not on credit watch for possible downgrade) from Moody's and a long-
      term senior unsecured debt rating of at least "A" or a short-term senior unsecured debt rating of at
      least "A-1" from S&P (each, a "Securities Lending Counterparty") pursuant to one or more
      agreements (each, a "Securities Lending Agreement"); provided that Collateral Obligations the
      Market Value of which cannot be determined under clause (i), (ii) or (iii) of that definition may not
      be lent pursuant to a Securities Lending Agreement. Upon receipt of an Issuer Order, the Trustee
      shall release any lent Collateral Obligations to a Securities Lending Counterparty as directed by the
      Servicer. The Securities Lending Counterparties may be Affiliates of the Initial Purchaser or
      Affiliates of the Servicer. The duration of any Securities Lending Agreement shall not exceed the
      Stated Maturity of the Notes.

              (b)      Each Securities Lending Agreement shall be on market terms as determined by the
      Servicer (except as may be required below) and shall:

                       (i)      require that the Securities Lending Counterparty return to the Issuer debt
              obligations that are identical (in terms of issue and class) to the lent Collateral Obligations;

                        (ii)      require that the Securities Lending Counterparty pay to the Issuer amounts
              equivalent to all interest and other payments that the owner of the lent Collateral Obligation
              is entitled to for the period during which the Collateral Obligation is lent and require that
              any such payments not be subject to withholding tax imposed by any jurisdiction unless the
              Securities Lending Counterparty is required under the Securities Lending Agreement to
              make "gross-up" payments to the Issuer that cover the full amount of the withholding tax on
              an after-tax basis;

                       (iii)    require that the Rating Condition with respect to each Rating Agency shall
              be satisfied with respect to the execution of the Securities Lending Agreement;


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                      (iv)    satisfy any other requirements of Section 1058 of the Code and the
              Treasury Regulations promulgated under it;

                      (v)      be governed by the laws of New York;

                    (vi)      permit the Issuer to assign its rights under the Securities Lending
              Agreement to the Trustee pursuant to this Indenture;

                       (vii)    provide for early termination and the delivery of any lent Collateral
              Obligation with no penalty if the Collateral Obligation becomes a Credit Risk Obligation or
              is subject to redemption in accordance with its terms;

                      (viii) provide for early termination and the delivery of any lent Collateral
              Obligation with no penalty upon any redemption of the Notes in whole;

                       (ix)      require the Securities Lending Counterparty to post with the Trustee
              collateral consisting of cash or direct registered debt obligations of the United States of
              America that have a maturity date no later than the Business Day preceding the stated
              termination date of the Securities Lending Agreement (the "Securities Lending Collateral")
              to secure its obligation to return the Collateral Obligations or in the alternative post the
              Securities Lending Collateral with a custodian for the benefit of the Issuer designated by the
              Securities Lending Counterparty that satisfies the requirements with respect to being a
              securities intermediary with respect to the posted collateral if that custodian would qualify
              to be a successor trustee under Section 6.9;

                       (x)      provide that the Securities Lending Collateral shall be maintained at all
              times in an amount equal to at least 102% of the current Ask-Side Market Value
              (determined daily and monitored by the Servicer) of the lent Collateral Obligations and if
              securities are delivered to the Trustee as security for the obligations of the Securities
              Lending Counterparty under the related Securities Lending Agreement, the Servicer on
              behalf of the Issuer will negotiate with the Securities Lending Counterparty a rate for the
              loan fee to be paid to the Issuer for lending the lent Collateral Obligations;

                      (xi)     the lent Collateral Obligations shall be marked-to-market on a daily basis
              by the Servicer on the basis of their Market Value;

                     (xii)  the Collateral will include the Issuer's rights under the related Securities
              Lending Agreement rather than the loaned Collateral Obligation;

                       (xiii) provide for early termination within 10 days at the option of the Issuer and
              the delivery of any lent Collateral Obligation with no penalty if the Securities Lending
              Counterparty is no longer in compliance with the requirements relating to the credit ratings
              of the Securities Lending Counterparty and the noncompliance is not cured as provided in
              this Indenture; and

                       (xiv) contain appropriate limited recourse and non-petition provisions (to the
              extent the Issuer has contractual payment obligations to the Securities Lending
              Counterparty) equivalent (mutatis mutandis) to those in this Indenture.

              (c)      If either Moody's or S&P downgrades a Securities Lending Counterparty such that
      the Securities Lending Agreements to which the Securities Lending Counterparty is a party are no


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      longer in compliance with the requirements relating to the credit ratings of the Securities Lending
      Counterparty, then the Servicer on behalf of the Issuer, within 10 days of the downgrade, shall

                     (i)       terminate its Securities Lending Agreements with the Securities Lending
              Counterparty unless a guarantor with the required ratings for the Securities Lending
              Counterparty's obligations under the Securities Lending Agreements has been obtained; or

                       (ii)      reduce the percentage of the Aggregate Principal Balance of the Collateral
              Obligations lent to the downgraded Securities Lending Counterparty so that the Securities
              Lending Agreements to which the Securities Lending Counterparty is a party, together with
              all other Securities Lending Agreements, are in compliance with the requirements relating
              to the credit ratings of Securities Lending Counterparties; or

                        (iii)    take any other steps Moody's or S&P may require to cause the Securities
              Lending Counterparty's obligations under the Securities Lending Agreements to which the
              Securities Lending Counterparty is a party to be treated by Moody's or S&P, as the case
              may be, as if the obligations were owed by a counterparty having a rating at least equivalent
              to the rating that was assigned by Moody's or S&P, as the case may be, to the downgraded
              Securities Lending Counterparty before its being downgraded.

                 (d)       In connection with any such direction by the Servicer to enter into a Securities
      Lending Agreement, the Trustee may receive and rely on an Issuer Order to the effect that the
      Securities Lending Agreement, and its Securities Lending Counterparty, is each in compliance with
      the requirements of this Indenture (including the definition of "Securities Lending Counterparty").
      The Issuer and the Trustee may enter into any Securities Lending Agreement (and any related
      account control agreement) at the instruction of the Servicer, and deliver and accept delivery and
      return of any Collateral Obligations pursuant to the Securities Lending Agreement, or pursuant to
      instructions from the Servicer in connection with the Securities Lending Agreement. The Trustee
      may take any actions and exercise any rights and remedies under any Securities Lending Agreement
      that the Servicer instructs. The Trustee need not enter into any Securities Lending Agreement (or
      any related account control agreement) that would in its judgment, subject it to any liability, whether
      financial or otherwise, or cause it to incur or subject it to risk of any cost or disbursement for which
      it is not, in its judgment, adequately indemnified, or that would impose on it any obligations or
      administrative burdens that are unacceptable to it. The Servicer shall instruct the Trustee in writing
      with respect to the administration of any Securities Lending Agreement (including with respect to
      any default and the exercise of rights under it). The Trustee shall not have any responsibility for
      evaluating the sufficiency, validity or acceptability of any Securities Lending Agreement or for the
      qualifications or eligibility of any Securities Lending Counterparty. Nothing in this Indenture shall
      be construed to cause the Trustee to have any fiduciary duties to any Securities Lending
      Counterparty.

              So long as any Collateral Obligation is on loan pursuant to a Securities Lending Agreement,

               (a)     the Trustee shall have no liability for any failure or inability on its part to receive
      any information or take any action with respect to the Collateral Obligation because of its being on
      loan (including any failure to take action with respect to a notice of redemption, consent solicitation,
      exchange or tender offer, or similar corporate action), and

               (b)     the loaned Collateral Obligations shall not be disqualified for return to the Trustee
      as a Collateral Obligation by any change in circumstance or status during the time while on loan
      (including any change that would cause the Collateral Obligation to be ineligible for purchase by the


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      Issuer under this Indenture if applied to a proposed purchase of it in the open market at the time of
      its return from loan).

      Section 7.19.    Purchase of Collateral Obligations; Ramp-Up Completion Date.

               (a)      The Issuer shall use its best efforts to purchase Collateral Obligations on any
      Business Day during the Ramp-Up Period or enter into commitments to purchase Collateral
      Obligations on any Business Day during the Ramp-Up Period for purchase on or as soon as
      practicable thereafter (not to exceed 60 days thereafter), in each case, for inclusion in the Collateral
      so that each of the Aggregate Principal Balance of the Collateral Obligations and the
      Overcollateralization Ratio Numerator with respect to the Class A Notes is at least
      U.S.$1,500,000,000.

               (b)      No Collateral Obligations may be purchased prior to the Ramp-Up Completion
      Date unless immediately following the purchase of any Collateral Obligation (as certified by the
      Servicer in writing), the remaining funds in the Collection Account, after giving effect to such
      purchase, are sufficient as of the date of determination to purchase Collateral Obligations for
      inclusion in the Collateral so that each of the Aggregate Principal Balance of the Collateral
      Obligations and the Overcollateralization Ratio Numerator with respect to the Class A Notes is at
      least U.S.$1,500,000,000 (taking into account the Collateral Obligations already part of the
      Collateral (without giving effect to any reductions of that amount that may have resulted from
      scheduled principal payments, principal prepayments or dispositions made with respect to any
      Collateral Obligations on or before the Ramp-Up Completion Date)).

               (c)       Notwithstanding the foregoing, or any other provision of this Indenture, if the
      Issuer has previously entered into a commitment to purchase a Collateral Obligation to be included
      in the Collateral, such commitment initially not to exceed 60 days, and at the time of the
      commitment the Collateral Obligation complied with the definition of "Collateral Obligation" and
      the requirements set forth in this Section 7.19, the Issuer may consummate the purchase of the
      Collateral Obligation notwithstanding that the Collateral Obligation fails to comply with the
      definition of "Collateral Obligation" and the requirements set out above on the date of settlement.

               (d)       The Issuer will use commercially reasonable efforts to purchase, or to enter into
      binding agreements to purchase, Collateral Obligations by the Ramp-Up Completion Date, that,
      together with the Collateral Obligations purchased on or before the Closing Date and then held by
      the Issuer, will satisfy, as of the Ramp-Up Completion Date (without giving effect to any reductions
      of that amount that may have resulted from scheduled principal payments, principal prepayments or
      dispositions made with respect to any Collateral Obligations on or before the Ramp-Up Completion
      Date), the Collateral Quality Tests, the Concentration Limitations, the criteria set forth in Section
      12.2 of this Indenture and the Overcollateralization Tests.

                (e)     Within five Business Days after the Ramp-Up Completion Date, the Issuer or the
      Servicer (on behalf of the Issuer) shall request a S&P Rating Confirmation and shall provide a
      report to the Rating Agencies identifying the Collateral Obligations then included in the Collateral
      and the Issuer shall obtain and deliver to the Trustee and the Rating Agencies, together with the
      delivery of a report (and, with respect to S&P, a Microsoft Excel file of the S&P CDO Monitor input
      file and, with respect to each Collateral Obligation, the name of the obligor thereon, the CUSIP
      number thereof (if applicable) and the S&P Priority Category thereof) substantially in the form of a
      Monthly Report as of the Ramp-Up Completion Date, an Accountants' Certificate:

                      (i)      confirming the maturity date, rating, spread and recovery rate for each item
              of Original Collateral Obligations owned by the Issuer as of the Ramp-Up Completion Date

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              and the information provided by the Issuer with respect to every other asset included in the
              Collateral, by reference to such sources as shall be specified therein;

                       (ii)     confirming that as of the Ramp-Up Completion Date:

                                (1)      each of the Coverage Tests are satisfied;

                                (2)      the Aggregate Principal Balance of Collateral Obligations that the
                       Issuer owned or committed to purchase as of the Ramp-Up Completion Date is at
                       least equal to the Maximum Amount; and

                                (3)     the Collateral Obligations comply with all of the requirements of
                       the Collateral Quality Tests and the Concentration Limitations; and

                     (iii)    specifying the procedures undertaken by them to review data and
              computations relating to the foregoing statements.

               (f)      If a Rating Confirmation Failure occurs, the Notes will be redeemed pursuant to,
      and to the extent provided in, Section 9.1(a).

      Section 7.20.    Posting of Reports on Repository.

              If the Initial Purchaser has entered into a posting dealer agreement with The Bond Market
      Association relating to the transactions contemplated by this Indenture, each of the Issuer, the
      Trustee and the Servicer acknowledges and agrees that each Monthly Report and Valuation Report
      may be posted to the Repository for use in the manner provided in the Repository. In connection
      therewith, the Trustee, at the expense of the Issuer, agrees to make available in accordance with
      Section 14.3(a)(ix) each Monthly Report or Valuation Report to the operator of the Repository for
      posting on the Repository. The Initial Purchaser will notify the Trustee, the Co-Issuers and the
      Servicer upon entering into a posting dealer agreement.

      Section 7.21.    Secondary Risk Procedures.

              The Servicer shall notify S&P and request that S&P modify the S&P CDO Monitor
      accordingly if on any date (as disclosed in the most recent Monthly Report):

               (a)     the Aggregate Principal Amount of all Collateral Obligations participated from or
      entered into with the same Secondary Risk Counterparty exceeds the percentage of the Maximum
      Amount in the Secondary Risk Table opposite the long-term S&P credit rating of the Secondary
      Risk Counterparty under the caption "Individual Counterparty Limit," or

               (b)      the Aggregate Principal Amount of all Collateral Obligations participated from or
      entered into with Secondary Risk Counterparties with the same long-term credit rating exceeds the
      percentage of the Maximum Amount in the Secondary Risk Table opposite that rating under the
      caption "Aggregate Counterparty Limit" (excluding up to 5% by Aggregate Principal Amount of
      Synthetic Securities with respect to Collateral Obligations the Aggregate Counterparty Limit of
      which is 20% to the extent that (x) such exposure is fully collateralized with respect to principal and
      (y) the related Synthetic Security Counterparties are rated at least "A-1+" by S&P).




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      Section 7.22.    Section 3(c)(7) Procedures.

               In addition to the notices required to be given under Section 10.6 hereof, the Issuer shall
      take the following actions to ensure compliance with the requirements of Section 3(c)(7) of the
      Investment Company Act (provided that such procedures and disclosures may be revised by the
      Issuer to be consistent with generally accepted practice for compliance with the requirements of
      Section 3(c)(7) of the Investment Company Act):

                (a)      Section 3(c)(7) Notice to Investors. The Issuer shall (i) request the Depository to
      cause, and cooperate with the Depository in causing, the Depository's security description and
      delivery order to include a "3(c)(7) marker" and the Depository's user manual to contain an accurate
      description of the restrictions on the holding and transfer of the Notes due to the Issuer's reliance on
      the exclusion to registration provided by Section 3(c)(7) of the Investment Company Act, (ii) request
      that the Depository send, and cooperate with the Depository in causing the Depository to send, to its
      Agent Members (x) the Important Section 3(c)(7) Reminder Notice substantially in the form of
      Exhibit G-2 in connection with the initial offering of the Notes and (y) the Section 3(c)(7) Reminder
      Notice substantially in the form of Exhibit G-1 as set forth in Section 10.6(b) and (iii) request that
      the Depository cause, and cooperate with the Depository in causing, the Depository's Reference
      Directory to include each Class of Notes (and the applicable CUSIP numbers for the Notes) in the
      listing of 3(c)(7) issues together with an attached description of the limitations as to the distribution,
      purchase, sale and holding of the Notes.

               (b)      CUSIP Numbers. The Issuer shall (a) request of S&P, and shall cooperate with
      S&P to ensure that all CUSIP numbers identifying the Notes shall have a "fixed field" attached
      thereto that contains "3c7" and "144A" indicators and (b) take steps to cause the Initial Purchaser
      and any market makers to require that all “confirms” of trades of the Notes contain CUSIP numbers
      with such "fixed field" identifiers.

               (c)      Bloomberg and other Third-Party Vendor Screens. The Issuer shall use all
      reasonable efforts to cause the Bloomberg screen or screens containing information about the Notes
      to include the following language: (a) the "Note Box" on the bottom of the "Security Display" page
      describing the Notes shall state: "Iss'd Under 144A/3(c)(7)," (b) the "Security Display" page shall
      have the flashing red indicator "See Other Available Information" and (c) the indicator shall link to
      the "Additional Security Information" page, which shall state that the securities are "being offered in
      reliance on the exemption from registration under Rule 144A of the Securities Act, to persons who
      are both (x) qualified institutional buyers (as defined in Rule 144A under the Securities Act) and (y)
      qualified purchasers (as defined under Section 3(c)(7) under the Investment Company Act)." The
      Issuer shall use all reasonable efforts to require that any other third-party vendor screens containing
      information about the Notes include substantially similar language to clauses (a) through (c) above.


                                                   ARTICLE 8

                                         SUPPLEMENTAL INDENTURES

      Section 8.1.     Supplemental Indentures Without Consent of Holders.

               (a)      Without the consent of the Holders of any Securities (other than with respect to the
      consent of the Majority of the Controlling Class specified in clause (15) below), when authorized by
      Board Resolutions, and subject to the requirement provided below in this Section 8.1 with respect to
      the ratings of any Class of Notes, the Co-Issuers and the Trustee may, if, with respect to any matters
      described in clauses (1) through (23) below, the interests of the Holders of the Securities (except, in

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      the case of clause (12) below, any Holders of Notes subject to the applicable Refinancing) are not
      materially and adversely affected thereby (the Co-Issuers and the Trustee will be bound by a
      standard of good faith and fair dealing in making such determination) execute one or more
      indentures supplemental to this Indenture, in form satisfactory to the Trustee, to:

                        (1)     evidence the succession of another Person to the Issuer or the Co-Issuer
              and the assumption by the successor Person of the obligations of the Issuer or the Co-Issuer
              in this Indenture and in the Securities;

                     (2)       add to the covenants of the Co-Issuers or the Trustee for the benefit of the
              Noteholders or to surrender any right in this Indenture conferred on the Co-Issuers;

                       (3)      convey, transfer, assign, mortgage or pledge any property to the Trustee, or
              add to the conditions, limitations, or restrictions on the authorized amount, terms, and
              purposes of the issue, authentication and delivery of the Notes;

                      (4)      evidence and provide for the acceptance of appointment under this
              Indenture by a successor Trustee and to add to or change any of the provisions of this
              Indenture necessary to facilitate the administration of the trusts under this Indenture by
              more than one Trustee, pursuant to the requirements of Sections 6.10, 6.11, and 6.13;

                        (5)     correct or amplify the description of any property at any time subject to the
              lien of this Indenture, or to better assure, convey, and confirm to the Trustee any property
              subject or required to be subject to the lien of this Indenture (including all actions
              appropriate as a result of changes in law) or to subject to the lien of this Indenture any
              additional property;

                      (6)   conform any provision in this Indenture to the related provision in the
              Offering Memorandum that is intended to be a verbatim recitation of such provision;

                       (7)      modify the restrictions on and procedures for resales and other transfers of
              the Notes to reflect any changes in applicable law (or its interpretation) or to enable the
              Co-Issuers to rely on any less restrictive exemption from registration under the Securities
              Act or the Investment Company Act or to remove restrictions on resale and transfer to the
              extent not required under this Indenture;

                       (8)      with the consent of the Servicer, modify (A) the restrictions on the sales of
              Collateral Obligations in Section 12.1 or (B) with the consent of the Majority of the
              Controlling Class (which consent shall not be unreasonably withheld), the Eligibility
              Criteria in Section 12.2 (and the definitions related thereto); provided that, for the avoidance
              of doubt, the consent of a Majority of the Controlling Class shall not be required if such
              amendment also satisfies the requirements of clause (24) below;

                     (9)      make appropriate changes for any Class of Senior Notes to be listed on an
              exchange other than the Irish Stock Exchange;

                       (10)     otherwise to correct any inconsistency or cure any ambiguity or errors in
              this Indenture;

                        (11)     accommodate the issuance of the Senior Notes in book-entry form through
              the facilities of DTC or otherwise;


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                      (12)     to accommodate a Refinancing effected pursuant to and in compliance
              with Section 9.7; provided that no Holders of Notes or Preference Shares are materially
              adversely affected thereby, other than Holders of Notes subject to such Refinancing;

                       (13)     take any appropriate action to prevent the Issuer, the Holders of the
              Securities, or the Trustee from becoming subject to withholding or other taxes, fees, or
              assessments or to prevent the Issuer from being treated as being engaged in a U.S. trade or
              business or otherwise being subject to income tax on a net income basis, so long as the
              action will not cause the Holders of any Securities to be adversely affected to any material
              extent by any change to the timing, character, or source of the income from the Securities,
              as evidenced by a Tax Opinion of Counsel (which may be supported as to factual (including
              financial and capital markets) matters by any relevant certificates and other documents
              necessary or advisable in the judgment of counsel delivering the opinion);

                        (14)     authorize the appointment of any listing agent, Transfer Agent, Paying
              Agent or additional registrar for any Class of Notes appropriate in connection with the
              listing of any Class of Senior Notes on the Irish Stock Exchange or any other stock
              exchange, and otherwise to amend this Indenture to incorporate any changes required or
              requested by any governmental authority, stock exchange authority, listing agent, Transfer
              Agent, Paying Agent or additional registrar for any Class of Notes in connection with its
              appointment, so long as the supplemental indenture would not materially and adversely
              affect any Noteholder, as evidenced by an Opinion of Counsel (which may be supported as
              to factual (including financial and capital markets) matters by any relevant certificates and
              other documents necessary or advisable in the judgment of counsel delivering the opinion)
              or a certificate of an Authorized Officer of the Servicer, to the effect that the modification
              would not be materially adverse to the Holders of any Class of Notes;

                       (15)     with the consent of the Majority of the Controlling Class, amend, modify,
              enter into or accommodate the execution of any contract relating to a Synthetic Security
              (including posting collateral under a Synthetic Security Agreement) if such particular action
              is not otherwise permitted under the Indenture;

                      (16)     modify Section 3.3 to be consistent with applicable laws or Rating Agency
              requirements;

                      (17)     evidence any waiver by any Rating Agency as to any requirement or
              condition, as applicable, of the Rating Agency set forth in this Indenture;

                       (18)     facilitate the issuance of participation notes, combination notes, composite
              securities and other similar securities;

                      (19)     facilitate hedging transactions;

                     (20)   facilitate the ability of the Issuer to lend collateral pursuant to a Securities
              Lending Agreement;

                       (21)    modify any provision to facilitate an A/B Exchange, including to effect
              any serial designation relating to the exchange;

                       (22)    with the consent of the Servicer, enter into any additional agreements not
              expressly prohibited by this Indenture as well as any amendment, modification, or waiver if
              the Issuer determines that the amendment, modification, or waiver would not, upon or after

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              becoming effective, materially and adversely affect the rights or interest of the Holders of
              any Class of Securities as evidenced by an Opinion of Counsel (which may be supported as
              to factual (including financial and capital markets) matters by any relevant certificates and
              other documents necessary or advisable in the judgment of counsel delivering the opinion)
              or a certificate of an officer of the Servicer to the effect that the modification would not be
              materially adverse to the Holders of any Class of Securities; provided that, for the avoidance
              of doubt, this clause (22) shall not permit the Co-Issuers and the Trustee to effect any
              amendment that expressly requires the consent of the Majority of the Controlling Class
              without such consent;

                      (23)     provide for the issuance of additional Preference Shares to the extent
              permitted by the Preference Share Documents and to extend to such additional Preference
              Shares the benefits applicable to the Preference Shares under the Indenture and the
              Preference Share Documents; or

                       (24)     prevent the Issuer from becoming an "investment company" as defined in
              the Investment Company Act or to better assure compliance with the requirements of Rule
              3a-7 and/or to remove transfer restrictions and other requirements relating to Section
              3(c)(7); provided that, as a condition to the effectiveness of any such supplemental
              indenture, each of the Issuer, the Trustee and the Servicer shall have received (A) a Rating
              Confirmation with respect to such supplemental indenture and (B) a customary opinion of
              counsel (which may be supported as to factual matters by any relevant certificates or other
              documents necessary or advisable in the judgment of counsel delivering such opinion) from
              a nationally recognized law firm providing that, after giving effect to such supplemental
              indenture, the Issuer is exempt from registration as an "investment company" under the
              Investment Company Act in reliance on the exemption provided by Rule 3a-7.

              (b)      Without the consent of the Servicer, no supplemental indenture may be entered into
      that would reduce the rights, decrease the fees or other amounts payable to the Servicer under this
      Indenture or increase the duties or obligations of the Servicer.

               (c)      The Trustee is authorized to join in the execution of any such supplemental
      indenture and to make any further appropriate agreements and stipulations that may be in the
      agreements, but the Trustee shall not be obligated to enter into any such supplemental indenture that
      affects the Trustee's own rights, duties, liabilities or immunities under this Indenture or otherwise,
      except to the extent required by law. Unless notified by a Majority of any Class of Notes or a
      Majority of the Preference Shares that Holders of the Class of the Notes or Holders of the Preference
      Shares would be materially and adversely affected, the Trustee may rely on a certificate of the
      Servicer and an Opinion of Counsel (which may be supported as to factual (including financial and
      capital markets) matters by any relevant certificates and other documents necessary or advisable in
      the judgment of counsel delivering the opinion) as to whether the interests of any Holder of
      Securities would be materially and adversely affected by any such supplemental indenture.

               (d)     If any Outstanding Notes are rated by a Rating Agency, the Trustee shall enter into
      a supplemental indenture pursuant to this Section 8.1 only if either (1) the Rating Condition with
      respect to each Rating Agency is satisfied with respect to the supplemental indenture or (2) the
      Servicer and the Holders of 100% in Aggregate Outstanding Amount of each Class of Notes the
      ratings on which would be reduced or withdrawn consent to the supplemental indenture. Prior to the
      entry into any supplemental Indenture with respect to which a Rating Confirmation for one or more
      Classes of Notes is not expected to be delivered, the Trustee shall provide written notice to each
      Holder of each Outstanding Note informing them of such fact.


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               (e)      At the cost of the Co-Issuers, the Trustee shall mail to the Noteholders, the
      Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the Holding
      Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities), each Rating
      Agency (for so long as any Notes are Outstanding and rated by a Rating Agency) and each Hedge
      Counterparty a copy of any such proposed supplemental indenture pursuant to this Section at least
      15 Business Days before its execution by the Trustee (or 60 calendar days before execution in the
      case of a supplemental indenture for the purpose described in paragraph (8) of Section 8.1(a), which
      shall be identified as such in a certificate of the Servicer delivered to the Trustee before the date on
      which such notice is required to be given).

      Section 8.2.     Supplemental Indentures With Consent of Holders.

              (a)       If the Rating Condition is satisfied with respect to each Rating Agency, the Trustee
      and the Co-Issuers may execute one or more indentures supplemental to this Indenture to add any
      provisions to, or change in any manner, or eliminate any of the provisions of, this Indenture or
      modify in any manner the rights of the Noteholders under this Indenture with the consent of:

               (1)     the Servicer if the supplemental indenture would reduce the rights, decrease the
      fees or other amounts payable to it under this Indenture or increase the duties or obligations of the
      Servicer;

               (2)     a Majority of each Class of Notes adversely affected thereby, by Act of the Holders
      of each such Class of Notes; and

              (3)      a Majority of the Preference Shares adversely affected thereby.

               Any proposed supplemental indenture that would also necessitate a change to the
      Memorandum and Articles of Association may only be made after a Special Resolution (as defined
      in the Memorandum and Articles of Association) has been passed to permit the Issuer's
      constitutional documents to be altered to conform them to the proposed change to this Indenture as
      certified to the Trustee by the Issuer.

              Notwithstanding anything in this Indenture to the contrary, without the consent of the
      Holder of each Outstanding Note adversely affected thereby and the Holder of each Preference
      Share adversely affected thereby, no supplemental indenture shall:

                       (i)       change the Stated Maturity of the principal of or the due date of any
              installment of interest on any Note or of any payment to the Preference Shares Paying
              Agent for payment to the Holders of the Preference Shares (other than in the case of any
              Maturity Extension in connection with an extension of the Replacement Period as described
              in Section 2.4), reduce the principal amount or the rate of interest on any Note, or the
              Default Interest Rate or the Redemption Price with respect to any Note or Preference Share,
              or change the earliest date on which Notes of any Class or Preference Share may be
              redeemed at the option of the Issuer, change the provisions of this Indenture relating to the
              application of proceeds of any Collateral to the payment of principal of or interest on Notes,
              or to payment to the Preference Shares Paying Agent for payment to the Holders of the
              Preference Shares, or change any place where, or the coin or currency in which, Notes or
              their principal or interest are paid or impair the right to institute suit for the enforcement of
              any such payment on or after their Stated Maturity (or, in the case of redemption, on or after
              the applicable Redemption Date);



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                       (ii)     reduce the percentage of the Aggregate Outstanding Amount of Holders of
              Notes of each Class or Holders of Preference Shares whose consent is required for the
              authorization of any such supplemental indenture or for any waiver of compliance with
              certain provisions of this Indenture or certain defaults under this Indenture or their
              consequences provided for in this Indenture;

                        (iii)   permit the creation of any lien ranking prior to or on a parity with the lien
              of this Indenture with respect to any part of the Collateral or terminate the lien on any
              property at any time subject hereto or deprive the Holder of any Note of the security
              afforded by the lien of this Indenture;

                       (iv)     reduce the percentage of the Aggregate Outstanding Amount of Holders of
              Notes of each Class whose consent is required to request the Trustee to retain the Collateral
              or rescind the Trustee's election to retain the Collateral, pursuant to Section 5.5 or to sell or
              liquidate the Collateral, pursuant to Section 5.4 or 5.5;

                       (v)     modify any of the provisions of this Section, or to provide that certain
              other provisions of this Indenture cannot be modified or waived without the consent of the
              Holder of each Outstanding Note and Preference Share affected thereby;

                       (vi)      modify the definition of "Outstanding," "Controlling Class," or "Majority,"
              or the Priority of Payments in Section 11.1(a) or Section 13.1; or

                       (vii)    modify any of the provisions of this Indenture in such a manner as to affect
              the calculation of the amount of any payment of Redemption Price or of interest or principal
              on any Note or any payment to the Preference Shares Paying Agent for the payment of
              dividends or other payments on the Preference Shares on any Payment Date or to affect the
              rights of the Holders of the Securities to the benefit of any provisions for the redemption of
              the Notes or the Preference Shares contained in this Indenture.

               (b)      Not later than 15 Business Days prior to the execution of any proposed
      supplemental indenture pursuant to this Section 8.2, the Trustee, at the expense of the Co-Issuers,
      shall mail to the Noteholders, the Servicer, the Preference Shares Paying Agent (for forwarding to
      the Holders of Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to
      the Holders of Holding Securities) and each Rating Agency (for so long as any Notes are
      Outstanding and rated by a Rating Agency) a copy of such proposed supplemental indenture and
      shall request any required consent from the applicable Holders of Securities to be given within the
      Initial Consent Period. Any consent given to a proposed supplemental indenture by the Holder of
      any Securities, as applicable, shall be irrevocable and binding on all future Holders or beneficial
      owners of that Security, irrespective of the execution date of the supplemental indenture. If the
      Holders of less than the required percentage of the Aggregate Outstanding Amount of the relevant
      Securities consent to a proposed supplemental indenture within the Initial Consent Period, on the
      first Business Day after the Initial Consent Period, the Trustee shall notify the Issuer and the
      Servicer which Holders of Securities have consented to the proposed supplemental indenture and,
      which Holders (and, to the extent such information is reasonably available to the Trustee, which
      beneficial owners) have not consented to the proposed supplemental indenture. If it intends to
      exercise its Amendment Buy-Out Option pursuant to Section 9.6, the Amendment Buy-Out
      Purchaser shall so notify the Trustee (which notice shall designate a date for the Amendment Buy-
      Out to occur no earlier than 10 Business Days after the date of such notice) no later than five
      Business Days after the Servicer is so notified by the Trustee and the Trustee shall promptly mail
      such notice to all Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of
      Preference Shares) and the Holding Preference Shares Paying Agent (for forwarding to the Holders

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      of Holding Securities). Any Non-Consenting Holder may give consent to the related proposed
      supplemental indenture until the 5th Business Day prior to the date of the Amendment Buy-Out
      designated by the Amendment Buy-Out Purchaser, and in such case shall cease to be a Non-
      Consenting Holder for purposes of the Amendment Buy-Out. If the Amendment Buy-Out Purchaser
      exercises its Amendment Buy-Out Option and purchases the applicable Securities pursuant to
      Section 9.6 below, the Amendment Buy-Out Purchaser, as Holder or beneficial owner of the
      applicable Securities, may consent to the related proposed supplemental indenture within five
      Business Days of the Amendment Buy-Out.

              (c)      It shall not be necessary for any Act of Noteholders under this Section 8.2 to
      approve the particular form of any proposed supplemental indenture, but it shall be sufficient if the
      Act or consent approves its substance.

                (d)     The Trustee, at the expense of the Co-Issuers, shall mail to the Noteholders, the
      Servicer, the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares),
      the Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities)
      and each Rating Agency a copy of any supplemental indenture pursuant to this Section 8.2 promptly
      after its execution by the Co-Issuers and the Trustee. Any failure of the Trustee to mail a copy of
      any supplemental indenture as provided in this Indenture, or any defect in the mailing, shall not in
      any way affect the validity of the supplemental indenture.

      Section 8.3.     Execution of Supplemental Indentures.

                In executing or accepting the additional trusts created by any supplemental indenture
      permitted by this Article 8 or the modifications thereby of the trusts created by this Indenture, the
      Trustee may receive, and (subject to Sections 6.1 and 6.3) shall be fully protected in relying upon, an
      Opinion of Counsel stating that the execution of the supplemental indenture is authorized or
      permitted by this Indenture and that all conditions precedent to the execution of such supplemental
      indenture have been satisfied. In the event that any supplemental indenture is consented to by the
      Issuer, the Co-Issuer and 100% of the Aggregate Outstanding Amount of each Class of Notes and
      the Rating Condition is satisfied or is specifically waived by all consenting parties, all conditions
      precedent to the execution of such supplemental indenture shall be deemed satisfied, the execution
      of such supplemental indenture shall be authorized or permitted by this Indenture, and the Trustee
      shall execute and accept the additional trusts created by such supplemental indenture pursuant to this
      Article 8 or modification thereby of the trusts created by this Indenture without obtaining an Opinion
      of Counsel; provided that the Trustee may, but shall not be obligated to, enter into any such
      supplemental indenture that affects the Trustee's own rights, duties or immunities under this
      Indenture or otherwise. The Servicer shall not be bound by any amendment or supplement to this
      Indenture that would reduce the rights, decrease the fees or other amounts payable to it under this
      Indenture or increase the duties or obligations of the Servicer unless the Servicer consents to it in
      writing, such consent not to be unreasonably withheld or delayed. The Servicer shall follow any
      amendment or supplement to this Indenture by which it is bound of which it has received written
      notice from the time it receives a copy of the amendment from the Issuer or the Trustee. The
      Trustee shall deliver any such amendment or supplement to the Repository in accordance with
      Section 6.18.

      Section 8.4.     Effect of Supplemental Indentures; Certain Required Consents.

              Upon the execution of any supplemental indenture under this Article 8, this Indenture shall
      be modified in accordance therewith, and the supplemental indenture shall form a part of this
      Indenture for all purposes; and every Holder of Notes theretofore and thereafter authenticated and
      delivered under this Indenture shall be bound thereby.

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               Without the approval of each Hedge Counterparty to a then existing Hedge Agreement (so
      long as the Hedge Counterparty is not in default under any Hedge Agreement to which it is party),
      no supplemental indenture will be effective, and the Co-Issuers will not consent to any supplemental
      indenture, that would have a material adverse effect on the Hedge Counterparty. For purposes of
      this paragraph, any supplemental indenture will be deemed not to have a material adverse effect on
      the Hedge Counterparty if it does not object within 10 days of delivery of such supplemental
      indenture by the Trustee.

                Any supplemental indenture that would necessitate a change to the Memorandum and
      Articles of Association (or the memorandum and articles of association of Investors Corp.) may only
      be made after a Special Resolution (as defined in the Memorandum and Articles of Association) has
      been passed to permit the Memorandum and Articles of Association (or the memorandum and
      articles of association of Investors Corp.) to be altered to conform with such proposed amendment.

      Section 8.5.     Reference in Notes to Supplemental Indentures.

               Notes authenticated and delivered after the execution of any supplemental indenture
      pursuant to this Article 8 may, and if required by the Trustee shall, bear a notice in form approved
      by the Trustee as to any matter provided for in the supplemental indenture. If the Applicable Issuers
      shall so determine, new Notes, so modified as to conform in the opinion of the Trustee and the Co-
      Issuers to any such supplemental indenture, may be prepared and executed by the Applicable Issuers
      and authenticated and delivered by the Trustee in exchange for Outstanding Notes.


                                                  ARTICLE 9

                                            REDEMPTION OF NOTES

      Section 9.1.     Mandatory Redemption.

              (a)     If either (a) a Coverage Test is not met on any Determination Date or (b) a Rating
      Confirmation Failure occurs, principal payments on the Notes shall be made on the related Payment
      Date (without payment of any Redemption Price) in accordance with the Priority of Payments.

               Upon receipt of notice of a Rating Confirmation Failure and if available Interest Proceeds
      and Principal Proceeds are insufficient to effect the redemption of the Notes, at par on any
      subsequent Payment Date in accordance with the Priority of Payments as and to the extent necessary
      for each of Moody's and S&P to confirm in writing the Initial Ratings assigned by it on the Closing
      Date to the Notes, then at the direction and in accordance with the instructions of the Servicer the
      Trustee shall sell Collateral Obligations so that the proceeds from the sale and all other funds
      available for the purpose in the Collection Account will be used to redeem the Notes and the
      Preference Shares (but only to the extent necessary for each of Moody's and S&P to confirm in
      writing the Initial Ratings assigned by it on the Closing Date to the Notes) and to pay all
      administrative and other fees, expenses and obligations payable under the Priority of Payments. Any
      sale under this Section shall be conducted in such a manner that:

                      (i)      after giving effect to the sale each Overcollateralization Test is satisfied or,
              if any Overcollateralization Test is not satisfied, the extent of compliance with the
              Overcollateralization Test is not reduced,




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                       (ii)      if the sale occurs on or after the second Payment Date, after giving effect
              to the sale each Interest Coverage Test is satisfied or, if any Interest Coverage Test is not
              satisfied, the extent of compliance with the Interest Coverage Test is not reduced, and

                      (iii)    after giving effect to the sale each Collateral Quality Test is satisfied or, if
              any Collateral Quality Test is not satisfied, the extent of compliance with the Collateral
              Quality Test is not reduced.

              (b)     The Preference Shares will be redeemed in whole in accordance with the Priority of
      Payments and the Preference Share Documents on any Payment Date on which a mandatory
      redemption of the Notes pursuant to Section 9.1(a) results in the payment in full of the Aggregate
      Outstanding Amount of each Class of Notes.

      Section 9.2.     Optional Redemption.

                (a)     Upon the occurrence of a Tax Event, or at any time after the Non-Call Period, the
      Notes shall be redeemed by the Applicable Issuers, in whole but not in part, on any Payment Date
      from Principal Proceeds and all other funds available for that purpose in the Collection Account, the
      Payment Account, the Interest Reserve Account, the Closing Date Expense Account, the Revolving
      Reserve Account and the Delayed Drawdown Reserve Account at the direction of the applicable
      Required Redemption Percentage, which direction must be given to the Preference Shares Paying
      Agent, the Trustee, the Issuer and the Servicer not later than 45 days before the Payment Date on
      which the redemption is to be made, at the applicable Redemption Price (exclusive of installments of
      interest and principal maturing on or before that date, payment of which shall have been made or
      duly provided for, to the Noteholders on relevant Record Dates or as otherwise provided in this
      Indenture). All Notes must be simultaneously redeemed, and any termination payments pursuant to
      Hedge Agreements must be paid.

               In the event that the Preference Shares Paying Agent, the Trustee and the Issuer receive
      notice directing an optional redemption from any one or more Holders of Preference Shares holding
      less than a Majority of the Preference Shares, the Preference Shares Paying Agent shall, within five
      Business Days of receipt of such notice, notify the Holders of the Preference Shares and the Holding
      Preference Shares Paying Agent (for forwarding to the Holders of the Holding Securities) (i) of the
      receipt of such notice and (ii) that any Holder of Preference Shares may join in directing an optional
      redemption by notifying the Issuer, the Trustee and the Preference Shares Paying Agent in writing
      within five Business Days after such Holder’s receipt of the Preference Shares Paying Agent’s
      Notice.

               Upon receipt of a notice of redemption pursuant to the first paragraph of this Section 9.2(a),
      the Servicer in its sole discretion will (subject to the standard of care specified in the Servicing
      Agreement), on behalf of the Issuer, direct the sale of the Collateral Obligations so that the proceeds
      from the sale and all other funds available for such purpose in the Collection Account, the Interest
      Reserve Account, the Closing Date Expense Account, the Revolving Reserve Account and the
      Delayed Drawdown Reserve Account will be at least sufficient to redeem all of the Notes and to pay
      all administrative and other fees and expenses payable under the Priority of Payments without regard
      to any payment limitations. If, in the Servicer's reasonable discretion, the sale would not be
      sufficient to redeem the Notes, and to pay the fees, expenses and obligations, the Notes shall not be
      redeemed.

               Upon any redemption pursuant to this Section 9.2(a), the Issuer shall, at least 30 days before
      the Redemption Date (unless the Trustee shall agree to a shorter notice period), notify the Trustee,
      the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), to the

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      Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities) and
      each Rating Agency of the Redemption Date, the applicable Record Date, the principal amount of
      Notes to be redeemed on the Redemption Date and the applicable Redemption Prices.

               (b)     On any Payment Date on or after payment in full of the Notes, all administrative
      and other fees (without regard to any payment limitations) payable under the Priority of Payments
      (including the Senior Servicing Fee and the Subordinated Servicing Fee), all amounts owing under
      this Indenture and all amounts owing under this Indenture and any Hedge Agreement to any Hedge
      Counterparty have been discharged,

                       (i)      at the direction of a Majority of the Preference Shares, the Issuer shall
              cause the Trustee to make payments in redemption of all of the Preference Shares, in an
              aggregate amount equal to all of the proceeds from the sale or other disposition of all of the
              remaining Collateral less any fees and expenses owed by the Issuer (including the
              Redemption Price of any Notes being simultaneously redeemed), the aggregate amount to
              be distributed to the Preference Shares Paying Agent for distribution to the Holders of the
              Preference Shares pro rata in accordance with their respective holdings or

                       (ii)     at the unanimous direction of the Holders of the Preference Shares, voting
              as a single Class or group, the Issuer shall cause the Trustee to make payments in
              redemption of all or a directed portion (representing less than all) of the Preference Shares
              to the Preference Shares Paying Agent for distribution to the Holders of the Preference
              Shares based upon such direction.

               Upon a distribution pursuant to Section 9.2(b)(i), the Servicer will (subject to the standard
      of care specified in the Servicing Agreement), on behalf of the Issuer (and subject to Section
      9.2(b)(ii)), direct the sale of all remaining Collateral Obligations. Upon a distribution pursuant to
      Section 9.2(b)(ii), the Servicer will effect the sale of Collateral Obligations in accordance with the
      unanimous direction of the Holders of the Preference Shares.

      Section 9.3.     Optional Redemption Procedures.

                (a)      Upon any redemption pursuant to Section 9.2, the Trustee shall give notice of a
      redemption by first-class mail, postage prepaid, mailed not later than 10 Business Days and not
      earlier than 30 days before the applicable Redemption Date, each Holder of Notes to be redeemed, at
      the Holder's address in the Indenture Register or otherwise in accordance with the rules and
      procedures of DTC, Euroclear, and Clearstream, as applicable, to the Preference Shares Paying
      Agent (for forwarding to the Holders of Preference Shares), to the Holding Preference Shares Paying
      Agent (for forwarding to the Holders of Holding Securities) and (in the case of a redemption
      pursuant to Section 9.2(a)) to each Rating Agency. In addition, for so long as any Senior Notes are
      listed on the Irish Stock Exchange and so long as the rules of the exchange so require, notice of
      redemption of Senior Notes pursuant to Section 9.2 shall also be given to the Company
      Announcements Office of the Irish Stock Exchange.

              (b)      All notices of redemption delivered pursuant to Section 9.3(a) shall state:

                       (i)      the applicable Redemption Date;

                      (ii)    the Redemption Price of the Notes to be redeemed (in the case of a
              redemption pursuant to Section 9.2(a));



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                       (iii)  in the case of a redemption pursuant to Section 9.2(a), that all of the Notes,
              are to be redeemed in full and that interest on the Notes to be redeemed shall cease to accrue
              on the Payment Date specified in the notice; and

                        (iv)     the places where the Notes to be redeemed in whole are to be surrendered
              for payment of the Redemption Price, which shall be the office or agency of the Co-Issuers
              to be maintained as provided in Section 7.2 and, so long as any Senior Notes to be redeemed
              are listed on the Irish Stock Exchange, and the Irish Paying Agent.

               Any such notice of redemption may be withdrawn by the Issuer up to the fourth Business
      Day before the scheduled Redemption Date by written notice to the Preference Shares Paying Agent
      (for forwarding to the Holders of Preference Shares), the Holding Preference Shares Paying Agent
      (for forwarding to the Holders of Holding Securities), the Trustee and the Servicer only if:

                               (A)       in the case of a redemption pursuant to Section 9.2(a), the Servicer
                       does not deliver the sale agreement or certifications (described in Section 9.3(c)
                       and 12.1(f)), as the case may be, in form satisfactory to the Trustee,

                                (B)       in the case of a redemption pursuant to Section 9.2(a) or Section
                       9.2(b)(i), the Issuer receives the written direction of the Majority of the Preference
                       Shares (or, in the case of an Optional Redemption of the Notes, the Affected Class)
                       to withdraw the notice of redemption delivered by a percentage of the Preference
                       Shares (or, in the case of an Optional Redemption of the Notes, the Affected Class)
                       requesting redemption under Section 9.2(a) or Section 9.2(b)(i), as applicable, or

                                (C)      in the case of a redemption pursuant to Section 9.2(b)(ii), the
                       Issuer receives the unanimous written direction of the Holders of the Preference
                       Shares to withdraw the notice of redemption (and the Issuer hereby agrees for the
                       benefit of the directing Holders to withdraw the applicable notice of redemption if
                       it receives the written direction referred to in the preceding clause (B) or this clause
                       (C)).

               Notice of any withdrawal shall be sent, not later than the third Business Day before the
      scheduled Redemption Date (assuming that the Trustee has received timely written notice from the
      Issuer as provided above), by the Trustee, to each Noteholder scheduled to be redeemed at the
      Holder's address in the Indenture Register by overnight courier guaranteeing next day delivery (or,
      to the extent the address contained in the Indenture Register is not sufficient for that purpose, by first
      class mail), the Preference Shares Paying Agent (for forwarding to each Holder of Preference
      Shares) and the Holding Preference Shares Paying Agent (for forwarding to each Holder of Holding
      Securities). If the Issuer so withdraws any notice of redemption or is otherwise unable to complete
      any redemption of the Notes, the Sale Proceeds received from the sale of any Collateral Obligations
      sold pursuant to Sections 9.2 and 12.1(f) may, during the Replacement Period (and, in respect of
      Sale Proceeds from Credit Risk Obligations and Credit Improved Obligations, after the Replacement
      Period) at the Servicer's discretion, be used to purchase replacement Collateral Obligations in
      accordance with the Eligibility Criteria.

               Notice of redemption shall be given by the Co-Issuers or, upon an Issuer Order, by the
      Trustee in the name and at the expense of the Co-Issuers. Failure to give notice of redemption, or
      any defect therein, to any Holder of any Notes selected for redemption, the Preference Shares Paying
      Agent (for forwarding to each Holder of Preference Shares) or the Holding Preference Shares
      Paying Agent (for forwarding to each of Holding Securities) shall not impair or affect the validity of
      the redemption of any other Securities.

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              (c)      The Notes may not be redeemed pursuant to Section 9.2(a) unless either of the
      following conditions is satisfied:

                       (i)      At least 10 Business Days before the Redemption Date, the Servicer shall
              have furnished to the Trustee evidence (in form reasonably satisfactory to the Trustee) that
              the Issuer has entered into a binding agreement (with a financial or other institution or entity
              whose short-term unsecured debt obligations (other than obligations whose rating is based
              on the credit of a Person other than the institution) have a credit rating of at least "A-1" from
              S&P and of "P-1" (and not on credit watch for possible downgrade) from Moody's (or to
              any other institution or entity if the Rating Condition with respect to Moody's is satisfied
              with respect to the other entity)) to sell to the financial or other institutions, not later than
              the Business Day before the Redemption Date in immediately available funds, all or part of
              the Collateral (directly or by participation or other arrangement) at a Purchase Price at least
              equal to an amount sufficient (together with any Cash and other Eligible Investments not
              subject to the agreements and maturing on or before the Redemption Date and any
              payments to be received with respect to the Hedge Agreements on or before the Redemption
              Date) to pay all administrative and other fees and expenses payable under the Priority of
              Payments without regard to any payment limitations (including the Senior Servicing Fee
              and the Subordinated Servicing Fee), all amounts owing under this Indenture, all amounts
              owing under the Hedge Agreements to the Hedge Counterparties, and to redeem the Notes
              on the Redemption Date at the applicable Redemption Prices; or

                        (ii)   Before entering into any binding agreement to sell all or a portion of the
              Collateral and selling or terminating any Hedge Agreement, the Servicer shall have certified
              that, in its commercially reasonable judgment, the settlement dates of the sales will be
              scheduled to occur on or before the Business Day before the Redemption Date and that the
              expected proceeds from the sales are to be delivered to the Trustee no later than the
              Business Day before the Redemption Date, in immediately available funds, in an amount
              (calculated as applicable in the manner provided below) sufficient (together with any Cash
              and other Eligible Investments not subject to the agreements and maturing on or before the
              Redemption Date and any payments to be received with respect to the Hedge Agreements
              on or before the Redemption Date) to pay all administrative and other fees and expenses
              payable under the Priority of Payments (including the Senior Servicing Fee and the
              Subordinated Servicing Fee), all amounts owing under this Indenture, all amounts owing
              under the Hedge Agreements to the Hedge Counterparties, and to redeem the Notes on the
              Redemption Date at the applicable Redemption Prices. For purposes of this paragraph, the
              amount shall be calculated with respect to the classes of Collateral listed in the table below
              by multiplying the expected proceeds of sale of the Collateral by the indicated percentage in
              the table below. For the avoidance of doubt, no Hedge Agreement shall be sold or
              terminated unless the third Business Day before the scheduled Redemption Date has passed
              and no notice of withdrawal has been issued.




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                                                                Number of Business Days Between
                                                                Certification to the Trustee and Sale
                                                          Same Day        1 to 2      3 to 5      6 to 15
        1     Cash or other Eligible Investments             100%         100%        100%        100%
        2     Loans (other than 5 below)                     100%         93%         92%          88%
        3     High-Yield Bonds (other than 5 below)
              and Structured Finance Obligations (in
              each case, other than 4 below)                 100%         89%         85%          75%
        4     High-Yield Bonds (other than 5 below)
              and Structured Finance Obligations, in
              each case with a Moody's Rating of "B3"
              and on credit watch with negative
              implications or below "B3"                     100%         75%         65%          55%
        5     Synthetic Securities                           100%         65%         55%          35%


              Any certification delivered pursuant to this Section 9.3(c) shall include (A) the prices of,
      and expected proceeds from, the sale of any Collateral Obligations, Eligible Investments, or Hedge
      Agreements and (B) all calculations required by this Section 9.3(c).

      Section 9.4.     Notes Payable on Redemption Date.

               (a)      Notice of redemption pursuant to Section 9.3 having been given as aforesaid, the
      Notes to be redeemed shall, on the Redemption Date, become payable at the Redemption Price
      therein specified and from and after the Redemption Date (unless the Issuer shall default in the
      payment of the Redemption Price and accrued interest) the Notes shall cease to bear interest on the
      Redemption Date. Upon final payment on a Note to be so redeemed, the Holder shall present and
      surrender the Note at the place specified in the notice of redemption on or before the Redemption
      Date unless the Co-Issuers and the Trustee receive the security or indemnity required by them to
      save each of them harmless and an undertaking thereafter to surrender the Note, and in the absence
      of notice to the Co-Issuers and the Trustee, that the applicable Note has been acquired by a protected
      purchaser, the final payment shall be made without presentation or surrender. Payments of interest
      on Notes so to be redeemed whose Stated Maturity is on or before the Redemption Date shall be
      payable to the Noteholders, or one or more predecessor Notes, registered as such at the close of
      business on the relevant Record Date if the Record Date is a Business Day (or, if the Record Date is
      not a Business Day, the close of business on the Business Day before the Record Date) according to
      Section 2.8(e).

                (b)     If any Note called for redemption is not paid on its surrender for redemption, its
      principal shall bear interest from the Redemption Date at the Applicable Note Interest Rate for each
      successive Interest Period the Note remains Outstanding if the reason for the non-payment is not the
      fault of the Holder of the Note.

      Section 9.5.     Special Redemption.

               Principal payments on the Notes shall be made in whole or in part, at par, in accordance
      with the Priority of Payments if, at any time during the Replacement Period, the Servicer elects
      (subject to the Servicing Agreement) to notify the Trustee and each Rating Agency that it has been
      unable, for 45 consecutive Business Days, to identify additional or replacement Collateral

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      Obligations that are deemed appropriate by the Servicer in its sole discretion and meet the Eligibility
      Criteria in sufficient amounts to permit the application of all or a portion of the funds then in the
      Collection Account available to be used to purchase additional or replacement Collateral Obligations
      (a "Special Redemption").

               On the first Payment Date following the Due Period for which the notice is effective (a
      "Special Redemption Date"), the funds in the Collection Account or the Payment Account
      representing Principal Proceeds that, by operation of the preceding paragraph, are not used to
      purchase additional Collateral Obligations (the "Special Redemption Amount") will be available to
      be applied in accordance with the Priority of Payments under Section 11.1(a)(ii). Notice of
      payments pursuant to this Section 9.5 shall be given by first-class mail, postage prepaid, mailed not
      later than three Business Days before the applicable Special Redemption Date, to each Holder of
      Notes to be redeemed, at the Holder's address in the Indenture Register or otherwise in accordance
      with the rules and procedures of DTC. In addition, for so long as any Senior Notes are listed on the
      Irish Stock Exchange and so long as the rules of the exchange so require, notice of redemption of
      Senior Notes pursuant to Section 9.2 shall also be given to the Company Announcements Office of
      the Irish Stock Exchange.

      Section 9.6.     Amendment Buy-Out.

                (a)      In the case of any supplemental indenture pursuant to Section 8.2 that requires the
      consent of one or more Holders of Securities, the Amendment Buy-Out Purchaser shall have the
      right, but not the obligation, to purchase from Non-Consenting Holders all Securities held by such
      Holders whose consent was solicited with respect to such supplemental indenture or, with respect to
      any Class I Preference Shares held by Investors Corp. if the consent of the Holders of Holding
      Securities has been solicited, to purchase from Non-Consenting Holding Preference Share Holders
      all Holding Preference Shares held by such Holders (the "Amendment Buy-Out Option"), in each
      case, for the applicable Amendment Buy-Out Purchase Price; provided, however, that the
      Amendment Buy-Out Purchaser may not exercise the Amendment Buy-Out Option during the Non-
      Call Period in connection with a proposed amendment to reduce the rate of interest on any Note or to
      change the earliest date on which Notes of any Class or Preference Shares may be redeemed at the
      option of the Issuer. If such option is exercised, the Amendment Buy-Out Purchaser must purchase
      all such Securities of Non-Consenting Holders and all such Holding Preference Shares of the Non-
      Consenting Holding Preference Share Holders, as the case may be, in each case, for the applicable
      Amendment Buy-Out Purchase Price, regardless of the applicable percentage of the Aggregate
      Outstanding Amount of the Securities the consent of whose Holders is required for such
      supplemental indenture (an "Amendment Buy-Out"). By its acceptance of its Securities hereunder,
      each Holder of Securities agrees that if the Amendment Buy-Out Option is exercised, any Non-
      Consenting Holder and any Non-Consenting Holding Preference Share Holder will be required to
      sell its applicable Transaction Securities to the Amendment Buy-Out Purchaser; provided that if any
      Non-Consenting Holder holds Class II Preference Shares, (i) such Non-Consenting Holder will sell
      such Class II Preference Shares to Investors Corp. and such Preference Shares will be redesignated
      as Class I Preference Shares, (ii) Investors Corp. will issue additional Holding Preference Shares in a
      number equal to the aggregate number of, and at a price equal to the price of, such redesignated
      Preference Shares purchased by it and (iii) the Amendment Buy-Out Purchaser will purchase such
      additional Holding Preference Shares in lieu of such redesignated Preference Shares. Neither the
      Amendment Buy-Out Purchaser nor any other Person shall have any liability to any Holder or
      beneficial owner of Transaction Securities as a result of an election by the Amendment Buy-Out
      Purchaser not to exercise the Amendment Buy-Out Option.

               (b)    All purchases made pursuant to an Amendment Buy-Out Option individually
      and in the aggregate must comply with the applicable transfer restrictions for the relevant

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      Transaction Securities set forth herein and in the Preference Share Documents or the Holding
      Preference Share Documents, as applicable, and all applicable laws, rules and regulations
      (including, without limitation, any rules, regulations and procedures of any securities exchange,
      self-regulatory organization or clearing agency).

      Section 9.7.     Redemption by Refinancing.

               (a)       On any Payment Date after the Non-Call Period, any Class of the Notes may be
      redeemed in whole, but not in part from Refinancing Proceeds if the Servicer, on behalf of the
      Issuer, proposes to the Holders of the Preference Shares in writing (by notice to the Preference
      Shares Paying Agent (for forwarding to the Holders of Preference Shares) and to the Holding
      Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities)) with a copy
      to the Trustee and the Rating Agencies, at least 30 days prior to the Payment Date for such
      redemption (such date, the "Refinancing Date"), to redeem such Notes in accordance with this
      Section 9.7 (a "Notice of Refinancing"), which notice shall, among other things, specify the
      Refinancing Date and the Class of Notes to be Refinanced. Such redemption shall be effected by the
      Issuer obtaining a loan or an issuance of a replacement class of notes ("Refinancing Notes"), the
      terms of which loan or issuance will be negotiated by the Servicer, on behalf of the Issuer, from one
      or more financial institutions or purchasers (which may include the Servicer or its Affiliates)
      selected by the Servicer (a refinancing provided pursuant to such loan or issuance, a "Refinancing"),
      and provided that (i) such proposal is approved by a Majority of the Preference Shares (voting as a
      single class) at least 15 days prior to the Refinancing Date and (ii) the Servicer completes such
      Refinancing and causes the Refinancing Proceeds to be deposited with the Trustee (in immediately
      available funds) no later than the close of the Business Day immediately preceding the Refinancing
      Date.

               (b)      The Issuer shall obtain a Refinancing only if the Servicer determines and certifies
      to the Trustee that:
                     (i)      a Rating Agency Confirmation has been obtained from each Rating
              Agency for such Refinancing;

                      (ii)    the proceeds from the Refinancing will be at least sufficient to pay the
              Refinancing Price plus any Administrative Expenses of the Issuer related to the
              Refinancing;

                      (iii)    the interest rate payable in respect of the obligations providing the
              Refinancing is less than the interest rate payable on the Notes being refinanced;

                       (iv)     the principal amount of any obligations providing the Refinancing is no
              greater than the principal amount of the Notes being redeemed with the proceeds of such
              obligations;

                        (v)      the stated maturity of the obligations providing the Refinancing is no
              earlier than the stated maturity of the Notes being refinanced;

                       (vi)    the Refinancing Proceeds will be used (to the extent necessary) to redeem
              the applicable Notes;

                       (vii)    the agreements relating to the Refinancing contain non-recourse and non-
              petition provisions, investor qualification provisions and transfer restrictions equivalent to
              those applicable to the Notes being redeemed, as set forth herein;



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                       (viii) the obligations providing the Refinancing are subject to the Priority of
              Payments and do not rank higher in priority pursuant to the Priority of Payments than the
              Class of Notes being redeemed; and

                      (ix)    the expenses in connection with the Refinancing have been paid or will be
              adequately provided for.

               (c)      The Trustee shall be entitled to receive, and (subject to Sections 6.1 and 6.3 hereof)
      shall be fully protected in relying upon an Opinion of Counsel stating that the Refinancing is
      permitted by this Indenture and that all conditions precedent thereto have been complied with.
               (d)     Any Refinancing Proceeds will not constitute Interest Proceeds or Principal
      Proceeds but will be applied directly on the related Refinancing Date pursuant to this Indenture to
      redeem the Notes being refinanced and pay Administrative Expenses in connection with the
      Refinancing without regard to the Priority of Payments; provided that to the extent that any
      Refinancing Proceeds exceed the amount necessary to redeem the Notes being refinanced (and any
      associated Administrative Expenses), such excess Refinancing Proceeds will be treated as Principal
      Proceeds.
               (e)     If notice of consent by a Majority of the Preference Shares to a Refinancing has
      been received by the Trustee from the Servicer pursuant to Section 9.7(a) no later than 15 days prior
      to the Refinancing Date, notice of a Refinancing shall be given by the Trustee by first class mail,
      postage prepaid, mailed not less than 10 Business Days prior to the proposed Refinancing Date, to
      each Holder of Notes of the Class to be refinanced at the address in the Indenture Register (with a
      copy to the Servicer) and, so long as any Class of Notes is listed on the Irish Stock Exchange, the
      Irish Paying Agent.
              All Notices of Refinancing shall state:

                       (i)      the proposed Refinancing Date, which shall be the applicable Redemption
      Date in respect of the Notes being redeemed;

                       (ii)     the Refinancing Price, which shall be the applicable Redemption Price in
      respect of the Notes being redeemed;

                       (iii)  that on such proposed Refinancing Date such Notes will be refinanced and
      redeemed in full, and that, provided that the Refinancing Proceeds have been deposited with the
      Trustee for any such payment in full, interest on such Notes being redeemed shall cease to accrue on
      such date; and

                       (iv)    the place or places where such Notes are to be surrendered for payment of
      the Refinancing Price which, if not stated, shall be the office or agency of any paying agent as
      provided in Section 7.2.

                      provided that no such Notice of Refinancing shall be sent if either (a) the Servicer
      has withdrawn its consent to such Refinancing or (b) the consent of a Majority of the Holders of
      Preference Shares to such Refinancing has not been obtained.

               (f)      Notice of Refinancing shall be given by the Trustee at the expense of the Issuer.
      Failure to give a Notice of Refinancing, or any defect therein, to any Holder of any Note selected for
      Refinancing shall not impair or affect the validity of the Refinancing or give rise to any claim based
      upon such failure or defect.

               Any Notice of Refinancing may be withdrawn by the Servicer, on behalf of the Issuer, on or
      prior to the fourth Business Day prior to the scheduled Refinancing Date by written notice to the

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      Trustee, the Paying Agent, the Preference Shares Paying Agent, the Holding Preference Shares
      Paying Agent, the Rating Agencies and the Holders of the Preference Shares. Upon receipt of such
      notice of withdrawal, the Trustee shall send such notice to the Holders of Notes and, if applicable,
      the Irish Paying Agent.

                (g)      If a Notice of Refinancing pursuant to Section 9.7(a) has been given as provided
      herein and not withdrawn, the Notes to be refinanced shall on the Refinancing Date become due and
      payable at the Refinancing Price. Each Holder of such Notes shall present and surrender its Note at
      the place specified in the Notice of Refinancing on or prior to such Refinancing Date; provided that
      if there is delivered to the Issuer and the Trustee such security or indemnity as may be required by
      them to save each of them harmless and an undertaking thereafter to surrender such Note, then, in
      the absence of notice to the Issuer and the Trustee that the applicable Note has been acquired by a
      bona fide purchaser, such final payment shall be made without presentation or surrender.

               (h)      If any Class of Notes called for Refinancing shall not be so paid upon surrender
      thereof for Refinancing (or the delivery of the indemnity pursuant to the preceding paragraph) the
      principal shall, until paid, bear interest from the Refinancing Date at the applicable Interest Rate for
      each successive Payment Date with respect to which such Note remains Outstanding.


                                                  ARTICLE 10

                                 ACCOUNTS, ACCOUNTINGS, AND RELEASES

      Section 10.1.    Collection of Money.

               Except as otherwise expressly provided in this Indenture, the Trustee may demand payment
      or delivery of, and shall receive and collect, directly and without intervention or assistance of any
      fiscal agent or other intermediary, all money and other property payable to or receivable by the
      Trustee pursuant to this Indenture, including all payments due on the Pledged Obligations, in
      accordance with the terms of the Pledged Obligations. The Trustee shall segregate and hold all
      money and property received by it in trust for the Secured Parties and shall apply it as provided in
      this Indenture. Any Account may contain any number of sub-accounts for the convenience of the
      Trustee or as required by the Servicer for convenience in administering the Accounts, the Collateral.

      Section 10.2.    Collection Account.

                (a)     Before the Closing Date, the Trustee shall establish a single, segregated non-
      interest bearing trust account that shall be designated as the Collection Account, that shall be held in
      trust in the name of the Trustee for the benefit of the Secured Parties over which the Trustee shall
      have exclusive control and the sole right of withdrawal, and into which the Trustee shall from time
      to time deposit, in addition to the deposits required pursuant to Section 10.7(e), immediately upon
      the Trustee's receipt thereof:

                       (i)     any funds transferred from (1) the Closing Date Expense Account pursuant
              to Section 10.3(g) or (2) the Interest Reserve Account pursuant to Section 10.3(i),

                       (ii)    all Principal Proceeds (unless (1) simultaneously used to purchase
              Collateral Obligations in accordance with Article 12, (2) deposited into the Revolving
              Reserve Account or the Delayed Drawdown Reserve Account or (3) posted by the Issuer as
              cash collateral with (or for the benefit of) a Synthetic Security Counterparty simultaneously


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              with the Issuer's purchase of or entry into a Synthetic Security or in Eligible Investments)
              received by the Trustee,

                       (iii)    all Interest Proceeds received by the Trustee (unless simultaneously used
              to purchase accrued interest in respect of Collateral Obligations in accordance with Article
              12 or in Eligible Investments), and

                      (iv)    all other funds received by the Trustee from the Collateral and not
              excluded above.

      In addition to the items described above, the Issuer may, but under no circumstances shall be
      required to, deposit from time to time any monies, securities and other instruments in the Collection
      Account it deems, in its sole discretion, to be advisable (and may designate any amounts deposited
      pursuant to this sentence as Principal Proceeds or Interest Proceeds in its discretion). Any Principal
      Proceeds received during the Replacement Period, and Sale Proceeds from the sale of Credit
      Improved Obligations and Unscheduled Principal Payments received after the Replacement Period,
      which have not been used to purchase additional Collateral Obligations on the Business Day of
      receipt shall be deposited in the Collection Account and shall at the direction of the Servicer be
      applied to the purchase of additional Collateral Obligations in accordance with the Eligibility
      Criteria and the other requirements set forth herein or the purchase of Eligible Investments pending
      such application or used to enter into additional Hedge Agreements or used in connection with a
      Special Redemption. Principal Proceeds (other than Sale Proceeds from the sale of Credit Improved
      Obligations, Credit Risk Obligations and Unscheduled Principal Payments) received after the
      Replacement Period shall be deposited into the Collection Account and applied to the purchase of
      Eligible Investments. All monies deposited from time to time in the Collection Account pursuant to
      this Indenture shall be held by the Trustee as part of the Collateral and shall be applied to the
      purposes provided in this Indenture. Amounts in the Collection Account shall be held pursuant to
      Section 10.4(a).

                (b)      Within one Business Day after receipt of any distribution or other proceeds of the
      Collateral that are not Cash, the Trustee shall so notify the Issuer and the Servicer. Within five
      Business Days of receipt of the notice from the Trustee, the Servicer, on behalf of the Issuer, shall
      sell the distribution or other proceeds for Cash in an arm's length transaction to a Person that is not
      the Servicer or an Affiliate of the Servicer and deposit its proceeds in the Collection Account. The
      Issuer need not sell the distributions or other proceeds if it delivers an Issuer Order or an Officer's
      certificate to the Trustee and the Servicer certifying that the distributions or other proceeds are
      Collateral Obligations, Eligible Investments, or Workout Assets.

               (c)     During the Replacement Period (or, in respect of Principal Proceeds constituting
      Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations and Credit
      Improved Obligations, after the Replacement Period), at the direction of the Servicer, the Issuer may
      by Issuer Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee shall withdraw
      funds on deposit in the Collection Account representing Principal Proceeds (and, to the extent
      expressly provided in this Indenture, Interest Proceeds) and apply the funds to purchase Collateral
      Obligations (including any related deposit into the Revolving Reserve Account or the Delayed
      Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for the benefit
      of) a Synthetic Security Counterparty simultaneously with the Issuer's purchase of or entry into a
      Synthetic Security), in each case in accordance with the requirements of Article 12 and the Issuer
      Order.

               (d)     At any time during or after the Replacement Period, at the direction of the Servicer,
      the Issuer may by Issuer Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee

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      shall, pay from amounts on deposit in the Collection Account on any Business Day during any
      Interest Period from Interest Proceeds only, any Administrative Expenses that require payment
      before the next Payment Date to the extent that the amount of the payments does not exceed the
      aggregate amount that may be paid on the next Payment Date under, and at the level of priority
      specified by, Section 11.1(a)(i)(1).

               (e)     The Trustee shall transfer to the Payment Account from the Collection Account for
      application pursuant to Section 11.1(a) or 11.2, as applicable, on or not later than the Business Day
      preceding each Payment Date, the amount set forth to be so transferred in the Valuation Report for
      the Payment Date.

      Section 10.3.    Other Accounts.

               (a)      Custodial Account. Before the Closing Date, the Trustee shall establish a single,
      segregated trust account that shall be designated as the Custodial Account, that shall be held in trust
      in the name of the Trustee for the benefit of the Secured Parties, over which the Trustee shall have
      exclusive control and the sole right of withdrawal, and into which the Trustee shall deposit the
      Collateral Obligations and other Collateral not deposited elsewhere in accordance with this
      Indenture (other than Loans, Participations and general intangibles, which in the case of Loans and
      Participations, shall be held by the Trustee as provided in Section 3.2). All assets or securities at any
      time on deposit in, or otherwise to the credit of, the Custodial Account shall be held in trust by the
      Trustee for the benefit of the Secured Parties. The only permitted withdrawals from the Custodial
      Account shall be in accordance with this Indenture. The Co-Issuers shall not have any legal,
      equitable, or beneficial interest in the Custodial Account other than in accordance with Section 3.2
      and the Priority of Payments.

               (b)      Revolving Reserve Account and Delayed Drawdown Reserve Account. Before the
      Closing Date, the Trustee shall establish (i) a single, segregated non-interest bearing trust account
      which shall be designated as the Revolving Reserve Account and (ii) a single, segregated non-
      interest bearing trust account that shall be designated as the Delayed Drawdown Reserve Account,
      each of which shall be held in trust in the name of the Trustee for the benefit of the Secured Parties,
      over which the Trustee shall have exclusive control and the sole right of withdrawal. Upon the
      purchase of any Collateral Obligation that is a Revolving Loan or Delayed Drawdown Loan, at the
      direction of the Servicer, the Trustee shall deposit Principal Proceeds into the Revolving Reserve
      Account, in the case of a Revolving Loan, and the Delayed Drawdown Reserve Account, in the case
      of a Delayed Drawdown Loan, each equal to the unfunded Commitment Amount of the Revolving
      Loan or Delayed Drawdown Loan, respectively, and the Principal Proceeds so deposited shall be
      considered part of the Purchase Price of the Revolving Loan or Delayed Drawdown Loan for
      purposes of Article 12. At the direction of the Servicer at any time during or after the Replacement
      Period, the Trustee shall withdraw funds from the Revolving Reserve Account or the Delayed
      Drawdown Reserve Account to fund extensions of credit pursuant to Revolving Loans or Delayed
      Drawdown Loans, respectively. In addition, to the extent that the Issuer receives proceeds of a
      repayment in respect of a Revolving Loan (except to the extent of any concurrent Commitment
      Reduction) at any time during or after the Replacement Period, the Trustee shall deposit the
      proceeds into the Revolving Reserve Account. Upon the sale of a Revolving Loan or Delayed
      Drawdown Loan in whole or in part or the reduction in part or termination of the Issuer's
      commitment thereunder, an amount on deposit in the Revolving Reserve Account or the Delayed
      Drawdown Reserve Account, as the case may be, specified by the Servicer as being equal to:

                      (i)       the unfunded amount of the commitment (in the case of a sale in whole or
              a termination of the commitment),


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                          (ii)   the proportionate amount of the amount on deposit (in the case of a sale in
              part), or

                       (iii)    the amount by which the commitment is reduced (in the case of a reduction
              thereof in part),

      shall be transferred by the Trustee to the Collection Account as Principal Proceeds. Amounts on
      deposit in the Revolving Reserve Account or the Delayed Drawdown Reserve Account shall be held
      pursuant to Section 10.4(b). All interest and other income from amounts in the Revolving Reserve
      Account and the Delayed Drawdown Reserve Account deposited to the Collection Account pursuant
      to Section 10.4(b) shall be considered Interest Proceeds in the Due Period in which they are so
      deposited.

               (c)      Expense Reimbursement Account. Before the Closing Date, the Trustee shall
      establish a single, segregated non-interest bearing trust account that shall be designated as the
      Expense Reimbursement Account, that shall be held in trust in the name of the Trustee for the
      benefit of the Secured Parties, over which the Trustee shall have exclusive control and the sole right
      of withdrawal. On any Payment Date and on any date between Payment Dates, the Trustee will
      apply amounts, if any, in the Expense Reimbursement Account to the payment of expenses and fees
      that must be paid between Payment Dates or that are due on that Payment Date under Section
      11.1(a)(i)(1) and the Trustee shall on any Payment Date transfer to the Expense Reimbursement
      Account an amount equal to the excess, if any, of the Administrative Expense Cap over the amounts
      due under Section 11.1(a)(i)(1) to the Expense Reimbursement Account in accordance with Section
      11.1(a)(i)(2). Funds in the Expense Reimbursement Account shall be applied in accordance with
      Section 10.4(a).

               (d)       Hedge Counterparty Collateral Account. Before the Closing Date, the Trustee
      shall establish a single, segregated non-interest bearing trust account that shall be designated as the
      Hedge Counterparty Collateral Account, that shall be held in trust in the name of the Trustee for the
      benefit of the Secured Parties (other than the Hedge Counterparty pledging the Collateral), over
      which the Trustee shall have exclusive control, the sole right of withdrawal and a lien for the benefit
      of the Secured Parties. The Trustee shall deposit all collateral received from a Hedge Counterparty
      under any Hedge Agreement into the Hedge Counterparty Collateral Account. The only permitted
      withdrawal from or application of funds on deposit in, or otherwise to the credit of, the Hedge
      Counterparty Collateral Account shall be:

                       (i)     for application to obligations of the relevant Hedge Counterparty to the
              Issuer under a Hedge Agreement if the Hedge Agreement becomes subject to early
              termination, or

                      (ii)     to return collateral to the relevant Hedge Counterparty when and as
              required by the relevant Hedge Agreement, in each case as directed by the Servicer.

              Amounts on deposit in the Hedge Counterparty Collateral Account shall be held pursuant to
      Section 10.4(a) and shall not be considered an asset of the Issuer for the purposes of the Coverage
      Tests.

               (e)      Synthetic Security Collateral Account. Before the Closing Date, the Trustee shall
      establish a single, segregated non-interest bearing trust account that shall be designated as the
      Synthetic Security Collateral Account, that shall be held in trust in the name of the Trustee for the
      benefit of the Secured Parties over which the Trustee shall have exclusive control, the sole right of
      withdrawal, and a lien for the benefit of the Secured Parties. On or before the date on which the

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      Issuer enters into a Synthetic Security and delivers a copy of it to the Trustee, the Trustee shall
      create a sub-account of the Synthetic Security Collateral Account with respect to the Synthetic
      Security.

                All Synthetic Security Collateral posted by any Synthetic Security Counterparty in support
      of its respective obligation under a Synthetic Security shall be immediately deposited into the
      Synthetic Security Collateral Account and posted to the sub-account related to the Synthetic
      Security. On each day on which amounts are payable to the Issuer out of Synthetic Security
      Collateral, the Issuer by Issuer Order shall direct the Trustee to, and upon receipt of the Issuer Order,
      the Trustee shall, withdraw amounts on deposit in the Synthetic Security Collateral Account in an
      amount sufficient to make the payment as provided in the Issuer Order (including any total or partial
      release of Synthetic Security Collateral). The only permitted withdrawal from or application of
      funds on deposit in, or otherwise to the credit of, the Synthetic Security Collateral Account shall be
      (i) for application to the obligations of the relevant Synthetic Security Counterparty under a
      Synthetic Security Agreement or (ii) to return Synthetic Security Collateral to the relevant Synthetic
      Security Counterparty at the termination of the relevant Synthetic Security Agreement or as
      otherwise required by the Synthetic Security Agreement, in each case as directed by the Servicer.

              Amounts on deposit in the Synthetic Security Collateral Account shall be held pursuant to
      Section 10.4(b) and shall not be considered an asset of the Issuer for the purposes of the Coverage
      Tests.

               (f)       Securities Lending Account. Before the Closing Date, the Trustee shall establish a
      single, segregated non-interest bearing trust account that shall be designated as the Securities
      Lending Account, that shall be held in trust in the name of the Trustee for the benefit of the Secured
      Parties, over which the Trustee shall have exclusive control, the sole right of withdrawal, and a lien
      for the benefit of the Secured Parties. On or before the date on which the Issuer enters into a
      Securities Lending Agreement and delivers a copy of it to the Trustee, the Trustee shall create a sub-
      account of the Securities Lending Account with respect to the Securities Lending Agreement. All
      Securities Lending Collateral posted by any Securities Lending Counterparty in support of its
      respective obligation under a Securities Lending Agreement shall be immediately deposited into the
      Securities Lending Account and posted to the sub-account related to the Securities Lending
      Agreement. The only permitted withdrawal from or application of funds on deposit in, or otherwise
      to the credit of, the Securities Lending Account shall be:

                       (i)      for application to obligations of the relevant Securities Lending
              Counterparty to the Issuer under a Securities Lending Agreement if the Securities Lending
              Agreement becomes subject to early termination or in the exercise of remedies under the
              related Securities Lending Agreement upon any "event of default" under and as defined in
              the related Securities Lending Agreement, including liquidating the related Securities
              Lending Collateral, or

                       (ii)     to return the Securities Lending Collateral to the relevant Securities
              Lending Counterparty when and as required by the relevant Securities Lending Agreement,
              in each case as directed by the Servicer.

               Amounts on deposit in the Securities Lending Account shall be held pursuant to Section
      10.4(c). To the extent provided in a Securities Lending Agreement, earnings on amounts on deposit
      in the Securities Lending Account shall be payable by the Issuer to the related Securities Lending
      Counterparty.



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               Amounts on deposit in the Securities Lending Account shall not be considered an asset of
      the Issuer for the purposes of the Coverage Tests, but the loaned security or asset that relates to the
      Securities Lending Account shall be so considered an asset of the Issuer.

               (g)      Closing Date Expense Account. Before the Closing Date, the Trustee shall
      establish a single, segregated non-interest bearing trust account that shall be designated as the
      Closing Date Expense Account, that shall be held in trust in the name of the Trustee for the benefit
      of the Secured Parties, over which the Trustee shall have exclusive control and the sole right of
      withdrawal. On the Closing Date, the Trustee, at the direction of the Issuer, shall deposit into the
      Closing Date Expense Account approximately U.S.$23,050,000 from the gross proceeds of the
      Offering. At any time before the Payment Date in November 2007, at the direction of the Servicer,
      the Issuer may by Issuer Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee
      shall, pay from amounts on deposit in the Closing Date Expense Account any applicable fees and
      expenses of the Offering. On the Payment Date in November 2007 (or, at the discretion of the
      Servicer, on the Payment Date in August 2007), at the direction of the Servicer in its sole discretion,
      the Trustee shall transfer all funds on deposit in the Closing Date Expense Account to the Collection
      Account as Interest Proceeds or Principal Proceeds and close the Closing Date Expense Account.

               Amounts on deposit in the Closing Date Expense Account shall be held pursuant to Section
      10.4(a) and shall not be considered an asset of the Issuer for the purposes of the Coverage Tests.

               (h)       Payment Account. Before the Closing Date, the Trustee shall establish a single,
      segregated non-interest bearing trust account that shall be designated as the Payment Account, that
      shall be held in trust in the name of the Trustee for the benefit of the Secured Parties, over which the
      Trustee shall have exclusive control and the sole right of withdrawal. The only permitted
      withdrawal from or application of funds on deposit in, or otherwise to the credit of, the Payment
      Account shall be to pay amounts due and payable on the Notes in accordance with their terms and
      the provisions of this Indenture and to pay Administrative Expenses and other amounts specified in
      this Indenture, each in accordance with the Priority of Payments. The Co-Issuers shall not have any
      legal, equitable, or beneficial interest in the Payment Account other than in accordance with the
      Priority of Payments.

               (i)      Interest Reserve Account. Before the Closing Date, the Trustee shall establish a
      single, segregated non-interest bearing trust account that shall be designated as the Interest Reserve
      Account, that shall be held in trust in the name of the Trustee for the benefit of the Secured Parties,
      over which the Trustee shall have exclusive control and the sole right of withdrawal. On the Closing
      Date, the Trustee, at the direction of the Issuer, shall deposit into the Interest Reserve Account
      approximately U.S.$ 6,300,000 from the gross proceeds of the Offering. At any time before the
      Payment Date in November 2007, at the direction of the Servicer, the Issuer may by Issuer Order
      direct the Trustee to, and upon receipt of the Issuer Order the Trustee shall transfer any funds on
      deposit in the Interest Reserve Account to the Collection Account as Interest Proceeds or Principal
      Proceeds. On the Payment Date in November 2007 (or, at the discretion of the Servicer, on the
      Payment Date in August 2007), at the direction of the Servicer in its sole discretion, the Trustee shall
      transfer all funds on deposit in the Interest Reserve Account (after application of any monies
      therefrom on such date) to the Collection Account as Interest Proceeds or Principal Proceeds and
      close the Interest Reserve Account. Amounts on deposit in the Interest Reserve Account shall be
      held pursuant to Section 10.4(a).

               (j)      Class II Preference Share Special Payment Account. Before the Closing Date, the
      Trustee shall establish a single, segregated non-interest bearing trust account that shall be designated
      as the Class II Preference Share Special Payment Account, that shall be held in trust in the name of
      the Trustee for the benefit of Holders of the Class II Preference Shares, over which the Trustee shall

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      have exclusive control and the sole right of withdrawal. On each Payment Date, to the extent of
      available funds in accordance with the Priority of Payments, the Trustee will deposit into the Class II
      Preference Share Special Payment Account amounts equal to the products of (a) the Class II
      Preference Share Portion for such Payment Date and (b) the Servicing Fees then due and payable, as
      described in Section 11.1(a) for payment to the Servicer on such Payment Date. The Servicer has
      agreed to waive amounts that would otherwise be payable to the Servicer as Servicing Fees, on each
      Payment Date until (and including) the Payment Date in February 2008 and an amount equal to such
      waived amounts will be distributed by the Trustee, subject to the laws of the Cayman Islands, to the
      Preference Shares Paying Agent for payment pro rata to the Holders of the Class II Preference
      Shares as Class II Preference Share Special Payments. After the Payment Date in February 2008, the
      Servicer may, in its sole discretion, at any time waive a portion of the Servicing Fees then due and
      payable, in which event, an amount equal to such waived portion will be distributed by the Trustee,
      subject to the laws of the Cayman Islands, to the Preference Shares Paying Agent for payment pro
      rata to the Holders of the Class II Preference Shares as Class II Preference Share Special Payments.
      For purposes of any calculation under the Indenture and the Servicing Agreement, the Servicer will
      be deemed to have received the Servicing Fee in an amount equal to the sum of the Servicing Fee
      actually paid to the Servicer and the amount distributed to the Holders of the Class II Preference
      Shares as Class II Preference Share Special Payments.

               (k)      In addition to any deposit, withdrawal, transfer or other application of funds with
      respect to any Account set forth in this Section 10.3 or in Section 10.2, any deposit, withdrawal,
      transfer or other application of funds with respect to any Account authorized elsewhere in this
      Indenture is hereby authorized pursuant to this Section 10.3.

               (l)      In order to comply with its obligations under the USA Patriot Act of 2001, if any,
      the Trustee shall be entitled to request and verify, and the Noteholders, beneficial owners, the Co-
      Issuers and other parties related to this Indenture shall be obligated to provide to the Trustee all the
      necessary information required by the USA Patriot Act of 2001.

      Section 10.4.     Application of Funds in Accounts; Reports by Trustee.

               (a)      By Issuer Order (which may be in the form of standing instructions), at the
      direction of the Servicer, the Issuer shall at all times before an Event of Default occurs, direct the
      Trustee to, and, upon receipt of the Issuer Order, the Trustee shall, apply all funds on deposit in the
      Collection Account, the Hedge Counterparty Collateral Account, the Expense Reimbursement
      Account, the Closing Date Expense Account and the Interest Reserve Account as so directed in
      Eligible Investments having Stated Maturities no later than the Business Day before the next
      Payment Date. All applications on any Business Day shall be subject to the timely receipt of the
      funds and the availability of any Eligible Investments. Before an Event of Default occurs, if the
      Issuer has not given directions, the Trustee shall seek instructions from the Servicer within three
      Business Days after transfer of any funds to the Collection Account, the Hedge Counterparty
      Collateral Account, the Expense Reimbursement Account, the Closing Date Expense Account or the
      Interest Reserve Account. If the Trustee does not receive written instructions from the Servicer
      within five Business Days after transfer of the funds to the account, it shall apply the funds held in
      the account, as fully as practicable, but only in one or more Eligible Investments of the type
      described in clause (c) of the definition of "Eligible Investments" maturing no later than the Business
      Day before the next Payment Date. After an Event of Default occurs, if the Issuer does not give
      directions to the Trustee for three consecutive days, the Trustee shall apply the monies as fully as
      practicable in Eligible Investments of the type described in clause (c) of the definition of "Eligible
      Investments" maturing not later than the earlier of (i) 30 days after the date of the application or (ii)
      the Business Day before the next Payment Date. All interest and other income from such Eligible
      Investments shall be deposited in the Collection Account, any gain realized from such Eligible

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      Investments shall be credited to the Collection Account, and any loss resulting from such Eligible
      Investments shall be charged to the Collection Account. Subject to Section 6.7, the Trustee shall not
      in any way be held liable for the selection of Eligible Investments or because of any insufficiency of
      the Collection Account, the Hedge Counterparty Collateral Account, the Expense Reimbursement
      Account, the Closing Date Expense Account or the Interest Reserve Account or any other account
      that results from any loss relating to any such Eligible Investment.

                (b)      By Issuer Order (which may be in the form of standing instructions), at the
      direction of the Servicer, the Issuer shall at all times direct the Trustee to, and, upon receipt of the
      Issuer Order, the Trustee shall, apply all funds on deposit in the Revolving Reserve Account, the
      Delayed Drawdown Reserve Account, and the Synthetic Security Collateral Account in Eligible
      Investments having Stated Maturities not later than one Business Day after the date of their
      purchase. All applications on any Business Day shall be subject to the timely receipt of the funds
      and the availability of any Eligible Investments. If before an Event of Default, the Issuer does not
      give directions, the Trustee shall seek instructions from the Servicer within three Business Days
      after transfer of any funds to the Revolving Reserve Account, the Delayed Drawdown Reserve
      Account, or the Synthetic Security Collateral Account. If the Trustee does not thereupon receive
      written instructions from the Servicer within five Business Days after transfer of the funds to the
      account, it shall apply the funds held in the account, as fully as practicable, but only in one or more
      Eligible Investments of the type described in clause (e) of the definition of "Eligible Investments"
      that are overnight funds. If after an Event of Default, the Issuer does not give directions to the
      Trustee for three consecutive days, the Trustee shall apply the monies as fully as practicable in
      Eligible Investments of the type described in clause (e) of the definition of "Eligible Investments"
      that are overnight funds. All interest and other income from such Eligible Investments shall be
      deposited in the Collection Account, any gain realized from such Eligible Investments shall be
      credited to the Collection Account, and any loss resulting from such Eligible Investments shall be
      charged to the Collection Account.

                (c)      By Issuer Order (which may be in the form of standing instructions), at the
      direction of the Servicer, the Issuer shall at all times direct the Trustee to, and, upon receipt of the
      Issuer Order, the Trustee shall, apply all funds on deposit in the Securities Lending Account in
      Eligible Investments having Stated Maturities no later than the Business Day before the stated
      termination date of the related Securities Lending Agreement. All applications on any Business Day
      shall be subject to the timely receipt of the funds and the availability of any Eligible Investments.
      The interest on the Eligible Investments shall be allocated between the Issuer and the Securities
      Lending Counterparty pursuant to the related Securities Lending Agreement. If before an Event of
      Default, the Issuer does not give directions, the Trustee shall seek instructions from the Servicer
      within three Business Days after transfer of any funds to the Securities Lending Account. If the
      Trustee does not thereupon receive written instructions from the Servicer within five Business Days
      after transfer of the funds to the account, it shall apply the funds held in the account, as fully as
      practicable, but only in one or more Eligible Investments of the type described in clause (e) of the
      definition of "Eligible Investments" that mature no later than the Business Day before the stated
      termination date of the related Securities Lending Agreement. If after an Event of Default, the
      Issuer does not give directions to the Trustee for three consecutive days, the Trustee shall apply the
      monies as fully as practicable in Eligible Investments of the type described in clause (e) of the
      definition of "Eligible Investments" maturing no later than the Business Day before the stated
      termination date of the related Securities Lending Agreement. All interest and other income from
      such Eligible Investments shall be deposited in the Collection Account, any gain realized from such
      Eligible Investments shall be credited to the Collection Account, and any loss resulting from such
      Eligible Investments shall be charged to the Collection Account.



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               (d)       The Trustee agrees to give the Issuer notice as soon as reasonably practicable if a
      Trust Officer obtains actual knowledge that any Account or any funds on deposit in any Account, or
      otherwise to the credit of an Account, shall become subject to any writ, order, judgment, warrant of
      attachment, execution or similar process. All Accounts shall remain at all times with the Custodian
      or a financial institution having a long-term debt rating of at least "Baa1" (and not on credit watch
      with negative implications) by Moody's and at least "BBB+" by S&P and having combined capital
      and surplus of at least U.S.$200,000,000 that has entered into one or more securities account control
      agreements in accordance with Article 8 of the UCC; provided, however, that (i) with respect to the
      Synthetic Security Collateral Account, the Synthetic Security Counterparty shall be a party to such
      control agreement and shall consent to the Trustee’s control of such Synthetic Security Collateral
      Account, (ii) with respect to the Securities Lending Account, the Securities Lender shall be a party
      to such control agreement and shall consent to the Trustee’s control of such Securities Lending
      Account and (iii) with respect to each Hedge Counterparty Collateral Account, the related Hedge
      Counterparty shall be a party to such control agreement and shall consent to the Trustee’s control of
      such Hedge Counterparty Collateral Account.

               (e)      The Trustee shall supply, in a timely fashion, to the Co-Issuers and the Servicer any
      information regularly maintained by the Trustee that the Co-Issuers or the Servicer may from time to
      time request with respect to the Pledged Obligations, the Accounts and the Collateral and provide
      any other requested information reasonably available to the Trustee because of its acting as Trustee
      under this Indenture and required to be provided by Section 10.6, to permit the Servicer to perform
      its obligations under the Servicing Agreement. The Trustee shall promptly forward to the Servicer
      copies of notices and other writings received by it from the issuer of any Collateral Obligation or
      from any Clearing Agency with respect to any Collateral Obligation which notices or writings advise
      the holders of the security of any rights that the holders might have with respect to the Collateral
      Obligation (including requests to vote with respect to amendments or waivers and notices of
      prepayments and redemptions) as well as all periodic financial reports received from the issuer and
      Clearing Agencies with respect to the issuer.

               (f)      To the extent monies deposited in any Account exceed amounts insured by the
      Bank Insurance Fund or Savings Association Insurance Fund administered by the Federal Deposit
      Insurance Corporation or any agencies succeeding to its insurance functions, and are not fully
      collateralized by direct obligations of the United States of America, the excess shall be held in
      Eligible Investments as described above.

      Section 10.5.    Synthetic Security Counterparty Account.

               (a)      To the extent that any Synthetic Security requires the Issuer to secure its
      obligations to the Synthetic Security Counterparty or to the extent that any Synthetic Security has an
      unfunded amount payable by the Issuer that does not by its terms require collateral, the Issuer shall
      direct the Trustee and the Trustee shall establish a segregated non-interest bearing trust account for
      the Synthetic Security which shall be held in trust for the benefit of the related Synthetic Security
      Counterparty and over which the Trustee shall have exclusive control and the sole right of
      withdrawal in accordance with the applicable Synthetic Security and this Indenture (a "Synthetic
      Security Counterparty Account"). In the alternative, a Synthetic Security Counterparty Account
      may be established with a trustee designated by the Synthetic Security Counterparty if that trustee
      would qualify to be a successor trustee under Section 6.9 and the account satisfies the other
      requirements of this Section.

               As directed in writing by the Servicer, the Trustee shall deposit (or deliver for deposit) into
      each Synthetic Security Counterparty Account all amounts or securities that are required to secure
      the obligations of the Issuer in accordance with the related Synthetic Security and, without

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      duplication, an amount equal to the unfunded amount of a Synthetic Security, including the entire
      notional amount of any Synthetic Security in the form of a credit default swap or other similar
      transaction. The Servicer shall direct any such deposit only during the Replacement Period and only
      to the extent that monies are available for the purchase of Collateral Obligations pursuant to this
      Indenture. Any income received on amounts in the Synthetic Security Counterparty Account shall,
      after application in accordance with the relevant Synthetic Security, be withdrawn from the
      Synthetic Security Counterparty Account and deposited in the Collection Account for distribution as
      Interest Proceeds.

              (b)      As directed by the Servicer in writing and in accordance with the applicable
      Synthetic Security and this Indenture, amounts on deposit in a Synthetic Security Counterparty
      Account shall be held in Synthetic Security Collateral.

               (c)      In connection with the occurrence of a credit event or an event of default or a
      termination event (each as defined in the applicable Synthetic Security) under the related Synthetic
      Security, amounts in any Synthetic Security Counterparty Account shall be withdrawn by the
      Trustee (or the Trustee shall request their withdrawal) and applied toward the payment of any
      amounts payable by the Issuer to the related Synthetic Security Counterparty in accordance with the
      Synthetic Security, as directed by the Servicer in writing. Any excess amounts held in a Synthetic
      Security Counterparty Account, or held directly by a Synthetic Security Counterparty, after payment
      of all amounts owing from the Issuer to the related Synthetic Security Counterparty in accordance
      with the related Synthetic Security shall be withdrawn from the Synthetic Security Counterparty
      Account and deposited in the Collection Account for distribution as Principal Proceeds.

                (d)      Amounts on deposit in any Synthetic Security Counterparty Account shall not be
      considered an asset of the Issuer for the purposes of the Coverage Tests, but the Synthetic Security
      that relates to the Synthetic Security Counterparty Account shall be so considered an asset of the
      Issuer (with the notional amount as the Principal Balance unless a default exists under the applicable
      Synthetic Security).

      Section 10.6.    Accountings.

                (a)       Monthly. Commencing the earlier of (a) the first full month after the Ramp-Up
      Completion Date and (b) the month ending July 2007, (i) in the case of a month in which there is no
      Payment Date, not later than the eighth Business Day after the last calendar day of such month and
      (ii) in the case of a month in which there is a Payment Date, on such Payment Date, the Issuer shall
      cause to be compiled and provided to the Servicer, the Trustee, the Preference Shares Paying Agent
      (for forwarding to each Holder of Preference Shares), the Initial Purchaser, the Placement Agent,
      each Hedge Counterparty, the Rating Agencies, (if so requested by the Initial Purchaser) the
      Repository in accordance with Section 14.3(a)(ix) or each Holder of a Note who makes a written
      request therefor, and, upon written request therefor by a Beneficial Owner in the form of Exhibit H
      certifying that it is a Beneficial Owner, the Beneficial Owner (or its designee), a monthly report (the
      "Monthly Report"). Each Monthly Report shall be accompanied by a Section 3(c)(7) Reminder
      Notice. The Monthly Report shall contain the following information, determined as of (1) in the
      case of a month in which there is no Payment Date, the last day of the applicable month and (2) in
      the case of a month in which there is a Payment Date, the Determination Date for such Payment
      Date, based in part on information provided by the Servicer (the "Monthly Determination Date"):

                       (i)      Collateral:




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                              (A)      The Aggregate Principal Balance (and, in the case of a Revolving
                      Loan or Delayed Drawdown Loan, its funded and unfunded amount), interest rate,
                      Stated Maturity and obligor of each Collateral Obligation;

                              (B)      The stated principal balance of Defaulted Collateral Obligations;

                               (C)      The identity of all Collateral Obligations and all obligations that at
                      the time of acquisition, conversion or exchange do not satisfy the requirements of a
                      Collateral Obligation that were released for sale or other disposition (and, for each
                      obligation sold, indicating whether sold as a Credit Risk Obligation, a Credit
                      Improved Obligation, a Current-Pay Obligation, a Defaulted Collateral Obligation,
                      a Workout Asset or an obligation that at the time of acquisition, conversion, or
                      exchange does not satisfy the requirements of a Collateral Obligation or whether
                      sold in connection with any withholding tax pursuant to Section 12.1(e) or sold as a
                      discretionary sale pursuant to Section 12.1(h)); and the identity of all Collateral
                      Obligations that were acquired, in each case since the date of the previous Monthly
                      Report;

                              (D)      The obligor of each Workout Asset;

                               (E)      The Purchase Price of each Collateral Obligation acquired, the
                      sale price of each Collateral Obligation sold (or the adjusted purchase or sale price
                      with respect to any exchange of securities requiring an allocation by the Servicer)
                      since the date of the previous Monthly Report on each sale;

                                (F)      The identity of each Collateral Obligation (1) that is a Defaulted
                      Collateral Obligation, a Workout Asset or a PIK Security, and in the case of a PIK
                      Security (i) the principal amount of previously deferred or capitalized interest and
                      (ii) the change in the principal amount of previously deferred or capitalized interest
                      since the most recent Monthly Report or (2) in respect of which an obligation that
                      at the time of acquisition, conversion or exchange does not satisfy the requirements
                      of a Collateral Obligation has been received, in each case indicating the date of
                      such default, as applicable, and reporting any Other Indebtedness, as defined in
                      clause (ii) in the definition of "Defaulted Collateral Obligation," that the Servicer
                      has determined not to be material;

                               (G)      The S&P Industry Classification and the Moody's Industry
                      Classification for each Collateral Obligation and the five highest concentrations of
                      Collateral Obligations in the Moody's Industry Classification groups and the five
                      highest concentrations of Collateral Obligations in the S&P Industry Classification
                      groups;

                               (H)      For each Collateral Obligation, the country of the obligor (and the
                      related foreign currency debt rating) and, in the case of a country other than the
                      United States of America, whether the obligor is Domiciled in a Moody's Group I
                      Country, Moody's Group II Country, or Moody's Group III Country and the
                      percentage of the Aggregate Principal Balance of the Collateral Obligations issued
                      by issuers in the applicable country;

                             (I)     For each Collateral Obligation, the Moody's Priority Category
                      Recovery Rate and S&P Priority Category Recovery Rate;


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                               (J)      For each Collateral Obligation, the S&P Rating, and if any S&P
                      Rating for any Collateral Obligation in any Monthly Report is a credit estimate,
                      "non-public" rating or "shadow" rating, the rating shall not be disclosed, but shall
                      be replaced with an asterisk in the place of the applicable credit estimate, "non-
                      public" rating or "shadow" rating;

                               (K)      For each Collateral Obligation, the Moody's Rating and the
                      Moody's Rating Factor, determined, for this purpose, and set forth both with and
                      without regard to whether the Collateral Obligation has been put on watch for
                      possible upgrade or downgrade, and if any Moody's Rating for any Collateral
                      Obligation in any Monthly Report is an "estimated" or "shadow" rating, the rating
                      shall not be disclosed, but shall be replaced with an asterisk in the place of the
                      applicable "estimated" or "shadow" rating;

                              (L)    The Aggregate Principal Balance of the Collateral Obligations that
                      have a Moody's Rating of "Caa1" or lower;

                              (M)    The Aggregate Principal Balance of the Collateral Obligations that
                      have an S&P Rating of "CCC+" or lower;

                               (N)      For each Collateral Obligation that is a Participation or a Synthetic
                      Security or is loaned pursuant to a Securities Lending Agreement, the related
                      Secondary Risk Counterparty and each Rating Agency's long-term unsecured debt
                      rating of the Secondary Risk Counterparty;

                               (O)       Certain S&P benchmarks relating to the portfolio as provided by
                      S&P in the S&P CDO Monitor regardless whether or not the S&P CDO Monitor
                      passes or fails, including (1) S&P Default Measure (Annualized Portfolio Default
                      Rate), (2) S&P Variability Measure (Annualized Standard Deviation of Portfolio
                      Default Rate), (3) S&P Correlation Measure (Ratio of Standard Deviation of
                      Portfolio with Correlation to Standard Deviation of Portfolio without Correlation)
                      and (4) Weighted Average Default Correlation;

                              (P)    The identity and Market Value of each Collateral Obligation
                      whose Market Value (in the determination of the Overcollateralization Ratio
                      Numerator) was determined pursuant to last proviso in the definition of "Market
                      Value;"

                               (Q)     The identity of each Collateral Obligation participated from or
                      entered into with a Secondary Risk Counterparty; and

                               (R)     The identity of each Collateral Obligation owned by the Issuer
                      that has not been disposed of within the time limits required by this Indenture.

                      (ii)    Accounts:

                               (A)     The amount of any proceeds in the Collection Account,
                      distinguishing between amounts credited as Interest Proceeds, Principal Proceeds
                      (excluding unapplied proceeds), and unapplied proceeds;

                             (B)       The amount of any Principal Proceeds in the Revolving Reserve
                      Account;
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                              (C)    The amount of any Principal Proceeds in the Delayed Drawdown
                      Reserve Account;

                              (D)     The amount of any Principal Proceeds in the Synthetic Security
                      Collateral Account;

                             (E)       The amount of any Principal Proceeds in the Securities Lending
                      Account; and

                             (F)       The amount of any proceeds in the Hedge Counterparty Collateral
                      Account;

                      (iii)   Hedge Agreements:

                              (A)      The outstanding notional amount of each Hedge Agreement; and

                               (B)     The amount scheduled to be received and paid by the Issuer
                      pursuant to each Hedge Agreement on the next Payment Date (as specified by the
                      calculation agent under each Hedge Agreement);

                      (iv)     Coverage Tests, Collateral Quality Tests and Retention
              Overcollateralization Test:

                              (A)       The Overcollateralization Ratios and the Overcollateralization
                      Ratios as of the Ramp-Up Completion Date; a statement as to whether each of the
                      Overcollateralization Tests is satisfied and a statement as to whether the Retention
                      Overcollateralization Test is satisfied;

                               (B)    The Interest Coverage Ratios and, on and after the second
                      Payment Date, a statement as to whether each of the Interest Coverage Tests is
                      satisfied;

                               (C)     The Diversity Score and, on and after the Ramp-Up Completion
                      Date, a statement as to whether the Diversity Test is satisfied;

                               (D)     The Weighted Average Life of the Collateral Obligations and, on
                      and after the Ramp-Up Completion Date, a statement as to whether the Weighted
                      Average Life Test is satisfied;

                               (E)      The Moody's Minimum Average Recovery Rate, the S&P
                      Minimum Average Recovery Rate and, on and after the Ramp-Up Completion
                      Date, a statement as to whether the Weighted Average Moody's Recovery Rate Test
                      with respect to the Moody's Minimum Average Recovery Rate and Weighted
                      Average S&P Recovery Rate Test with respect to the S&P Minimum Average
                      Recovery Rate is satisfied;

                               (F)     The Weighted Average Fixed Rate Coupon of the Collateral
                      Obligations and, on and after the Ramp-Up Completion Date, a statement as to
                      whether the Weighted Average Fixed Rate Coupon Test is satisfied and a statement
                      as to the amount of Spread Excess was used to satisfy the Weighted Average Fixed
                      Rate Coupon Test;


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                              (G)       The Weighted Average Spread of the Collateral Obligations and,
                      on and after the Ramp-Up Completion Date, a statement as to whether the
                      Weighted Average Spread Test is satisfied and a statement as to the amount of
                      Fixed Rate Excess was used to satisfy the Weighted Average Spread Test;

                              (H)     The Weighted Average Moody's Rating Factor and, on and after
                      the Ramp-Up Completion Date, a statement as to whether the Weighted Average
                      Rating Factor Test is satisfied; and

                              (I)      The S&P CDO Monitor Test and, on and after the Ramp-Up
                      Completion Date, a statement as to whether the S&P CDO Monitor Test is satisfied
                      and the Class Scenario Loss Rate and the then applicable Note Break-Even Loss
                      Rate with respect to each Class of Notes that is rated by S&P and the adjusted
                      Weighted Average Spread level determined as set forth in the definition of "Note
                      Break-Even Loss Rate;"

                      (v)     Concentration Limitations and Withholding Taxes:

                              (A)     The percentage of the Maximum Amount itemized against each
                      element of the Concentration Limitations and a statement as to whether each
                      Concentration Limitation is satisfied; and

                              (B)      Any withholding tax on payments under any Collateral
                      Obligation;

                      (vi)    Securities Lending Agreements:

                               (A)     Each Collateral Obligation loaned or borrowed pursuant to a
                      Securities Lending Agreement and the percentage of the Maximum Amount that
                      represents Collateral Obligations that are loaned or borrowed pursuant to Securities
                      Lending Agreements; and

                             (B)      With respect to each Securities Lending Agreement in effect as of
                      the Monthly Determination Date, a list setting forth:

                                        (1)       for each Collateral Obligation loaned or borrowed under
                              it as of the first day of the loan, (x) its Principal Balance, (y) its Market
                              Value and (z) its Principal Balance expressed as a percentage of the
                              Maximum Amount,

                                       (2)     the term of the loan of the Collateral Obligation,

                                       (3)     the expiration date of the Securities Lending Agreement,

                                     (4)      the Moody's Rating and S&P Rating for each loaned or
                              borrowed Collateral Obligation,

                                      (5)       the principal amount of the related Securities Lending
                              Collateral held in the Securities Lending Account, and

                                      (6)      the Eligible Investments held as Securities Lending
                              Collateral pursuant to the related Securities Lending Agreement; and

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                       (vii)    Any other information the Trustee reasonably requests.

                Upon receipt of each Monthly Report, the Trustee shall compare the information contained
      in the Monthly Report to the information contained in its records with respect to the Collateral and
      shall, within three Business Days after receipt of such Monthly Report, notify the Issuer, the
      Preference Shares Paying Agent and the Servicer if the information contained in the Monthly Report
      does not conform to the information maintained by the Trustee with respect to the Collateral, and
      shall detail any discrepancies. In the event that any discrepancy exists, the Trustee, the Issuer, and
      the Servicer shall attempt to resolve the discrepancy. If such discrepancy cannot be promptly
      resolved, the Trustee shall within five Business Days after notification of such discrepancy cause the
      Independent accountants appointed by the Issuer pursuant to Section 10.8 to review such Monthly
      Report and the Trustee's records to determine the cause of such discrepancy. If such review reveals
      an error in the Monthly Report or the Trustee's records, the Monthly Report or the Trustee's records
      shall be revised accordingly and, as so revised, shall be used in making all calculations pursuant to
      this Indenture and notice of any error in the Monthly Report shall be sent as soon as practicable by
      the Issuer to all recipients of the report. If the review by the Independent accountants does not
      resolve the discrepancy, the Trustee, upon receipt of an Officer's certificate of the Servicer certifying
      that, to the best knowledge of the Servicer, the information contained in the related Monthly Report
      is correct, shall conform the information it maintains to the Monthly Report received.

               (b)      Payment Date Accounting. The Issuer shall cause to be rendered an accounting
      report (the "Valuation Report"), determined as of the close of business on each Determination Date,
      and provided to the Servicer, the Trustee, the Preference Shares Paying Agent (for forwarding to
      each Holder of Preference Shares), the Issuer, the Initial Purchaser, the Placement Agent, each
      Hedge Counterparty, the Rating Agencies and each Noteholder (if so requested by the Initial
      Purchaser) the Repository in accordance with Section 14.3(a)(ix), the Depository (with instructions
      to forward it to each of its Agent Members who are Noteholders), and upon written request therefor
      by a Beneficial Owner in the form of Exhibit H certifying that it is a Beneficial Owner and the
      Beneficial Owner (or its designee) not later than the second Business Day preceding the related
      Payment Date. Each Valuation Report shall be accompanied by a Section 3(c)(7) Reminder Notice.
      The Valuation Report shall contain the following information as of the related Payment Date (unless
      otherwise stated), based in part on information provided by the Servicer:

                       (i)      Notes:

                               (A)      The amount of principal payments to be made on each Class of
                       Notes on the related Payment Date;

                                (B)      The Aggregate Outstanding Amount of each Class of Notes after
                       giving effect to any principal payments on the related Payment Date and, for each
                       Class of Notes, the percentage of its initial Aggregate Outstanding Amount that
                       amount represents;

                                (C)      For each Class of Notes, the percentage of the initial Aggregate
                       Outstanding Amount of all of the Notes that its initial Aggregate Outstanding
                       Amount represented and, after giving effect to any principal payments on the
                       related Payment Date, the percentage of the Aggregate Outstanding Amount of all
                       of the Notes that its Aggregate Outstanding Amount represents;

                                (D)     The interest payable in respect of each Class of Notes on the
                       related Payment Date (in the aggregate and by Class) and its calculation in
                       reasonable detail; and

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                                (E)     The amounts to be paid, if any, to the Preference Shares Paying
                       Agent for payments on the Preference Shares on the related Payment Date, showing
                       separately the payments from Interest Proceeds and the payments from Principal
                       Proceeds;

                       (ii)     Payment Date Payments:

                                (A)      The amounts to be distributed under each clause of Sections
                       11.1(a)(i), 11.1(a)(ii) and 11.2 itemized by clause, and to the extent applicable, by
                       type of distribution under the clause; and

                               (B)      Any amounts payable under the Hedge Agreements by any Hedge
                       Counterparty on or before the related Payment Date and its calculation in
                       reasonable detail (as specified by the calculation agent under the Hedge
                       Agreement);

                       (iii)    Accounts:

                                (A)     The amount of any proceeds in the Collection Account,
                       distinguishing between amounts credited as Interest Proceeds, Principal Proceeds
                       (excluding unapplied proceeds) and unapplied proceeds;

                                (B)      The amount in the Collection Account after all payments and
                       deposits to be made on the related Payment Date, distinguishing between amounts
                       credited as Interest Proceeds and as Principal Proceeds;

                              (C)       The amount of any Principal Proceeds in the Revolving Reserve
                       Account;

                               (D)    The amount of any Principal Proceeds in the Delayed Drawdown
                       Reserve Account;

                               (E)     The amount of any Principal Proceeds in the Synthetic Security
                       Collateral Account;

                              (F)       The amount of any Principal Proceeds in the Securities Lending
                       Account;

                                (G)     The amount in the Hedge Counterparty Collateral Account; and

                                (H)     The amount in the Expense Reimbursement Account;

                       (iv)     A notice setting forth LIBOR, as calculated by the Calculation Agent, for
              the next Interest Period and each Note Interest Rate for the next Payment Date; and

                       (v)      Any other information the Trustee reasonably requests.

               Upon receipt of each Valuation Report, the Trustee shall compare the information contained
      in the Valuation Report to the information contained in its records with respect to the Collateral and
      shall, within three Business Days after receipt of such Valuation Report, notify the Issuer, the
      Preference Shares Paying Agent and the Servicer if the information contained in the Valuation
      Report does not conform to the information maintained by the Trustee with respect to the Collateral,
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      and shall detail any discrepancies. In the event that any discrepancy exists, the Trustee, the Issuer,
      and the Servicer shall attempt to resolve the discrepancy. If such discrepancy cannot be promptly
      resolved, the Trustee shall within five Business Days after notification of such discrepancy cause the
      Independent accountants appointed by the Issuer pursuant to Section 10.8 to review such Valuation
      Report and the Trustee's records to determine the cause of such discrepancy. If such review reveals
      an error in the Valuation Report or the Trustee's records, the Valuation Report or the Trustee's
      records shall be revised accordingly and, as so revised, shall be used in making all calculations
      pursuant to this Indenture and notice of any error in the Valuation Report shall be sent as soon as
      practicable by the Issuer to all recipients of such report. If the review by the Independent
      accountants does not resolve the discrepancy, the Trustee, upon receipt of an Officer's certificate of
      the Servicer certifying that, to the best knowledge of the Servicer, the information contained in the
      related Valuation Report is correct, shall conform the information it maintains to the Valuation
      Report received.

               (c)       Failure to Provide Accounting. If the Trustee shall not have received any
      accounting provided for in Section 10.6(b) on the first Business Day after the date on which the
      accounting is due to the Trustee, the Trustee shall notify the Issuer and the Servicer, and the Servicer
      shall use all reasonable efforts to cause the accounting to be made by the applicable Payment Date.
      To the extent the Trustee is required to provide any information or reports pursuant to this Section
      10.6 as a result of the failure of the Issuer (or anyone acting on the Issuer's behalf) to provide the
      information or reports, the Trustee may retain an Independent certified public accountant in
      connection therewith and the reasonable costs incurred by the Trustee for the Independent certified
      public accountant shall be reimbursed pursuant to Section 6.8.

               (d)      Irish Stock Exchange. So long as any Class of Senior Notes is listed on the Irish
      Stock Exchange: (i) the Trustee shall communicate to the Irish Stock Exchange the Aggregate
      Outstanding Amount of each listed Class of Senior Notes following each Payment Date and inform
      the Irish Stock Exchange if any such Class of Senior Notes did not receive scheduled payments of
      principal or interest on the Payment Date; (ii) the Trustee shall inform the Irish Stock Exchange if
      the ratings assigned to the Senior Notes are reduced or withdrawn and the information shall be given
      to the Company Announcements Office of the Irish Stock Exchange; and (iii) the Trustee shall
      inform the Irish Stock Exchange, in advance, of the Note Interest Rate for each such Class, as well
      as the exact date of the following Payment Date.

               (e)      Quarterly Letter. The Servicer shall provide a quarterly letter to the recipients of
      the Valuation Report highlighting events occurring during the related quarterly period within 30
      days of the date of the delivery of the Valuation Report.

               (f)     S&P CDO Monitor. On or after the Ramp-Up Completion Date and together with
      each Monthly Report, the Issuer shall provide to S&P the Excel Default Model Input File and, with
      respect to each Collateral Obligation, the name of the obligor thereon, the CUSIP number thereof (if
      applicable) and the S&P Priority Category thereof.

              (g)      Payments or Transfers from the Payment Account. Each Valuation Report shall
      constitute instructions to the Trustee to withdraw on the related Payment Date from the Payment
      Account and pay or transfer amounts set forth in such Valuation Report in the manner specified
      and in accordance with the priority established in Section 11.1 hereof.

      Section 10.7.    Release of Collateral.

              (a)     The Trustee shall present Collateral for redemption or payment in full in
      accordance with the terms of the Collateral upon receipt of an Issuer Order. If no Event of Default is

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      continuing, the Issuer may, by Issuer Order executed by an Authorized Officer of the Servicer,
      delivered to the Trustee at least two Business Days before the settlement date for any sale of an
      obligation certifying that the sale of the Collateral is being made in accordance with Sections 12.1
      and 12.3 and the sale complies with all applicable requirements of Section 12.1, direct the Trustee to
      release the Collateral and, upon receipt of the Issuer Order, the Trustee shall deliver any such
      Collateral, if in physical form, duly endorsed to the broker or purchaser designated in the Issuer
      Order or otherwise cause an appropriate transfer of it to be made, in each case against receipt of the
      sales price therefor as specified by the Servicer in the Issuer Order. The Trustee may deliver any
      such Collateral in physical form for examination pursuant to a bailee letter.

                (b)      The Trustee shall, upon an Issuer Order executed by an Authorized Officer of the
      Servicer, deliver any Pledged Obligation that is set for any mandatory call or redemption or payment
      in full to the appropriate paying agent on or before the date set for the call, redemption or payment,
      in each case against receipt of its call or redemption price or payment in full and provide notice of it
      to the Servicer.

               (c)       Upon receiving actual notice of any Offer, the Trustee on behalf of the Issuer shall
      notify the Servicer of any Collateral Obligation that is subject to a tender offer, voluntary
      redemption, exchange offer, conversion or other similar action (an "Offer"). If no Event of Default
      is continuing, the Servicer may direct the Trustee (and if an Event of Default is continuing, the
      Servicer may advise, and the Trustee may, in consultation with the Servicer, decide) to accept or
      participate in or decline or refuse to participate in the Offer and, in the case of acceptance or
      participation, to dispose of the Collateral Obligation in accordance with the Offer against receipt of
      payment for it. If the consideration to be received by the Issuer for the Collateral Obligation is other
      than Cash, the consideration must be a Collateral Obligation that would be eligible for purchase by
      the Issuer pursuant to Section 12.2 assuming for this purpose that the Issuer committed to purchase
      the same on the date on which the Issuer accepts the Offer.

                (d)      Upon disposition by the Trustee of Collateral to any Person against receipt of
      payment therefore as provided in any of the foregoing clauses (a), (b) or (c), the Collateral shall be
      free of the lien of this Indenture. The lien shall continue in the proceeds received from the
      disposition.

               (e)      As provided in Section 10.2(b), the Trustee shall deposit any proceeds received by
      it from the disposition of a Pledged Obligation in the Collection Account, unless simultaneously
      applied to the purchase of additional Collateral Obligations (including any related deposit into the
      Revolving Reserve Account or the Delayed Drawdown Reserve Account or the posting by the Issuer
      of cash collateral with (or for the benefit of) a Synthetic Security Counterparty simultaneously with
      the Issuer's purchase of or entry into a Synthetic Security) or Eligible Investments as permitted under
      and in accordance with the requirements of this Article 10 and Article 12.

               (f)       The Trustee shall, upon receipt of an Issuer Order when no Notes are Outstanding
      and all obligations of the Co-Issuers under this Indenture have been satisfied, as evidenced by an
      Officer's certificate or an Opinion of Counsel, release any remaining Collateral from the lien of this
      Indenture.

               (g)      The Trustee shall release from the lien of this Indenture any Collateral that is
      provided directly to a Synthetic Security Counterparty or deposited in a segregated account in
      accordance with Section 10.5. Any Collateral or proceeds received by or redeposited by the Issuer
      into the Collection Account in accordance with Section 10.5 shall again be subject to the lien of this
      Indenture.


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               Any collateral deposited in a segregated account in accordance with Section 10.3(d), (e),
      and (f) shall be subject to the lien of this Indenture for the benefit of the Secured Parties. Any
      collateral withdrawn by the Issuer in accordance with Section 10.3(d), (e), and (f) shall be released
      from the lien of this Indenture by the Trustee to the extent returned to the appropriate counterparty
      pursuant to Sections 10.3(d), (e) and (f).

      Section 10.8.     Reports by Independent Accountants.

                (a)      At the Closing Date, the Issuer, at the direction of the Servicer, shall appoint a firm
      of Independent certified public accountants of recognized international reputation for purposes of
      preparing and delivering the reports or certificates of the accountants required by this Indenture.
      Within 30 days of any resignation by the firm, the Issuer, at the direction of the Servicer, shall
      promptly appoint by Issuer Order delivered to the Trustee and each Rating Agency a successor firm
      that is a firm of Independent certified public accountants of recognized international reputation. If
      the Issuer, at the direction of the Servicer, fails to appoint a successor to a firm of Independent
      certified public accountants which has resigned within 30 days after the resignation, the Trustee, in
      consultation with the Servicer, shall promptly appoint a successor firm of Independent certified
      public accountants of recognized international reputation. The fees of such Independent certified
      public accountants and their successors shall be payable by the Issuer as an Administrative Expense.

               (b)        On or before March 15 of each year commencing in 2008, the Issuer shall cause to
      be delivered to the Trustee, the Preference Shares Paying Agent (for forwarding to the Holders of
      Preference Shares), the Servicer or each Noteholder or Holder of Preference Shares upon written
      request therefor, upon written request therefor by a Beneficial Owner in the form of Exhibit H
      certifying that it is a Beneficial Owner, to the Beneficial Owner (or its designee) and each Rating
      Agency a statement from a firm of Independent certified public accountants indicating (i) that the
      firm has reviewed each Valuation Report received since the last review and applicable information
      from the Trustee, (ii) that the calculations within those Valuation Reports have been performed in
      accordance with the applicable provisions of this Indenture (except as otherwise noted in the
      statement) and (iii) the Aggregate Principal Balance of the Collateral Obligations owned by the
      Issuer as of the preceding Determination Date. If a conflict exists between the firm of Independent
      certified public accountants and the Issuer with respect to any matter in this Section 10.7, the
      determination by that firm of Independent public accountants shall be conclusive. The statement
      shall be in the form of an Accountant's Certificate issued to the Issuer, the form of which shall be
      agreed on by the Servicer on behalf of the Issuer.

                (c)     Upon the written request of the Preference Shares Paying Agent or any Holder of
      Preference Shares, the Issuer shall cause the firm of Independent certified public accountants
      appointed pursuant to Section 10.7(a) to provide any Holder of Preference Shares with all
      information requested pursuant to Section 7.17(g) or provide the Issuer with any assistance required
      in its preparation.

      Section 10.9.     Reports to Rating Agencies.

               In addition to the information and reports specifically required to be provided to each
      Rating Agency pursuant to this Indenture, the Issuer shall provide each Rating Agency with the
      Accountants' Certificates delivered to the Trustee under this Indenture, and such additional
      information as either Rating Agency may from time to time reasonably request. In addition, any
      notices of restructurings and amendments received by the Issuer or the Trustee in connection with
      the Issuer's ownership of a DIP Loan shall be delivered by the Servicer (on behalf of the Issuer) or
      the Trustee, as the case may be, promptly to the Rating Agencies.


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                                                 ARTICLE 11

                                           APPLICATION OF MONIES

      Section 11.1.   Disbursements of Monies from Payment Account.

              (a)      Notwithstanding any other provision in this Indenture, but subject to the other
      subsections of this Section 11.1 and to Section 13.1, on each Payment Date, the Trustee shall
      disburse available amounts from the Payment Account as follows and for application by the Trustee
      in accordance with the following priorities (the "Priority of Payments"):

                      (i)       On each Payment Date, Interest Proceeds with respect to the related Due
              Period (other than Interest Proceeds previously used during such Due Period to purchase
              accrued interest in respect of Collateral Obligations or otherwise used as permitted by
              Section 10.2) shall be distributed in the following order of priority:

                      (1)     to the payment of any taxes and registration and filing fees owed by the
              Co-Issuers (without limit) and then to the payment of Administrative Expenses up to the
              Administrative Expense Cap as follows:

                          FIRST, in the following order of priority,

                                 (i)     fees, expenses and indemnities of the Trustee; and then

                                 (ii)    fees, expenses and indemnities of the Collateral Administrator;
                      and then

                                 (iii)   fees, expenses and indemnities of the Preference Shares Paying
                      Agent

                              (iv)    fees, expenses and indemnities of the Holding Preference Shares
                      Paying Agent; and

                          SECOND, in the following order of priority,

                                 (x)     fees and expenses of the Administrator; and then

                              (y)       fees and expenses of the Co-Issuers (including fees and expenses
                      of counsel and ongoing surveillance, credit estimate, and other fees owing to the
                      Rating Agencies) and any other Person (except the Servicer) if specifically
                      provided for in this Indenture, and to the expenses (but not fees) of the Servicer if
                      payable under the Servicing Agreement;

                      (2)      the excess, if any, of the Administrative Expense Cap over the amounts
              paid pursuant to clause (1) above to deposit into the Expense Reimbursement Account;

                       (3)     FIRST, to deposit in the Class II Preference Share Special Payment Account
              for payment in accordance with Section 10.3(j) an amount equal to the product of (i) the
              Class II Preference Share Portion for such Payment Date, if any, and (ii) any accrued and
              unpaid Senior Servicing Fee then due and payable and SECOND, to the payment to the
              Servicer of an amount equal to the difference between (i) the accrued and unpaid Senior

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              Servicing Fee as of such Payment Date and (ii) the amount deposited to the Class II
              Preference Share Special Payment Account in accordance with the preceding clause;

                     (4)    to the payment of all amounts due to the Hedge Counterparties under the
              Hedge Agreements (if any) other than any Defaulted Hedge Termination Payments;

                       (5)     to the payment of accrued and unpaid interest on the Class A-1 Notes and
              the Class A-2 Notes, and any accrued and unpaid Defaulted Interest on, and any Defaulted
              Interest Charge with respect to, the Class A-1 Notes and the Class A-2 Notes, in each case,
              pro rata in proportion to the respective amounts of interest, Defaulted Interest and
              Defaulted Interest Charge then due on each such Class (provided that amounts allocated to
              the payment of the Class A-2 Notes shall be paid, first, to the Class A-2a Notes and, second,
              to the Class A-2b Notes);

                       (6)      to the payment of accrued and unpaid interest on the Class A-3 Notes, and
              any accrued and unpaid Defaulted Interest on, any Defaulted Interest Charge with respect
              to, the Class A-3 Notes;

                       (7)      if the Class A Coverage Tests are not satisfied on the related
              Determination Date, to the payment of principal of the Class A-1 Notes, the Class A-2a
              Notes, the Class A-2b Notes and the Class A-3 Notes in the Note Payment Sequence in the
              amount necessary so that all of the Class A Coverage Tests would be met on such
              Determination Date on a pro forma basis after giving effect to any payments in reduction of
              the principal of Notes made through this clause, or until paid in full (Interest Proceeds to be
              applied pursuant to this clause (7) before the application of any Principal Proceeds pursuant
              to Section 11.1(a)(ii)(1) on the current Payment Date);

                       (8)     to the payment of accrued and unpaid interest on the Class B Notes
              (excluding Class B Deferred Interest, but including interest accrued for the preceding
              Interest Period on Class B Deferred Interest);

                       (9)      if the Class B Coverage Tests are not satisfied on the related Determination
              Date, to the payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-
              2b Notes, the Class A-3 Notes and the Class B Notes in the Note Payment Sequence, in
              each case in the amount necessary so that all of the Class B Coverage Tests would be met
              on such Determination Date on a pro forma basis after giving effect to any payments in
              reduction of the principal of Notes made through this clause, or until paid in full (Interest
              Proceeds to be applied pursuant to this clause (9) before the application of any Principal
              Proceeds pursuant to Section 11.1(a)(ii)(3) on the current Payment Date);

                      (10)     to the payment of Class B Deferred Interest;

                       (11)    to the payment of accrued and unpaid interest on the Class C Notes
              (excluding Class C Deferred Interest but including interest accrued for the preceding
              Interest Period on Class C Deferred Interest);

                       (12)    if the Class C Coverage Tests are not satisfied on the related Determination
              Date, to the payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-
              2b Notes, the Class A-3 Notes, the Class B Notes and the Class C Notes in the Note
              Payment Sequence, in each case in the amount necessary so that all of the Class C Coverage
              Tests would be met on such Determination Date on a pro forma basis after giving effect to
              any payments in reduction of the principal of Notes made through this clause, or until paid

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              in full (Interest Proceeds to be applied pursuant to this clause (12) before the application of
              any Principal Proceeds pursuant to Section 11.1(a)(ii)(6) on the current Payment Date);

                      (13)     to the payment of Class C Deferred Interest;

                       (14)    to the payment of accrued and unpaid interest on the Class D Notes
              (excluding Class D Deferred Interest but including interest accrued for the preceding
              Interest Period on Class D Deferred Interest);

                        (15)     if the Class D Coverage Tests are not satisfied on the related
              Determination Date and (i) all of the Class A Coverage Tests, the Class B Coverage Tests
              and the Class C Coverage Tests are satisfied on such Determination Date (without giving
              effect to any amounts payable pursuant to clauses (7), (9) and (12) above on the related
              Payment Date), to the payment of principal of the Class D Notes in the amount necessary so
              that all of the Class D Coverage Tests would be met on such Determination Date on a pro
              forma basis after giving effect to any payments in reduction of the principal of Notes made
              through this clause, or until paid in full, or (ii) the conditions of sub-clause (i) are not
              satisfied, to the payment of principal of the Class A-1 Notes, the Class A-2a Notes, the
              Class A-2b Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class
              D Notes in the Note Payment Sequence, in each case in the amount necessary so that all of
              the Class D Coverage Tests would be met on such Determination Date on a pro forma basis
              after giving effect to any payments in reduction of the principal of Notes made through this
              clause, or until paid in full (Interest Proceeds to be applied pursuant to this clause (15)
              before the application of any Principal Proceeds pursuant to Section 11.1(a)(ii)(9) on the
              current Payment Date);

                      (16)     to the payment of Class D Deferred Interest;

                       (17)     if a Rating Confirmation Failure exists on the Payment Date, to the
              payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
              the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes in the
              Note Payment Sequence, in each case in the amount necessary so that a Rating
              Confirmation is obtained, or until paid in full (Interest Proceeds to be applied pursuant to
              this clause (17) before the application of any Principal Proceeds pursuant to Section
              11.1(a)(ii)(11) on the current Payment Date);

                        (18)     during the Replacement Period, if the Retention Overcollateralization Test
              is not satisfied on the related Determination Date, for deposit to the Collection Account as
              Principal Proceeds 50% of the remaining Interest Proceeds available after the payments
              pursuant to clause (17) above (or, if the amount necessary to cause the Retention
              Overcollateralization Test to be satisfied as of such Determination Date is less than 50% of
              such remaining Interest Proceeds, such necessary amount);

                       (19)    to the payment of any remaining Administrative Expenses not paid under
              clause (1) above in the respective priorities specified in clause (1);

                       (20)    FIRST, to deposit in the Class II Preference Share Special Payment Account
              for payment in accordance with Section 10.3(j) an amount equal to the product of (i) the
              Class II Preference Share Portion for such Payment Date, if any, and (ii) any accrued and
              unpaid Subordinated Servicing Fee then due and payable and SECOND, to the payment (pro
              rata according to the amounts payable under clauses (x) and (y) below) to: (x) the Servicer
              of an amount equal to the difference between (i) the accrued and unpaid Subordinated

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              Servicing Fee as of such Payment Date and (ii) the amount deposited to the Class II
              Preference Share Special Payment Account in accordance with the preceding clause; and (y)
              pro rata to each Noteholder entitled thereto, the applicable Extension Bonus Payment
              pursuant to, and in accordance with, Section 2.4(g);

                      (21)     to the payment of any Defaulted Hedge Termination Payments;

                       (22)    to the Preference Shares Paying Agent, on behalf of the Issuer, for deposit
              into the Preference Shares Distribution Account for payment pro rata to the Holders of
              Preference Shares until the Holders of the Preference Shares have realized a Preference
              Share Internal Rate of Return of 12.0%;

                       (23)     FIRST, to deposit in the Class II Preference Share Special Payment Account
              for payment in accordance with Section 10.3(j) of an amount equal to the product of (i) the
              Class II Preference Share Portion for such Payment Date, if any, and (ii) the Supplemental
              Servicing Fee, if applicable and SECOND, to the payment to the Servicer of an amount equal
              to the difference between (i) the accrued and unpaid Supplemental Servicing Fee as of such
              Payment Date and (ii) the amount deposited to the Class II Preference Share Special
              Payment Account in accordance with the preceding clause; and

                      (24)      any remaining Interest Proceeds, to the Preference Shares Paying Agent,
              on behalf of the Issuer, for deposit into the Preference Shares Distribution Account for
              payment pro rata to the Holders of the Preference Shares;

                       provided that, in lieu of payment of Interest Proceeds referred to under clauses (22)
              and (24) above, in whole or in part on any Payment Date, the Servicer, on behalf of the
              Issuer, shall have the right to direct the Trustee to distribute any Eligible Equity Securities
              pro rata to the Consenting Holders of the Preference Shares with respect to such Payment
              Date to the extent that the Market Value of such Eligible Equity Securities (determined by
              the Servicer as of the relevant Market Value Determination Date) is equal to or lower than
              the aggregate amount of Interest Proceeds that would otherwise be due and payable on such
              Payment Date to such Consenting Holders of the Preference Shares. Interest Proceeds in an
              amount equal to the Market Value of such Eligible Equity Securities (determined by the
              Servicer as of the relevant Market Value Determination Date) distributed to the Consenting
              Holders of the Preference Shares with respect to any such Payment Date shall be treated for
              all purposes by the Issuer and the Servicer as Principal Proceeds available for distribution in
              accordance with Priority of Payments on the relevant Payment Date. The amount of Interest
              Proceeds available on the relevant Payment Date shall be reduced and the amount of
              Principal Proceeds available on the relevant Payment Date shall be increased accordingly.

                      (ii)     On each Payment Date, Principal Proceeds with respect to the related Due
              Period other than:

                               (A)      Principal Proceeds previously used to purchase Collateral
                      Obligations (including any related deposit into the Revolving Reserve Account or
                      the Delayed Drawdown Reserve Account or the posting by the Issuer of cash
                      collateral with (or for the benefit of) a Synthetic Security Counterparty
                      simultaneously with the Issuer's purchase of or entry into a Synthetic Security) or
                      otherwise used as permitted by Section 10.2,




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                               (B)      Principal Proceeds on deposit in the Revolving Reserve Account,
                       the Delayed Drawdown Reserve Account, the Synthetic Security Collateral
                       Account, or the Securities Lending Account, and

                               (C)      Principal Proceeds on deposit in the Collection Account in an
                       aggregate amount equal to the agreed Purchase Prices for Collateral Obligations
                       with respect to which the Issuer has entered into a commitment before the end of
                       the Due Period for their purchase, but has not settled the purchase by the end of the
                       Due Period,

              shall be distributed in the following order of priority:

                       (1)       (x) FIRST, to the payment of the amounts referred to in clauses (1) through
              (6) of Section 11.1(a)(i) (and in the same manner and order of priority) to the extent not
              previously paid in full thereunder and (y) SECOND, to the payment of amounts referred to in
              clause (7) of Section 11.1(a)(i) to the extent not previously paid in full thereunder and to the
              extent necessary to cause the Class A Overcollateralization Test to be met as of the related
              Determination Date on a pro forma basis after giving effect to any payments made through
              this clause (1), or until such amounts are paid in full;

                       (2)      to the payment of the amounts referred to in clause (8) of Section 11.1(a)(i)
              to the extent not previously paid in full thereunder;

                       (3)      to the payment of the amounts referred to in clause (9) of Section 11.1(a)(i)
              to the extent not previously paid in full thereunder and to the extent necessary to cause the
              Class B Overcollateralization Test to be met as of the related Determination Date on a pro
              forma basis after giving effect to any payments made through this clause (3), or until such
              amounts are paid in full;

                       (4)       to the payment of the amounts referred to in clause (10) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (5)       to the payment of the amounts referred to in clause (11) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (6)       to the payment of the amounts referred to in clause (12) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder and to the extent necessary to
              cause the Class C Overcollateralization Test to be met as of the related Determination Date
              on a pro forma basis after giving effect to any payments made through this clause (6), or
              until such amounts are paid in full;

                       (7)       to the payment of the amounts referred to in clause (13) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (8)       to the payment of the amounts referred to in clause (14) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (9)      to the payment of the amounts referred to in sub-clause (ii) in clause (15)
              of Section 11.1(a)(i) (regardless whether or not the conditions of sub-clause (i) of such
              clause (15) are satisfied) to the extent not previously paid in full thereunder and to the
              extent necessary to cause the Class D Overcollateralization Test to be met as of the related


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              Determination Date on a pro forma basis after giving effect to any payments made through
              this clause (9), or until such amounts are paid in full;

                       (10)      to the payment of the amounts referred to in clause (16) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (11)      to the payment of the amounts referred to in clause (17) of Section
              11.1(a)(i) to the extent not previously paid in full thereunder;

                       (12)

                                 (A)       if the Payment Date is a Redemption Date in the following order
                       of priority: (i) to the payment in the Note Payment Sequence of the Redemption
                       Prices of all of the Notes to be redeemed, (ii) to the payment of the amounts
                       referred to in clauses (19) through (23) of Section 11.1(a)(i) (and in the same
                       manner and order of priority) to the extent not previously paid in full thereunder
                       and (iii) to the Preference Shares Paying Agent, on behalf of the Issuer, for deposit
                       into the Preference Shares Distribution Account for payment to the Holders of the
                       Preference Shares of the Redemption Price of any Preference Shares to be
                       redeemed; and

                                (B)     if the Payment Date is a Special Redemption Date, to the payment
                       in the Note Payment Sequence of principal of the Notes in an aggregate amount
                       equal to the Special Redemption Amount, in each case until paid in full;

                       (13)     during the Replacement Period, all remaining Principal Proceeds to the
              acquisition of additional Collateral Obligations in accordance with the provisions of Section
              7.19 and Article 12 (and, until so applied (including any related deposit into the Revolving
              Reserve Account or the Delayed Drawdown Reserve Account or the posting by the Issuer of
              cash collateral with (or for the benefit of) a Synthetic Security Counterparty simultaneously
              with the Issuer's purchase of or entry into a Synthetic Security), to be deposited in the
              Collection Account as Principal Proceeds);

                       (14)     after the Replacement Period, (i) FIRST, at the discretion of the Servicer
              (with respect to Unscheduled Principal Payments and Sale Proceeds from the sale of Credit
              Improved Obligations) to the purchase or funding of additional or replacement Collateral
              Obligations in accordance with the Eligibility Criteria and the applicable provisions of this
              Indenture when appropriate Collateral Obligations are available, and until such time, to the
              Collection Account for the purchase of Eligible Investments; and (ii) SECOND, to the
              payment in the Note Payment Sequence of principal of Notes until paid in full;

                       (15)    to the extent not previously paid in full under clause (12) above, after the
              Replacement Period, to the payment of the amounts referred to in clauses (19) through (23)
              of Section 11.1(a)(i) (and in the same manner and order of priority) to the extent not
              previously paid in full thereunder; and

                       (16)     after the Replacement Period to the Preference Shares Paying Agent, on
              behalf of the Issuer, for deposit into the Preference Shares Distribution Account for
              payment pro rata to the Holders of the Preference Shares.

               (b)      If on any Payment Date the amount available in the Payment Account is
      insufficient to make the full amount of the disbursements required by the Valuation Report, the

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      Trustee shall make the disbursements called for in the order and according to the priority under
      Section 11.1(a), subject to Section 13.1, to the extent funds are available therefor.

               (c)      The Trustee shall remit funds to pay Administrative Expenses of the Issuer or the
      Co-Issuer in accordance with Section 11.1(a), to the extent available, to the Issuer, the Co-Issuer as
      directed and designated in an Issuer Order (which may be in the form of standing instructions)
      delivered to the Trustee no later than the Business Day before each Payment Date.

               (d)      If the Hedge Counterparty defaults in the payment of its obligations to the Issuer
      under the respective Hedge Agreements on the date on which any payment is due thereunder, the
      Trustee shall make a demand on the Hedge Counterparty, or any guarantor, if applicable, demanding
      payment by 12:30 P.M., New York time, on that date. The Trustee shall give notice to the
      Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
      Shares), the Servicer and each Rating Agency upon the continuing failure by the Hedge
      Counterparty to perform its obligations during the two Business Days following a demand made by
      the Trustee on, the Hedge Counterparty, and shall take the action with respect to the continuing
      failure as directed by the Servicer unless an Event of Default has occurred and is continuing in
      which case direction is to be taken pursuant to Section 5.13.

                (e)    Except as otherwise expressly provided in Section 11.1(a) above, if on any
      Payment Date, the amount available in the Payment Account from amounts received in the related
      Due Period is insufficient to make the full amount of the disbursements required by any numbered or
      lettered paragraph or clause of Section 11.1(a) to different Persons, the Trustee shall make the
      disbursements called for by the paragraph or clause ratably in accordance with the respective
      amounts of the disbursements then payable, subject to Section 13.1, to the extent funds are available
      therefor.


                                                  ARTICLE 12

                                   SALE OF COLLATERAL OBLIGATIONS;
                                 PURCHASE OF COLLATERAL OBLIGATIONS

      Section 12.1.    Sales of Collateral Obligations.

               Subject to the satisfaction of the conditions specified in Section 10.6, Section 12.1 and
      Section 12.3 and if no Event of Default is continuing as evidenced by an Officer's certificate of the
      Servicer provided to the Trustee, the Issuer may, at the direction of the Servicer, direct the Trustee to
      sell any Collateral Obligation or Workout Asset if the Servicer certifies to the Trustee that the sale
      meets the requirements of any one of paragraphs (a) through (i) of this Section 12.1. If the Issuer
      sells any Collateral Obligation or Workout Asset during the Replacement Period, the proceeds shall
      be applied in accordance with Section 12.2.

               (a)       Credit Risk Obligations. At the direction of the Servicer, the Issuer may direct the
      Trustee to sell any Credit Risk Obligation at any time during or after the Replacement Period
      without restriction and the Trustee shall sell the Credit Risk Obligation in accordance with such
      direction. Following any sale of a Credit Risk Obligation pursuant to this Section 12.1(a), at the
      direction of the Servicer during the Replacement Period, the Issuer shall use commercially
      reasonable efforts to purchase additional Collateral Obligations (to the extent the purchase is in the
      best interest of the Issuer) meeting the Eligibility Criteria with an Aggregate Principal Balance at
      least equal to the Sale Proceeds received by the Issuer with respect to the Collateral Obligation sold.

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      For this purpose, the Principal Balance of any Revolving Loan or Delayed Drawdown Loan shall
      only include its funded amount.

               (b)      Credit Improved Obligations. At the direction of the Servicer, the Issuer may
      direct the Trustee to sell any Credit Improved Obligation if either:

                        (i)      during the Replacement Period, the Servicer has identified in writing
              before the sale one or more specific manners in which it will be able, in compliance with the
              Eligibility Criteria and the requirements set forth in Section 12.1(i), to cause the Issuer to
              use the Sale Proceeds (it being understood that such identification shall not be considered
              either a requirement or an assurance that any specified purchase will be consummated) to
              purchase one or more additional Collateral Obligations with an Aggregate Principal Balance
              at least equal to the Purchase Criteria Adjusted Balance of the Credit Improved Obligation
              by the end of the immediately succeeding Due Period (for this purpose, the Principal
              Balance of any Revolving Loan or Delayed Drawdown Loan shall only include its funded
              amount and Principal Balance shall include the principal balance of Collateral Obligations
              in which the Trustee does not have a first priority perfected security interest) which in
              aggregate will result in (i) the Collateral Quality Tests, the Interest Coverage Tests, the
              Overcollateralization Tests and the Concentration Limitations herein being satisfied or if
              one or more of such Collateral Quality Tests, Interest Coverage Tests, Overcollateralization
              Tests or Concentration Limitations are not satisfied, the degree of compliance therewith
              being improved, (ii) the quality of the total portfolio of Collateral Obligations as measured
              by such Collateral Quality Tests, Interest Coverage Tests, Overcollateralization Tests and
              Concentration Limitations being improved on a net basis in the commercially reasonable
              judgment of the Servicer and (iii) in the case of each of clause (i) and (ii), any other
              Collateral Quality Tests, Interest Coverage Tests, Overcollateralization Tests or
              Concentration Limitations not being violated or, in the commercially reasonable judgment
              of the Servicer, the likelihood of such violation in the future not being significantly
              increased; and

                       (ii)     after the Replacement Period, the Sale Proceeds received in respect of the
              Credit Improved Obligation are at least equal to its Purchase Criteria Adjusted Balance. For
              this purpose, the Principal Balance of any Revolving Loan or Delayed Drawdown Loan
              shall only include its funded amount and Principal Balance shall include the principal
              balance of Collateral Obligations in which the Trustee does not have a first priority
              perfected security interest;

      and the Trustee shall sell the Credit Improved Obligation in accordance with such direction.

              (c)       Non-Performing Collateral Obligations. At the direction of the Servicer, the Issuer
      may direct the Trustee to sell any Non-Performing Collateral Obligation at any time during or after
      the Replacement Period without restriction and the Trustee shall sell the Non-Performing Collateral
      Obligation in accordance with such direction. Non-Performing Collateral Obligations may be sold
      regardless of price.

                (d)      Non-qualifying Collateral Obligations. At the direction of the Servicer, the Issuer
      may direct the Trustee to sell any obligation that at the time of acquisition, conversion, or exchange
      does not satisfy the requirements of a Collateral Obligation (the "Non-qualifying Collateral
      Obligation") at any time during or after the Replacement Period without restriction and the Trustee
      shall sell that obligation in accordance with such direction.



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               (e)      Withholding Tax Sales. At the direction of the Servicer, the Issuer may direct the
      Trustee to sell any Collateral Obligation subject to withholding tax at any time during or after the
      Replacement Period without restriction and the Trustee shall sell the Collateral Obligation in
      accordance with such direction.

                (f)      Optional Redemption. After the Issuer has notified the Trustee of an Optional
      Redemption of the Notes in accordance with Article 9, at the direction of the Servicer, the Issuer
      shall direct the Trustee to sell all or a portion of the Collateral Obligations as contemplated therein if
      (i) the requirements of Article 9 are satisfied and (ii) the Independent certified public accountants
      appointed pursuant to Section 10.7 have confirmed the calculations contained in any required
      certificate furnished by the Servicer pursuant to Section 9.3(c). After a Majority of the Preference
      Shares have directed an Optional Redemption of the Preference Shares in accordance with Section
      9.2(b), at the direction of the Servicer, the Issuer shall direct the Trustee to sell all of the remaining
      Collateral Obligations (in the case of an Optional Redemption pursuant to Section 9.2(b)(i)) or a
      portion of the remaining Collateral Obligations in accordance with the unanimous directions of
      Holders of the Preference Shares (in the case of an Optional Redemption pursuant to Section
      9.2(b)(ii)) and the Trustee shall sell the remaining Collateral Obligations in accordance with such
      direction.

               (g)      Rating Confirmation Failure. After the Servicer has received notice of a Rating
      Confirmation Failure and if available Interest Proceeds and Principal Proceeds are insufficient to
      effect the redemption of the Notes at par on any subsequent Payment Date in accordance with the
      Priority of Payments as and to the extent necessary for each of Moody's and S&P to confirm the
      Initial Ratings assigned by it on the Closing Date to the Securities, the Issuer may, at the direction of
      the Servicer, direct the Trustee to sell Collateral Obligations as contemplated in Section 9.1 and the
      Trustee shall sell the Collateral Obligations in accordance with such direction.

                (h)     Workout Assets. At the direction of the Servicer, the Issuer may direct the Trustee
      to sell any Workout Asset at any time during or after the Replacement Period without restriction and
      regardless of price and the Trustee shall sell the Workout Assets in accordance with such direction.

               (i)       Supervening Requirement. Notwithstanding anything herein to the contrary, the
      Issuer (at the direction of the Servicer or otherwise) shall not acquire or dispose of a Collateral
      Obligation or other eligible asset (as defined in Rule 3a-7) for the primary purpose of recognizing
      gains or decreasing losses resulting from market value changes. For the avoidance of doubt, the
      Issuer, at the direction of the Servicer or otherwise, may direct the Trustee to sell any CCC+/Caa1
      Collateral Obligation or Deep Discount Obligation only (a) if it constitutes Credit Risk Obligation or
      Non-Performing Collateral Obligation or (b) in connection with the Optional Redemption as set out
      in paragraph (f) above. The Trustee shall have no obligation to monitor compliance by the Issuer or
      the Servicer with respect to the requirement set out in this paragraph (i).

               Notwithstanding the foregoing, the Issuer (or the Servicer on its behalf) shall not direct the
      Trustee to sell any Collateral Obligation (other than the sale of a Credit Risk Obligation or a Non-
      Performing Collateral Obligation pursuant to a sale that meets the requirements in paragraph (a) or
      (c) above, as applicable) following receipt by the Servicer of notice of removal pursuant to Section
      14 of the Servicing Agreement until a successor Servicer is appointed pursuant to Section 12 of the
      Servicing Agreement.

      Section 12.2.     Purchase of Collateral Obligations.

               (a)     On any date during the Replacement Period (and, in respect of Principal Proceeds
      constituting Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations and

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      Credit Improved Obligations, on any date after the Replacement Period), so long as no Event of
      Default is continuing, at the direction of the Servicer, the Issuer may direct the Trustee to apply
      Principal Proceeds (together with Interest Proceeds, but only to the extent used to pay for accrued
      interest on Collateral Obligations) to purchase Collateral Obligations (including any related deposit
      into the Revolving Reserve Account or the Delayed Drawdown Reserve Account or the posting by
      the Issuer of cash collateral with (or for the benefit of) a Synthetic Security Counterparty
      simultaneously with the Issuer's purchase of or entry into a Synthetic Security) if the Servicer
      certifies to the Trustee that, to the best knowledge of the Servicer, the conditions specified in this
      Section 12.2 and Section 12.3 are met.

                (b)      Eligibility Criteria. No obligations may be purchased unless each of the conditions
      in the following clauses (i) through (xii) (the "Eligibility Criteria") is satisfied as evidenced by a
      certificate of the Servicer as of the date the Issuer commits to make the purchase, in each case after
      giving effect to the purchase and all other purchases and sales previously or simultaneously
      committed to:

                       (i)      the obligation is a Collateral Obligation;

                       (ii)     for any date occurring during the Replacement Period:

                                (A)     each Overcollateralization Test is satisfied and, if the commitment
                       is made on or after the second Payment Date, each Interest Coverage Test is
                       satisfied, or

                                (B)      if any such Coverage Test is not satisfied, both:

                                        (1)       the extent of satisfaction of the Coverage Test is not
                                reduced, and

                                        (2)      the Collateral Obligation is being purchased with
                                Principal Proceeds other than:

                                                 (x)     Principal Proceeds received in respect of a
                                         Defaulted Collateral Obligation, or

                                                 (y)      Principal Proceeds received in respect of a
                                         Workout Asset that has been received in exchange for a Defaulted
                                         Collateral Obligation;

                       (iii)     for any date occurring during the Replacement Period, the Diversity Test is
              satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                      (iv)    for any date occurring during the Replacement Period, the Weighted
              Average Rating Factor Test is satisfied or, if not satisfied, the extent of satisfaction is not
              reduced;

                       (v)       for any date occurring during the Replacement Period, each of the limits in
              the definition of "Concentration Limitations" is satisfied or, if any such limit is not satisfied,
              the extent of satisfaction is not reduced;

                     (vi)    for any date occurring during the Replacement Period, the Weighted
              Average Spread Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

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                      (vii)  for any date occurring during the Replacement Period, the Weighted
              Average Fixed Rate Coupon Test is satisfied or, if not satisfied, the extent of satisfaction is
              not reduced;

                     (viii) for any date occurring during the Replacement Period, the Weighted
              Average Life Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                        (ix)    for any date occurring during the Replacement Period, the Weighted
              Average Moody's Recovery Rate Test is satisfied or, if not satisfied, the extent of
              satisfaction is not reduced;

                      (x)   for any date occurring during the Replacement Period, the Weighted
              Average S&P Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is
              not reduced;

                       (xi)    for any date occurring during the Replacement Period, the S&P CDO
              Monitor Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;
              provided, however, that this Eligibility Criterion (xi) shall not apply either to the application
              of the proceeds from the sale of a Credit Risk Obligation, Non-Performing Collateral
              Obligation or Workout Asset or to the application of Principal Proceeds in respect of
              Defaulted Collateral Obligations; and

                       (xii)    for any date occurring after the Replacement Period:

                               (A)       each Coverage Test is satisfied and the extent of satisfaction is not
                       reduced;

                              (B)     each Collateral Quality Test is maintained or improved and the
                       Weighted Average Rating Factor Test is satisfied;

                               (C)     each Concentration Limitation is maintained or improved and the
                       Aggregate Principal Balance of all CCC+/Caa1 Collateral Obligations do not
                       exceed 7.5% of the Maximum Amount;

                                (D)      the Weighted Average Life Test is satisfied;

                               (E)     the S&P Rating of such Collateral Obligation is at least equal to
                       the S&P Rating of the Collateral Obligation being the source of the Unscheduled
                       Principal Payments or of the Credit Risk Obligations or Credit Improved
                       Obligation being the source of Sale Proceeds, as applicable; and

                               (F)     the current Moody's Rating on the Class A-1 Notes and the Class
                       A-2a Notes is "Aaa" and the current Moody's Ratings on the Class A-2b Notes, the
                       Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes are
                       no lower than one subcategory below their Initial Rating.

                       Notwithstanding the foregoing, (i) one or more Collateral Obligations may be
              purchased pursuant to a Portfolio Improvement Exchange effected in compliance with
              Section 12.1(b) regardless of whether such purchase would otherwise satisfy the Eligibility
              Criterion set forth in clause (xii) above and (ii) the Issuer (or the Servicer on its behalf) shall
              not direct the Trustee to purchase any Collateral Obligation following receipt by the


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               Servicer of notice of removal pursuant to Section 14 of the Servicing Agreement until a
               successor Servicer is appointed pursuant Section 12 of the Servicing Agreement. .

             (c)     Certain Permitted Exchanges. The Issuer may, at the direction of the Servicer,
      exchange a Collateral Obligation for another Collateral Obligation in an A/B Exchange.

               (d)       Certification by Servicer. Not later than the Business Day preceding the settlement
      date for any Collateral Obligation purchased after the Closing Date (but in any event no later than
      the release of Cash for the Purchase Price of the purchase), the Servicer shall deliver to the Trustee
      an Officer's certificate of the Servicer certifying that, to the best knowledge of the Servicer, the
      purchase complies with this Section 12.2 and with Section 12.3 (determined as of the date that the
      Issuer commits to make the purchase).

               (e)    Eligible Investments. Cash on deposit in the Collection Account may be held at
      any time in Eligible Investments in accordance with Section 10.4(a) pending the application
      thereof to purchase Collateral Obligations.

      Section 12.3.     Conditions Applicable to All Sale and Purchase Transactions.

               (a)      Any sale or purchase by the Issuer of a Collateral Obligation shall be conducted on
      an arm's length basis and, if effected with the Servicer or a Person Affiliated with the Servicer or any
      fund or account for which the Servicer or an Affiliate of the Servicer acts as investment adviser,
      shall be effected in accordance with the requirements of Section 5 of the Servicing Agreement on
      terms no less favorable to the Issuer than would be the case if the Person were not so Affiliated. The
      Trustee shall have no responsibility to oversee compliance with this clause (a) by the other parties.

              (b)      Upon any acquisition of any Collateral Obligation, all of the Issuer's interest in the
      Collateral Obligation shall be Granted to the Trustee pursuant to this Indenture.

               (c)       Notwithstanding the other provisions of this Article 12, the Issuer (or the Servicer
      on its behalf) shall not direct the Trustee to sell or purchase any Collateral Obligation (other than the
      sale of a Credit Risk Obligation or a Non-Performing Collateral Obligation pursuant to Section
      12.1(a) or (c), as applicable) following receipt by the Servicer of notice of removal pursuant to
      Section 14 of the Servicing Agreement until a successor Servicer is appointed pursuant to Section
      12(e) of the Servicing Agreement.

      Section 12.4.     Certain Determinations Relating to Collateral Obligations.

               (a)      Notwithstanding anything to the contrary contained in this Indenture, solely for the
      purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on
      behalf of the Issuer shall be deemed to have purchased any Collateral Obligations as of the date on
      which the Issuer enters into a contract to purchase, a commitment letter, a confirmation or a due bill
      for such Collateral Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to
      receive such Collateral Obligations and, in such event, the Issuer shall be deemed to have acquired,
      granted or delivered, as the case may be, such Collateral Obligations on such date.

               (b)      Notwithstanding anything to the contrary contained in this Indenture, solely for the
      purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on
      behalf of the Issuer shall be deemed to have sold any Collateral Obligations as of the date on which
      the Issuer enters into a contract to sell, a commitment letter, a confirmation or a due bill for such
      Collateral Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to sell, and


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      requiring the purchaser to purchase, such Collateral Obligations and, in such event, the Issuer shall
      be deemed to have sold such Collateral Obligations on such date.

               (c)       Under the circumstances described in subsections (a) and (b) above, if the
      transaction contemplated by the contract, commitment letter, confirmation or due bill referred to
      therein does not settle on or before the 60th day following the scheduled settlement date (the
      "Deadline"), the deemed purchase or sale shall be deemed not to have occurred; provided, however,
      that the Servicer shall have the right to extend the Deadline for an additional period (not to exceed
      an additional 60 days) by notice to the Trustee, which notice shall include the Servicer's certification
      to the effect that the Servicer believes that the settlement shall occur on or before the extended
      Deadline.

              (d)     Scheduled distributions with respect to any Pledged Collateral Obligation shall be
      determined in accordance with the applicable provisions of this Indenture.


                                                           ARTICLE 13

                                                NOTEHOLDERS' RELATIONS

      Section 13.1.    Subordination.

              (a)      With respect to each Class of Notes and the Preference Shares, the Classes of Notes
      and the Preference Shares that are Priority Classes and Junior Classes are as follows:

                                 Class                              Junior Classes                           Priority Classes
                             A-1 Notes*                      A-3, B, C, D, Preference                               None
                                                                     Shares**
                            A-2a Notes*                         A-2b, A-3, B, C, D,                                 None
                                                                Preference Shares**
                            A-2b Notes*                      A-3, B, C, D, Preference                               A-2a
                                                                     Shares**
                              A-3 Notes                   B, C, D, Preference Shares**                            A-1, A-2
                                    B                       C, D, Preference Shares**                         A-1, A-2, A-3
                                    C                         D, Preference Shares**                        A-1, A-2, A-3, B
                                    D                           Preference Shares**                       A-1, A-2, A-3, B, C
                        Preference Shares                               None***                         A-1, A-2, A-3, B, C, D


                       *           The payment of principal of and interest on the Class A-1 Notes and the Class A-2 Notes shall rank pari
                       passu (provided that amounts allocated to the payment of the Class A-2 Notes shall be paid, first, to the Class A-2a
                       Notes and, second, to the Class A-2b Notes).

                       **           Other than with respect to the Class II Preference Share Special Payments, which may be payable to the
                       Holders of the Class II Preference Shares as set forth herein and will have priority to the extent provided in the
                       Priority of Payments.

                       ***        The Preference Shares will be entitled to certain residual cash flow after payment of senior obligations in
                       accordance with the Priority of Payments.


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               (b)      Anything in this Indenture or the Notes to the contrary notwithstanding, the
      Holders of each Class of Notes that is a Junior Class agree for the benefit of the Holders of Notes of
      each Priority Class with respect to the Junior Class that the Junior Class shall be subordinate and
      junior to the Notes of each Priority Class to the extent and in the manner provided in this Indenture.
      If any Event of Default has not been cured or waived and acceleration occurs and is continuing in
      accordance with Article 5, each Priority Class of Notes shall be paid in full in Cash or, to the extent
      a Majority of each Class consents, other than in Cash, before any further payment or distribution is
      made on account of any Junior Class of Notes with respect to the Priority Class. The Holders of
      each Junior Class of Notes agree, for the benefit of the Holders of Notes of each Priority Class in
      respect of the Junior Class, not to cause the filing of a petition in bankruptcy against the Issuer or the
      Co-Issuer for failure to pay to them amounts due to the Junior Class, of the Notes or each Class of
      Notes, as the case may be, or under this Indenture until the payment in full of the Priority Classes or
      all the Classes, as the case may be, and not before one year and a day, or if longer, the applicable
      preference period then in effect, has elapsed since the payment.

                (c)     If, notwithstanding the provisions of this Indenture, any Holder of Notes of any
      Junior Class has received any payment or distribution in respect of the Notes contrary to the
      provisions of this Indenture, then, until each Priority Class with respect to the Junior Class of Notes
      or each Class of Notes, as the case may be, has been paid in full in Cash or, to the extent a Majority
      of the Priority Class or the Class, as the case may be, consents, other than in Cash in accordance
      with this Indenture, the payment or distribution shall be received and held in trust for the benefit of,
      and shall forthwith be paid over and delivered to, the Trustee, which shall pay and deliver the same
      to the Holders of the applicable Priority Classes of Notes or the Holders of all Classes of Notes, as
      the case may be, in accordance with this Indenture. If any such payment or distribution is made
      other than in Cash, it shall be held by the Trustee as part of the Collateral and subject in all respects
      to this Indenture, including this Section 13.1.

               (d)      Each Holder of Notes of any Junior Class agrees with all Holders of the applicable
      Priority Classes that the Holder of Junior Class Notes shall not demand, accept, or receive any
      payment or distribution in respect of the Notes in violation of this Indenture including this Section
      13.1. After a Priority Class has been paid in full, the Holders of Notes of the related Junior Class or
      Classes shall be fully subrogated to the rights of the Holders of the Priority Class. Nothing in this
      Section 13.1 shall affect the obligation of the Issuer to pay Holders of any Junior Class of Notes.

              (e)      Distributions to Holders of the Preference Shares (other than, as and to the extent
      described herein, the Class II Preference Share Special Payments) are subordinate to distributions on
      the Notes as described in the Priority of Payments.

             (f)        The Servicing Fees shall have priority only to the extent provided in the Priority of
      Payments.

      Section 13.2.     Standard of Conduct.

               In exercising any of its or their voting rights, rights to direct and consent, or any other rights
      as a Noteholder under this Indenture, a Noteholder shall not have any obligation or duty to any
      Person or to consider or take into account the interests of any Person and shall not be liable to any
      Person for any action taken by it or them or at its or their direction or any failure by it or them to act
      or to direct that an action be taken, without regard to whether the action or inaction benefits or
      adversely affects any Noteholder, the Issuer or any other Person, except for any liability to which the
      Noteholder may be subject to the extent the same results from the Noteholder's taking or directing an
      action, or failing to take or direct an action, in bad faith or in violation of the express terms of this
      Indenture.

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                                                  ARTICLE 14

                                                MISCELLANEOUS

      Section 14.1.    Form of Documents Delivered to Trustee.

               In any case where several matters are required to be certified by, or covered by an opinion
      of, any specified Person, it is not necessary that all the matters be certified by, or covered by the
      opinion of, only one Person, or that they be so certified or covered by only one document, but one
      such Person may certify or give an opinion with respect to some matters and one or more other such
      Persons as to other matters, and any such Person may certify or give an opinion as to the matters in
      one or several documents.

                Any certificate or opinion of an Officer of the Issuer, the Co-Issuer or the Servicer may be
      based, insofar as it relates to legal matters, upon a certificate or opinion of, or representations by,
      counsel, unless the Officer knows, or should know that the certificate or opinion or representations
      with respect to the matters upon which his certificate or opinion is based are erroneous. Any such
      certificate of an Officer of the Issuer, Co-Issuer or the Servicer or Opinion of Counsel may be based,
      insofar as it relates to factual matters, upon a certificate or opinion of, or representations by, the
      Issuer, the Co-Issuer, the Servicer or any other Person, stating that the information with respect to
      the factual matters is in the possession of the Issuer, the Co-Issuer, the Servicer or the other Person,
      unless the Officer of the Issuer, Co-Issuer or the Servicer or the counsel knows that the certificate or
      opinion or representations with respect to factual matters are erroneous. Any Opinion of Counsel
      may also be based, insofar as it relates to factual matters, upon a certificate or opinion of, or
      representations by, an Officer of the Issuer or the Co-Issuer, stating that the information with respect
      to factual matters is in the possession of the Issuer or the Co-Issuer, unless the counsel knows that
      the certificate or opinion or representations with respect to factual matters are erroneous.

              Where any Person is required to make, give, or execute two or more applications, requests,
      consents, certificates, statements, opinions or other instruments under this Indenture, they may, but
      need not, be consolidated and form one instrument.

               Whenever this Indenture provides that the absence of the continuation of a Default or Event
      of Default is a condition precedent to the taking of any action by the Trustee at the request or
      direction of either Co-Issuer, then notwithstanding that the satisfaction of the condition is a
      condition precedent to the Co-Issuer's right to make the request or direction, the Trustee shall be
      protected in acting in accordance with the request or direction if it does not have knowledge of the
      continuation of the Default or Event of Default as provided in Section 6.1(d).

      Section 14.2.    Acts of Holders of Securities.

               (a)       Any request, demand, authorization, direction, notice, consent, waiver or other
      action provided by this Indenture to be given or taken by Holders of Securities may be embodied in
      and evidenced by one or more instruments (which may be an electronic document, including, but not
      limited, to in the form of e-mail, to the extent permitted by applicable law) of substantially similar
      tenor signed by Holders of Securities in Person or by agents duly appointed in writing (provided that
      no signature shall be required on electronic documents, including, but not limited to, in the form of
      e-mail to the extent permitted by law). Except as otherwise expressly provided in this Indenture, the
      action shall become effective when the instruments are delivered to the Trustee (which instrument or
      instruments may be delivered through the Preference Shares Paying Agent, in the case of the
      Holders of the Preference Shares) and, if expressly required, to the Issuer. The instruments (and the
      action embodied in them) are referred to as the "Act" of the Holders of Securities signing the
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      instruments. Proof of execution of any instrument or of a writing appointing an agent for a Holder
      of a Security shall be sufficient for any purpose of this Indenture and conclusive in favor of the
      Trustee and the Issuer, if made in the manner provided in this Section.

               (b)      The fact and date of the execution by any Person of any instrument may be proved
      by an affidavit of a witness to the execution or the certificate of any notary public or other Person
      authorized by law to acknowledge the execution of deeds. Any certificate on behalf of a jural entity
      executed by a Person purporting to have authority to act on behalf of the jural entity shall itself be
      sufficient proof of the authority of the Person executing it to act. The fact and date of the execution
      by any Person of any instrument may also be proved in any other manner that the Trustee deems
      sufficient.

              (c)      The Indenture Register shall prove the ownership of the Notes and the principal
      amount and registered numbers of Notes and the number of Preference Shares held by and the
      number(s) of the Preference Share certificate(s) issued to, any Person shall be proved by the
      Preference Share register.

               (d)      Any Act by the Holder of a Security shall bind every Holder of the same Security
      and every Security issued on its transfer or in exchange for it or in lieu of it, in respect of anything
      done, omitted or suffered to be done by the Trustee or the Issuer in reliance on the Act, whether or
      not notation of the action is made on the Securities.

               (e)      With respect to any time period or deadline to deliver any request, demand,
      authorization, direction, notice, consent, waiver or other communication provided by this Indenture
      to be given by Holders of the Preference Shares, the Holders of Holding Securities shall not be
      prejudiced by any delay in delivery of such request, demand, authorization, direction, notice,
      consent, waiver or other communication from the Holding Preference Shares Paying Agent to the
      Preference Shares Paying Agent, Trustee or the Issuer, as the case may be. If any such Holder of
      Holding Securities timely delivers such request, demand, authorization, direction, notice, consent,
      waiver or other communication to the Holding Preference Shares Paying Agent such request,
      demand, authorization, direction, notice, consent, waiver or other communication shall be deemed to
      be timely delivered to the Preference Shares Paying Agent, Trustee or the Issuer, as the case may be.

      Section 14.3.     Notices, etc., to Certain Persons or Parties.

               (a)     Any request, demand, authorization, direction, order, notice, consent, waiver, or
      Act of Holders of Securities or other documents provided or permitted by this Indenture to be made,
      given, or furnished to, or filed with:

                        (i)      the Trustee or Preference Shares Paying Agent shall be sufficient for every
               purpose under this Indenture if in writing and made, given, furnished, or filed to and mailed,
               by certified mail, return receipt requested, hand delivered, sent by overnight courier service
               guaranteeing next day delivery, or by telecopy in legible form, to the Trustee or Preference
               Shares Paying Agent addressed to it at, 200 Clarendon Street, Mail Code EUC 108, Boston,
               MA 02116, telecopy no. (617) 351-4358, Attention: CDO Services Group, or at any other
               address previously furnished in writing to the other parties hereto by the Trustee (any
               request, direction, order, notice or other communication from the Servicer to the Trustee
               under Article 12 (other than required certifications) may be by electronic mail, which shall
               be deemed to be in writing);

                        (ii)    the Co-Issuers shall be sufficient for every purpose under this Indenture
               (unless otherwise in this Indenture expressly provided) if in writing and mailed, first-class

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              postage prepaid, hand delivered, sent by overnight courier service, or by telecopy in legible
              form, to the Issuer addressed to it at c/o Ogier Fiduciary Services (Cayman) Limited, P.O.
              Box 1234, Queensgate House, George Town, Grand Cayman KY1-1108, Cayman Islands,
              telecopy no. (345) 945-6265, Attention: the Directors—Eastland CLO, Ltd., or at any other
              address previously furnished in writing to the other parties hereto by the Issuer or the Co-
              Issuer, as the case may be, with a copy to the Servicer at its address below;

                       (iii)    the Servicer shall be sufficient for every purpose under this Indenture if in
              writing and mailed, first-class postage prepaid, hand delivered, sent by overnight courier
              service, or by telecopy in legible form, to the Servicer addressed to it at Two Galleria
              Tower, 13455 Noel Road, Suite 800, Dallas, Texas 75240, telecopy no. (972) 628-4147,
              Attention: James Dondero, or at any other address previously furnished in writing to the
              other parties hereto;

                       (iv)    the Initial Purchaser shall be sufficient for every purpose under this
              Indenture if in writing and mailed, first-class postage prepaid, hand delivered, sent by
              overnight courier service, or by telecopy in legible form, to the Initial Purchaser
              addressed to them at 390 Greenwich Street., 4th Floor, New York, New York 10013,
              telecopy no. (212) 723-8671, Attention CDO Group, or at any other address previously
              furnished in writing to the Co-Issuers, the Servicer, and the Trustee by an Officer of the
              Initial Purchaser, as the case may be

                       (v)      the Placement Agent shall be sufficient for every purpose under this
              Indenture if in writing and mailed, first-class postage prepaid, hand delivered, sent by
              overnight courier service, or by telecopy in legible form, to the Placement Agent addressed
              to them at 390 Greenwich Street., 4th Floor, New York, New York 10013, telecopy no.
              (212) 723-8671, Attention CDO Group, or at any other address previously furnished in
              writing to the Issuer, the Servicer, and the Trustee by an Officer of the Placement Agent, as
              the case may be;

                        (vi)    any Hedge Counterparty shall be sufficient for every purpose under this
              Indenture (unless otherwise in this Indenture expressly provided) if in writing and mailed,
              first-class postage prepaid, hand delivered or sent by overnight courier service or by
              telecopy in legible form to the Hedge Counterparty addressed to it at the address specified
              in the relevant Hedge Agreement or at any other address previously furnished in writing to
              the Issuer or the Trustee by the Hedge Counterparty;

                        (vii)   the Rating Agencies shall be sufficient for every purpose under this
              Indenture (unless otherwise in this Indenture expressly provided) if in writing and mailed,
              first-class postage prepaid, hand delivered, sent by overnight courier service, or by telecopy
              in legible form, to each Rating Agency addressed to it at Moody's Investors Service, Inc., 99
              Church Street, New York, New York, 10007, Telecopy No. (212) 553-4170,
              cdomonitoring@moodys.com, Attention: CBO/CLO Monitoring and Standard & Poor's, 55
              Water Street, 41st Floor, New York, New York 10041-0003, telecopy no. (212) 438-2664,
              Attention: Asset Backed-CBO/CLO Surveillance and each Monthly Report shall also be
              sent to S&P electronically to CDO_Surveillance@standardandpoors.com;

                       (viii) the Administrator shall be sufficient for every purpose under this Indenture
              (unless otherwise in this Indenture expressly provided) if in writing and mailed, first-class
              postage prepaid, hand delivered, sent by overnight courier service, or by facsimile in legible
              form, addressed to Ogier Fiduciary Services (Cayman) Limited, P.O. Box 1234, Queensgate

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              House, George Town, Grand Cayman, Cayman Islands, telecopy no. (345) 949-9876,
              Attention: The Directors; or

                       (ix)     the Repository shall be sufficient for every purpose under this Indenture if
              delivered to the Repository at CDO Library, c/o The Bond Market Association, 360
              Madison Avenue, 18th Floor, New York, New York 10017, electronic mail address:
              admin@cdolibrary.com. Any document required to be delivered or made available to the
              Repository by the Trustee may be made available by providing the operator of the
              Repository with access to a website containing such document in a format that permits the
              user to download the document as a pdf file.

               (b)       If any provision in this Indenture calls for any notice or document to be delivered
      simultaneously to the Trustee and any other Person, the Trustee's receipt of the notice or document
      shall entitle the Trustee to assume that the notice or document was delivered to the other Person
      unless otherwise expressly specified in this Indenture.

               (c)     Any Holder or beneficial owner of any Class A-1 Notes, Class A-2a Notes or
      Class A-2b Notes may elect to acquire bond insurance, a surety bond, a credit default swap or
      similar credit enhancement supporting the payment of principal and/or interest on such Class A-
      1 Notes, Class A-2a Notes or Class A-2b Notes, as applicable, on terms and conditions
      acceptable to such Holder or beneficial owner and at the sole expense of such Holder or
      beneficial owner. On or after any such acquisition, such Holder or beneficial owner may
      deliver notice (and if from a beneficial owner, any such notice shall include certification that
      such owner is a beneficial owner of the Class A-1 Notes, Class A-2a Notes or Class A-2b
      Notes, as applicable) to the Trustee in substantially the form of Exhibit J specifying the name
      and contact information of the insurer, surety, credit protection seller or enhancer of such Class
      A-1 Notes, Class A-2a Notes or Class A-2b Notes, as applicable (each, an "Insurer"). After
      receipt of any such notice (in the form of Exhibit J) by the Trustee, the Trustee shall copy the
      related Insurer on all notices, reports or other documents delivered to the Noteholders.

               (d)       Unless notified to the contrary by Financial Security Assurance Inc. ("FSA") or
      unless FSA is no longer to direct the vote of at least the Super Majority of the Class A-2a Notes,
      each of the parties hereto agrees that, so long as any Class A-2a Notes are Outstanding, FSA
      shall be entitled to receive, and shall be distributed, all reports, notices, certificates, statements
      and other information (including access to the Trustee's password protected website) that are
      required to be delivered to any Holder of the Class A-2a Notes (or that any Holder of the Class
      A-2a Notes is entitled to request) at the same time and in the same manner as such reports,
      notices, certificates, statements and other information are delivered to each such Holder of Class
      A-2a Notes, at the following address (or at any other address furnished in writing from time to
      time by FSA to the parties hereto): Financial Security Assurance Inc., 31 West 52nd Street, New
      York, NY 10019, Attention: CDO Surveillance, telephone no.: (212) 826-0100; electronic mail:
      cdoreport@fsa.com, facsimile no.: (212) 339-3581. For the avoidance of doubt, FSA shall be
      entitled to request directly that the parties hereto provide it with such reports, notices,
      certificates, statements and other information that are required to be delivered to any Holder of
      the Class A-2a Notes (or that any Holder of the Class A-2a Notes is entitled to request).

      Section 14.4.    Notices to Noteholders, the Preference Shares Paying Agent, the Holding
                       Preference Shares Paying Agent; Waiver.

               Except as otherwise expressly provided in this Indenture, where this Indenture provides for
      notice to the Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of
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      Preference Shares) or the Holding Preference Shares Paying Agent (for forwarding to the Holders of
      Holding Securities) of any event,

               (a)       the notice shall be sufficiently given to the Noteholders, the Preference Shares
      Paying Agent or the Holding Preference Shares Paying Agent if in writing and mailed, first-class
      postage prepaid, each Noteholder affected by the event, the Preference Shares Paying Agent or the
      Holding Preference Shares Paying Agent, at the address of the Holder as it appears in the Indenture
      Register, at the address of the Preference Shares Paying Agent supplied by the Preference Shares
      Paying Agent to the Trustee or at the address of the Holding Preference Shares Paying Agent
      supplied by the Holding Preference Shares Paying Agent to the Trustee, as applicable, not earlier
      than the earliest date and not later than the latest date, prescribed for the giving of the notice; and

              (b)      the notice shall be in the English language.

              Notices shall be deemed to have been given on the date of their mailing.

               Notwithstanding clause (a), a Noteholder, the Preference Shares Paying Agent or the
      Holding Preference Shares Paying Agent may give the Trustee a written notice that it is requesting
      that notices to it be given by facsimile transmissions and stating the telecopy number for the
      transmission. Thereafter, the Trustee shall give notices to the Holder, the Preference Shares Paying
      Agent or Holding Preference Shares Paying Agent by facsimile transmission. If the notice also
      requests that notices be given by mail, then the notice shall also be given by mail in accordance with
      clause (a) above, as the case may be.

                The Trustee shall deliver to the Noteholders any information or notice relating to this
      Indenture requested to be so delivered by at least 10% (by Aggregate Outstanding Amount) of the
      Holders of any Class of Notes at the expense of the Issuer. The Trustee shall deliver to the
      Preference Shares Paying Agent any information or notice that the Preference Shares Paying Agent
      certifies was requested to be so delivered by at least 10% (by Aggregate Outstanding Amount) of the
      Holders of the Preference Shares at the expense of the Issuer. The Trustee shall deliver to the
      Holding Preference Shares Paying Agent any information or notice that the Holding Preference
      Shares Paying Agent certifies was requested to be so delivered by at least 10% (by Aggregate
      Outstanding Amount) of the Holders of the Holding Preference Shares at the expense of the Issuer.

               Neither the failure to mail any notice, nor any defect in any notice so mailed, to any
      particular Noteholder, the Preference Shares Paying Agent or the Holding Preference Shares Paying
      Agent shall affect the sufficiency of the notice with respect to other Noteholders, the Preference
      Shares Paying Agent or the Holding Preference Shares Paying Agent. If it is impracticable to give
      the notice by mail of any event to Noteholders, the Preference Shares Paying Agent or the Holding
      Preference Shares Paying Agent when the notice is required to be given pursuant to any provision of
      this Indenture because of the suspension of regular mail service as a result of a strike, work stoppage
      or similar activity or because of any other cause, then the notification to Noteholders, the Preference
      Shares Paying Agent or the Holding Preference Shares Paying Agent as shall be made with the
      approval of the Trustee shall be a sufficient notification to the Holders for every purpose under this
      Indenture.

               Where this Indenture provides for notice in any manner, the notice may be waived in
      writing by any Person entitled to receive the notice, either before or after the event, and the waiver
      shall be the equivalent of the notice. Waivers of notice by Noteholders, the Preference Shares
      Paying Agent or the Holding Preference Shares Paying Agent shall be filed with the Trustee but the
      filing shall not be a condition precedent to the validity of any action taken in reliance on the waiver.


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              So long as any Senior Notes are listed on the Irish Stock Exchange and the rules of the
      exchange so require, all notices to Noteholders, the Preference Shares Paying Agent (for forwarding
      to Holders of Preference Shares) or the Holding Preference Shares Paying Agent (for forwarding to
      Holders of Holding Securities) shall also be given to the Irish Paying Agent for publication in the
      Company Announcements Office of the Irish Stock Exchange.

               The Issuer shall (and authorizes the Trustee to) deliver to the Initial Purchaser all periodic
      reports, notices, demands, and other written information delivered or received by the Issuer, the
      Servicer, trustees, paying agents, accountants, or other Persons pursuant to this Indenture and other
      operative documentation relating to the Notes requested by the Initial Purchaser (collectively, the
      "Transaction Reports") and the Issuer consents to the Initial Purchaser providing Transaction
      Reports received by it to current and prospective investors in the Notes (including by means of
      electronic transmissions or posting the Transaction Reports on internet sites maintained by the Initial
      Purchaser or any of its Affiliates).

      Section 14.5.    Effect of Headings and Table of Contents.

              The Article and Section headings in this Indenture and the Table of Contents are for
      convenience only and shall not affect the construction of this Indenture.

      Section 14.6.    Successors and Assigns.

              All covenants and agreements in this Indenture by the Co-Issuers shall bind their respective
      successors and assigns, whether so expressed or not.

      Section 14.7.    Separability.

              Except to the extent prohibited by applicable law, in case any provision in this Indenture, in
      the Notes shall be invalid, illegal, or unenforceable, the validity, legality, and enforceability of the
      remaining provisions shall not in any way be affected or impaired thereby.

      Section 14.8.    Benefits of Indenture.

               Nothing in this Indenture or in the Notes, expressed or implied, shall give to any Person,
      other than the parties hereto and their successors under this Indenture, the Servicer, the Noteholders,
      the Holders of Preference Shares or the Preference Shares Paying Agent any benefit or any legal or
      equitable right, remedy or claim under this Indenture.

      Section 14.9.    Governing Law.

            THIS INDENTURE AND EACH NOTE SHALL BE CONSTRUED IN
      ACCORDANCE WITH AND GOVERNED BY THE LAWS OF STATE OF NEW YORK,
      WITHOUT REFERENCE TO ITS PROVISIONS THAT WOULD RESULT IN THE
      APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.

      Section 14.10. Submission to Jurisdiction.

              The Co-Issuers and the Trustee hereby irrevocably submit to the non-exclusive jurisdiction
      of any New York State or federal court sitting in the Borough of Manhattan in The City of New
      York in any action or proceeding arising out of or relating to the Securities or this Indenture, and the
      Co-Issuers and the Trustee hereby irrevocably agree that all claims in respect of the action or
      proceeding may be heard and determined in the New York State or federal court. The Co-Issuers

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      and the Trustee hereby irrevocably waive, to the fullest extent that they may legally do so, the
      defense of an inconvenient forum to the maintenance of the action or proceeding. The Co-Issuers
      and the Trustee irrevocably consent to the service of all process in any action or proceeding by the
      mailing or delivery of copies of the process to the Co-Issuers at the office of Investors Bank & Trust
      Company (to the attention of Investors Bank & Trust Company, Trustee for Eastland CLO, Ltd.) set
      out in Section 7.2. The Co-Issuers and the Trustee agree that a final judgment in any such action or
      proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or
      in any other manner provided by law.

      Section 14.11. Counterparts.

              This Indenture may be executed in any number of copies, and by the different parties on the
      same or separate counterparts, each of which shall be considered to be an original instrument.

      Section 14.12. Acts of Issuer.

              Any request, demand, authorization, direction, notice, consent, waiver or other action
      provided by this Indenture to be given or performed by the Issuer shall be effective if given or
      performed by the Issuer or by the Servicer on the Issuer's behalf.

      Section 14.13. Consent of Posting of Documents on Repository.

               The Issuer hereby consents to (a) the posting of the final Offering Memorandum, this
      Indenture and the periodic reports to be delivered pursuant to the transaction documents and any
      amendments or other modifications thereto on the Repository for use in the manner provided in the
      Repository and (b) the display of its name on the Repository in connection therewith.
      Notwithstanding anything herein to the contrary, none of the Issuer, the Co-Issuer and the Trustee
      makes any representation or warranty to The Bond Market Association (or any successor thereto) or
      any affiliate thereof or any Person having or obtaining access to the information maintained in the
      Repository or to any of such Person's affiliates regarding the accuracy or completeness of any
      information, document, report or other communication transmitted to the Repository, and no Person
      having or obtaining access to the information maintained in the Repository shall have any rights
      under this Indenture or otherwise by reason of the transmission of any such information, document,
      report or other communication to the Repository.

      Section 14.14. Liability of Co-Issuers.

               Notwithstanding any other terms of this Indenture, the Notes or any other agreement entered
      into by either of the Co-Issuers or otherwise, neither of the Co-Issuers shall have any liability
      whatsoever to the other of the Co-Issuers under this Indenture, the Notes, any other agreement, or
      otherwise. Without prejudice to the generality of the foregoing, neither of the Co-Issuers may take
      any action to enforce, or bring any action or proceeding, in respect of this Indenture, the Notes, any
      other agreement, or otherwise against the other of the Co- Issuers. In particular, neither of the Co-
      Issuers may petition or take any other steps for the winding up or bankruptcy of the other of the Co-
      Issuers and neither of the Co-Issuers shall have any claim with respect to any assets of the other of
      the Co-Issuers.

      Section 14.15. Indemnity of Co-Issuer.

              The Issuer agrees to indemnify the Co-Issuer for any payments that may become due from
      the Co-Issuer under Article 11 with respect to any Notes issued under this Indenture and any
      administrative, legal, or other costs incurred by the Co-Issuer in connection with those payments.

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                                                  ARTICLE 15

                      ASSIGNMENT OF SERVICING AGREEMENT; HEDGE AGREEMENTS

      Section 15.1.    Assignment of Servicing Agreement; Amendment of Servicing Agreement.

              (a)      The Issuer, in furtherance of the covenants of this Indenture and as security for the
      Notes and amounts payable to the Secured Parties under this Indenture and the performance and
      observance of the provisions of this Indenture, acknowledges that its Grant pursuant to the first
      Granting Clause includes all of the Issuer's interest in the Servicing Agreement, including:

                       (i)      the right to give all notices, consents and releases under it,

                       (ii)     the right to give all notices of termination pursuant to the Servicing
              Agreement and to take any legal action upon the breach of an obligation of the Servicer
              under it, including the commencement, conduct and consummation of proceedings at law or
              in equity,

                      (iii)   the right to receive all notices, accountings, consents, releases and
              statements under it, and

                        (iv)    the right to do all other things whatsoever that the Issuer is or may be
              entitled to do under it.

      Notwithstanding anything in this Indenture to the contrary, the Trustee may not exercise any of the
      rights in (i) through (iv) above or that may otherwise arise as a result of the Grant until the
      occurrence of an Event of Default under this Indenture and the authority shall terminate when the
      Event of Default is cured or waived.

               (b)     The assignment made hereby is executed as security, and the execution and
      delivery hereby shall not in any way impair or diminish the obligations of the Issuer under the
      Servicing Agreement, nor shall any of the obligations contained in the Servicing Agreement be
      imposed on the Trustee.

               (c)      Upon the retirement of the Notes and the release of the Collateral from the lien of
      this Indenture, this assignment, and all rights in this Indenture assigned to the Trustee for the benefit
      of the Noteholders shall cease and terminate and all the interest of the Trustee in the Servicing
      Agreement shall revert to the Issuer and no further instrument or act shall be necessary to evidence
      the termination and reversion.

              (d)    The Issuer represents that the Issuer has not executed any other assignment of the
      Servicing Agreement.

               (e)       The Issuer agrees that this assignment is irrevocable, and that it shall not take any
      action that is inconsistent with this assignment or make any other assignment inconsistent herewith.
      The Issuer shall, from time to time upon the request of the Trustee, execute all instruments of further
      assurance and all such supplemental instruments with respect to this assignment as the Trustee may
      reasonably request.

              (f)    The Issuer agrees to obtain the agreement and consent of the Servicer in the
      Servicing Agreement to the following:

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                      (i)      the Servicer consents to this collateral assignment and agrees to perform
              any provisions of this Indenture made expressly applicable to the Servicer pursuant to the
              Servicing Agreement.

                        (ii)    the Servicer acknowledges that the Issuer is collaterally assigning all of its
              interest in the Servicing Agreement to the Trustee for the benefit of the Secured Parties and
              the Servicer agrees that all of the representations, covenants and agreements made by the
              Servicer in the Servicing Agreement are also for the benefit of the Secured Parties.

                       (iii)   the Servicer shall deliver to the Trustee duplicate original copies of all
              notices, statements, communications and instruments delivered or required to be
              delivered to the Issuer pursuant to the Servicing Agreement (other than any of them
              delivered to the Issuer by the Trustee or the Collateral Administrator).

                      (iv)     the procedure for amending the Servicing Agreement as set forth in
              Section 15.1(h) below.

                        (v)     except as otherwise provided in this Indenture and the Servicing
              Agreement, subject to the resignation rights of the Servicer pursuant to Section 12 of the
              Servicing Agreement, the Servicer shall continue to serve as Servicer under the Servicing
              Agreement notwithstanding that the Servicer shall not have received amounts due it under
              the Servicing Agreement because sufficient funds were not then available under this
              Indenture to pay the amounts pursuant to the Priority of Payments. The Servicer agrees not
              to cause the filing of a petition in bankruptcy against the Issuer for the nonpayment of the
              fees or other amounts payable by the Administrative Agent to the Servicer under the
              Servicing Agreement until the payment in full of all Notes issued under this Indenture and
              the payment to the Preference Shares Paying Agent of all amounts payable with respect to
              the Preference Shares in accordance with the Priority of Payments and the expiration of a
              period equal to the greater of (A) the applicable preference period plus one day or (B) one
              year and one day following the payment. Notwithstanding the foregoing, the Servicer may
              commence any legal action that is not a bankruptcy, insolvency, liquidation or similar
              proceeding against the Issuer or the Co-Issuer or any of their properties and may take any
              action it deems appropriate at any time in any bankruptcy, insolvency, liquidation or similar
              proceeding and any other Proceeding voluntarily commenced by the Issuer or the Co-Issuer
              or involuntarily commenced against the Issuer or the Co-Issuer by anyone other than the
              Servicer or any Affiliate of the Servicer.

                        (vi)    the Servicer irrevocably submits to the non-exclusive jurisdiction of any
              New York State or federal court sitting in the Borough of Manhattan in The City of New
              York in any action or proceeding arising out of or relating to the Notes, the Preference
              Shares or this Indenture, and the Servicer irrevocably agrees that all claims in respect of the
              action or proceeding may be heard and determined in the New York State or federal court.
              The Servicer irrevocably waives, to the fullest extent it may legally do so, the defense of an
              inconvenient forum to the maintenance of the action or proceeding. The Servicer
              irrevocably consents to the service of all process in any action or proceeding by the mailing
              or delivery of copies of the process to it the address provided for in Section 14.3. The
              Servicer agrees that a final and non-appealable judgment by a court of competent
              jurisdiction in any such action or proceeding shall be conclusive and may be enforced in
              other jurisdictions by suit on the judgment or in any other manner provided by law.

                (g)     Following the resignation or removal of the Servicer, the Issuer shall use its best
      efforts to appoint a successor Servicer, and the Issuer, the Trustee, and the resigning or removed
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      Servicer shall take any action consistent with the Servicing Agreement and this Indenture applicable
      to the Servicer, necessary to effectuate any such succession.

              (h)      (i)     The Issuer may, at the request of the Servicer, enter into an amendment
      or modification of the Servicing Agreement from time to time, without the consent of the
      Holders of the Securities and without regard to whether or not the interests of the Holders of the
      Securities are adversely affected thereby; provided that, with respect to any such amendment or
      modification, (a) a Rating Condition is satisfied and (b) a Majority of the Controlling Class of
      Notes or a Majority of the Holders of the Preference Shares have not objected in writing to such
      amendment or modification prior to the relevant Objection Cut-Off Date (as defined below).

                       (ii)     If at any time the Servicer desires to amend or modify the Servicing
              Agreement, the Servicer shall notify the Issuer and the Trustee, providing details of such
              proposed amendment or modification. Not later than five Business Days after receipt of
              such notice, the Trustee shall mail such notice to (a) each Noteholder at such Holder's
              address in the Indenture Register or otherwise in accordance with the rules and procedures
              of the Depository, Euroclear and Clearstream, as applicable, (b) to the Preference Shares
              Paying Agent (for forwarding to the Holders of Preference Shares), (c) to the Holding
              Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities) and
              (d) to each Rating Agency. If any Holder of the Controlling Class of Notes or any Holder
              of the Preference Shares notifies, by delivering a written notice to the Trustee within 35
              days after the Trustee has mailed such notice, that it objects to such proposed amendment or
              modification, the Trustee shall, within two Business Days after receiving such notice of
              objection, mail a notice of the receipt of such objection to the Issuer, the Servicer and other
              Holders of the Controlling Class of Notes and other Holders of the Preference Shares. Each
              Holder of the Controlling Class of Notes and each Holder of the Preference Shares that also
              wishes to object to such amendment or modification must, by delivering a written notice, so
              notify the Trustee within seven Business Days after the Trustee has mailed such notice of
              the receipt of such objection (the last day of such seven Business Day period, the
              "Objection Cut-Off Date"). If a Majority of either the Controlling Class of Notes or the
              Preference Shares notifies the Trustee in writing on or before the Objection Cut-Off Date
              that they object to the proposed amendment or modification to the Servicing Agreement,
              such amendment or modification shall not be made.

      Section 15.2.    Hedge Agreements.

               (a)      At any time and from time to time on or after the Closing Date, the Issuer, at the
      direction of the Servicer and with the consent of a Majority of the Controlling Class, shall enter into
      the Hedge Agreements and shall assign its rights (but none of its obligations) under the Hedge
      Agreements to the Trustee pursuant to this Indenture. The Trustee shall, on behalf of the Issuer and
      in accordance with the Valuation Report, pay amounts due to the Hedge Counterparties under the
      Hedge Agreements on any Payment Date in accordance with Section 11.1.

              (b)    The Issuer shall not enter into any Hedge Agreement unless at the time of entering
      the Hedge Agreement the Hedge Counterparty has:

                      (i)     a debt rating by Moody's for long-term debt of "A1" or higher if the Hedge
              Counterparty has only a long-term rating; or a debt rating by Moody's for long-term debt of
              "A2" or higher and a debt rating by Moody's for short-term debt of "P-1" if the Hedge
              Counterparty has both long-term and short-term ratings; and



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                       (ii)    a short-term debt rating by S&P of not less than "A-1" or, if the Hedge
              Counterparty does not have a short-term debt rating by S&P, a long-term debt rating of not
              less than "A+" (the "Required Rating").

                (c)    If at any time a Hedge Counterparty does not have the Required Rating, then the
      Hedge Counterparty shall be required, at its sole expense, to, within the applicable period specified
      in the related Hedge Agreement, either:

                       (i)        post collateral with the Trustee to secure the Hedge Counterparty's
              obligations under the Hedge Agreement, in an amount and of the type specified under the
              relevant Hedge Agreement; provided that the Hedge Counterparty shall, at the time such
              collateral is first posted, deliver to the Issuer, the Trustee and the Rating Agencies an
              Opinion of Counsel of nationally recognized standing in the jurisdiction in which the Hedge
              Counterparty is incorporated confirming that such collateral will be available in a timely
              manner upon a bankruptcy of the Hedge Counterparty;

                      (ii)    obtain a guarantor that has a short-term debt rating by S&P of not less than
              "A-1" and otherwise has the Required Rating, subject to satisfaction of the Rating
              Condition; or

                        (iii)   replace itself under the related or substantially equivalent Hedge
              Agreement with a substitute Hedge Counterparty that has the Required Rating, subject to
              the satisfaction of the Rating Condition.

                       provided that failure to take any such steps set forth under paragraphs (i) through
              (iii) above within 30 days shall be treated as an "Additional Termination Event" under such
              Hedge Agreement.

               (d)      If at any time the Hedge Counterparty has (x) no short-term Moody's rating and a
      long-term Moody’s that is below "A3" or (y) both a short-term and long-term Moody's rating and
      either the long-term Moody's rating that is below "A3" or the short-term Moody’s rating that is
      below "P-2", then the Hedge Counterparty shall be required, at its sole expense, to, within the
      applicable period specified in the related Hedge Agreement, either:

                       (i)    obtain a guarantor that has the Required Rating, subject to satisfaction of
              the Rating Condition; or

                        (ii)    replace itself under the related or substantially equivalent Hedge
              Agreement with a substitute Hedge Counterparty that has the Required Rating, subject to
              satisfaction of the Rating Condition;

                      provided that failure to take any such steps set forth under paragraphs (i) and (ii)
              above shall be treated as an "Additional Termination Event" under such Hedge Agreement.

               (e)      If at any time the Hedge Counterparty has a long-term unsecured debt rating by
      S&P below "BBB-", then the Hedge Counterparty shall be required, within 10 days, to replace itself
      under the related or substantially equivalent Hedge Agreement with a substitute Hedge Counterparty
      that has the Required Rating, subject to satisfaction of the Rating Condition; provided that failure to
      do so shall be treated as an "Additional Termination Event" under such Hedge Agreement.




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               (f)     Whenever the Issuer enters into a Hedge Agreement, the Hedge Counterparty
      thereto shall comply with the then currently applicable rating criteria of each Rating Agency from
      time to time.

               (g)    If the Issuer has the right under a Hedge Agreement at any time to demand that the
      related Hedge Counterparty deliver Eligible Collateral in accordance with an Approved Credit
      Support Document, the Issuer shall make the demand.

               (h)     Any payments required to be made under the Hedge Agreements shall be made in
      accordance with the Priority of Payments. Subordinated Defaulted Hedge Termination Payments
      shall be subordinate to interest and principal payments on the Notes and any other payments
      required to be made by the Issuer under the Hedge Agreements, but senior to distributions to
      Holders of the Preference Shares.

               (i)       Except as provided in paragraph (i) of this Section 15.2, the Issuer, at the direction
      of the Servicer, shall, promptly following the early termination of a Hedge Agreement (other than on
      a Redemption Date) (but no later than 60 days after the early termination), and to the extent possible
      through application of Hedge Termination Receipts, enter into a Replacement Hedge, unless, in the
      exercise of the Servicer's commercially reasonable judgment, to do so would not be in the best
      interest of the Issuer and the Rating Condition with respect to each Rating Agency is satisfied with
      respect to the non-entry into the a Replacement Hedge. In addition, a Replacement Hedge may not
      be entered into unless the Issuer provides the Rating Agencies with at least seven Business Days'
      prior written notice of its intention to enter into the agreement, together with its form and the Rating
      Condition with respect to each Rating Agency is satisfied with respect to the Replacement Hedge.
      The Issuer shall use commercially reasonable efforts to cause the termination of a Hedge Agreement
      (other than a termination resulting from the bankruptcy, insolvency, or similar event with respect to
      the Hedge Counterparty) to become effective simultaneously with its entering into a Replacement
      Hedge. To the extent that (i) the Servicer determines not to replace the Hedge Agreement and the
      Rating Condition with respect to each Rating Agency is satisfied with respect to the determination or
      (ii) termination is occurring on a Redemption Date, the Hedge Termination Receipts shall become
      part of Principal Proceeds and be distributed in accordance with Section 11.1 on the next following
      Payment Date (or on the Redemption Date, if the Notes are redeemed on the Redemption Date).

               (j)      Notwithstanding Section 15.2(h), the applicable requirements of Section 15.2(h)
      shall not have to be met if the Rating Condition with respect to each Rating Agency is otherwise
      satisfied with respect thereto.

               (k)     The notional amounts of the Hedge Agreements outstanding at any time may be
      reduced or increased from time to time, by the Issuer, and the Hedge Agreements may be amended,
      modified or terminated in accordance with the Hedge Agreements if the Rating Condition with
      respect to each Rating Agency is satisfied with respect to the reduction, increase, amendment,
      modification or termination, as the case may be.

               (l)     Each Hedge Agreement may be terminated pursuant to its terms by the Hedge
      Counterparty upon an Optional Redemption of the Notes, an acceleration of maturity of the Notes
      followed by the liquidation of any or all of the Collateral after an Event of Default or the entry into
      certain amendments to the Indenture without the consent of the Hedge Counterparty. The Hedge
      Agreement will not be permitted to be terminated by the Issuer as the result of a Default or Event of
      Default unless any acceleration of maturity of the Notes resulting from the Event of Default is no
      longer permitted to be rescinded pursuant to this Indenture.



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               (m)       Except for Hedge Agreements entered into on or before the Closing Date, the Issuer
      shall not enter into any Hedge Agreement unless the Rating Condition with respect to each Rating
      Agency is satisfied.




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                                                                             Schedule 1

                                List of Collateral Obligations




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                                                                                              Schedule 2

                                Moody's Industry Classification Group List

      Aerospace and Defense: Major Contractor, Subsystems, Research, Aircraft Manufacturing, Arms,
      Ammunition

      Automobile: Automotive Equipment, Auto-Manufacturing, Auto Parts Manufacturing, Personal Use
      Trailers, Motor Homes, Dealers

      Banking: Bank Holding, Savings and Loans, Consumer Credit, Small Loan, Agency, Factoring,
      Receivables

      Beverage, Food and Tobacco: Beer and Ale, Distillers, Wines and Liquors, Distributors, Soft Drink
      Syrup, Bottling, Bakery, Mill Sugar, Canned Foods, Corn Refiners, Dairy Products, Meat Products,
      Poultry Products, Snacks, Packaged Foods, Distributors, Candy, Gum, Seafood, Frozen Food,
      Cigarettes, Cigars, Leaf/Snuff, Vegetable Oil

      Buildings and Real Estate: Brick, Cement, Climate Controls, Contracting, Engineering,
      Construction, Hardware, Forest Products (building-related only), Plumbing, Roofing, Wallboard,
      Real Estate, Real Estate Development, REITs, Land Development

      Chemicals, Plastics and Rubber: Chemicals (non-agriculture), Industrial Gases, Sulfur, Plastics,
      Plastic Products, Abrasives, Coatings, Paints, Varnish, Fabricating

      Containers, Packaging and Glass: Glass, Fiberglass, Containers made of: Glass, Metal, Paper,
      Plastic, Wood or Fiberglass

      Personal and Non Durable Consumer Products (Manufacturing Only): Soaps, Perfumes,
      Cosmetics, Toiletries, Cleaning Supplies, School Supplies

      Diversified/Conglomerate Manufacturing

      Diversified/Conglomerate Service

      Diversified Natural Resources, Precious Metals and Minerals: Fabricating, Distribution, Mining
      and Sales

      Ecological: Pollution Control, Waste Removal, Waste Treatment, Waste Disposal

      Electronics: Computer Hardware, Electric Equipment, Components, Controllers, Motors,
      Household Appliances, Information Service, Communication Systems, Radios, TVs, Tape
      Machines, Speakers, Printers, Drivers, Technology

      Finance: Investment Brokerage, Leasing, Syndication, Securities

      Farming and Agriculture: Livestock, Grains, Produce, Agricultural Chemicals, Agricultural
      Equipment, Fertilizers

      Grocery: Grocery Stores, Convenience Food Stores

      Healthcare, Education and Childcare: Ethical Drugs, Proprietary Drugs, Research, Health Care
      Centers, Nursing Homes, HMOs, Hospitals, Hospital Supplies, Medical Equipment



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      Home and Office Furnishings, Housedress, and Durable Consumer Products: Carpets, Floor
      Coverings, Furniture, Cooking, Ranges

      Hotels, Motels, Inns and Gaming

      Insurance: Life, Property and Casualty, Broker, Agent, Surety

      Leisure, Amusement, Entertainment: Boating, Bowling, Billiards, Musical Instruments, Fishing,
      Photo Equipment, Records, Tapes, Sports, Outdoor Equipment (camping), Tourism, Resorts, Games,
      Toy Manufacturing, Motion Picture Production, Theatres, Motion Picture Distribution

      Machinery (Non-Agriculture, Non-Construction, Non-Electronic): Industrial, Machine Tools,
      Steam Generators

      Mining, Steel, Iron and Non-Precious Metals: Coal, Copper, Lead, Uranium, Zinc, Aluminum,
      Stainless Steel, Integrated Steel, Ore Production, Refractories, Steel Mill Machinery, Mini-Mills,
      Fabricating, Distribution and Sales

      Oil and Gas: Crude Producer, Retailer, Well Supply, Service and Drilling

      Personal, Food and Miscellaneous

      Printing and Publishing: Graphic Arts, Paper, Paper Products, Business Forms, Magazines, Books,
      Periodicals, Newspapers, Textbooks

      Cargo Transport: Rail, Shipping, Railroads, Rail-car Builders, Ship Builders, Containers,
      Container Builders, Parts, Overnight Mail, Trucking, Truck Manufacturing, Trailer Manufacturing,
      Air Cargo, Transport

      Retail Stores: Apparel, Toy, Variety, Drugs, Department, Mail Order Catalogue, Showroom

      Structured Finance

      Telecommunications: Local, Long Distance, Independent, Telephone, Telegraph, Satellite,
      Equipment, Research, Cellular

      Textiles and Leather: Producer, Synthetic Fiber, Apparel Manufacturer, Leather Shoes Personal
      Transportation: Air, Bus, Rail, Car, Rental

      Utilities: Electric, Water, Hydro Power, Gas, Diversified

      Broadcasting and Entertainment: Recording Industry, Motion Exhibition Theatres, Motion
      Picture Production and Distribution, Radio, TV, Cable Broadcasting, Broadcasting Equipment




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                                                                                     Schedule 3

                                         S&P Industry Classifications

      Corporate Obligations

      0.      Zero Default Risk
      1.      Aerospace & Defense
      2.      Air transport
      3.      Automotive
      4.      Beverage & Tobacco
      5.      Radio & Television
      6.      Brokerages, Dealers & Investment houses
      7.      Building & Development
      8.      Business equipment & services
      9.      Cable & satellite television
      10.     Chemical & plastics
      11.     Clothing/textiles
      12.     Conglomerates
      13.     Containers & glass products
      14.     Cosmetics/toiletries
      15.     Drugs
      16.     Ecological services & equipment
      17.     Electronics/electrical
      18.     Equipment leasing
      19.     Farming/agriculture
      20.     Financial Intermediaries
      21.     Food/drug retailers
      22.     Food products
      23.     Food service
      24.     Forest products
      25.     Health care
      26.     Home furnishings
      27.     Lodging & casinos
      28.     Industrial equipment
      29.     Insurance
      30.     Leisure goods/activities/movies
      31.     Nonferrous metals/minerals
      32.     Oil & gas
      33.     Publishing
      34.     Rail Industries
      35.     Retailers (except food & drug)
      36.     Steel
      37.     Surface transport
      38.     Telecommunications
      39.     Utilities

      Corporate Structured Obligations

      50.     CDOs




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      Structured Obligations

      51.     ABS Consumer
      52.     ABS Commercial
      53.     CMBS Diversified (Conduit and CTL)
      54.     CMBS (Large Loan, Single Borrower, and Single Property)
      55.     REITs and REOCs
      56.     RMBS A
      57.     RMBS B&C, HELs, HELOCs, and Tax Lien
      58.     Manufactured Housing
      59.     U.S. Agency (Explicitly Guaranteed)
      60.     Monoline/FER Guaranteed
      61.     Non-FER Company Guaranteed
      62.     FFELP Student Loans (Over 70% FFELP)
      63.     CLO of SME's




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                                                                                                 Schedule 4

                                          Diversity Score Calculation

              The Diversity Score for the Collateral Obligations is calculated by summing each of the
      Industry Diversity Scores, which are calculated as follows:

               (i)      An "Obligor Par Amount" is calculated for each obligor represented in the
      Collateral Obligations (other than Defaulted Collateral Obligations) by summing the par amounts of
      all Collateral Obligations in the Collateral (other than Defaulted Collateral Obligations) issued by
      that obligor or any Affiliate of that obligor (other than obligors that the Servicer reasonably
      determines are Affiliated but are not dependent upon one another for credit support and are not
      dependent upon a Person by which they are commonly controlled for credit support).

               (ii)    An "Average Par Amount" is calculated by summing the Obligor Par Amounts and
      dividing by the number of obligors represented. For purposes of calculating the number of issuers of
      the Collateral Obligations (other than Defaulted Collateral Obligations), any issuers Affiliated with
      one another shall be considered one issuer (other than obligors that the Servicer reasonably
      determines are Affiliated but are not dependent upon one another for credit support and are not
      dependent upon a Person by which they are commonly controlled for credit support).

               (iii)    An "Equivalent Unit Score" is calculated for each obligor represented in the
      Collateral Obligations (other than Defaulted Collateral Obligations) by taking the lesser of (A) one
      and (B) the Obligor Par Amount for the obligor divided by the Average Par Amount. For purposes
      of calculating the Equivalent Unit Score, any issuers Affiliated with one another shall be considered
      one issuer (other than obligors that the Servicer reasonably determines are Affiliated but are not
      dependent upon one another for credit support and are not dependent upon a Person by which they
      are commonly controlled for credit support).

              (iv)    An "Aggregate Industry Equivalent Unit Score" is then calculated for each of the
      Moody's industrial classification groups by summing the Equivalent Unit Scores for each obligor in
      the industry.

              (v)      An "Industry Diversity Score" is then established by reference to the Diversity
      Score Table shown below for the related Aggregate Industry Equivalent Unit Score. If any
      Aggregate Industry Equivalent Unit Score falls between any two the scores then the applicable
      Industry Diversity Score shall be the lower of the two Industry Diversity Scores in the Diversity
      Score Table.

               The Diversity Score for any Structured Finance Obligation that is a collateralized loan
      obligation is equal to zero.




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                                         DIVERSITY SCORE TABLE

    Aggregate                   Aggregate                 Aggregate                Aggregate
     Industry                    Industry                  Industry                 Industry
    Equivalent     Diversity    Equivalent   Diversity    Equivalent   Diversity   Equivalent   Diversity
    Unit Score      Score       Unit Score    Score       Unit Score    Score      Unit Score    Score
      0.0000           0.0000   5.0500       2.7000       10.1500      4.0200      15.2500      4.5300
      0.0500           0.1000   5.1500       2.7333       10.2500      4.0300      15.3500      4.5400
      0.1500           0.2000   5.2500       2.7667       10.3500      4.0400      15.4500      4.5500
      0.2500           0.3000   5.3500       2.8000       10.4500      4.0500      15.5500      4.5600
      0.3500           0.4000   5.4500       2.8333       10.5500      4.0600      15.6500      4.5700
      0.4500           0.5000   5.5500       2.8667       10.6500      4.0700      15.7500      4.5800
      0.5500           0.6000   5.6500       2.9000       10.7500      4.0800      15.8500      4.5900
      0.6500           0.7000   5.7500       2.9333       10.8500      4.0900      15.9500      4.6000
      0.7500           0.8000   5.8500       2.9667       10.9500      4.1000      16.0500      4.6100
      0.8500           0.9000   5.9500       3.0000       11.0500      4.1100      16.1500      4.6200
      0.9500           1.0000   6.0500       3.0250       11.1500      4.1200      16.2500      4.6300
      1.0500           1.0500   6.1500       3.0500       11.2500      4.1300      16.3500      4.6400
      1.1500           1.1000   6.2500       3.0750       11.3500      4.1400      16.4500      4.6500
      1.2500           1.1500   6.3500       3.1000       11.4500      4.1500      16.5500      4.6600
      1.3500           1.2000   6.4500       3.1250       11.5500      4.1600      16.6500      4.6700
      1.4500           1.2500   6.5500       3.1500       11.6500      4.1700      16.7500      4.6800
      1.5500           1.3000   6.6500       3.1750       11.7500      4.1800      16.8500      4.6900
      1.6500           1.3500   6.7500       3.2000       11.8500      4.1900      16.9500      4.7000
      1.7500           1.4000   6.8500       3.2250       11.9500      4.2000      17.0500      4.7100
      1.8500           1.4500   6.9500       3.2500       12.0500      4.2100      17.1500      4.7200
      1.9500           1.5000   7.0500       3.2750       12.1500      4.2200      17.2500      4.7300
      2.0500           1.5500   7.1500       3.3000       12.2500      4.2300      17.3500      4.7400
      2.1500           1.6000   7.2500       3.3250       12.3500      4.2400      17.4500      4.7500
      2.2500           1.6500   7.3500       3.3500       12.4500      4.2500      17.5500      4.7600
      2.3500           1.7000   7.4500       3.3750       12.5500      4.2600      17.6500      4.7700
      2.4500           1.7500   7.5500       3.4000       12.6500      4.2700      17.7500      4.7800
      2.5500           1.8000   7.6500       3.4250       12.7500      4.2800      17.8500      4.7900
      2.6500           1.8500   7.7500       3.4500       12.8500      4.2900      17.9500      4.8000
      2.7500           1.9000   7.8500       3.4750       12.9500      4.3000      18.0500      4.8100
      2.8500           1.9500   7.9500       3.5000       13.0500      4.3100      18.1500      4.8200
      2.9500           2.0000   8.0500       3.5250       13.1500      4.3200      18.2500      4.8300
      3.0500           2.0333   8.1500       3.5500       13.2500      4.3300      18.3500      4.8400
      3.1500           2.0667   8.2500       3.5750       13.3500      4.3400      18.4500      4.8500
      3.2500           2.1000   8.3500       3.6000       13.4500      4.3500      18.5500      4.8600
      3.3500           2.1333   8.4500       3.6250       13.5500      4.3600      18.6500      4.8700
      3.4500           2.1667   8.5500       3.6500       13.6500      4.3700      18.7500      4.8800




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    Aggregate                   Aggregate                      Aggregate                Aggregate
     Industry                    Industry                       Industry                 Industry
    Equivalent     Diversity    Equivalent   Diversity         Equivalent   Diversity   Equivalent   Diversity
    Unit Score      Score       Unit Score    Score            Unit Score    Score      Unit Score    Score
      3.5500           2.2000    8.6500      3.6750            13.7500      4.3800      18.8500      4.8900
      3.6500           2.2333    8.7500      3.7000            13.8500      4.3900      18.9500      4.9000
      3.7500           2.2667    8.8500      3.7250            13.9500      4.4000      19.0500      4.9100
      3.8500           2.3000    8.9500      3.7500            14.0500      4.4100      19.1500      4.9200
      3.9500           2.3333    9.0500      3.7750            14.1500      4.4200      19.2500      4.9300
      4.0500           2.3667    9.1500      3.8000            14.2500      4.4300      19.3500      4.9400
      4.1500           2.4000    9.2500      3.8250            14.3500      4.4400      19.4500      4.9500
      4.2500           2.4333    9.3500      3.8500            14.4500      4.4500      19.5500      4.9600
      4.3500           2.4667    9.4500      3.8750            14.5500      4.4600      19.6500      4.9700
      4.4500           2.5000    9.5500      3.9000            14.6500      4.4700      19.7500      4.9800
      4.5500           2.5333    9.6500      3.9250            14.7500      4.4800      19.8500      4.9900
      4.6500           2.5667    9.7500      3.9500            14.8500      4.4900      19.9500      5.0000
      4.7500           2.6000    9.8500      3.9750            14.9500      4.5000
      4.8500           2.6333    9.9500      4.0000            15.0500      4.5100
      4.9500           2.6667   10.0500      4.0100            15.1500      4.5200




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                                                                                                Schedule 5

                          Moody's Structured Finance Obligation Recovery Rates

      The Moody's Recovery Rate for a Structured Finance Obligation will be the applicable rate set forth
      below based on the appropriate sector as categorized by Moody's:

      Diversified Securities primarily include (1) Automobile Securities; (2) Car Rental Receivable
      Securities; (3) Credit Card Securities; (4) Student Loan Securities

      Residential Securities primarily include (1) Home Equity Loan Securities; (2) Manufactured
      Housing Securities; (3) Residential A Mortgage Securities; (4) Residential B/C Mortgage Securities

      Undiversified Securities primarily include (1) CMBS Conduit; (2) CMBS Credit Tenant Lease; (3)
      CMBS Large Loan; (4) those ABS Sectors not included in Diversified Securities

      Collateralized Debt Obligations include (1) High-diversity CDOs (Diversity Score in excess of
      20); (2) Low-Diversity CDOs (Diversity Score of 20 or less)

      Diversified Securities

                                         Initial Rating of Structured Finance Obligation
      % of
      Underlying
      Capital
      Structure (1)     Aaa        Aa             A             Baa                         B
                                                                              Ba
      >70%              85%        80%            70%           60%           50%           40%
      <=70%             75%        70%            60%           50%           40%           30%
      >10%
      <=10%             70%        65%            55%           45%           35%           25%


      Residential Securities


                                         Initial Rating of Structured Finance Obligation
      % of
      Underlying
      Capital
      Structure (1)     Aaa        Aa             A             Baa                         B
                                                                              Ba
      >70%              85%        80%            65%           55%           45%           30%
      <=70%             75%        70%            55%           45%           35%           25%
      >10%
      <=10%             65%        55%            45%           40%           30%           20%
      >5%
      <=5%              55%        45%            40%           35%           25%           15%



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      >2%
      <=2%             45%       35%            30%           25%           15%          10%


      Undiversified Securities


                                       Initial Rating of Structured Finance Obligation
      % of
      Underlying
      Capital
      Structure (1)    Aaa       Aa             A             Baa                        B
                                                                            Ba
      >70%             85%       80%            65%           55%           45%          30%
      <=70%            75%       70%            55%           45%           35%          25%
      >10%
      <=10%            65%       55%            45%           35%           25%          15%
      >5%
      <=5%             55%       45%            35%           30%           20%          10%
      >2%
      <=2%             45%       35%            25%           20%           10%          5%


      High Diversity Collateralized Debt Obligations


                                             Initial Rating of Underlying Asset
      % of
      Underlying
      Capital
      Structure (1)    Aaa       Aa             A             Baa                        B
                                                                            Ba
      >70%             85%       80%            65%           55%           45%          30%
      <=70%            75%       70%            60%           50%           40%          25%
      >10%
      <=10%            65%       55%            50%           40%           30%          20%
      >5%
      <=5%             55%       45%            40%           35%           25%          10%
      >2%
      <=2%             45%       35%            30%           25%           10%          5%




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      Low Diversity Collateralized Debt Obligations


                                                Initial Rating of Underlying Asset
      % of
      Underlying
      Capital
      Structure (1)     Aaa         Aa            A              Baa           Ba             B
      >70%              80%         75%           60%            50%           45%            30%
      <=70%             70%         60%           55%            45%           35%            25%
      >10%
      <=10%             60%         50%           45%            35%           25%            15%
      >5%
      <=5%              50%         40%           35%            30%           20%            10%
      >2%
      <=2%              30%         25%           20%            15%           7%             4%


      (1) Initial par amount of tranche to which Structured Finance Obligation relates divided by initial
      par amount of total securities issued by Structured Finance Obligation issuer.




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                                                                                                                                    Schedule 6

                                      S&P Structured Finance Obligation Recovery Rates*

                                                RATING OF A CLASS OF NOTES AT THE TIME OF COMMITMENT TO
                                                                                        PURCHASE
         Structured Finance
         Obligation Rating*
             Senior Asset Class               AAA              AA              A             BBB              BB               B             CCC
             AAA                               80.0%           85.0%           90.0%           90.0%           90.0%          90.0%          90.0%
             AA                                70.0%           75.0%           85.0%           90.0%           90.0%          90.0%          90.0%
             A                                 60.0%           65.0%           75.0%           85.0%           90.0%          90.0%          90.0%
             BBB                               50.0%           55.0%           65.0%           75.0%           85.0%          85.0%          85.0%

             Junior Asset Class
                                              AAA              AA              A             BBB              BB               B             CCC
             AAA                               65.0%           70.0%           80.0%           85.0%           85.0%          85.0%          85.0%
             AA                                55.0%           65.0%           75.0%           80.0%           80.0%          80.0%          80.0%
             A                                 40.0%           45.0%           55.0%           65.0%           80.0%          80.0%          80.0%
             BBB                               30.0%           35.0%           40.0%           45.0%           50.0%          60.0%          70.0%
             BB                                10.0%           10.0%           10.0%           25.0%           35.0%          40.0%          50.0%
             B                                  2.5%            5.0%            5.0%           10.0%           10.0%          20.0%          25.0%
             CCC                                0.0%            0.0%            0.0%            0.0%            2.5%           5.0%           5.0%

     *      If the Structured Finance Obligation is (x) a collateralized debt obligation backed by project finance securities, asset-backed
            securities, structured finance or real estate securities, distressed debt or other collateralized debt obligations; (y) a market value
            collateralized debt obligation; or (z) a synthetic collateralized debt obligation, the recovery rate will be assigned by S&P at the
            time of acquisition.




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                                                                                                  Schedule 7

                      Certain Defined Terms Relating to S&P Rating and Moody's Rating

              "Assigned Moody's Rating": The monitored publicly available rating or the monitored
      estimated rating expressly assigned to a debt obligation (or facility) by Moody's that addresses the
      full amount of the principal and interest promised.

               "Moody's Default Probability Rating": With respect to any Collateral Obligation as of any
      date of determination, the rating determined in accordance with the following, in the following order
      of priority:

              (a)       with respect to a Moody's Senior Secured Loan:

                      (i)      if the Loan's obligor has a corporate family rating from Moody's, such
              corporate family rating; and

                      (ii)      if the preceding clause does not apply, the Moody's Obligation Rating of
              such Loan;

                      (iii)  if the preceding clauses do not apply, the rating that is one subcategory
              above the Moody's Equivalent Senior Unsecured Rating;

              (b)     with respect to a Moody's Non Senior Secured Loan or a Bond, the Moody's
      Equivalent Senior Unsecured Rating of such Collateral Obligation;

               (c)     with respect to a Collateral Obligation that is a DIP Loan, the rating that is one
      rating subcategory below the Assigned Moody's Rating thereof;

               (d)       with respect to a Structured Finance Obligation, the Assigned Moody's Rating
      thereof or, if the obligation does not have an Assigned Moody's Rating but has a rating by S&P, then
      the Moody's Default Probability Rating shall be:

                       (i)     one rating subcategory below the Moody's equivalent of such S&P rating if
              it is "BBB–" or higher, or

                         (ii)    two rating subcategories below the Moody's equivalent of such S&P rating
              if it is "BB+" or lower; and

              (e)       with respect to a Synthetic Security, the Assigned Moody's Rating thereof.

      Notwithstanding the foregoing, if the Moody's rating or ratings used to determine the Moody's
      Default Probability Rating are on watch for downgrade or upgrade by Moody's, such rating or
      ratings will be adjusted down (if on watch for downgrade) (i) with respect to any Collateral
      Obligation other than Structured Finance Obligations, one subcategory and (ii) with respect to any
      Structured Finance Obligation, two subcategories or adjusted up (if on watch for upgrade) (i) with
      respect to any Collateral Obligation other than Structured Finance Obligations, one subcategory and
      (ii) with respect to any Structured Finance Obligation, two subcategories. For purposes of any
      calculation under this Indenture, if a Moody's Default Probability Rating is withdrawn by Moody's
      with respect to a Collateral Obligation, the Issuer will continue using the latest Moody’s Default
      Probability Rating available immediately prior to such withdrawal until a bankruptcy event occurs
      with respect to such Collateral Obligation.




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                "Moody's Equivalent Senior Unsecured Rating": With respect to any Collateral Obligation
      that is a Loan or bond and the obligor thereof, as of any date of determination, the rating determined
      in accordance with the following, in the following order of priority:

              (a)    if the obligor has a senior unsecured obligation with an Assigned Moody's Rating,
      such Assigned Moody's Rating;

              (b)      if the preceding clause does not apply, the Moody's "Issuer Rating" for the obligor;

              (c)     if the preceding clauses do not apply, but the obligor has a subordinated obligation
      with an Assigned Moody's Rating, then

               (i)     if such Assigned Moody's Rating is at least "B3" (and, if rated "B3", not on watch
      for downgrade), the Moody's Equivalent Senior Unsecured Rating shall be the rating which is one
      rating subcategory higher than such Assigned Moody's Rating, or

              (ii)    if such Assigned Moody's Rating is less than "B3" (or rated "B3" and on watch for
      downgrade), the Moody's Equivalent Senior Unsecured Rating shall be such Assigned Moody's
      Rating;

               (d)     if the preceding clauses do not apply, but the obligor has a senior secured
      obligation with an Assigned Moody's Rating, then:

              (i)     if such Assigned Moody's Rating is at least "Caa3" (and, if rated "Caa3", not on
      watch for downgrade), the Moody's Equivalent Senior Unsecured Rating shall be the rating which is
      one subcategory below such Assigned Moody's Rating, or

              (ii)     if such Assigned Moody's Rating is less than "Caa3" (or rated "Caa3" and on watch
      for downgrade), then the Moody's Equivalent Senior Unsecured Rating shall be "C";

              (e)     if the preceding clauses do not apply, but such obligor has a corporate family rating
      from Moody's, the Moody's Equivalent Senior Unsecured Rating shall be one rating subcategory
      below such corporate family rating;

               (f)       if the preceding clauses do not apply, but the obligor has a senior unsecured
      obligation (other than a bank loan) with a monitored public rating from S&P (without any
      postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
      interest promised), then the Moody's Equivalent Senior Unsecured Rating shall be:

            (i)      one rating subcategory below the Moody's equivalent of such S&P rating if it is
      "BBB–" or higher,

             (ii)     two rating subcategories below the Moody's equivalent of such S&P rating if it is
      "BB+" or lower; or

                 (iii)    "B3" until the Issuer or the Servicer obtains an estimated rating from Moody's if
      (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes an
      estimated rating equivalent to a rating no lower than "B3" will be assigned by Moody's and the
      Issuer or the Servicer on its behalf applies for an estimated rating from Moody's within five Business
      Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate Principal
      Balance of Collateral Obligations having an Assigned Moody's Rating pursuant to either this clause
      (f)(iii), or clause (g)(iii) or (h)(iii) does not exceed 5% of the Maximum Amount, and (C) all the
      Coverage Tests and the Collateral Quality Tests are satisfied;



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               (g)      if the preceding clauses do not apply, but the obligor has a subordinated obligation
      (other than a bank loan) with a monitored public rating from S&P (without any postscripts, asterisks
      or other qualifying notations, that addresses the full amount of principal and interest promised), the
      Assigned Moody's Rating shall be deemed to be:

            (i)      one rating subcategory below the Moody's equivalent of such S&P rating if it is
      "BBB–" or higher;

               (ii)     two rating subcategories below the Moody's equivalent of such S&P rating if it is
      "BB+" or lower, and the Moody's Equivalent Senior Unsecured Rating shall be determined pursuant
      to clause (c) above; or

                 (iii)   "B3" until the Issuer or the Servicer obtains an estimated rating from Moody's if
      (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes an
      estimated rating equivalent to a rating not lower than "B3" will be assigned by Moody's and the
      Issuer or the Servicer on its behalf applies for an estimated rating from Moody's within five Business
      Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate Principal
      Balance of Collateral Obligations having an Assigned Moody's Rating pursuant to either this clause
      (g)(iii), or clauses (f)(iii) or (h)(iii) does not exceed 5% of the Maximum Amount, and (C) all the
      Coverage Tests and the Collateral Quality Tests are satisfied;

               (h)     if the preceding clauses do not apply, but the obligor has a senior secured
      obligation with a monitored public rating from S&P (without any postscripts, asterisks or other
      qualifying notations, that addresses the full amount of principal and interest promised), the Assigned
      Moody's Rating shall be deemed to be:

            (i)      one rating subcategory below the Moody's equivalent of such S&P rating if it is
      "BBB–" or higher;

               (ii)    two rating subcategories below the Moody's equivalent of such S&P rating if it is
      "BB+" or lower, and the Moody's Equivalent Senior Unsecured Rating shall be determined pursuant
      to clause (d) above; or

                 (iii)   "B3" until the Issuer or the Servicer obtains an estimated rating from Moody's if
      (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes an
      estimated rating equivalent to a rating not lower than "B3" will be assigned by Moody's and the
      Issuer or the Servicer on its behalf applies for an estimated rating from Moody's within five Business
      Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate Principal
      Balance of Collateral Obligations having an Assigned Moody's Rating pursuant to either this clause
      (h)(iii), or clauses (f)(iii) or (g)(iii) does not exceed 5% of the Maximum Amount, and (C) all the
      Coverage Tests and the Collateral Quality Tests are satisfied;

                (i)      if the preceding clauses do not apply and each of the following clauses (i) through
      (viii) do apply, the Moody's Equivalent Senior Unsecured Rating will be "Caa1":

              (i)     neither the obligor nor any of its Affiliates is subject to reorganization or
      bankruptcy proceedings,

              (ii)     no debt securities or obligations of the obligor are in default,

              (iii)   neither the obligor nor any of its Affiliates has defaulted on any debt during the
      preceding two years,




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               (iv)    the obligor has been in existence for the preceding five years,

               (v)     the obligor is current on any cumulative dividends,

               (vi)     the fixed-charge ratio for the obligor exceeds 125% for each of the preceding two
      fiscal years and for the most recent quarter,

               (vii)   the obligor had a net profit before tax in the past fiscal year and the most recent
      quarter, and

               (viii) the annual financial statements of such obligor are unqualified and certified by a
      firm of Independent accountants of international reputation, and quarterly statements are unaudited
      but signed by a corporate officer;

              (j)     if the preceding clauses do not apply but each of the following clauses (i) and (ii)
      do apply, the Moody's Equivalent Senior Unsecured Rating will be "Caa3":

              (i)     neither the obligor nor any of its Affiliates is subject to reorganization or
      bankruptcy proceedings; and

              (ii)     no debt security or obligation of such obligor has been in default during the past
      two years; and

               (k)     if the preceding clauses do not apply and a debt security or obligation of the obligor
      has been in default during the past two years, the Moody's Equivalent Senior Unsecured Rating will
      be "Ca."

      Notwithstanding the foregoing, not more than 10% of the Maximum Amount may consist of
      Relevant Obligations given a Moody's Equivalent Senior Unsecured Rating based on a rating given
      by S&P as provided in clauses (f), (g) and (h) above.

                "Moody's Obligation Rating": With respect to any Collateral Obligation as of any date of
      determination, the rating determined in accordance with the following, in the following order of
      priority:

               (a)     With respect to a Moody's Senior Secured Loan:

               (i)     if it has an Assigned Moody's Rating, such Assigned Moody's Rating; or

              (ii)   if the preceding clause does not apply, the rating that is one rating subcategory
      above the Moody's Equivalent Senior Unsecured Rating; and

               (b)     With respect to a Moody's Non Senior Secured Loan or a Bond:

               (i)     if it has an Assigned Moody's Rating, such Assigned Moody's Rating; or

               (ii)    if the preceding clause does not apply, the Moody's Equivalent Senior Unsecured
      Rating; and

      (c)      With respect to a Synthetic Security or a DIP Loan, the Assigned Moody's Rating thereof.

      Notwithstanding the foregoing, if the Moody's rating or ratings used to determine the Moody's
      Obligation Rating are on watch for downgrade or upgrade by Moody's, such rating or ratings will be



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      adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
      upgrade).

               "Moody's Rating": The Moody's Default Probability Rating; provided that, with respect to
      the Collateral Obligations generally, if at any time Moody's or any successor to it ceases to provide
      rating services, references to rating categories of Moody's in this Indenture shall be deemed instead
      to be references to the equivalent categories of any other nationally recognized investment rating
      agency selected by the Servicer, as of the most recent date on which such other rating agency and
      Moody's published ratings for the type of security in respect of which such alternative rating agency
      is used.

               "S&P Rating": With respect to any Collateral Obligation, as of any date of determination,
      the rating determined in accordance with the following methodology:

                       (i)       If there is an issuer credit rating of the borrower of the Collateral
              Obligation (the "Borrower"), or the guarantor who unconditionally and irrevocably
              guarantees the Collateral Obligation (the "Guarantor") by S&P, the most current issuer
              credit rating for such Borrower or Guarantor (provided that with respect to any private or
              confidential rating, a consent has been granted by such Borrower or Guarantor and a copy
              of such consent shall be provided to S&P indicating that the issuer can rely on such private
              or confidential rating);

                        (ii)     (a) if there is not an issuer credit rating of the Borrower or its Guarantor by
              S&P, but there is a rating by S&P on a senior secured obligation of the Borrower or its
              Guarantor, then the S&P Rating of the Collateral Obligation will be one subcategory below
              such rating; (b) if there is not a rating by S&P on a senior secured obligation of the
              Borrower or its Guarantor, but there is a rating by S&P on a senior unsecured obligation of
              the Borrower or its Guarantor, then the S&P Rating will be such rating; and (c) if there is
              not a rating by S&P on a senior obligation of the Borrower or its Guarantor, but there is a
              rating by S&P on a subordinated obligation of the Borrower or its Guarantor, then the S&P
              Rating will be two subcategories above such rating if such rating is "BBB-" or higher and
              will be one subcategory above such rating if such rating is "BB+" or lower (provided that
              with respect to any private or confidential rating, a consent has been granted by such
              Borrower or Guarantor and a copy of such consent shall be provided to S&P indicating that
              the issuer can rely on such private or confidential rating); or

                      (iii)   if there is neither an issuer credit rating of the Borrower or its Guarantor by
              S&P nor a rating by S&P on an obligation of the Borrower or its Guarantor, then the S&P
              Rating may be determined using any one of the methods below:

                                (A)      if an obligation of the Borrower or its Guarantor is publicly rated
                       by Moody's, then the S&P Rating will be determined in accordance with the
                       methodologies for establishing the Moody's Default Probability Rating, except that
                       the S&P Rating of such obligation will be (1) one subcategory below the S&P
                       equivalent of the rating assigned by Moody's if such security is rated "Baa3" or
                       higher by Moody's and (2) two subcategories below the S&P equivalent of the
                       rating assigned by Moody's if such security is rated "Bal" or lower by Moody's;
                       provided that Collateral Obligations constituting no more than 10% of the
                       Maximum Amount may be given a S&P Rating based on a rating given by Moody's
                       as provided in this subclause (a) (after giving effect to the addition of the relevant
                       Collateral Obligation, if applicable);




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                                 (B)     if no other security or obligation of the Borrower or its Guarantor
                       is rated by S&P or Moody's, then the Servicer may apply to S&P for a S&P credit
                       rating estimate, which will be its S&P Rating; provided that, on or prior to each
                       one-year anniversary of the acquisition of any such Collateral Obligation, the
                       Issuer shall submit to S&P a request for a S&P credit rating estimate for such
                       Collateral Obligation, which shall be its S&P Rating, together with all
                       information reasonably required by S&P to perform such estimate; or

                                 (C)      if such Collateral Obligation is not rated by Moody's or S&P, no
                       other security or obligation of the Borrower or its Guarantor is rated by S&P or
                       Moody's and if the Servicer determines in its sole discretion based on information
                       available to it after reasonable inquiry that such Borrower (x) is not subject to any
                       bankruptcy or reorganization proceedings nor in default on any of its obligations
                       (unless the subject of a good faith business dispute), (y) is a legally constituted
                       corporate entity having the minimum legal, financial and operational infrastructure
                       to carry on a definable business, deliver and sell a product or service and report its
                       results in generally accepted accounting terms as verified by a reputable audit firm
                       and (z) is not so vulnerable to adverse business, financial and economic conditions
                       that default in its financial or other obligations is foreseeable in the near term if
                       current operating trends continue, then the S&P Rating will be "B-"; provided that
                       the Servicer must apply to S&P for a S&P credit rating on such Borrower within 30
                       days after the addition of the relevant Collateral Obligation; provided, further, that
                       Collateral Obligations constituting no more than 5% of the Maximum Amount may
                       be given an S&P Rating based on this subclause (c) (after giving effect to the
                       addition of the relevant Collateral Obligation, if applicable);

              provided that if (i) the relevant Borrower or Guarantor or obligation is placed on any
              positive "credit watch" list by S&P, such rating will be increased by one rating subcategory
              or (ii) the relevant Borrower or Guarantor or obligation is placed on any negative "credit
              watch" list by S&P, such rating will be decreased by one rating subcategory.

               Notwithstanding the foregoing, in the case of a Collateral Obligation that is a DIP Loan, the
      S&P Rating shall be (A) the rating assigned thereto by S&P if the rating is public, (B) the rating
      assigned by S&P if the rating is confidential, but only if all appropriate parties have provided written
      consent to its disclosure and use, (C) the rating assigned by S&P thereto through an estimated rating
      or (D) the rating assigned thereto by S&P in connection with the acquisition thereof upon the request
      of the Servicer. In the case of a Collateral Obligation that is a PIK Security, Structured Finance
      Obligation or Synthetic Securities, the S&P Rating may not be determined pursuant to clause (iii)(A)
      above. For purposes of any calculation under the Indenture, if a S&P Rating is withdrawn by S&P
      with respect to a Collateral Obligation, the Issuer will continue using the latest S&P Rating available
      immediately prior to such withdrawal until a bankruptcy event occurs with respect to such Collateral
      Obligation.

              S&P Ratings for entities or obligations relevant hereunder other than Borrowers and
      Collateral Obligations shall be determined in a corresponding manner.




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                                                                         Exhibit A-1

                                   Form of Senior Note




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                                                                         Exhibit A-3

                                   Form of Class D Note




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                                                                            Exhibit B-1

                          Form of Senior Note Transferee Certificate




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                                                                                      Exhibit B-2

           Form of Senior Note Transferor Certificate for Regulation S to Rule 144A Transfer




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                                                                                      Exhibit B-3

           Form of Senior Note Transferor Certificate for Rule 144A to Regulation S Transfer




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                                                                            Exhibit B-4

                          Form of Class D Note Transferee Certificate




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                                                                           Exhibit C

                           Form of Latham & Watkins LLP Opinion




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                                                                          Exhibit D

                                  Form of Ogier Opinion




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                                                                           Exhibit E

                            Form of Nixon Peabody LLP Opinion




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                                                                             Exhibit F

                      Form of Orrick, Herrington & Sutcliffe LLP Opinion




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                                                                            Exhibit G

                              Forms of Section 3(c)(7) Notices




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                                                                           Exhibit G-1

                           Form of Section 3(c)(7) Reminder Notice




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                                                                            Exhibit G-2

                       Form of Important Section 3(c)(7) Reminder Notice




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                                                                            Exhibit H

                            Form of Beneficial Owner Certificate




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                                                                           Exhibit I

                                 Form of Extension Notice




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                                                                           Exhibit J

                                  Form of Insurer Notice




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